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             EXHIBIT 1


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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division




     United States of America, et al.,

                                         Plaintiffs,
                                                                    Case No. 1:23-cv-00108-LMB-JFA
     v.
                                                                    Hon. Leonie H. M. Brinkema
     Google LLC,
                                         Defendant.




                               EXPERT REPORT OF ROBIN S. LEE, PHD



                                                December 22, 2023




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      I. Introduction

      I.A. Qualifications
(1)   I am an economist, specializing in the field of industrial organization. Industrial organization studies
      the structure and functioning of markets, and competition among firms. I received my undergraduate
      and graduate degrees from Harvard University, receiving my AB in Economics in 2003, my AM in
      Economics in 2005, and my PhD in Business Economics in 2008.

(2)   I am a Professor of Economics in the Department of Economics at Harvard University and regularly
      teach courses in industrial organization to graduate and undergraduate students. Previously, I have
      served on the faculty at New York University’s Stern School of Business where I taught MBA
      students. I have published thirteen articles in peer-reviewed journals, including the American
      Economic Review, Econometrica, and the Journal of Political Economy. My published work has
      examined issues related to competition in a variety of industries characterized by network effects. I
      have also coauthored a chapter covering empirical analysis of contracting in vertical markets that
      appeared in the most recent volume of the Handbook of Industrial Organization (Elsevier, 2021). I
      have served as a Co-Editor of the American Economic Journal: Microeconomics and as an Associate
      Editor of the International Journal of Industrial Organization, both of which are leading journals in
      the field of industrial organization.

(3)   In my academic positions at New York University and Harvard University, I have supervised the
      thesis research and served on the dissertation committees of 25 economics PhD candidates. I have
      received several awards of recognition for my academic work, including the Econometric Society’s
      Frisch Medal (an award presented biennially for the best applied paper published in Econometrica),
      the American Antitrust Institute’s award for Best Antitrust Article on Mergers, and the Association of
      Competition Economics’ Best Paper Prize.

(4)   I have served as an economic expert on several antitrust matters in the past.

(5)   My curriculum vitae is Appendix A to this report. It contains additional information about my
      professional experience, including my publications and prior testifying experience.


      I.B. Scope of charge
(6)   I have been retained by the United States Department of Justice on behalf of Plaintiffs in this case.
      Plaintiffs allege that the Defendant, Google, “has used anticompetitive, exclusionary, and unlawful



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       means to eliminate or severely diminish any threat to its dominance over digital advertising
       technologies.”1

 (7)   I have been asked by counsel at the Department of Justice to undertake certain economic analyses
       associated with questions of market definition, market power, and competitive effects raised by the
       allegations of the complaint:

       ◼   Determine whether publisher ad servers, ad exchanges, and advertiser ad networks for open-web
           display advertising, both worldwide (excluding countries like the People’s Republic of China that
           substantially restrict internet access) and in the United States, are relevant antitrust markets for
           the purpose of evaluating Google’s market power and alleged anticompetitive conduct.2
       ◼   Assess whether Google has possessed market power in those markets and, if so, assess the extent
           of Google’s market power.
       ◼   Determine, as a matter of economic principles, whether Google’s conduct (i) was or is likely to
           result in the creation, extension, or maintenance of market power in the publisher ad server, ad
           exchange, and ad network markets, (ii) was or is harmful to competition, and (iii) was or is likely
           to result in material harm to open-web publishers, advertisers, and consumers.


       I.C. Materials relied upon
 (8)   In my work on this matter, I was assisted by a staff of expert economists and economic analysts at the
       consulting firm Bates White LLC. I directed the activities of the team, supervised and made all final
       decisions concerning economic analyses and their implementation, and prepared this report.

 (9)   My team and I were provided with access to materials, including documents, data, and deposition
       transcripts produced in this matter. I instructed my team to identify information relevant for my
       review including information regarding Google’s ad tech products and related markets, the activities
       of Google and its rivals in those markets, and factors that influenced market outcomes. I instructed
       my team to identify materials for my review regardless of whether they appeared to support the
       positions of the Plaintiffs or Google.

(10)   In forming my opinions, in addition to my training, teaching, research, and experience, I relied on the
       materials identified throughout this report. To the extent that I have referenced or relied on documents
       and testimony in this report, I have done so to ensure that my economic analyses and application of
       economic principles are based on an understanding of the underlying facts. I do not offer expert
       opinions on the meaning of individual documents. Appendix B contains a detailed list of materials

       1   Amended Complaint, United States, et al. v. Google LLC, No. 1:23-cv-00108-LMB-JFA (E.D. Va. Mar. 14, 2023)
           (hereinafter, “Amended Complaint”).
       2   Amended Complaint, ¶¶ 279–303.



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       that I relied upon in forming my opinions. I reserve the right to incorporate new materials or data into
       my analysis, if and when they become available.

(11)   Bates White is compensated at a rate of $765 per hour for my work in this matter. Neither Bates
       White’s compensation nor my compensation is in any way contingent on the outcome of this case.


       I.D. Summary of opinions
(12)   I have reached the following opinions in this matter:

       1. Publisher ad servers, ad exchanges, and advertiser ad networks that serve and transact open-web
          display advertising are relevant antitrust product markets for evaluating Google’s market power
          and the competitive effects of the conduct that is the focus of my report. For each relevant
          product market, both worldwide (excluding a limited number of countries and regions, including
          the People’s Republic of China) and the United States are relevant geographic markets.
       2. Google possesses substantial market power in each of the relevant markets, protected by
          significant barriers to entry. It has possessed that market power in each of the relevant markets in
          recent years, and likely since at least 2015.
       3. Google has used its market power within and across the relevant markets to exclude competitors
          from participating in these markets, and to impede their ability to compete for customers. Google
          has done so by:
               (1) Providing unrestricted access to Google Ads’ advertiser demand exclusively to its AdX ad
                exchange, and denying comparable access to rival ad exchanges;
               (2) Providing access to and use of real-time bids from AdX exclusively to its DFP publisher
                ad server, and denying comparable access to rival publisher ad servers;
               (3) Providing access to a feature known as “Dynamic Allocation” exclusively to AdX within
                DFP, granting AdX valuable “first-look” and “last-look” advantages over rival ad exchanges;
               (4) Eliminating publishers’ ability to use variable pricing floors within DFP, impairing their
                ability to work with rival ad exchanges and exert competitive pressures on AdX;
               (5) Acquiring an emergent competitor, AdMeld, and eliminating it as a competitive threat to
                Google’s AdX and DFP products.
       4. These actions have harmed and continue to harm the ability of rival publisher ad servers, ad
          exchanges, and advertiser ad networks to compete for advertiser spending and publisher
          impressions. These actions have also denied scale to Google’s rivals in each of the relevant
          markets, which is important for the competitiveness of ad tech products.




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       5. Google’s actions harm competition and have enhanced and maintained Google’s market power in
          the relevant markets. Google’s actions have also harmed open-web display publishers and
          advertisers, and have also likely harmed consumers.


       I.E. Summary of report
(13)   Competition encourages firms to provide higher quality and lower priced products, and to innovate
       and adapt in ways that create customer value. For these reasons, competition policy in the United
       States seeks to preserve competition by prohibiting firms from using their established dominance to
       distort or impede competition and block competitive threats from rivals, while preserving incentives
       to improve products in ways that benefit customers.

(14)   Monopolization refers to conduct that creates or maintains a firm’s substantial market power over its
       products by harming competition. The most common methods of monopolization undermine the
       ability of customers to transact freely with rivals, and the ability of rivals to serve those customers’
       needs. These methods typically exclude rivals from competing for segments of a market by hindering
       customers from using their products, depriving them of or degrading access to important inputs,
       raising their costs of operation, or worsening the quality of their products.

(15)   In this report, I conduct an economic inquiry into whether Google has engaged in (and continues to
       engage in) conduct that harmed competition and served to acquire, maintain, or enhance Google’s
       market power over technology products used to transact open-web display advertising on websites
       (“ad tech products”). The customers potentially impacted by its actions are open-web publishers
       (website operators that do not own and operate their own ad-tech products) and advertisers seeking to
       transact open-web display advertising.

(16)   My economic inquiry involves four steps:

       1. First, determining whether Google’s conduct excluded existing or potential rivals from, or
          impeded their ability to compete for, publisher impressions and advertiser spending, thereby
          harming their competitiveness;
       2. Second, evaluating whether Google’s conduct preserved or enhanced Google’s market power;
       3. Third, evaluating whether Google’s conduct has harmed customers (open-web publishers and
          advertisers);
       4. Last, examining whether pro-competitive justifications for the scrutinized conduct exist. If so,
          then investigating whether any pro-competitive benefits could have been realized via less-
          restrictive or less-exclusionary means (in which case such benefits are not specific to the




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           conduct); and whether such benefits would in any case be otherwise sufficient to eliminate
           competitive or customer harm from the conduct.

(17)   To reach the opinions contained within this report and summarized above, I have relied upon
       economic theory, the materials identified throughout this report (including public information,
       documentary evidence and deposition testimony), and economic analyses of data produced in this
       matter.


       I.E.1. Google’s market power in the relevant markets

(18)   At the outset, I begin in Sections II and III by providing relevant background information on open-
       web display advertising and ad tech products, and introducing important economic concepts for
       understanding competition among these products. This background is important for understanding
       how Google’s conduct affected competition and customers for open-web display advertising
       products.

(19)   Display ads, sometimes referred to as “banner ads,” are image or text-based ads that internet users see
       on websites. Using ad tech products, web publishers can designate parts of their websites to show
       display ads so that when a user visits a publisher’s website, advertisers can purchase display ads
       shown to that user (referred to as display ad “impressions”). Products that facilitate the sale of open-
       web display ads help publishers monetize their online web properties, and help advertisers reach
       potential consumers for their goods and services. These ad tech products deliver significant value to
       both publishers and advertisers, which explains their widespread adoption and use.

(20)   In Section II, I discuss differences between open-web display advertising and other forms of digital
       advertising. I also provide a description of products offered by Google and its rivals to transact open-
       web display advertising, and describe how the sale of display advertising has changed over time.

(21)   In Section III, I describe the importance of indirect network effects for ad tech products (whereby the
       value of a product to one set of customers depends on the usage of that product by others), and
       explain why a firm offering ad tech products can possess market power as long as either advertisers or
       publishers do not possess close substitutes for that firm’s products.3

(22)   I also describe the importance of scale for the competitiveness of an ad tech product. The competitive
       benefits of scale manifest both through what are known as “indirect network effects”—e.g., more
       advertisers using an ad tech product makes that product more attractive to publishers, and vice
       versa—and through quality and monetization improvements enabled by additional data collected by


       3   Economists define market power as the ability of a firm to profitably price above a competitive level, often measured by
           its marginal or incremental costs.



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       an ad tech product as it handles more transactions. Scale benefits can be reinforcing and lead to
       durable advantages over rivals over time.

(23)   Next, having provided that background, I evaluate in Section IV the relevant antitrust markets alleged
       by the Plaintiffs. Defining relevant markets involves identifying a set of products over which a
       hypothetical monopolist could possess and profitably exercise significant market power. Market
       definition is a useful tool for analyzing monopolization claims, as it assists with the assessment of
       market power and helps focus attention on areas where potential competitive effects from the conduct
       at issue are most likely to occur.

(24)   In this Section, I explain why publisher ad servers, ad exchanges, and advertiser ad networks for
       open-web display advertising are relevant product markets, where:

       ◼   Publisher ad servers are software products used by open-web publishers to manage and sell
           display ad “inventory” (i.e., website ad space), both through transactions that are directly
           negotiated with advertisers in advance, and through “indirect” transactions that are sold in “real-
           time” whenever a user visits a website and new display ad impressions become available for sale;
       ◼   Ad exchanges are software products that run real-time auctions for publishers’ display ad
           inventory among advertisers; and
       ◼   Advertiser ad networks are software products that advertisers use to purchase display ad
           inventory from publishers.

(25)   Figure 1, based on a June 2020 Google presentation, provides a simplified depiction of various ad
       tech products and the transactions that they facilitate. Publishers (i.e., sellers) are on the left-hand
       side, advertisers (i.e., buyers) are on the right-hand side, and ad tech products are in the middle. The
       diagram shows different sets of ad tech products, including those belonging to the relevant product
       markets: publisher ad servers, ad exchanges, and advertiser ad networks. The diagram also depicts
       Google’s ad tech products.




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       Figure 1. Illustration of Google's ad tech products




       Source: Chart created using information from GOOG-DOJ-AT-01510462, at -469 and -471 (06/2020).



(26)   I also explain why there are at least two relevant geographic markets for purposes of this matter,
       based on the location of customers of ad tech products (open-web publishers and advertisers): the
       whole world excluding certain regions (specifically the People’s Republic of China and some
       additional areas), and the United States.

(27)   Because these relevant antitrust markets comprise products that serve and transact open-web display
       advertising, I initially describe why open-web display advertising is a distinct and valuable form of
       advertising for open-web publishers and advertisers. Display advertising monetizes different types of
       digital inventory and offers different reach and targeting than other forms of digital advertising,
       including search and instream video advertising. Publishers and advertisers that use open-web display
       advertising have a limited ability to substitute away from open-web display advertising to other forms
       of advertising, and thus have a commensurately limited ability to substitute away from the products
       that are used to transact open-web display advertising.

(28)   For each of the relevant product markets, I then discuss why products outside of each relevant market
       are not close enough substitutes to constrain a monopolist of the products in each of these markets
       from exercising significant market power. Importantly, I explain why direct evidence that Google
       possesses substantial and sustained market power with its publisher ad server (DFP), ad exchange
       (AdX), and advertiser ad network (Google Ads) indicates that these are proper relevant markets and
       can be profitably monopolized. The reason why is the following: because Google was able to




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       profitably exercise market power in these markets, a hypothetical monopolist that controlled Google’s
       products as well as rival products would also find it profitable to do so.

(29)   In Section V, I discuss evidence of Google’s market power in each of the relevant markets.4

(30)   Indirect evidence that Google possesses substantial and sustained market power includes Google’s
       high market shares for its publisher ad server, ad exchange, and advertiser ad network products,5 and
       high barriers to entry and expansion. Key barriers in the relevant markets include the direct costs of
       developing new ad tech products, attracting customers who face significant switching or multihoming
       costs, and overcoming indirect network effects enjoyed by existing incumbents.

(31)   Direct evidence of Google’s market power over its products in the relevant markets is demonstrated
       by Google’s ability to (a) persistently charge and maintain fees that exceed competitive levels; (b)
       adjust its bidding or pricing behavior across ad tech products in a manner that disadvantaged its own
       customers and increased its profits; and (c) impose restrictions on the use of its products that lower
       their value to customers without losing significant sales.6

(32)   I thus conclude that in each of the relevant markets, Google possesses substantial and sustained
       market power protected by significant barriers to entry and expansion.


       I.E.2. The competitive effects of Google’s conduct

(33)   Establishing that Google possesses substantial and sustained market power in the relevant markets is
       an important predicate for determining whether Google’s conduct harmed competition. Certain
       conduct, such as engaging in exclusive dealing or tying products together, may pose little if any risk
       to competition if undertaken by a firm with limited market power. However, the same conduct can
       have significant deleterious effects on competition if undertaken by a firm with substantial market
       power. In this matter, Google is armed with substantial market power over its products in the relevant
       markets. Google thus possesses the ability to meaningfully affect adoption of, and the volume of


       4   My conclusions about market power do not depend on whether the relevant geographic market is worldwide excluding
           certain areas or the United States.
       5   In the publisher ad server market, since 2018 Google’s DFP had a market share exceeding 91% of worldwide open-web
           display impressions and 86% of open-web display impressions from US publishers among a set of publisher ad servers
           that produced data. In the ad exchange market, since 2018, I estimate that Google’s AdX had a 54–65% share of
           worldwide impressions and a 46–56% share of impressions served to US users. In the advertiser ad network market,
           since 2018 Google Ads consistently maintained a share above 85% of worldwide impressions and impressions served to
           US users among a set of products that produced data. Google also has a high share of fees in all three relevant products
           and both relevant geographic markets.
       6   In the publisher ad server market, Google does not appear to earn profit from its market power solely through high DFP
           prices. Instead, there is significant evidence that Google earns profit from publishers’ increased usage of DFP through
           their increased use of AdX and Google Ads, where Google charges significant margins. The economics of this strategy
           are analogous to the familiar add-on or razor/razor-blade pricing model whereby a firm extracts profits on a
           complementary good (razor blades) while pricing the primary good (razors) close to or even below its nominal cost.



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       transactions that occur through, its own and rival ad tech products via its actions—and, hence, it
       possesses the ability to harm competition through its conduct.

(34)   The rest of my report evaluates the competitive effects of Google’s conduct.

(35)   In Section VI, I lay out the four-step framework discussed above that I use to conduct my inquiry. To
       assist with my analysis, I describe two well-established categories of conduct that the economics
       literature has recognized that, when employed by a firm with substantial market power, can harm
       competition:

       ◼   Foreclosure. A firm with substantial market power can harm the competitiveness of rivals and
           entrants by withholding, degrading (e.g., reducing the quality of or raising the costs for), or
           otherwise limiting access to an important input or resource. The economics literature has referred
           to this withholding, degrading, or limiting behavior as foreclosure. Through foreclosure, a firm
           can enhance its own market power by worsening the attractiveness of rivals’ products (e.g., by
           diminishing their qualities or inducing their prices to increase). Such conduct tends to harm
           competition by weakening rivals’ ability to discipline prices and encourage innovation, and can
           be particularly impactful in markets that exhibit strong network effects where initial competitive
           disadvantages can be persistent and grow over time.
       ◼   Impeding customers from working with rivals. Firms with substantial market power can also
           exclude competition by eliminating or impeding customers’ abilities to transact with rivals. One
           approach is to implement policies that limit customers’ ability to send more of their business to
           rivals, thereby precluding rivals from obtaining sales that could enhance their competitiveness.
           Another approach is by acquiring current or potential rivals, and merging their competing
           products into existing ones or eliminating them altogether.

(36)   I perform the first step of the framework in Section VII, where I explain that Google has undertaken
       actions that fall within the two categories of conduct listed above, and that by foreclosing rival ad
       exchanges’ and publisher ad servers’ access to important inputs and by impeding customers’ ability to
       work with rival exchanges, Google excluded those rivals from competing for advertiser spending and
       publisher impressions. In doing so, Google also deprived and denied those rivals scale and associated
       quality and cost benefits, further reducing their competitiveness.

(37)   I start in Section VII.A by providing background context regarding Google’s ad tech strategy, the
       importance of DFP, and Google’s historical responses to threats to its market power in the relevant
       markets. I then explain how Google’s actions fall under the two standard categories of conduct
       described above that can lead to competitive harm. I then show that Google has used its market power
       in one market to foreclose and diminish the competitiveness of rivals’ products in another by:




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       ◼   (1) Providing unrestricted access to Google Ads’ advertiser demand exclusively to AdX
           (Section VII.B);
       ◼   (2) Providing access to and use of real-time bids from AdX exclusively to DFP (Section VII.C);
           and
       ◼   (3) Providing Dynamic Allocation features and associated first- and last-look benefits exclusively
           to AdX within DFP (Section VII.D.1).

(38)   In all three cases, Google foreclosed to rivals an important asset or input that Google controlled , and
       required that customers use its own products in the ad exchange or publisher ad server markets in
       order to obtain unrestricted access to this input. That is, Google foreclosed rival ad exchanges from
       both unrestricted Google Ads’ advertiser demand and the ability to compete in real-time against AdX
       within DFP; and Google foreclosed rival publisher ad servers from the unrestricted access to and use
       of real-time bids from AdX that it provided DFP.

(39)   I also explain how Google impeded customers from working with rivals by:

       ◼   (4) Preventing publishers from setting variable pricing floors within DFP, weakening competitive
           pressures on AdX and impeding publisher’s ability to sell impressions through rival exchanges
           (Section VII.D.2).
       ◼   (5) Acquiring AdMeld in response to a perceived competitive threat from yield managers, and
           eliminating an option available to publishers for accessing and managing multiple exchanges and
           demand sources (Section VII.E).

(40)   Figure 2 depicts each of these five acts, and how Google’s actions leveraged market power in one
       relevant market to impose restraints that strengthen its own products and foreclose rivals in an
       “adjacent” relevant market within the ad tech stack.




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       Figure 2. Diagram of Google’s exclusionary conduct




       Notes: Diagram depicts Google’s exclusionary conduct examined in this report. Solid white arrows denote the direction in
       which market power possessed by one product was used to enhance the market power of another, and broken red arrows
       denote the rivals that were foreclosed. For example, “Google Ads Exclusivity” represents Google providing unrestricted access
       to Ads’ advertiser demand to AdX and foreclosing such access to rival ad exchanges.



(41)   I then show that, in each of the relevant markets, Google’s conduct harmed rivals’ competitiveness by
       materially impeding their ability to compete for advertiser spending and/or publisher impressions and
       denying them scale (Section VII.F). Importantly, Google’s conduct that harmed the competitiveness
       of rival ad exchanges had the additional effect of also reducing the competitiveness of, and increasing
       entry barriers for, rival publisher ad servers. This is because publisher ad servers work alongside
       exchanges to facilitate open-web display transactions, and publisher ad server competitors are
       weakened without viable ad exchange partners.

(42)   I then conduct Steps 2 and 3 of my economic analysis in Section VIII.

(43)   I first explain why Google’s conduct harmed competition and enhanced and preserved its substantial
       market power in the relevant markets. Google’s actions materially worsened the competitiveness of
       rivals and made it less likely that customers would turn to alternative options, thereby lessening the
       competitive pressures that Google’s own products faced.

(44)   Next, I describe how Google’s conduct has harmed open-web publishers and advertisers through
       three channels:

       ◼    Google’s conduct supported higher take rates and fees and steered more transactions through
            Google’s more expensive ad tech products in the relevant markets. This led to higher costs of
            transacting open-web display advertising for advertisers and lower payouts for publishers than
            would have prevailed in more competitive markets.


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       Figure 4. US and worldwide digital advertising spend trends (2011–2022)9


                                                                           US   Worldwide

                                      $600



                                      $500
            Digital ad spending (B)




                                      $400



                                      $300



                                      $200



                                      $100



                                        $0
                                             2011   2012   2013   2014   2015   2016   2017   2018   2019   2020   2021   2022

       Source: Worldwide digital ad spending data (eMarketer) at tab “Total, Digital, and Mobile,” rows 73, 86 (2022)
       Notes: Includes advertising that appears on desktop and laptop computers as well as mobile phones, tablets, and other
       internet-connected devices. Source: Worldwide digital ad spending data (eMarketer) at tab “Total, Digital, and Mobile,” rows
       73, 86 (2022).
       Notes: According to eMarketer, a market research company, digital ad spending includes advertising that appears on desktop
       and laptop computers as well as mobile phones, tablets, and other internet-connected devices; and includes banner ads and
       other (static display ads such as Facebook’s News Feed Ads and Twitter’s Promoted Tweets), classified ads, email (embedded
       ads only), mobile messaging (SMS, MMS, and P2P messaging), rich media (including in-stream and outstream video ads),
       search ads (including contextual text links, paid inclusion, paid listings, and SEO), sponsorships, lead generation (referrals).



(49)   Industry participants often divide digital advertising into different segments, including display,
       search, instream video, and native (as well as other smaller categories). I briefly describe these
       segments below:

       1. Display: Digital display advertising refers to image or text-based advertisements (ads) that
          internet users see online.10 Display ads include “banner ads,” which the IAB, an online-

       9    Trends reflect actual values through 2022. Letter from D. Pearl to M. Freeman (09/08/2023).
       10   See, e.g., IAB, “Internet Advertising Revenue Report: Full-year 2022 results,” https://www.iab.com/wp-
            content/uploads/2023/04/IAB_PwC_Internet_Advertising_Revenue_Report_2022.pdf. Display ads may include static
            images as well as “rich media,” which can include video components. Google, “What is rich media?” Studio Help,
            accessed December 14, 2023, https://support.google.com/richmedia/answer/2417545?hl=en (Google defines rich media
            as “a digital advertising term for an ad that includes advanced features like video, audio, or other elements that
            encourage viewers to interact and engage with the content”).). Videos that are contained as part of display ads (e.g., a
            video that is part of a banner ad at the top of a website) are referred to as “outstream” or “in-display” video



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          advertising trade organization, calls “one of the most dominant forms of advertising on the
          internet.”11 Display ads may include items such as text, images, video, audio, and often come in a
          set of predetermined formats and sizes.12 Figure 5 below shows examples of common placements
          of display ads on websites and Figure 6 shows an example of how display ads may appear for a
          user when visiting two different websites.




          advertisements. Video ads may also be shown in video players included on websites. These are referred to as “instream
          video” ads and may play before, during, or after dedicated video content. See Section II.A and Section IV for further
          discussion.
     11    IAB, “Internet Advertising Revenue Report: Full-year 2022 results,” IAB, April 2023, p. 22 https://www.iab.com/wp-
          content/uploads/2023/04/IAB_PwC_Internet_Advertising_Revenue_Report_2022.pdf.
     12   IAB UK, “Jargon Buster,” IAB UK, https://www.iabuk.com/jargon-buster?letter=33&title=&page=1. IAB UK,
          “Introduction to digital display advertising for media owners”, IAB UK, last modified (06/June 2021),
          https://www.iabuk.com/sites/default/files/public_files/Introduction-to-digital-display-advertising-for-media-
          owners_0.pdf.



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     Figure 5. Examples of common display ad locations as specified by the Internet Advertising Bureau (IAB)




     Source: IAB UK, “Introduction to digital display advertising for media owners”, IAB UK, last modified (06/2021)
     https://www.iabuk.com/sites/default/files/public_files/Introduction-to-digital-display-advertising-for-media-owners_0.pdf.




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     Figure 6. Examples of display ads shown on websites




     Source: CNN, captured September 29, 2023, www.cnn.com. The Weather Channel, captured July 31, 2023,
     www.weather.com.
     Notes: Red dashed lines highlight display ads.



     2. Search: Search ads are ads shown alongside search results from a search engine and are often
        linked to a certain search word or phrase. Advertisers generally bid on search advertising slots
        that are relevant to certain keywords13 and pay for these advertisements on a cost-per-click
        (“CPC”) basis.14 These paid listings may appear as “sponsored” links at the top or side of search
        results.15 Figure 7 below shows an example of how paid listings may appear alongside standard
        search results.




     13    Google, “The ad auction,” Google Ads Help, accessed December 15, 2023, https://support.google.com/google-
          ads/answer/1704431.
     14    Google, “Actual cost-per-click (CPC): Definition,” Google Ads Help, accessed December 15, 2023,
          https://support.google.com/google-ads/answer/6297?sjid=15864561118467767985-NA (“Your actual cost-per-click
          (actual CPC) is the final amount you're charged for a click.”).
     15   IAB, “Internet Advertising Revenue Report: Full-year 2022 results,” IAB, April 2023, https://www.iab.com/wp-
          content/uploads/2023/04/IAB_PwC_Internet_Advertising_Revenue_Report_2022.pdf, at 23. Google also distinguishes
          between search ads, display content, in-stream video content, and in-app ads. See, e.g., GOOG-DOJ-AT-02199478, at -
          485 (06/2019).



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     Figure 7. Examples of search ads




     Source: Google, captured on August 30, 2023, www.google.com.
     Note: Red dashed lines highlight search ads. Ads shown on the Google Search result page are identified with a “Sponsored”
     label at the top of the ad.



     3. Instream video: Instream video ads are shown within a video player on a website, or in
        applications on mobile devices or connected TVs.16 Instream video ads are viewed in a video
        player before, during, or after the original site’s video content.17 Instream video ads are distinct
        from “outstream” or “in-display” video ads, which are videos played in standard display ad



     16   IAB, “Definitions and Terminology,” IAB, https://www.iabuk.com/ctv/glossary (defines connected TV as “[v]ideo
          content consumed on a TV screen, delivered via an internet connection. This includes TVs directly connected to the
          internet (Smart TV), as well as hardware that enables a TV to become connected, e.g. TV sticks, games consoles and
          set-top boxes that are connected to the internet.”).
     17   IAB, “Digital Video In-Stream Ad Format Guidelines,” Interactive Advertising Bureau (IAB), January 8, 2016,
          https://www.iab.com/wp-content/uploads/2016/01/DVAFG_2015-01-08.pdf, at 7 (defining digital video in-stream ads
          as “ad formats served into a video player: ‘before, during, and after a variety of content including, but not limited to,
          streaming video, animation, gaming, and music video content in a player environment.’”); IAB UK, “A Guide to the
          Connected TV Supply Chain,” IAB UK, March 2, 2021, https://www.iabuk.com/standard-content/guide-connected-tv-
          supply-chain (“The most prevalent format [of advertising on Connected TV] is instream video (pre-roll, mid-roll and
          post-roll)”).



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          spaces and can be substituted in those spaces for “static” images.18 Figure 8 below shows how
          instream video ad slots differ from display ad slots. In this report, I follow industry convention
          and distinguish between instream and outstream video ads, and use display ads to include
          outstream video but not instream video ads.

     Figure 8. Example of digital instream video ad formats as specified by the Internet Advertising Bureau




     Source: IAB, “Digital Video In-Stream Ad Format Guidelines,”,IAB, January 2016, p. 7, https://www.iab.com/wp-
     content/uploads/2016/01/DVAFG_2015-01-08.pdf.



     4. Native: Native ads are designed to blend in with the environment in which they are placed. While
        there are different types of native advertisements, the distinguishing feature of these ads is that




     18   The IAB defines the “Display (Banner / Rich Media)” advertising format as “a form of display advertising that can
          range from a static graphic to full motion video,” and notes that “Video commercials that appear in video players are
          considered Digital Video Ads, not Rich Media.” See Internet Advertising Bureau, “Internet Advertising Revenue
          Report: Full-year 2022 results,” PwC & IAB Interactive Advertising Revenue Report, April 2023,
          https://www.iab.com/wp-content/uploads/2023/04/IAB_PwC_Internet_Advertising_Revenue_Report_2022.pdf. In
          Sections II and IV, I discuss differences between instream and outstream video ads further. See also IAB, “Digital Video
          In-Stream Ad Format Guidelines,” IAB, January 8, 2016, https://www.iab.com/wp-
          content/uploads/2016/01/DVAFG_2015-01-08.pdf (“[A]ds in video format served to placements designated for display
          advertising are often confused with in-stream ads. Because video in-stream ads and in-display video are two ad forms
          that require different resources and technology, distinguishing the two are important to establishing digital video in-
          stream ad formats.”).



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           they often mimic the style and structure of the surrounding content.19 The following are
           prominent forms of native ads:
                A. Content recommendation ads are collections of links that suggest additional external
                   content for users. Advertisers may purchase these ad slots with the intention of driving
                   traffic to the posted content.20 Content recommendation ads are considered by many
                   industry participants to contain lower quality content than display ads, with a significant
                   amount of spend coming from “clickbait” ads; as a result, website operators tend to place
                   these ad units at the bottom of their pages or prefer to not use them at all.21 Figure 9
                   below shows an example of a content recommendation widget displayed on a webpage—
                   in this case below a news article. Figure 10 shows how Google’s Multiplex content
                   recommendation product appears on a desktop computer.




     19   Although some sources may consider part of native advertising to be a part of display advertising, to be precise in my
          discission, I do not use the term “display advertising” in this report to include native advertising unless explicitly stated
          otherwise. I discuss differences between display ads and native ads further in Section IV.B.1.a.ii.
     20   MMA Mobile Native Advertising Committee, “The Mobile Native Ad Formats,” Mobile Marketing Association,
          accessed December 18, 2023, https://www.mmaglobal.com/files/documents/the_mobile_native_formats_final.pdf.
     21   GOOG-AT-MDL-003644990, at -995 (05/23/2017) (“Over the past several years the web has seen a proliferation of
          content recommendation ad units from three main companies: Taboola, Outbrain, and RevContent (TBOBRC)… These
          companies have grown enormously by peddling clickbait ads (sometimes scams and often NSFW) that generate high
          CTRs and CPMs for publishers… Because the minimum quality bar is set somewhere around “it makes me sick to my
          stomach” (real publisher quote), publishers typically relegate [content recommendation] ad units to the bottoms of
          articles. However the same publishers describe the revenue (often in the form of a guaranteed CPM) as ‘like crack’
          which is why so few have chosen to abandon these ad units.”); GOOG-DOJ-AT-00344037, at -068 (05/2017) (in
          reviewing the importance of content recommendation advertisements to publishers, Google noted testimony from a
          publisher who said “we were working with Taboola, but we ended our contract, because we were not pleased with the
          format and performance as far as to justify having additional ad code to slow things down”.) See also Section
          IV.B.1.a.ii.



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     Figure 9. Example of content recommendation displayed below site content




     Source: Jamie Goldberg, ”First US all-women’s-sports bar embraces the Women’s World Cup”, ESPN, captured on August 30,
     2023, https://www.espn.com/soccer/story/_/id/38049431/uswnt-world-cup-game-sports-bra-portland-oregon.
     Note: Red dashed lines highlight native ads shown through content recommendation.


     Figure 10. Example of Google’s Multiplex content recommendation advertising on desktop




     Source: Google,“About Multiplex ads,” Google AdSense Help, accessed December 18, 2023,
     https://support.google.com/adsense/answer/9189566?hl=en.




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               B. Sponsored Product or Sponsored Listing ads promote specific products alongside
                  “organic” product listings on e-commerce sites within search results or in suggested
                  product pages.22 These may appear similar to organic product listings with prices,
                  reviews, and product details appearing in paid ad slots.23

     Figure 11. Example of sponsored listing ads alongside organic listings on Ebay




     Source: Kevel, “Sponsored Listings: The Definitive Guide for 2023,” Kevel, last modified March 2, 2019,
     https://www.kevel.com/blog/sponsored-listings.



               C. Social media (or “in-feed social”) ads appear in social media feeds and closely resemble
                  organic posts on those sites.24 Users of the social media site can often engage with (e.g.,
     22   GOOG-AT-MDL-000001750, at -750 (06/10/2021) (“Sponsored Product Ads (SPAs) are natively rendered, click on site
          ads on e-commerce publishers’ sites/apps. These ads can appear in search results…, category browsing, or on product
          detail pages (e.g. ‘you may also like..’)”).
     23   MMA Mobile Native Advertising Committee, “The Mobile Native Ad Formats,” Mobile Marketing Association,
          accessed December 18, 2023, https://www.mmaglobal.com/files/documents/the_mobile_native_formats_final.pdf
     24   Some in-feed ads can also be shown on non-social media sites. These ads are distinct from display ads because the ad
          slot blends in with the publisher’s content (as opposed to occupying space on top of or around it) and the ad creative
          matches the aesthetic of the publisher’s content. See Interactive Advertising Bureau, Interactive Advertising Bureau,
          “Native Advertising Playbook 2.0” Internet Advertising Bureau, May 2019, https://www.iab.com/wp-
          content/uploads/2019/05/IAB-Native-Advertising-Playbook-2_0_Final.pdf; MMA Mobile Native Advertising



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                    by reacting or commenting) the post. Advertisers may purchase these ad slots with the
                    intention of building brand awareness, creating intent, or finding new customers.25 While
                    these ads are most often shown on the sites of social media pages such as Facebook,
                    Instagram, or Twitter, Google has a similar in-feed ad product, known as “Discovery ads”
                    that are shown on YouTube, Gmail, and on Google’s Discover search feed.26 Figure 12
                    below shows how an in-feed social media advertisement may appear on a social media
                    site.




          Committee, “The Mobile Native Ad Formats,” MMA Mobile Native Advertising Committee, Mobile Marketing
          Association, accessed December 18, 2023,
          https://www.mmaglobal.com/files/documents/the_mobile_native_formats_final.pdf. In-feed ads can require substantial
          technical capability and be limited to more sophisticated publishers. See GOOG-AT-MDL-000994606, at -669
          (07/19/2019) (“Creating a good looking, high performing native ad requires effort and skill. We strongly encourage
          publishers to use our templates as a starting point and to involve their design and engineering teams in the process…
          When a native ad is in a feed it should very closely match your site/apps layout. Plan on starting with a pre-made
          template but making significant edits to the CSS for layout, font, and styling.”).
     25   MMA Mobile Native Advertising Committee, “The Mobile Native Ad Formats,” Mobile Marketing Association,
          accessed December 18, 2023, https://www.mmaglobal.com/files/documents/the_mobile_native_formats_final.pdf, at 7–
          8. See also GOOG-AT-MDL-009638243, at -275 (06/05/202).
     26   GOOG-AT-MDL-009638243, at -246 (06/05/2020). As I explain further in Section IV, both Google and industry
          participants recognize social media advertising as distinct from display advertising.



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       Figure 12. Example of in-feed social native ads shown on Facebook




       Source: Facebook, captured November 9, 2023,www.facebook.com.
       Note: Red dashed lines highlight in-feed social ads (known as “Facebook Feed”). See Meta, “About Meda ads placements”,
       Meta Business Help Center, accessed December 18, 2023,
       https://www.facebook.com/business/help/407108559393196?id=369787570424415.



(50)   Ad types can also be distinguished based on where digital advertising is shown. Web advertising
       refers to digital ads shown on websites, viewed on both desktop and mobile devices. In-app
       advertising refers to digital ads delivered within mobile applications, including those that are
       accessible on smartphones, tablets, or wearable devices.27


       27   See Interactive Advertising Bureau Europe, “IAB Europe’s Guide to In-App Advertising,” February 2022,
            https://iabeurope.eu/wp-content/uploads/2022/02/IAB-Europe-Guide-to-In-app-advertising.pptx.pdf, 6 (“In-App
            advertising refers to ads and ad campaigns that are delivered within mobile applications, including smartphones, tablets,
            or wearable devices”).



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       II.A.1. Ad tech products for display advertising and their customers

(51)   “Ad tech,” short for advertising technology, refers to software and other tools used to purchase, sell,
       and manage digital display advertising. I refer to companies offering ad tech products as ad tech
       intermediaries.

(52)   Customers of ad tech products are advertisers and publishers of online content. Advertisers attempt to
       cost-effectively target their display ad campaigns at what they perceive to be high-value audiences,
       while publishers often seek to monetize their digital assets by selling online ad space on their
       websites, also referred to as their display ad “inventory.”28 Because advertisers are buyers and
       publishers are sellers of display ad inventory, advertisers are said to be on the “demand-side” (or
       “buy-side”) while publishers are on the “supply-side” (or “sell-side”).

(53)   A variety of ad tech products work in conjunction with one another to facilitate display advertising
       transactions between publishers and advertisers. These products form what is known as the “ad tech
       stack.” At a high level, the ad tech stack can be described as comprising three “layers” consisting of
       ad tech products that each serve different functions:

       ◼     publisher ad servers;
       ◼     ad exchanges; and
       ◼     advertiser bidding tools, comprising both demand-side platforms (“DSPs”) and advertiser ad
             networks.29

(54)   The purchase of a single online display ad “impression” (i.e., a single display ad shown to a single
       web visitor) by an advertiser from a publisher often involves participation by products in each of
       these layers. I describe these ad tech products in more detail in Section II.B.

(55)   The focus of this report is ad tech products for display ads that are shown on websites, so unless
       otherwise specified, I will use the term publishers to refer to entities that operate online web pages
       and display content to web visitors. These publishers often monetize their web traffic by devoting
       some of the space on their web pages to display advertising. I will use the term open-web publishers
       to refer to those publishers that rely on third-party ad tech products (i.e., products that these
       publishers do not themselves own) to sell their display ad inventory.30 Examples of large open-web
       publishers are USA Today, Weather.com, and Vox. In contrast, there are other publishers, including

       28   There are some forms of display ads that do not appear on websites, a notable example being in-app display ads. As I
            explain in Section IV, in-app ads are a distinct form of advertising from open-web display ads. Google also distinguishes
            between display, video, and in-app inventory. See GOOG-DOJ-AT-02199478, at -485 (06/2019).
       29   Certain ad networks can also be used to connect advertisers and publishers without relying on exchanges or publisher ad
            servers. See Section II.B.2.b.
       30   Unless otherwise specified, I use “publishers” in this report to mean “open-web publishers,” as these are the publisher
            customers of the ad tech products that are the focus of this report.



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       Amazon and large social media publishers such as Facebook, that sell their owned and operated
       (O&O) display ad inventory to advertisers through their own integrated, internally supplied ad tech
       tools (“integrated advertising tools”).31

(56)   In my report, I use “open-web display advertising” to refer to display ads shown on the websites
       (which can be viewed on desktop or mobile devices) of open-web publishers. This excludes other
       forms of digital advertising (including search and instream video), and display ads that are shown in
       applications used on mobile devices or on TV media players.32 Similarly, unless otherwise specified, I
       use the term advertisers in this report to refer to entities that purchase display advertising inventory.

(57)   Even though website visitors and hence viewers of display ads (“users” or “consumers”) are not direct
       customers of ad tech products, they too can be affected by changes in the quality or cost of display
       advertising. For example, users may benefit if display ads become more “relevant,” which can mean
       that ads more frequently contain valuable information for consumers. They may also benefit if
       increased monetization from display advertising allows publishers to fund the creation of new
       content. On the other hand, users can be made worse off if display advertisements become less
       relevant, rely on more personal data, become more expensive and lead to higher final prices of goods
       or services, or if publishers earn less from the sale of online display inventory and therefore are less
       able to produce valuable content.


       II.A.2. Uses of different forms of digital advertising

(58)   Companies use advertising to achieve a variety of goals. Potential goals include building awareness
       for a company’s products or brand, communicating a product’s attractiveness compared to
       alternatives (“consideration”), or acquiring a new customer and inducing them to make a purchase
       (“conversion”).33 These and other roles played by advertising are often described by marketers as
       corresponding to different stages of a consumer’s “journey” toward making a purchase. Marketing

       31   In a strategy document, Google described Facebook and Amazon as “typically requiring purchase through their buying
            door” in order to secure advertising inventory on their pages and referred to them as “[e]stablished walled gardens.” See
            GOOG-AT-MDL-001970341, at -348 (08/2021). See also GOOG-TEX-00151409, at -409 (08/18/2017) (describing
            Amazon and Facebook’s “walled garden inventory” and access to “open ecosystem inventory”); GOOG-DOJ-
            04442323, at -350 (2018), (describing Amazon and Facebook as part of “unaddressable” web inventory for Google’s
            display business).
       32   Apple and Android smartphones and tablets are examples of mobile devices, and Roku, AppleTV, Amazon’s Fire TV,
            and Google’s Chromecast are examples of TV media players.
       33   Philip Kotler and Kevin Lane Keller, A Framework for Marketing Management, 6th ed. (Pearson Education, 2016): 122.
            (“Some people are unaware of the product, some are aware, some are informed, some are interested, some desire the
            product, and some intend to buy… [M]arketers can employ a marketing funnel to break the market into buyer-readiness
            stages.”). See also Deposition of Kristy Kozlowski (Comcast), September 6, 2023, 186:8–186:13 (“Q. And what are the
            different parts of the [marketing] funnel? A. The top of the funnel would be more brand and awareness driving, the mid-
            funnel would be more consideration and the lower funnel would be more conversion.”); See also Amazon Ads, “What is
            a marketing funnel? How they work, stages, and examples,” Amazon Ads, accessed December 18, 2023,
            https://advertising.amazon.com/library/guides/marketing-funnel (describing a “four-stage marketing funnel” including
            the stages of “awareness, consideration, conversion, and loyalty.)



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       Figure 13. Google explanation of display advertising transaction types




       Source: GOOG-DOJ-03242646, at -670 (09/26/2018).



(65)   Direct transactions refer to those that are subject to terms individually and “directly” negotiated
       between publishers and advertisers.41 Direct transactions that utilize sales teams and require manually
       recording deal terms are referred to as “traditional tag-based” or “non-programmatic direct” deals,
       while those that rely on automation or ad tech products are referred to as “programmatic direct.”42
       Programmatic refers to “media or ad buying that uses technology to automate and optimize, in real
       time, the ad buying process.”43 Programmatic direct transactions can either reserve ad inventory that


       41    Google, “Delivery basics: Ways of transacting in Ad Manager,” Google Ad Managers Help, accessed on December 18,
            2023, https://support.google.com/admanager/answer/9248464.
       42   GOOG-DOJ-03242646, at -670 (09/26/2018) (defining Programmatic Direct as “[i]nventory bought from a particular
            media owner using automated processes, where a direct relationship exists between the buyer and the media owner in
            the form of pre-existing deal terms”); GOOG-DOJ-AT-02199478, at -525 (06/2019); Google, “Get started with
            Programmatic Direct,” Google Ad Manager Help, accessed December 18, 2023,
            https://support.google.com/admanager/answer/6239618.
       43   See Interactive Advertising Bureau, “Glossary of Terminology,” Interactive Advertising Bureau, accessed December 18,
            2023, https://www.iab.com/insights/glossary-of-terminology/. See also GOOG-DOJ-03242646, at -669 (09/26/2018)
            (“Programmatic advertising is the automation of buying and selling of digital advertising”).



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       is guaranteed for a buyer (“Programmatic Guaranteed”), or give the buyer a “preferred” option to buy
       the inventory (“Preferred Deals”), as described in more detail below.44

(66)   Indirect transactions allow open-web publishers to sell remaining (“remnant”) ad space on a page
       not allocated to direct deals to advertisers using ad tech products. Indirect transactions happen during
       the short period of time when a user loads a website. Indirect transactions can occur through auctions.
       These auctions can be conducted only among a publisher-approved set of advertisers (known as a
       “Private Auction”, which are sometimes facilitated through a “Private Marketplace”)45 or a wider set
       of potential advertisers (known as an “Open Auction”).46 Indirect transactions sold through auctions
       are categorized as programmatic.47

(67)   As I discuss further below in Section II.B.1, one of the primary features offered by a publisher ad
       server is its ability to assist a publisher managing the sale of display inventory using different
       transaction types.48 Figure 14 below provides a depiction of how Google has categorized different
       transaction types for display advertising. I describe each of these in more detail below.




       44    Google, “Programmatic Guaranteed vs. Preferred Deals,” Google Ad Manager Help, accessed December 18, 2023,
            https://support.google.com/admanager/answer/7637485; Google, “Transaction types,” Google Ad Manager Help,
            accessed December 18, 2023, https://support.google.com/admanager/answer/7637485; Google, “Transaction types,”
            Google Ad Manager Help, accessed December 18, 2023, https://support.google.com/admanager/answer/2805834. See
            also GOOG-DOJ-AT-02199478, at -527 (05/18/2020) (defining preferred deal as “direct deal between publisher and
            buyer at a selected price, evaluated before the private and open auctions, if the buyer bids agreed price, it buys the
            impression even if auctions might have a higher bidder. Buyer does not need to buy the impression.”).
       45   GOOG-AT-MDL-008544607, at -614 (05/18/2023).
       46   Google, “Transaction types,” Google Ad Manager Help, accessed December 18, 2023,
            https://support.google.com/admanager/answer/2805834.
       47    Google, “Ways of transacting in Ad Manager,” Google Ad Manager Help, accessed December 18, 2023,
            https://support.google.com/admanager/answer/9248464. (Some documents reference traditional networks, which sell
            previously unsold remnant inventory at pre-defined prices, as “indirect”). GOOG-DOJ-03242646, at -689 (09/26/2018)
            (In 2017 non-programmatic indirect transactions had an “Industry Average Ad Spend” of 2% as compared to 17% for
            programmatic indirect transactions).
       48   For example, when an online display impression becomes available for sale, a publisher’s ad server decides how to
            prioritize different transaction methods. Programmatic Guaranteed deals typically share the highest priority with (non-
            programmatic) direct deals, and are tracked via Deal IDs, which uniquely identify an arrangement made between a
            publisher and an advertiser beforehand and allow the publisher to treat it according to the negotiated contract terms. See,
            e.g., Google, “Line item types and priorities,” Google Ad Manager Help, accessed December 18, 2023,
            https://support.google.com/admanager/answer/177279; Google, “Programmatic Guaranteed vs. Preferred Deals,”
            Google Ad Manager Help, accessed December 18, 2023, https://support.google.com/admanager/answer/7637485. See
            also Interactive Advertising Bureau UK, “The Programmatic Handbook,” Interactive Advertising Bureau UK,
            September 2014 https://www.iabuk.com/sites/default/files/The%20Programmatic%20Handbook.pdf, 35.



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             flexibility to purchase ad inventory that meets their campaign goals without an “upfront
             commitment.”58

(72)   Certain publishers may prefer to sell at least part of their inventory through direct deals. These reflect
       “[r]eserved [i]mpressions” with “[p]remium placements and formats” and high rates that “reflect the
       value of [the] most premium inventory.”59 As I show in Section IV.B.4, in 2022, publishers using
       Google’s publisher ad server sold roughly 14% of their impressions through direct deals.60

       II.A.4.b. Indirect transactions and real-time bidding (“RTB”)

(73)   Indirect transactions fulfilled through auctions emerged in the late 2000s as an alternative way for
       publishers to fill remnant or otherwise unsold inventory, allowing a larger pool of buyers to bid on
       available ad space in “real-time.”61 Auctions involved participants engaging in real-time bidding
       (“RTB”), whereby ad inventory could be sold at variable prices whenever a user visited a webpage
       and impressions became available for sale.62 Prior to real-time bidding, publishers were able to sell
       indirect remnant inventory on a fixed-price basis.63 As shown in a Google presentation in Figure 15
       below, real-time bidding provided advantages over advertising that had previously been “[b]ought in
       advance, in bulk, and at a set price.”64




       58   DoubleClick by Google, “The buyer’s guide to Programmatic Direct,” Double Click by Google, accessed on December
            18, 2023, https://www.thinkwithgoogle.com/_qs/documents/717/canadian-buyers-guide-to-programmatic-direct.pdf, 12
            (describing an example where an advertiser targeting a certain demographic group identifies websites that complement
            its campaign, but, only a small fraction of these websites’ visitors meets the targeting criteria).
       59   GOOG-AT-MDL-008544607, at -613–615, -634, -665 (05/18/2020).
       60   DRX Internal Stats data (DOJ RFP 57). See Figure 31 in Section IV.B.4.
       61   Maciej Zawadzinski and Mike Sweeney, “Understanding RTB, Programmatic Direct and Private Marketplace,”
            Clearcode, April 13, 2018, https://clearcode.cc/blog/rtb-programmatic-direct-pmp/. See also GOOG-DOJ-03242646, at
            -664–667 (09/26/2018).
       62
            In my report, I use real-time bidding (RTB) to refer to the process by which a demand source is able to submit a bid for
            publishers’ ad inventory at the impression (or “query”) level and is not restricted to being able to purchase inventory at a
            predetermined price. For example, an open-web display transaction can involve RTB if real-time bids from various
            demand sources (e.g., from DSPs and advertiser ad networks within an ad exchange, or from ad exchanges within a
            publisher ad server) are sourced simultaneously. Although real-time bids can be sourced sequentially in a “waterfall”
            setup (see Section II.E.1), demand sources that are not called upon in a waterfall are not able to engage in RTB (and are
            instead, e.g., evaluated using a historical or static price). This is consistent with how Google uses the term (see GOOG-
            DOJ-03242646, at -664–65, describing real-time bidding as “the buying and selling of online media through real-time
            auctions” and “bought in real-time, at a variable price.”).
       63   GOOG-DOJ-03242646, at -670 (09/26/2018).
       64   GOOG-DOJ-03242646, at -665 (09/26/2018).



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       Figure 17. Worldwide indirect programmatic spending on open-web display advertising by transaction
       type through Google’s AdX and AdSense products (2016–2022)


                                                  Open Auction   Private Auction    Exchange Bidding   First Look

                                     $14



                                     $12



                                     $10
           Display ad spending (B)




                                     $8



                                     $6



                                     $4



                                     $2



                                     $0
                                           2016        2017         2018           2019        2020         2021    2022

       Source: Google XPP-M data (DOJ RFP 7).
       Notes: Revenues are limited to web transactions through Google’s AdX and AdSense and exclude transactions with “missing”
       or “unknown” transaction types. “Open Bidding” or “Exchange Bidding” is a program introduced by Google (described in more
       detail in Section II.E.4) and can include both Open Auctions as well as Private Auction transactions. First Look is a Google
       product that publishers can use to sell inventory ahead of its guaranteed inventory.




       II.B. Ad tech products used for web display advertising
(79)   Multiple ad tech products, or “components,” are used by publishers and advertisers to serve, manage,
       and transact display advertising.

(80)   Figure 18, based on a June 2020 Google presentation, provides a simplified depiction of the primary
       ad tech components. Publishers (i.e., sellers) are on the left-hand side, advertisers (i.e., buyers) are on
       the right-hand side, and ad tech products are in the middle. The diagram shows different sets of ad
       tech products, including publisher ad servers, ad exchanges, advertiser ad networks, and demand-side
       platforms. The diagram also highlights Google’s products, which I discuss further in Section II.C.




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       Figure 18. Illustration of Google's ad tech products




       Source: Chart created using information from GOOG-DOJ-AT-01510462, at -469, -471; GOOG-DOJ-04601261.



(81)   Figure 19, copied from an internal Google document, offers a more detailed visualization of the
       various ad tech components.72 The figure groups together the ad tech products and shows how each
       connects with another. Each box within the figure lists the ad tech product at the top, followed by
       Google’s offering in the space, and then by non-Google offerings.73 The colored shading is added to
       highlight products I focus on in this report. For example, the green box represents the ad exchange:
       Google’s ad exchange is AdX, whereas AppNexus (now Xandr) and Rubicon (now Magnite) operate
       third-party ad exchanges. As noted at the bottom of the figure, different ad tech products are
       categorized as “buy-side” (advertiser-facing) or “sell-side” (publisher-facing).




       72   The figure includes products which do not necessarily facilitate the sale of web display advertising (such as Google
            Campaign Manager) as well as products which sell in-app digital advertising (such as AdMob).
       73   I discuss the highlighted products in more detail below.



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       Figure 19. Google’s visualization of the ad tech stack (not restricted to display) (2018)




       Source: GOOG-DOJ-04601261 (03/18/2018).
       Note: Highlighting added. While the overall structure of the ad tech stack has largely remained the same since this graphic was
       created in 2018, the names and ownership of certain product offerings may have changed (e.g., Google’s “DBM” DSP is now
       known as “DV360”).



(82)   At a high level, an indirect transaction for display advertising typically utilizes many different ad tech
       products. For example, in an indirect transaction involving RTB, a publisher’s ad server may send a
       request to an ad exchange, which in turn sends bid requests to multiple demand-side platforms (DSPs)
       and advertiser ad networks; advertisers then use DSPs or advertiser ad networks to bid on the request;
       the ad exchange runs an auction to determine which bids to pass along to the publisher ad server;74 the
       publisher ad server uses that information to determine which ad to serve (taking into account direct
       agreements the publisher may have with individual advertisers as well as bids from other exchanges
       and sources of advertising demand (“demand sources”)); and the winning advertiser’s ad server may
       then deliver the ad for placement on the web page.

(83)   As Figure 19 makes clear, each layer of the ad tech stack is composed of multiple products provided
       by a collection of companies. Hence, as long as those products allow such interconnections,
       advertisers and publishers can utilize different combinations of products (e.g., The Trade Desk’s DSP
       with Google’s AdX exchange) to transact with one another across the stack. When publishers and
       advertisers have more options to connect with one another, advertisers will be more likely to identify

       74   I describe this process in more detail in Section II.B.3. As shown in Figure 18 and Figure 19, ad networks are placed in
            the center of the ad tech stack and directly connect largely torso (medium) and small publishers to torso and small
            advertisers (with some exceptions). These ad networks, notably Google Display Network (GDN), can contain both
            advertiser- and publisher-facing components which can interoperate with other products. For example, as I discuss later
            in Section II.C.3.a, the advertiser-facing component of GDN, Google Ads, can participate in RTB auctions through AdX
            in addition to being able to purchase inventory through the publisher-facing component of GDN, AdSense.



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       additional valuable impressions to bid on, and publishers will more likely be able to sell the
       impressions generated by visitors on their webpages. Having more options available to advertisers
       and publishers will also tend to increase competition among ad tech products to provide higher
       quality services at lower prices.

(84)   In this subsection I describe the functionality of the highlighted ad tech components in Figure 19
       (publisher ad servers, DSPs, advertiser ad networks, and ad exchanges). I provide more detail about
       Google’s specific offerings in Section II.C.75


       II.B.1. Publisher ad servers

(85)   Publisher ad servers are software products, often centrally hosted and accessed over the internet, used
       by publishers to facilitate the management and sale of display ads across different demand sources
       (e.g., ad networks and ad exchanges) and transaction types (e.g., direct and indirect deals).76 While in

       75   Advertisers and publishers also use a number of peripheral products to assist in the development of advertising content
            and to manage their data. Two examples of these products are advertiser ad servers and data management platforms
            (“DMPs”).
            Advertiser ad servers are software products used by advertisers to serve, manage, and track their ad campaigns across
            websites and applications. They help share the chosen creative with publishers and monitor user clicks, conversions, and
            other relevant metrics across publishing platforms. IAB, Glossary of Terminology,” IAB, accessed December 16, 2023,
            https://www.iab.com/insights/glossary-of-terminology/; Ankit Oberoi, “What is an ad server and how does it work?”
            https://www.adpushup.com/blog/the-ultimate-guide-to-ad-servers/. Companies such as Adform, Google and Sizmek
            operate advertiser ad servers. See Adform, “The Adform Ad Server,” Adform, accessed December 18, 2023,
            https://site.adform.com/products/integrated-advertising-platform/ad-serving/; Google, “Overview of Campaign Manager
            360,” Campaign Manager 360 Help, accessed December 18, 2023,
            https://support.google.com/campaignmanager/answer/2709362; Delacon, “Sizmek MDX,” Delacon, accessed December
            18, 2023, https://www.delaconcorp.com/integrations/third-party-ad-server/sizmek-mdx/.
            DMPs are software products that collect, store, and organize advertising-related data for advertisers, publishers, and
            other intermediaries for the purposes to improving ad targeting and conducting advanced analytics. See Maciej
            Zawadziński and Mike Sweeney, “What is a Data Management Platform (DMP) and How Does it Work?” Clearcode,
            May 21, 2015, https://clearcode.cc/blog/data-management-platforms/. DMPs combine data from their customers
            (publishers or advertisers, usually via their ad servers), with data from other significant players in the advertising
            industry, and broad data aggregators. See Lotame, “First-Party Data, Second-Party Data, Third-Party Data: What Does It
            All Mean?” Lotame, last modified November 16, 2023, https://www.lotame.com/1st-party-2nd-party-3rd-party-data-
            what-does-it-all-mean/. Other than Google, companies such as Adobe, Lotame, Nielsen, and Oracle operate DMPs.
            Adobe Experience Cloud, “Building an experience business starts with an experience-based DMP,” Adobe Experience
            Cloud, accessed December 21, 2023, https://www.adobe.com/experience-cloud/topics/data-management-platform-
            dmp.html; Lotame, “What is a Data Management Platform (DMP)?” Lotame, last modified November 14, 2023,
            https://www.lotame.com/what-is-a-data-management-platform/; Nielsen, “Modernize for the future for smarter and
            more effective marketing,” Nielsen, accessed December 21, 2023, https://www.nielsen.com/solutions/media-
            planning/marketing-cloud/; Oracle, “Oracle BlueKai Data Management Platform,” Oracle, accessed December 21, 2023,
            https://www.oracle.com/cx/marketing/data-management-platform.
            Other products used by advertisers include creative suites, which help advertisers build advertisements, and media
            planners, which help advertisers plan their advertising campaigns.
       76   Industry participants have referred to publisher ad servers as a “software-as-a-service” (SaaS) product, i.e., a product in
            which software is centrally hosted and licensed to users to access online. Alise Zaiceva, “What is an Ad Server? A
            Complete Guide for Publishers,” SETUPAD Blog, January 9, 2023, https://setupad.com/blog/ad-server/. Publisher ad
            servers may also be able to handle the sale of non-display (e.g., instream video) or in-app display advertising. See
            Deposition of Jeremy Helfand (Disney), September 29, 2023, 132:3–132:8 (“Q. And just so I’m clear, does Disney still
            use Google’s DFP ad server to sell video advertising outside of Hulu and Disney+? A. The Google Ad Manager,
            previously DFP, is used to deliver video advertising on some of our properties like ESPN.”).



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       principle a publisher could sell ad inventory to a narrower set of buyers without a separate ad server, a
       publisher ad server allows a publisher to manage a wider range of demand sources and transaction
       types, as I discuss in Section IV.C.1.

(86)   A publisher using a publisher ad server is able to divide its webpage into ad units, which are spaces in
       which an ad can be displayed.77 One key feature of publisher ad servers is their ability to choose
       between indirect sources, such as ad exchanges, and other monetization sources, such as direct deals,
       to fulfill a particular advertising opportunity in real-time, according to priorities and requirements put
       in place by the publisher through its publisher ad server.78 This functionality is particularly important
       for large publishers or those with more complex needs: for example, publishers who need to meet the
       pricing and scheduling requirements of direct deals while simultaneously seeking to allocate
       remaining inventory via indirect transactions in a manner that most effectively monetizes their display
       inventory.79 Publisher ad servers also provide useful monitoring and reporting capabilities to help
       publishers track their monetization performance through metrics such as impressions, clicks, and
       expected payout rates.80

(87)   Below, in Section II.C.1, I provide more details about how publisher ad servers work.

(88)   Publishers rarely if at all use multiple publisher ad servers for selling web display inventory.81 In
       addition, publishers rarely switch publisher ad servers due to significant switching costs.82


       77   See, e.g., Google, “Get Started with ads in Google Ad Manager,” Google Ad Manager, accessed December 16, 2023,
            https://support.google.com/admanager/answer/6027116?hl=en&ref_topic=7506292.
       78   Publisher ad servers also provide ad serving technology and revenue optimization among other functions (e.g., billing
            and performance tracking) to publishers. See Deposition of Scott Sheffer (Google), July 20, 2021 80:15–81:22 (“What a
            [publisher] ad server enables a publisher to do is, subject to the publisher’s decisions around pricing and scheduling and
            budgeting, the ad server enables them to run their monetization business according to the rules and the criteria and the
            setup that the publisher puts in place with that ad server.”); see also Deposition of Max Loubser (Google), April 21,
            2021, 167:3–167:20, (“Q. Focusing specifically on the reference to decision logic, how did header bidding present a
            challenge to DFP with respect to decision logic? A. … The decision logic typically refers to the process of the DFP ad
            server selecting which advertisement to deliver to the publisher’s web page or other environment. And in order to make
            a good decision, where a good decision is one that would be optimal for the revenue of the publisher and then, again, as
            before, the advertiser’s interests and the user’s interests.”).
       79   See Deposition of Scott Sheffer (Google), July 20, 2021, 79:19–84:3 (“[A] typical publisher has a chunk of advertising
            inventory that they would like to monetize… The challenge for a publisher is that they have typically a direct sales team,
            which may sell some of that inventory directly at negotiated rates that they do with an advertiser agency. And then they
            may have other inventory that a publisher may wish to monetize. What an ad server enables a publisher to do is, subject
            to the publisher’s decisions around pricing and scheduling and budgeting, the ad server enables them to run their
            monetization business according to the rules and the criteria and the setup that the publisher puts in place with that ad
            server.”).
       80   ATT-GCID-00000183, at -184 (03/06/2019).
       81   See Section III.C. See also Deposition of Andrew Casale (Index Exchange), September 26, 2023, 111:18–112:25 (“Q.
            How common is it for a publisher to utilize more than one publisher ad server? … It’s not – it’s very rare. That hardly
            every happens...A. Common across channel, so a publisher might opt to use an ad server for web display and a different
            ad server for video. I don't think publishers ever use two ad servers for one channel, so I don't think publishers would
            ever use two ad servers for web display.”).
       82   See Section III.C. See also GOOG-DOJ-01657697, at -833 (03/14/2007);GOOG-TEX-00076049, at -049 (“Ad Servers



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       advertisers are typically referred to as demand side platforms (“DSPs”). Bidding tools geared to the
       needs of smaller advertisers or those with less “complex” needs are typically associated with, but not
       necessarily synonymous with, advertiser ad networks.

(92)   Although both DSPs and advertiser ad networks are used by advertisers to place real-time bids on
       open-web display impressions, there are significant differences between the two sets of tools and the
       types of advertisers who use them. Advertiser ad networks often offer a more automated buying
       experience for advertisers who either lack the technical proficiency to utilize the complex features of
       DSPs or simply want a more “hands-off” solution.91 Advertisers who use DSPs tend to be larger
       advertisers who use media agencies to bid on their behalf.92

(93)   I describe DSPs and advertiser networks below and discuss differences between them further in
       Section IV.E.1.a.

       II.B.2.a. Demand-side platforms (DSPs)

(94)   DSPs are products that allow advertisers to manage and submit real-time bids for display inventory
       through ad exchanges.93 DSPs facilitate audience targeting, in some cases allowing sophisticated
       advertisers to also use their own data to target customers and refine campaigns.94 For example, using

       91   In a 2011 email exchange, Brad Bender (Product Management Director at Google), notes that “GDN is a network,
            which means that Google sales and technology is managing the buy for you and delivering conversions. This is the
            ‘hands-off solution’ for large advertisers and the self-service offering for regular advertisers that you access through
            AdWords.” GOOG-DOJ-05244847, at -847 (02/23/2011) (emphasis in original). A 2019 Google internal presentation
            titled “2019 DV360 Pricing” notes that with AdWords, “Google does all the optimization,” whereas with DV360,
            “[b]uyers have decision control.” See GOOG-DOJ-08138645, at -674 (08/21/2018). Eisar Lipkovitz stated in his
            deposition that “DSPs end up being these very complex super features that, in order to run a campaign, you need to have
            somebody super knowledgeable.” See Deposition of Eisar Lipkovitz (Google), March 31, 2021, 88:13–90:28.
       92   Google’s former lead engineer for the display and video team, Eisar Lipkovitz, stated in his deposition: “In my opinion,
            [small advertisers] have no reason to [use a DSP]. And, you know, like many of these other companies, and probably
            including Google, won’t even return their phone call, right? It just doesn’t make sense.” See Deposition of Eisar
            Lipkovitz (Google), March 31, 2021, at 32:2–32:5 and 93:19–94:3. However, the sorting of advertiser types between the
            two types of buy-side products may not be based solely on size. On the types of advertisers that use networks, Lipkovitz
            stated: “It was a very long list, right. It could be an agency. It could be a very large advertiser. It could be a really tiny
            advertiser, because it was a simpler product used.” See Deposition of Eisar Lipkovitz (Google), March 31, 2021, 93:7–
            93:13.
       93   See, e.g., Deepak Sharma, “What is a Demand Side Platform and Its Importance for Publishers?,” adpushup, March 10,
            2023, https://www.adpushup.com/blog/what-is-demand-side-platform/. In limited cases, some DSPs such as Google’s
            DV360 enable transactions directly to a publisher’s ad server. I discuss these cases in additional detail in Appendix K.3.
       94   GOOG-AT-MDL-004522085, at -107 (02/23/2017) (“For larger or more sophisticated display buyers or agencies
            interested in more customization and additional controls that allow use of their own intelligence to drive successful
            campaign strategies DBM will generally prioritize the ability for customers to customize and control their campaigns at
            a granular level.”). See Deposition of Eisar Lipkovitz (Google), March 31, 2021, 88:15–88:19 (“So if you wanted to
            make a distinction, right, and if you wanted to I sell that is worth it, right, is that DSPs generally were giving the
            advertiser a lot more control.”). See also Aleesha Jacob, “What is a Demand Side Platform (DSP)? Benefits and
            Features Explained. Best in the Market Listed & More,” MonetizeMore, last modified September 25, 2023,
            https://www.monetizemore.com/blog/demand-side-platform-dsp/ (“The added control of this bidding environment lets
            them make accurate buyer decisions and target the most relevant audience.”); Anthony Loredo, “Programmatic
            Advertising 101: What is a DSP?,” Basis Technologies, July 26, 2022, https://www.centro.net/blog/programmatic-101-
            dsps-explained.



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       a DSP, advertisers can construct campaigns to target particular groups or users (for example, parents
       in Virginia who are looking for daycares) and bid across multiple ad exchanges.95 Advertisers,
       through their DSP, may have the option of choosing which exchanges to bid into for inventory.96

(95)   As I discuss in Section III.C, there is evidence that advertisers using DSPs often use more than one.

(96)   DV360, formerly DoubleClick Bid Manager (“DBM”), is Google’s DSP. Other companies that offer
       or have offered DSP products are Adobe,97 Amazon,98 The Trade Desk,99 Verizon Media,100 and
       Xandr.101

       II.B.2.b. Advertiser ad networks

(97)   Similar to DSPs, advertiser ad networks are products that advertisers use to purchase display ad
       inventory from publishers.102,103 In contrast to DSPs, advertiser ad networks provide a more managed
       and automated experience for advertisers and have a much simpler user interface.104


       95  DAN000021 at -023 (04/18/2016) (“DBM provides access to extensive 3rd party data and allow advertisers to use their
           own data through their own DMP”). See also Deepak Sharma, “DSP vs. DMP: Differences, Similarities, and Their
           Hybrid Model,” adpushup, March 3, 2023, https://www.adpushup.com/blog/dsp-vs-dmp-differences-similarities-and-
           their-hybrid-model/.
       96 Display and Video 360 Help, “Managing Exchanges,” Google DV360, accessed December 16, 2023,

           https://support.google.com/displayvideo/answer/9230278. See also GOOG-AT-MDL-010636992 (“Response of 2
           October to EC Questionnaire received on 12 July 2021”), at -006 (10/02/2021) (“In order to bid on an SSP, an advertiser
           needs to first ‘enable’ the SSP by going to ‘Partner Settings > Basic Details > Exchanges’. In the Exchanges section, the
           advertiser will see a list of SSPs that are available on DV360. To enable an SSP, the advertiser needs to check the box
           next to the SSP. This applies to all SSPs, including AdX. That is, to bid on AdX, the advertiser needs to check the box
           next to Google Ad Manager in the Exchanges section. This is the ‘managing exchanges’ feature referred to in this
           question.”).
       97 Adobe Experience Cloud, “One demand-side platform to rule them all,” Adobe Experience Cloud, accessed December

           14, 2023, https://www.adobe.com/advertising/demand-side-platform.
       98 Amazon Ads, “Amazon DSP,” Amazon Ads, accessed December 16, 2023,

           https://advertising.amazon.com/solutions/products/amazon-dsp.
       99 The Trade Desk, “The Trade Desk repeats as top-ranked demand side platform based on Net Promoter Score,” Tthe

           Trade Desk, October 31, 2017, https://www.thetradedesk.com/press-releases/the-trade-desk-repeats-as-top-ranked-
           demand-side-platform-based-on-net-promoter-score.
       100 Yahoo Advertising, “Ad Solutions Worth Yodeling About,” Yahoo Advertising, accessed December 16, 2023,

           https://www.verizonmedia.com/insights/emerging-channels-reach-audiences-in-new-ways-with-our-dsp.
       101 Microsoft Advertising, “Xandr,” Microsoft Advertising, accessed December 16, 2023,

           https://www.xandr.com/platform/invest/.
       102 Maciej Zawadzinski and Mike Sweeney, “What is an Ad Network and How Does it Work?,” Clearcode, March 7, 2018,

           https://clearcode.cc/blog/what-is-an-ad-network-and-how-does-it-work/. See also GOOG-DOJ-14053654. at -659
           (08/30/2017).
       103 Ad networks, as shown in Figure 19, are often depicted as connecting advertisers and publishers directly, and can have

           both an advertiser-facing component (“advertiser ad network”) and a publisher-facing component. As noted above,
           Google Ads is the advertiser-facing component of Google’s GDN network; AdSense is the publisher-facing component.
           I describe AdSense in further detail in Section II.C.3.b below.
       104 In his deposition, Eisar Lipkovitz states, “networks in general have a very simple UI…where you give us your

           objective…and the network does everything automatically for your and you get a good outcome”. Deposition of Eisar
           Lipkovitz (Google), March 31, 2021, 88:13––90:2.



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(101)   Examples of advertiser ad networks for web display advertising include Google Ads and Criteo.112
        Meta Audience Network (formerly Facebook Audience Network) facilitated advertising transactions
        to open-web publishers until 2020, when it shifted focus to advertising on Meta O&O properties and
        select third-party mobile apps.113

(102)   Ad networks, like Google’s Display Network with AdSense, may also have a publisher-facing
        component used by open-web publishers to sell display inventory. I describe AdSense in further detail
        in Section II.C.3.b below.


        II.B.3. Ad exchanges

(103)   Ad exchanges (also previously referred to as supply side platforms, or “SSPs”) are software products
        that run real-time auctions for publishers’ display ad inventory.114, 115 Publishers can sell display ads
        through ad exchanges via a publisher ad server, and advertisers can bid on those impressions using
        DSPs and advertiser ad networks.

(104)   Ad exchanges can improve the matching of impressions between publishers and advertisers, and
        increase payouts for publishers relative to non-RTB indirect deals by allowing advertisers to bid in
        real-time.116 They also provide additional control and targeting to both publishers and advertisers:

        112 A 2018 Google document describes Criteo as a “[c]ompetitive performance ad network” and lists Facebook Ads (no
            longer active in open-web display) as the only other display ad network competitor. See GOOG-AT-MDL-003977297
            (“Buyside Deep Dive”) at -312 (03/13/2018). See Section V.D.
        113 Allison Schiff, “Facebook is Killing Off Its Web Supply In Audience Network – And Don’t Be Surprised If It All Shuts

            Down,” adexchanger, February 5, 2020, https://www.adexchanger.com/platforms/facebook-is-killing-off-its-web-
            supply-in-audience-network-and-dont-be-surprised-if-it-all-shuts-down/. See also Meta, “Changes to Web and In-
            stream Placements,” https://www.facebook.com/business/help/645132129564436; Meta, “Meta Audience Network,”
            https://www.facebook.com/audiencenetwork/ and discussion in Section V.B.2.b.
        114 While previously distinct, SSPs and ad exchanges today are often used to refer to the same set of products. GOOG-DOJ-

            04429792 (“Monetization Cheatsheet” presentation) at -795 (03/27/2017) (“Sell Side Platform (SSP)/Exchange –
            service for managing multiple programmatic monetization sources of online display inventory, DSP and ad networks are
            considered ‘Buyers’, and publishers and publisher networks are considered ‘Sellers’. Google Exchange is called AdX”).
            See also GOOG-DOJ-AT-02199478 (“Ad Manager Ecosystem 101” presentation) at -481(06/2019) (“SSP is a publisher
            tool that lets them configure rules that (Ad) Exchanges must adhere to on the publisher inventory. For example:
            publishers can set advertisers they don’t want on their sites (for example competitors) and they can set minimum prices
            for which ads can be bought (to protect direct ad sales)[.] Often SSP and Exchange are bundled as one product and both
            names are used interchangeably”); Ryan Joe, “Defining SSPs, Ad Exchanges and Rubicon Project,” AdExchanger, Feb.
            7, 2014, https://www.adexchanger.com/yield-management-tools/defining-ssps-ad-exchanges-and-rubicon-project/ (“The
            distinction between an ad exchange and a supply-side platform (SSP) has become muddled as the once disparate but
            complementary technologies have merged.”). See also Michal Wlosik and Maciej Zawadzinski, “What is a Supply-Side
            Platform (SSP) and How Does It Work?,” Clearcode, October 18, 2018, https://clearcode.cc/blog/what-is-supply-side-
            platform/.
        115 While certain exchanges such as Google’s AdX have begun to facilitate programmatic direct transactions, ad exchanges

            have primarily fulfilled indirect deals via RTB auctions. In 2022, fewer than 4% of impressions and less than 14% of
            spend transacted by exchanges that produced data sufficient to identify transaction type in this matter were transacted
            through direct transactions.
        116 A 2018 Google presentation noted that RTB transactions offered publishers “[h]igher eCPMs” and allowed advertisers

            to “[t]arget and buy only the advertising they want, at an appropriate value”. See GOOG-DOJ-03242646, at -666
            (09/29/2018).



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        publishers can adjust minimum prices for their inventory and manage which advertisers are allowed
        to purchase their inventory, and advertisers can target particular publication and consumer
        characteristics at a specific per-impression price.117

(105)   The process through which an impression is sold through an ad exchange can be summarized as
        follows:118

        1. When an internet user browses the publisher’s website, available impressions on that web page,
           as well as data about the user, are sent from a publisher’s ad server to the ad exchange for
           auction.
        2. The ad exchange sends bid requests to various demand sources, which include DSPs and
           advertiser ad networks.
        3. Demand sources determine whether to bid on the impression and, if so, how much to bid.
        4. The ad exchange then evaluates all bids received on the basis of whether the bid meets criteria set
           by the publisher. For example, a publisher could specify that they do not want to show ads from
           their competitors.119
        5. After restricting to bids that meet the publisher’s criteria, the ad exchange then selects the bidder
           with the highest bid (typically running either a first- or second-price auction)120, and sends the
           winning bid to the publisher’s ad server. In certain circumstances, bids from the ad exchange can
           compete with direct-sold ads and bids from other exchanges and networks within the publisher ad
           server.121

(106)   Publishers that use exchanges often use multiple exchanges within their publisher ad servers.122

        117 GOOG-DOJ-03242646, at -665, -666 (09/26/2018).
        118 GOOG-DOJ-AT-02199478, at -488, -500, -501 (05/26/2021). See also Irina Kovalenko, “What is an Ad Exchange?,”
            Programmatic 101, January 30, 2017 https://smartyads.com/blog/what-is-an-ad-exchange/.
        119 Google, “Protections overview,” Google Ad Manager Help, accessed December 18, 2023,

            https://support.google.com/admanager/answer/2913553.
        120 In both a first- and second-price auction, the winner is the highest bidder as long as the highest bidder clears the

            minimum price the seller is willing to accept, which is known as the reserve or “floor” price. If no one clears the reserve
            price, no one wins the auction. The difference between the two auction formats if there is a winner is that in a first-price
            auction, the winner pays her bid; in a second-price auction, the winner pays the higher of the second-highest bid or the
            reserve price. See Section III.E for additional detail.
        121 For example, as I explain in Section II.E.2, Google’s Dynamic Allocation allows bids from its ad exchange to compete

            with direct-sold deals. In Section II.E, I provide further detail on how publisher ad servers select among competing ad
            sources.
        122 GOOG-DOJ-04329872, at -872 (11/10/2015) (In a November 2015 email exchange, Eisar Lipkovitz wrote that many

            publishers “wouldn’t want to go exclusive with any SSP”). See Deposition of Scott Sheffer (Google), July 20, 2021,
            149:20–151:24. See also Deposition of Tim Craycroft (Google), August 15, 2023, 143:10–143:17 (“most publishers
            using SSPs are using three, four, five of them at a time.”). Mr. Craycroft is currently a Vice President and General
            Manager at Google who is “responsible for YouTube ads…Google Display ads, Google app ads, [and] publisher
            products, including Google Ad Manager, AdSense, [and] AdMob. Deposition of Tim Craycroft (Google), August 15,
            2023, at 28:2–28:16.



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(107)   Examples of ad exchanges include Google’s Ad Exchange (“AdX”), PubMatic, Magnite (formerly
        Rubicon), and Xandr (formerly AppNexus).123


        II.C. Google’s ad tech products
(108)   In this Section, I describe Google’s publisher ad server, ad exchange, ad network, and DSP products.

        ◼     In Section II.C.1, I describe DFP, Google’s publisher ad server.
        ◼     In Section II.C.2, I describe AdX, Google’s ad exchange.124
        ◼     In Section II.C.3, I describe Google Ads and AdSense, which are the advertiser- and publisher-
              facing components of the Google Display Network.
        ◼     In Section II.C.4, I describe DV360, Google’s DSP.

(109)   Last, in Section II.C.5, I briefly describe other products that Google owns that facilitates the sale of
        digital display advertising, including its advertiser ad server, Google Campaign Manager, and its data
        analytics product, Google Analytics.125


        II.C.1. DoubleClick for Publishers (DFP)

(110)   DFP is Google’s publisher ad server, used by publishers to manage, sell, and serve display ads.126



        123 Deposition of Tim Craycroft (Google), August 15, 2023, at 90:25––92:6.
        124 In June 2018, Google introduced Google Ad Manager (GAM) which combined DFP and AdX. Jonathan Bellack,
            “Introducing Google Ad Manager,” Google Ad Manager, Jun. 26, 2018,
            https://blog.google/products/admanager/introducing-google-ad-manager/. See Appendix K.1 for further detail on GAM.
            There is still a distinction between AdX and DFP. See e.g., GOOG-AT-MDL-008842393, at -395 (08/04/2023) (“Up
            until at least December 2021, it was possible for a publisher using Google Ad Manager to exclude AdX from the sale
            process altogether.”); see also GOOG-AT-MDL-000992438, at -438 (05/2022) (2022 Google Presentation, “We have
            now retired the DoubleClick brand, but internally, the products are still referred to as DFP and AdX.”). In my report, I
            use DFP and AdX to refer to the publisher ad server and ad exchange products within GAM.
        125 I also describe its AdMob product which focuses on in-app advertising,

        126 Historically there have been two versions of DFP (DFP Premium and DFP Small Business) that differed in pricing and

            features. Currently, GAM 360 and GAM include these products. See, e.g., GOOG-AT-MDL-B-003167073, at -074
            (08/30/2018). (“Ad Manager is available in two flavors – Ad Manager (formerly DFP Small Business) (~30% of gross
            media revenue) offers self-serve signups and free ad serving at low volumes; Ad Manager 360 (~70% of gross media
            revenue) is for major media companies with negotiated contracts.”) See also Google, “Repost: Publishers are
            succeeding on DFP,” DoubleClick Publisher Blog, October 29, 2012, https://doubleclick-
            publishers.googleblog.com/2012/10/ (“We announced DFP two years ago with the goal of helping publishers open doors
            to new revenue. Since then, thousands of our smaller publishers have switched to DFP for Small Business and hundreds
            of our largest partners to DFP Premium.”). See also GOOG-DOJ-13218256, at -256 (10/11/2018). (“Over the last 10
            years, Google Ad Manager (AM) and Google Ad Manager 360 (AM 360) have converged into almost identical products
            with little feature differentiation. The few differentiators include data transfer, exchange bidding, teams support,
            audience features, special ad units, 5-level ad units, and advanced video functionality (full list, pitch deck).”); See
            Section II.D for a description of DFP pricing.



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(111)   DFP’s transaction methods include, for example, Programmatic Guaranteed, Preferred Deals, Open
        and Private Auction, and non-programmatic direct deals in which the terms are negotiated and
        finalized outside of DFP.127

(112)   Publishers can either sell individual ad units or create “placements,” which are groupings of similar
        ad units that publishers bundle together to sell in bulk.128

(113)   Each ad unit has an associated “tag,” which is a line of code that the publisher inserts on one of its
        webpages. The tag allows a user’s web browser to communicate with the publisher’s ad server
        whenever the user visits the publisher’s webpage and a display ad impression becomes available.129
        Whenever a user loads a webpage with a tag, the tag sends information to DFP, including,130

        ◼     The HTTP header, which contains information on the user’s browser type, operating system, date
              and time;

        ◼     The user’s IP address, which contains the user’s geographic location;
        ◼     A user identifier, which provides additional information about the user, for example through
              DoubleClick cookies or a mobile device identifier;
        ◼     Custom targeting criteria set by the publisher, such as size and other characteristics of the ad unit,
              and information about what types of advertisements can appear;

(114)   An important role of DFP (and publisher ad servers in general) is deciding which advertisements are
        displayed on the publisher’s webpage. Using the data provided by the tag, DFP references a list of
        “line items” representing potential advertising sources available to the publisher that the publisher has
        placed into DFP, and selects those line items that match the targeting criteria set by the publisher
        which are then “eligible” to be served. Line items contain information about how certain
        advertisements are intended to serve on the publisher’s website or app, and can represent both
        guaranteed and non-guaranteed deals.131



        127 Google, “Ways of Transacting in Ad Manager,” Google Ad Manager Help, accessed December 18, 2023,
            https://support.google.com/admanager/answer/9248464?hl=en&ref_topic=7506292.
        128 Google, “About Placements,” Google Ad Manager Help, accessed December 18, 2023,

            https://support.google.com/admanager/answer/177397?hl=en.
        129 Google, “Overview of Google Publisher Tag,” Google Ad Manager Help, accessed

            https://support.google.com/admanager/answer/181073?hl=en&ref_topic=4390039&visit_id=637345059942282309-
            4157743706&rd=1.
        130 Google, “Overview of Google Publisher Tag,” Google Ad Manager Help, accessed December 18, 2023,

            https://support.google.com/admanager/answer/1143651?hl=en&ref_topic=7506292.
        131 Google, “About line items,” Google Ad Manager Help, accessed December 18, 2023,

            https://support.google.com/admanager/answer/9405477?hl=en&ref_topic=7506394. See also Google Ad Manager Help,
            “Ad selection white paper,” Google Ads Manager Help,
            https://support.google.com/admanager/answer/1143651?hl=en&ref_topic=7506292.



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        Figure 22. Google's depiction of the “Yield Curve” and priority levels in DFP




        Source: GOOG-DOJ-09498307, at -317 (12/10/2019).



        II.C.2. AdX

(120)   AdX is Google’s ad exchange. AdX primarily facilitates auction-based indirect transactions via open
        and private auctions.140

(121)   Currently, Google-owned bidding tools (DV360 and Google Ads) and third-party (non-Google) ad
        networks and DSPs are able to bid into AdX. A 2017 Google presentation notes that AdX connects
        publishers to “100% of the top ad networks, agency holding companies and DSPs” as well as “unique
        demand” through Google Ads (formerly AdWords).141 Although third-party bidding tools can
        compete for publisher inventory that is auctioned through AdX, the vast majority impressions sold
        through AdX are purchased via DV360 and Google Ads: in 2022, approximately 78% of impressions
        sold on AdX were transacted using DV360 and Google Ads.142




            line items. See Section II.E.2 for additional details.
        140 AdX also can be used for programmatic guaranteed deals. See GOOG-DOJ-04429792, at -809 (08/28/2017).
        141 GOOG-DOJ-04429792, at -804 (08/28/2017).

        142 Google AdX data (DOJ RFP 53).




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        II.C.3. Google Display Network (GDN)

(122)   Google’s display ad network, also referred to as the Google Display Network (GDN), consists of over
        2 million websites, videos, and apps where targeted display ads can appear.143 GDN consists of an
        advertiser-facing component, known as Google Ads, and a publisher-facing component, known as
        AdSense.

        II.C.3.a. Google Ads

(123)   Google Ads is Google’s advertiser ad network.144 With respect to display advertising, Google defines
        Google Ads as its “advertiser-facing component of Google’s ad network, which advertisers can use to
        set up media campaigns to show digital ads on Google-owned inventory and third-party partner
        websites.”145 Using Google Ads, advertisers can control their ad settings and choose specific formats
        that they wish to run (e.g., text or image).146 As they run ads, advertisers can also track campaign data
        related to conversions,147 click-through rate (“CTR”),148 keywords, search terms,149 impressions,
        clicks, and average CPC.150

(124)   One important feature of Google Ads as an advertiser ad network is the ability for bidders to bid for
        display ads on a CPC basis, even for impressions that are sold on a CPM basis. See Section II.B.2.b
        and Section IV.E.




        143 Google, “Display Network: Definition,” Google Ads Help, accessed December 18, 2023,
            https://support.google.com/google-ads/answer/117120. Note that “GDN” is used in internal documents and depositions
            to refer to both Google Ads and Google’s sell-side inventory (e.g., AdSense publishers).
        144 Google, “Google Ads,” accessed December 18, 2023, https://ads.google.com/home/. Originally launched in 2000 as

            Google AdWords, Google Ads originally allowed businesses to buy advertisements on Google search engine results
            pages. See GOOG-AT-MDL-010636992, at -994 (10/02/2021). Today, Google Ads allows businesses to execute
            Search, Shopping, Display, Video, App, and Local Campaigns, thus reaching audiences through Search, across websites,
            within Gmail, on YouTube, and more. See Dennis Buckley, “Types of Google Ads: Ad Formats, Campaign Types &
            Best Practices for 2022,” Demand Curve, accessed December 18, 2023, https://www.demandcurve.com/blog/types-of-
            google-ads; Google, “Chose the right campaign type,” Google Ads Help, accessed December 18, 2023,
            https://support.google.com/google-ads/answer/2567043. In this report, when I use Google Ads, I am referring to its
            display advertising component.
        145 GOOG-AT-MDL-006218257, at -260 (12/16/2022). Google also states that, “Google Ads is the advertising-facing

            component of Google’s ad network, not a DSP.” See also GOOG-AT-MDL-010636992, at -994 (10/02/2021).
        146 Google, “About Ad Formats available in different campaign types,” Google Ads Help, accessed December 18, 2023,

            https://support.google.com/google-ads/answer/1722124?hl=en&ref_topic=3121941.
        147 Google, “About return on investment (ROI),” Google Ads Help, accessed December 18, 2023,

            https://support.google.com/google-ads/answer/1722066?hl=en&ref_topic=3121936.
        148 “CTR is the number of clicks that your ad receives divided by the number of times your ad is shown.” Google Ads Help,

            accessed December 18, 2023, https://support.google.com/google-ads/search?q=ctr.
        149 Google, “Measure traffic to your website,” Google Ads Help, accessed December 18, 2023,

            https://support.google.com/google-ads/answer/1722035?hl=en&ref_topic=3121936.
        150 Google, “Use data to optimize your search campaigns,” Google Ads Help, accessed December 18, 2023,

            https://support.google.com/google-ads/answer/9451527?hl=en&ref_topic=3121936.



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(129)   Figure 24 summarizes additional differences between DFP and AdSense.

        Figure 24. Differences between DFP and Google AdSense


                                                                         DFP                         Google AdSense (ad network)
         Inventory types available                                   Web + App                                  Web
         Use other ad networks or negotiate
                                                                         Yes                                     No
         directly-sold ads
                                                         Yes, if you allow AdSense to show
         Just tag pages to see ads                                                                              Yes
                                                                 through Ad Manager
         Make AdSense network compete with
                                                                         Yes                                     No
         other ad networks to maximize revenue
         Consistent reporting across all ad serving
                                                                         Yes                                    N/A
         activities
                                                       Yes, for Authorized Buyers, bidding, and
                                                      transactions through Programmatic Direct.
         Google manages payments to you and
         billing your advertisers or collecting       No, for traditionally negotiated line items,              Yes
         payable amounts from ad networks             payments to you come directly from your
                                                        advertisers or ad networks and you
                                                            manage billing and collection
        Source: Google, “Compare Ad Manager, AdSense, and AdMob,” Google AdSense Help, accessed December 18, 2023,
        https://support.google.com/admanager/answer/9234653.



        II.C.4. Display & Video 360 (DV360)

(130)   Google’s advertiser-facing DSP is called Display & Video 360 (“DV360”). Prior to 2018, this
        product was known as DoubleClick Bid Manager (“DBM”).160 Using DV360, advertisers can bid on
        advertising inventory available through AdX, third-party ad exchanges (such as those run by
        AppNexus and Rubicon), and on publishers using AdSense.161 DV360 also allows access to certain
        types of YouTube inventory.162



        160  Google, “Introducing Google Marketing Platform,” Display & Video 360 Help, accessed December 18, 2023,
            https://support.google.com/displayvideo/answer/9015629.
        161 See also Google, “Supported display exchanges,” Google Display & Video 360 Help, accessed December 18, 2023,

            https://support.google.com/displayvideo/table/3267029.
        162 Google, “Display & Video 360,” Google Marketing Platform, accessed December 18, 2023,

            https://marketingplatform.google.com/about/display-video-360/features/#integrations. In 2015, Google removed
            YouTube inventory from AdX. See Neal Mohan, “Focusing investments to improve buying on YouTube,” DoubleClick
            Advertiser Blog, August 6, 2015, https://doubleclick-advertisers.googleblog.com/2015/08/focusing-investments-to-
            improve-youtube-buying.html. See also Foo Yun Chee, "EXCLUSIVE Google offers to let ad rivals place YouTube ads
            in EU antitrust probe – sources,” Reuters, June 13, 2023, https://www.reuters.com/technology/exclusive-google-offers-
            let-ad-rivals-place-youtube-ads-eu-antitrust-probe-2022-06-13/ (“Google parent Alphabet (GOOGL.O) has offered to let
            rival ad intermediaries place ads on YouTube to address a crucial part of an EU antitrust investigation that could pave
            the way for it to settle the case without a fine, people familiar with the matter said ….The EU competition watchdog
            singled out Google's requirement that advertisers use its Ad Manager to display ads on YouTube and potential
            restrictions on the way in which rivals serve ads on YouTube. It is also looking into Google’s requirement that
            advertisers use its services Display & Video 360 and Google Ads to buy YouTube ads. YouTube posted $6.9 billion in
            sales in the first quarter of this year.”).



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(131)   Using DV360, advertisers can participate in open auctions, preferred deals, programmatic guaranteed
        deals, and private auctions.163 Through these auctions, advertisers can use data from a variety of
        sources including DMPs and Google to target specific users.164

(132)   Typically, DV360 is used by larger advertisers or ad agencies.165 An internal Google document
        indicates that DV360 is “typically used by enterprise customers -- both direct advertisers/ marketers
        and agency partners, who expect and utilize granular controls and more customization.”166


        II.C.5. Other Google ad tech products

(133)   Below I briefly describe other products that Google offers which assist advertiser and publishers in
        purchasing and selling display and digital advertising.

        II.C.5.a. Google Campaign Manager (GCM)

(134)   Google Campaign Manager (“GCM”), formerly known as DoubleClick Campaign Manager or
        DoubleClick for Advertisers, is Google’s advertiser ad server.167 GCM includes tools for trafficking,
        reporting, attribution, and verification, allowing advertisers to manage digital campaigns across both
        web and mobile platforms.168 As one industry publication describes it, “Campaign Manager is an ad



        163
            See Google, “Inventory source targeting,” Display & Video 360 Help, accessed December 22, 2023,
            https://support.google.com/displayvideo/answer/2726009?hl=en.
        164 Google, “Audience list targeting,” Display & Video 360 Help, accessed December 18, 2023,

            https://support.google.com/displayvideo/answer/2949947?hl=en&ref_topic=2726036.
        165 In his deposition, Eisar Lipkovitz stated that “The vast majority of [DSP customers] were actually agencies acting as an

            agent on behalf of their large advertisers.” See Deposition of Eisar Lipkovitz (Google), March 31, 2021, 88:6–90:2
            (“But DSPs end up being these very complex super features that, in order to run a campaign, you need to have
            somebody super knowledgeable. And, yes, if you're independent, yes, you would say, this is it, right, this is the best
            thing for an advertiser. And agencies, which were the majority of the customers, were happy with that…”). See also
            93:19-94:3 (“Q. Would a very small advertiser ever use a DSP?... A. In my opinion, they have no reason to. And,
            you know, like many of these other companies, and probably including Google, won't even return their phone call, right?
            It just doesn't make sense. It's a high maintenance, you know, salespeople, whatever.”). See also Deposition of Tim
            Craycroft (Google), Aug. 15, 2023, at 169:15–170:25 (“Q: What’s the difference between DV360 and Google Display
            ads?... A: Typically, different advertisers or different budgets within advertisers. As I said DV 3[60] is for more
            sophisticated advertisers where they’re delegating to the agency. The agency is there to add their own value in terms of
            the art and science of optimizing for the advertiser’s marketing objectives. With GDA, Google Display ads,
            increasingly, advertisers give more control to Google’s systems to – through an automated process to achieve their
            marketing objectives. So it’s machines versus humans. DV 3[60] is still a product for high-end advertisers that have
            practitioners that are specialists in programmatic advertising, figuring out what ads – what sites to run on, what to bid,
            how to measure success. GDA is a simpler product that scales to a much wider range of less sophisticated advertisers
            where -- you know, in oversimplified terms, you give it a bid and a budget and a marketing objective, and it does the
            rest… Q: Do large sophisticated advertisers use Google Display ads? A: Yes, they use both.”).
        166 GOOG-DOJ-02858797, at -799 (09/2019).

        167 Samantha Barnes, “Integrating Google Analytics 360 With DoubleClick Campaign Manager,” Bounteous, May 2, 2017,

            https://www.bounteous.com/insights/2017/05/02/integrating-google-analytics-360-doubleclick-campaign-manager/.
        168 Google, “Overview of Campaign Manager 360,” Campaign Manager 360 Help, accessed December 15, 2023,

            https://support.google.com/campaignmanager/answer/2709362?hl=en#.



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        Figure 25. Payments made along the ad tech stack




        Source: GOOG-DOJ-03641972, at -981 (12/10/2015).




        II.E. Historical evolution of the sale of indirect display advertising
(144)   In this Section I provide a brief overview of changes in how indirect display advertising has been sold
        over the past two decades.


        II.E.1. The waterfall

(145)   The “waterfall” refers to an early method of selling non-guaranteed or remnant display ad inventory
        in which a publisher ad server called demand sources in a sequential order.193 The waterfall system
        has existed since at least 2006 within DoubleClick’s publisher ad server.194


        193 See, e.g., GOOG-AT-MDL-006217592, at -605 (12/12/2022) (“When Dynamic Allocation was introduced, publishers
            mostly sold their inventory through direct deals. Non-guaranteed (‘remnant’) inventories were sold through a ‘waterfall
            process.’ In that process, the ad server would first seek to fill an impression with an ad from an eligible guaranteed sales
            contract, to ensure the publisher fulfilled its contractual obligations. The publisher would set up ‘guaranteed line items’
            for that purpose in its ad server. If there was no such eligible guaranteed line item, then the server would attempt to sell
            that remnant inventory by sequentially calling a series of ad networks in an order determined by the publisher. For this
            purpose, the publisher would set up ‘remnant’ or ‘non-guaranteed’ line items in the ad server. If the first ad network
            would not buy remnant inventory at or above the floor price set by the publisher for a particular ad unit or impression,
            the ad server would call the second network etc., until the impression was filled or could not be filled. In the waterfall
            process, a publisher typically would determine the order in which to call ad networks based on data about their historical
            average performance, based on negotiated fixed-price deals, or any other method the publisher saw fit.”).
        194 Deposition of Brian O’Kelley (App Nexus), September, 29, 2023, 56:19–57:21 (“DoubleClick, at that time, and this is

            probably through 2006, was the primary ad server for most publishers … And the way it worked was that waterfall that I
            described. DoubleClick’s ad server, DFP, would look at all the guaranteed, like, campaigns they’d sold to agencies. If



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(146)   The waterfall operated as follows. First, publishers prioritized ad networks (or other demand sources)
        in their publisher ad server often based on a measure of past performance and payment. When a
        remnant impression arrived (i.e., not one allocated to a guaranteed or direct deal), the publisher ad
        server would offer it to the ad network with the highest priority. If that ad network agreed to buy the
        impression at a price above a price floor, then the process would end. If not, the publisher would
        contact the next entity in the waterfall, repeating this process until the impression was filled or failed
        to find a buyer.

(147)   A significant shortcoming of the waterfall was that a publisher could earn less for an impression than
        what another potential demand source would have been willing to pay. This is because a demand
        source in the waterfall could “win” the impression as long as it was willing to pay more than the
        publisher’s price floor, which did not necessarily reflect what a lower-ranked demand source (which
        had not yet been called in the waterfall) would be willing to pay. In these cases, the publisher would
        lose out on revenue that it could have earned from selling this impression to the bidder with the
        highest willingness to pay.195 The waterfall also had adverse impacts on advertisers who may not have
        been able to bid on impressions they would have valued, and disadvantaged smaller or entrant ad
        networks and demand sources that may have been ranked low (or not at all) within publishers’
        waterfall setups.196

(148)   Figure 26 from a 2019 Google presentation depicts a waterfall setup among different demand sources.
        In the example shown, the Ad Network 3 wins the impression request with a bid of $2.80, as it is the
        highest ranked demand source within the waterfall to submit a bid above its floor. However, Ad
        Network 4 would have had a higher bid ($3.25) but was not called and hence did not have an
        opportunity to compete for the request.




            none of them monetized the ad, the last thing on the waterfall would be the ad exchange or other ad networks. So
            DoubleClick would get first look at everything, and then anything that didn’t get sold would fall into this remnant space,
            where all the networks would compete for it. So DoubleClick, as a technology platform, sat in front of all this but didn’t
            participate in it.”).
        195 Kate Novatska, “Two Ways to Optimize Ad Serving: Waterfall vs. Header Bidding.” https://epom.com/blog/ad-

            server/waterfall-vs-header-bidding (“Inventory is passing the route from top to bottom, similar to the water in the river
            flowing down the cliff to the basin. That's why it's called a waterfall auction, although it's not quite an auction in its
            nature. The inventory is often going to the one who is first in line, not the one who bids the highest.”)
        196 See e.g., Deposition of Andrew Casale (IndexExchange), September 26, 2023, 184:5-187:5; Deposition of Brian

            (AppNexus), 103:8-104:3 and 112:19-114:2.



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        Figure 26. Google’s representation of the waterfall process




        Source: GOOG-DOJ-AT-02199478, at -503 (06/2019) (2019 Google presentation, “Ad Manager Ecosystem 101”).



        II.E.2. Dynamic Allocation and Enhanced Dynamic Allocation

(149)   When Google launched AdX in 2009,197 Google introduced Dynamic Allocation (“DA”), which
        allowed AdX to compete with real-time bids against other non-guaranteed line items within DFP.198
        At a high level, DA allowed publishers to use the CPM from their directly booked, non-guaranteed




        197 Scott Spencer, “Announcing the New DoubleClick Ad Exchange,” DoubleClick, September 18, 2009,
            https://web.archive.org/web/20091213142940/http://www.doubleclick.com/insight/blog/archives/doubleclick-
            advertising-exchange/announcing-the-new-doubleclick-ad-exchange.html.
        198 According to Google, “Dynamic Allocation was launched as a new feature in DoubleClick for Publishers (“DFP”) in

            around July 2007, before Google’s acquisition.” GOOG-AT-MDL-006217592, at -605 (12/12/2022) (emphasis
            removed); Google, “Ad competition with dynamic allocation,” Google Ad Manager Help, accessed December 18, 2023.
            https://support.google.com/admanager/answer/3721872 (“By allowing competition between guaranteed line items and
            remnant line items/Ad Exchange ads (when the latter have a sufficiently high bid), Ad Manager maximizes efficiency.
            This increases publisher yield and advertiser value compared to a static allocation (‘waterfall’) system.”).



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        ads as the minimum price for the auction on AdX.199 Figure 27 from a 2011 Google presentation
        summarized the DA process:

        Figure 27. Google description of Dynamic Allocation




        GOOG-DOJ-03601149, at -162 (12/15/2011).



(150)   One Google publication describes DA with an example.

                 Dynamic allocation is a unique technology that works by passing to the Ad Exchange
                 the CPM value associated with any non-guaranteed ad that DFP is about to serve.
                 Imagine that BigDFootball has sold an ad for $10 CPM to a Dallas pizza chain
                 through an ad network, on a non-guaranteed basis. If the Ad Exchange can provide
                 BigDFootball with a CPM higher than $10, the Ad Exchange will instead deliver the
                 higher priced ad. If, however, $10 is higher than any ad in the Ad Exchange, the
                 pizza chain’s ad is served as planned.200

(151)   Originally DA let AdX bid only against non-guaranteed line items. In 2014, Google introduced
        Enhanced Dynamic Allocation (“EDA”) allowing AdX to bid against direct deals, including those
        with guaranteed commitments.201


        199 GOOG-DOJ-03601149, at -162 (12/15/2011).
        200 Google, “Maximizing advertising revenues for online publishers,” Google, accessed December 18, 2023,
            https://static.googleusercontent.com/media/www.google.com/en/us/googleblogs/pdfs/revenue_maximization_090210.pd
            f.
        201 GOOG-AT-MDL-006217592, at -606 (12/12/2022) (“EDA enabled publishers to allow [] indirect channels to compete




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(152)   Until 2016, only AdX among ad exchanges was provided access to DA and EDA in this manner
        within DFP, and other exchanges were not able to do so.202 In Section VII.D.1, I discuss the
        advantages that AdX received from having exclusive access to DA and EDA within DFP.203


        II.E.3. Header bidding

(153)   The waterfall was increasingly being replaced by other methods involving real-time competition
        among multiple demand sources by the mid-2010s.204

(154)   Partly to circumvent Google’s restriction of Dynamic Allocation to AdX within DFP and to allow
        demand sources to submit bids for all impressions and not only through the inefficient waterfall,
        publishers increasingly adopted a technology called header bidding around 2014–2015.205 Header
        bidding allowed ad exchanges and other indirect demand sources to compete against each other on the
        basis of their real-time demand, as opposed to being relegated to a waterfall where they would be
        ranked on the basis of historical performance.206


            simultaneously with the guaranteed reservation line items that they enabled for AdX demand. The indirect channel
            would win the impression if the revenue to be derived from that buyer was higher than the opportunity cost of not
            serving the guaranteed line item.”) As described in GOOG-DOJ-05782415, at -433–434 (07/23/2019), under EDA, after
            a publisher makes an ad request to DFP, it finds “the best guaranteed line item eligible to serve for the ad request and
            calculates a temporary CPM based on the line item’s current delivery” which is then compared against the highest bids
            among other eligible remnant line items and AdX. See also GOOG-DOJ-04429792, at -816 (04/2017) (“Enhanced
            Dynamic Allocation[:] ability … to see all impressions and compete in real time with guaranteed campaigns using the
            CPM of the direct sale as a floor price.”); GOOG-DOJ-12799286, at -291 (11/2016) (A 2016 Google presentation noted,
            “what is unique about AdX and AdSense line items is, publishers do not book a CPM rate. Because of DFP’s Dynamic
            Allocation feature, AdX and AdSense rates can be submitted in real time for every DFP query to include in its ad
            serving decision logic.”).
        202 GOOG-TEX-00083092, at -092 (09/28/2016) (Google employee Aparna Pappu explaining that “dynamic allocation

            with DFP ONLY worked with AdX and not any other exchange”). Exchange Bidding, discussed in Section II.E.4,
            opened up Dynamic Allocation to third-party exchanges.
        203 Currently, Google in their support pages appears to refer to the features included in what has been referred to as DA and

            EDA both as “dynamic allocation.” Google, “How we decide which ad is served,” Accessed December 18, 2023,
            https://support.google.com/admanager/answer/11204312 (“Dynamic allocation helps the ad server pick the best ad… Ad
            Manager finds the best guaranteed line item eligible to serve for the ad request and calculates a temporary CPM based
            on the line item’s current delivery. Programmatic Guaranteed (PG) deals that didn’t get a bid are ruled out. Ad Manager
            calls Ad Exchange to find bids which can beat the temporary CPM of the best guaranteed line item.”). For this reason, I
            use Dynamic Allocation to refer to both DA and EDA.
        204 Nitesh Korula stated in his declaration that “[t]he vast majority of web inventory has not been sold with the use of

            mediation chains, and it has not been possible to configure mediation chains on Google Ad Manager for web inventory
            since April 2017.” Declaration of Nitish Korula (August 4, 2023) GOOG-AT-MDL-008842393, at 394.
        205 Declaration of Nitish Korula (August 4, 2023) GOOG-AT-MDL-008842393, at 397-398 (“Around 2014, web publishers

            began to adopt Header Bidding.”). See also GOOG-AT-MDL-006217592, at -606 (12/12/2022) (“Header Bidding
            (2014/2015)”), Rashmita Behera, Header Bidding: A Comprehensive Guide, Adpushup, December 9, 2019,
            https://www.adpushup.com/blog/header-bidding-a-comprehensive-guide/ (“Header bidding made it to ad tech
            somewhere around 2014. And only after one year, in 2015, the technique went viral.”).
        206 GOOG-AT-MDL-006217592, at -606 (12/12/2023) (“Header bidding is an additional auction that takes place outside of

            a publisher's ad server and allows that publisher to simultaneously offer ad space to numerous SSPs and ad exchanges
            before making a call to an ad server such as Ad Manager.”). See also GOOG-DOJ-05782415, at -439 (07/23/2019)
            (“With the introduction of Header Bidding, third-party demand sources were able to compete dynamically in the Ad
            Manager (then DFP) auction).”)



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(155)   There are two ways publishers can implement header bidding.

(156)   The first, referred to as client-side header bidding, involves a publisher embedding a set of software
        code (referred to as a “header-bidding wrapper”) on its websites that solicits bids from a selected set
        of exchanges in real-time when a user visits the publisher’s page before the publisher’s ad server is
        called.207 The bids from these exchanges bidding into a heading-bidder wrapper (“header-bidding
        exchanges”) are compared in an auction, with information from the winning bid transmitted into the
        publisher’s ad server to be used in competition with the publisher’s other demand sources.208

(157)   The second type of header bidding, referred to as server-side header bidding, instead runs the header-
        bidding auction on a server and not within the user’s browser.209 Industry participants note that
        server-side header bidding reduces browser latency compared to client-side header bidding, but may
        reduce targeting capabilities.210

(158)   Header bidding pricing varies by product. For example, Prebid.js, one of the most commonly used
        client-side header bidding solutions, is open-source and freely available to users.211 Amazon’s TAM
        (a server-side solution for enterprise publishers) charges a 2.5% fee, while Amazon’s UAM (a server-
        side solution for small/medium publishers) charges a 10% take rate.212


        207 Rashmita Behera, Header Bidding: A Comprehensive Guide, Adpushup, December 9, 2019,
            https://www.adpushup.com/blog/header-bidding-a-comprehensive-guide/.
        208 Declaration of Nitish Korula (August 4, 2023) GOOG-AT-MDL-008842393, at 397-398. See also Rashmita Behera,

            Header Bidding: A Comprehensive Guide, Adpushup, December 9, 2019, https://www.adpushup.com/blog/header-
            bidding-a-comprehensive-guide/. See Appendix L.2 for a more detailed description of this process.
        209 Happy, Waterfall vs. Server-side or Client-side Header Bidding: What’s The Difference?, May 25, 2023,

            https://headerbidding.co/waterfall-vs-client-side-vs-server-side-header-bidding/; see also Deposition of Tim Craycoft
            (Google, formerly Amazon), August 15, 2023, 76:7–77:9 (“In server-side header bidding, all the bids are collected in the
            cloud over, you know, high-capacity internet, fast internet, not going through the user’s browser. But then the results of
            jus the header bidding pre-auction, so to speak, have to be put into the browser and then back up to the ad server.”)
        210 Rashmita Behera, Header Bidding: A Comprehensive Guide, Adpushup, December 9, 2019,

            https://www.adpushup.com/blog/header-bidding-a-comprehensive-guide/; Deposition of Tim Craycoft (Google,
            formerly Amazon), August 15, 2023, 76:7–77:9 (“Amazon’s initial header bidding implementation was client-side,
            which is full of latency and other compatibility challenges. And then with TAM and UAM, we moved to server-side.”);
            Deposition of Sam Cox (Google), October 26, 2020, 54:5–55:13 (When the header bidding process occurs on the client
            side, “it can have all sorts of negative impacts” including “malware, fraud, broadcast duplication, et cetera, and lots and
            lots of latency, and that’s bad for a user experience [sic].”)
        211 Prebid, “Introduction to Prebid,” Prebid, accessed December 18, 2023, https://docs.prebid.org/overview/intro.html

            (“Prebid is the leading header bidding solution. It is free and fully open source, available to any publisher who wants to
            implement header bidding.”) According to Kevel’s Q4 2021 Header Bidding Tracker, 73% of all client-side wrappers
            were built on Prebid, while 27% used proprietary codebases (Kevel, “Header Bidding (HBIX) 2021 Tracker”, Q4 2021,
            accessed December 18, 2023, https://web.archive.org/web/20211201060203/https://www.kevel.co/hbix/).
        212 Amazon’s TAM product charges a 2.5% service fee. Amazon Publisher Services, “Transparent Ad Market Place,”

            Amazon Publisher Services, accessed December 18, 2023, https://aps.amazon.com/aps/transparent-ad-marketplace/ (“A
            transparent 2.5% service fee charged to bidders.”); Ronan Shields, “Amazon grants reprieve to ad tech partners in APS’
            ongoing pricing saga,” Digiday, May 1, 2023, https://digiday.com/media/amazon-grants-reprieve-to-ad-tech-partners-in-
            aps-ongoing-pricing-saga/ (“Amazon Publisher Services will increase TAM buyer fees to 2.5% on May 1.”)
            Amazon Publisher Services, “Unified Ad Marketplace,” Amazon Publisher Services, accessed December 18, 2023,
            https://aps.amazon.com/aps/unified-ad-marketplace/ (“UAM charges a 10% transaction fee from SSP and Amazon bid
            prices prior to conducting a first price auction.”); Neeraja Shanker, “UAM vs TAM: Your manual to Amazon Publisher



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(159)   By fostering real-time competition among multiple exchanges, header bidding resulted in higher
        payouts (also referred to as “yield”) for publishers.213 I discuss header bidding in greater detail in
        Appendix L.2.


        II.E.4. Open Bidding

(160)   In response to publishers’ usage of header bidding, Google introduced Exchange Bidding, later
        renamed Open Bidding, in 2016, and made the product broadly available in 2018.214 A 2017 Google
        document describes Exchange Bidding as “a DFP functionality,” “allowing 3rd party-exchanges to bid
        in RTB alongside AdX in Dynamic Allocation.”215 In other words, third-party exchanges participating
        in Exchange Bidding had the ability to compete with real-time bids against AdX and deals that were
        subject to DA without being relegated to the waterfall. Google described Exchange Bidding as server-
        side header bidding alternative.216 With Exchange Bidding, other exchanges were able to compete in
        real time with AdX within DFP’s Dynamic Allocation.217 (See discussion in Section VII.D.1.)

(161)   For participating in Open Bidding, Google charges a 5% fee to GAM 360 publishers and a 10% fee to
        GAM publishers.218 Google did not allow DSPs to participate in Exchange Bidding directly without
        exchanges, or allow exchanges to bid in with demand from their own DSPs.219



            Services,” Blockthrough, April 5, 2022, https://blockthrough.com/blog/uam-vs-tam-your-manual-to-amazon-publisher-
            services/ (“Fee structure: 10% transaction fee taken from SSP bid prices”).
        213 See, e.g., a Google strategy document stating that “[h]eader bidding has given other Networks and SSPs per-query

            pricing access to Ad Manager inventory, increasing competition and delivering publishers 30-40% lift in programmatic
            revenues.” GOOG-DOJ-04004392, at -394 (09/10/2018).
        214 GOOG-AT-MDL-006217592, at -592 and -606 (12/12/2022) (noting Google “alpha” tested Exchange bidding in April

            2016, entered it into beta testing in June 2017, and ”rolled out to general availability” in April 2018). See also Google
            Responses to DOJ Ad-Tech Data Follow-Up Questions (July 10, 2020), noting that Open Bidding incorporates what was
            formerly known as Exchange Bidding and “was rebranded as ‘Open Bidding’ when Network Bidding was incorporated
            under the same umbrella in 2018. Open Bidding and Exchange Bidding are therefore not perfectly synonymous, but
            Network Bidding on Google Ad Manager is still in beta and represents a small portion of overall Open Bidding
            volume.” In this report, I use Open Bidding to refer to the product that contains Exchange Bidding.
        215 GOOG-DOJ-04429792, at -795, -808 (04/2017).

        216 GOOG-TEX-00124296, at -325 (08/29/2016) (“Header bidding continues to grow. Exchange bidding is our server-side

            response, but it is still early days.”).GOOG-AT-MDL-008842393, at -400 (08/04/2023) (“Open Bidding is a feature of
            Ad Manager and Google’s server-side alternative to header bidding.”).
        217 GOOG-TEX-00000655, at -660 (01/04/2017) (“…exchanges that go through HB are subject to last look, and those that

            go through EB are not.”); GOOG-TEX-00103579, at -580 (07/12/2016) (“…our exchange bidding product works just
            like HB. When a publisher is using HB, AdX still submits a real time bid to compete with all the HB bids that are input
            into DFP line items via key values.”).
        218 GOOG-AT-MDL-008842393, at -401 (08/04/2023) (“Up to at least December 2021, for publishers that utilized Open

            Bidding, when an auction was won by an Open Bidder, Google Ad Manager's standard charges for web display ads were
            5% for GAM 360 customers and 10% for other GAM customers, and Google's standard charges for app and instream
            video ads were 10%.”). .See also GOOG-TEX-00103579, at -579 (07/12/2016). (In a 2016 e-mail Jonathan Bellack
            wrote, “There’s no actual fee to the exchange – we’re taking a fee on the publisher side effectively, if a participating
            exchange says it’ll pay $1 via exchange bidding and wins, we collect $1 from them and we pay out say 95c to the
            publisher.”)
        219 GOOG-TEX-00103579, at -579 (07/12/2016). (In a 2016 e-mail Jonathan Bellack wrote, “[W]e do not allow DSPs to




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(162)   Google also had a program called Network Bidding that allowed ad networks real-time bidding into
        DFP outside of the waterfall.220 In September 2019, Google announced that Exchange Bidding and
        Network Bidding were combined and renamed as Open Bidding.221

(163)   I discuss Open Bidding and Google’s other responses to header biding in greater detail in Appendix
        L.3.222


        II.E.5. Unified first price auction (UFPA)

(164)   Prior to 2019, AdX auctions were run as second-price auctions, whereby the highest bidder wins and
        pays the higher of the second-highest bidder’s bid or the reserve price. In March 2019, however,
        Google announced that AdX would move to a first-price auction.223




            buy directly via exchange bidding. That includes DSPs owned by exchanges like AppNexus or Rubicon. DSPs can
            already buy on AdX via normal AdX buyer contracts. Exchange bidding is for publishers to connect with additional
            demand on other exchanges that they can’t get through AdX buyers… it’s not designed to be a way for a current DSP to
            circumvent AdX contract to get a cheaper revenue share.”); Google, “Exchange Bidding Program Guidelines,” accessed
            December 17, 2023, https://support.google.com/platformspolicy/answer/6348770 (“Your Buyers must be third-party
            DSPs, trading desks, or ad networks…if your business (or any of its affiliates) directly or indirectly owns or operates an
            entity that is eligible to buy through the Authorized Buyers product (such as a DSP, trading desk, or ad network), then
            that entity is not eligible to be your Buyer in transactions you make through the Exchange Bidding Program.”). See also
            ATT-GCID-00000730, at -750 (2019). Confidential Response by Xandr, Inc. to the Request for Information Regarding
            the Online Advertising Industry of the French Competition Authority.) (“One of Xandr’s greatest unique selling points
            is its direct access to its own demand (Xandr Invest, our DSP). However, if Xandr were to integrate with EBDA
            [Exchange Bidding in Dynamic Allocation], Google would not allow Xandr to push demand from our own DSP through
            our EBDA integration. This position is unacceptable from Xandr’s point of view. Until recently Google never provided
            any reason for this position, however they have recently shared that it is intended to prevent DSPs such as
            TheTradeDesk or MediaMath from requested EBDA integrations as well.”); MSFT-LIT-0000065289, at -90 (08/2021)
            Google Open Bidding Evaluation, August 2021 (“Question…We’d like to open the discussion to bringing Invest
            Demand…Google Answer…They are not changing their stance on bringing our own demand.”).
        220 GOOG-DOJ-07967445, at -482 (07/2018) (“Exchange Bidding provides 3p exchanges with RTB access to DFP and

            AdMob publisher’s inventory. Network Bidding does the same for networks (e.g. Facebook Audience Network”).
        221 Google, “New trafficking experience, update your Tagless Request base URL, and Exchange Bidding is now Open

            Bidding,” Google Ad Manager Help, September 23, 2019,
            https://support.google.com/admanager/answer/9197913#zippy=%2Cseptember-new-trafficking-experience-updateyour-
            tagless-request-base-url-and-exchange-bidding-is-now-open-bidding. (“Exchange Bidding has been renamed Open
            Bidding, which aligns Ad Manager with AdMob’s Open Bidding. This name change will roll out gradually in the help
            center and in-product over the next few weeks. You can continue to work with the same exchanges and networks
            through the yield groups functionality while we improve the product and move to unified branding.”)
        222 A 2019 Google presentation depicts how an impression is allocated within Google Ad Manager with header bidding and

            exchange bidding participants (GOOG-DOJ-AT-02199478, at -536-537 (06/2019).
        223 Google announced its planned move to a unified first price auction in March 2019, provided an “update” in May 2019,

            and announced they would fully implement the change in September 2019. See Sam Cox, “Simplifying programmatic:
            first price auctions for Google Ad Manager,” Google Ad Manager , March 6, 2019,
            https://www.blog.google/products/admanager/simplifying-programmatic-first-price-auctions-google-ad-manager/; Jason
            Bigler, “An update on first price auctions for Google Ad Manager,” Google Ad Manager , May 10, 2019,
            https://www.blog.google/products/admanager/update-first-price-auctions-google-ad-manager/; Jason Bigler, “Rolling
            out first price auctions to Google Ad Manager partners,” Google Ad Manager, September 5, 2019,
            https://www.blog.google/products/admanager/rolling-out-first-price-auctions-google-ad-manager-partners/.



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(165)   In September 2019, Google launched its Unified First Price Auction (“UFPA”). Under the UFPA,
        AdX buyers competed against exchanges participating in Open Bidding and header bidding in a first-
        price auction; all participants also were able to compete against direct line items as in EDA.224

(166)   There were additional changes that were introduced alongside the UFPA (see further discussion in
        Section VII.D.2). First, publishers were no longer allowed to set different price floors for different ad
        exchanges, DSPs, or advertiser ad networks, and instead had to set a uniform price floor for all UFPA
        participants.225, 226 Second, Google introduced a Bid Data Transfer File to provide publishers with “bid
        landscape” data.227 Third, Google began to provide the “minimum bid to win” to Authorized Buyers
        and Open Bidding participants.228

(167)   By December 2019, all AdX traffic had transitioned to first price auctions.229




        224 GOOG-DOJ-AT-02204351, -at 354 (09/03/2019). See also GOOG-DOJ-07957145, at -148 (12/2018) (“AdManager,
            Admob and AdSense will move to a 1P auction in 2H’19. Migration will be leveraged to unify floor prices across AdX,
            Open Bidding and remnant demand (incl. Header Bidding) and improve inventory access on ADX”); GOOG-DOJ-
            11030354, at -354 (09/25/2019) (“Google’s last look goes away with this change.”).
        225 Jason Bigler, “An update on first price auctions for Google Ad Manager,” Google Ad Manager, May 10, 2019,

            https://www.blog.google/products/admanager/update-first-price-auctions-google-ad-manager/.
        226 As I discuss in more detail in Section VII.D.2, publishers valued the ability to adjust price floors and set lower floors for

            rival exchanges than for AdX.
        227 Jason Bigler, “Rolling out first price auctions to Google Ad Manager partners,” Google Ad Manager Blog, Sept. 5,

            2019, available at https://blog.google/products/admanager/rolling-out-first-price-auctions-google-ad-manager-partners/
            (“For publishers, we'll start a new beta that provides data from all the bids submitted to your auctions. With this Bid
            Data Transfer file, you’ll be able to create a full bid landscape that shows the range and number of bids you received,
            across dimensions like ad unit and buyer. This information will help you evaluate the value of your inventory and better
            understand the bidding behavior of buyers.”).
        228 Jason Bigler, “Rolling out first price auctions to Google Ad Manager partners,” Google Ad Manager Blog, Sept. 5,

            2019, available at https://blog.google/products/admanager/rolling-out-first-price-auctions-google-ad-manager-partners/,
            (“For Authorized Buyers and Open Bidders (formerly known as Exchange Bidding buyers), we’ll provide additional
            information post-auction to help inform your bidding strategies. Buyers will receive the minimum bid price to win after
            the auction closes. This feedback will help you understand when to bid higher to win valuable inventory”). “Authorized
            Buyers” include ad networks and DSPs that are allowed to purchase display inventory on AdX (Google, “Authorized
            Buyers overview,” Authorized Buyers Help, https://support.google.com/authorizedbuyers/answer/6138000?hl=en).
        229 Google, “Completed monitoring for transition to a first-price auction,” Google Ad Manager Help, December 16, 2023,

            available at https://support.google.com/admanager/answer/9197913 (“When we transitioned to a first-price auction in
            October, a small percentage (3% or less) of Ad Exchange traffic continued to be governed by the second-price auction
            model to monitor performance. That monitoring is complete, and now all Ad Exchange traffic uses a first-price
            auction.”).



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        III. Economic concepts for analyzing competition among ad
        tech products for open-web display advertising
(168)   In this Section, I discuss important economic concepts for analyzing and understanding competition
        among different ad tech products involved in the purchase and sale of open-web display ads:

        ◼     In Section III.A, I define and highlight the role of indirect network effects;
        ◼     In Section III.B, I describe why market power230 for an ad tech product depends on the
              responsiveness of both advertiser spending and publisher supply to both fees and product
              attractiveness, and why it is sufficient for that product to have market power over just “one side”
              of the market (i.e., only advertisers or publishers) to possess market power at all;
        ◼     In Section III.C, I describe how multihoming ad tech tools that make it easier or more valuable for
              customers to use multiple products (such as header bidding and yield managers with respect to
              exchanges) can intensify competition and reduce market power;
        ◼     In Section III.D, I discuss the importance of scale—as represented both by the number of
              advertisers and publishers using a product, and the volume of transactions served—for the
              competitiveness of an ad tech product. Greater usage and transaction volume enhances network
              effects, generates scale economies, and produces valuable data that an ad tech product relies upon
              to improve its quality and attractiveness for customers; and
        ◼     In Section III.E, I overview key economic concepts related to auctions, which are commonly used
              for the sale of open-web display advertising.

(169)   The ad tech products that are the focus of my report are publisher ad servers, ad exchanges, and
        advertiser ad networks that serve and transact open-web display advertising.


        III.A. Indirect network effects
(170)   Ad tech products have features common to what have been referred to in the economics literature as
        “two-sided markets” and exhibit what are known as “indirect network effects.”231 The term “two-

        230 Economists define market power as the ability of a firm to profitably price above competitive levels, often measured by
            firms’ marginal (or incremental) costs. See Section III.B.
        231 See, e.g., Marc Rysman, “The Economics of Two-Sided Markets,” Journal of Economic Perspectives 23, no. 3 (2009),

            125 (“Broadly speaking, a two-sided market is one in which 1) two sets of agents interact through an intermediary or
            platform, and 2) the decisions of each set of agents affects the outcomes of the other set of agents”); Bruno Jullien,
            Alessandro Pavan, and Marc Rysman, “Two-sided Markets, Pricing, and Network Effects,” in Handbook of Industrial
            Organization, Volume 4, eds. Kate Ho, Ali Hortaçsu, and Alessandro Lizzeri (2021), 488 (“indirect network effects lead
            the platform firm to take into account the various interdependencies between the two sides of the market, and the
            pertinent literature studying such interdependencies is often termed the study of two-sided markets.”), and 490–491
            (“We generally consider a two-sided market to be one in which at least two distinct sets of agents (or sides) interact
            through an intermediary—the platform—and in which the behavior of each set of agents directly impacts the utility, or



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        sided” refers to a product’s need to attract two distinct sets of customers—e.g., publishers (sellers)
        and advertisers (buyers)—to generate value. Indirect network effects are present when the
        attractiveness of a product to one set of customers depends on the extent to which the other group also
        uses the product.232 For example,

        ◼    Bidding into an advertiser ad network or ad exchange will generally not be attractive to
             advertisers if there is little publisher ad inventory available for purchase through them. Such
             products will also not be attractive options for publishers to sell ad inventory through if they do
             not have meaningful advertiser participation.
        ◼    A publisher ad server such as DFP also exhibits indirect network effects, as publishers that use
             DFP to serve display ads tend to derive greater value from DFP if more advertisers use ad
             exchanges that provide bids into DFP.

(171)   The strength and importance of indirect network effects for adoption decisions will tend to vary
        across products and different sets of customers.233 For example, indirect network effects are of central
        importance for customer adoptions decisions for ad exchanges as their primary role is to run auctions
        among advertisers for publishers’ display inventory. Ad exchanges that have more advertisers
        participating in their auctions, by offering higher publisher payouts, will generally be able to win
        more transactions and attract more publisher inventory. Similarly, ad exchanges that have access to
        more publisher inventory will tend to attract more advertisers to their auctions.

(172)   In contrast, indirect network effects (although present) are likely less salient for customer adoption
        decisions for publisher ad servers than for ad exchanges. This is for at least two reasons. First,
        publisher ad servers provide valuable stand-alone features to publishers, including managing and
        serving non-programmatic direct deals and house ads. Second, advertisers do not generally choose
        which publisher ad servers to bid into, but rather opt to use certain bidding tools and ad exchanges
        that, in turn, can bid for publisher inventory managed by different publisher ad servers. This means



            the profit, of the other set of agents. The impact of one set of agents on the other, and the resulting feedback to the first
            set of agents, is an indirect network effect.”).
        232 See, e.g., Hal R. Varian, “Use and Abuse of Network Effects,” Toward a Just Society: Joseph Stiglitz and Twenty-First

            Century Economics, eds. Martin Guzman, (2018), 231–232 (when compared to direct network effects, indirect network
            effects “involve a somewhat more complex positive feedback loop. Think of an operating system where there are three
            relevant parties: the seller of the operating system, the developer of applications for the operating system, and the
            customers who buy both the operating system and the applications… Developers might find it attractive to develop
            applications for that system with the most users, and the users might find the operating system attractive that has the
            most applications. This leads to a positive feedback loop: more users leads to more developers leads to more
            applications leads to more users.”) and Joseph Farrell and Paul Klemperer, “Coordination and Lock-in: Competition
            with Switching Costs and Network Effects,” Handbook of Industrial Organization, Volume 3, eds. Mark Armstrong and
            Robert H. Porter (2007).
        233 See, e.g., Bruno Jullien, Alessandro Pavan, and Marc Rysman, “Two-sided Markets, Pricing, and Network Effects,”

            Handbook of Industrial Organization, Volume 4, eds. Kate Ho, Ali Hortaçsu, and Alessandro Lizzeri (2021), 485–592
            and Mark Armstrong, “Competition in Two-sided Markets,” RAND Journal of Economics 37, no. 3 (2006).



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(231)   Instead, each bidder has an economic incentive to bid strictly below their valuation, engaging in what
        is known as “bid shading.” A bidder who shades their bid below their valuation still realizes zero
        surplus when they lose, but they earn positive surplus when they win.318

(232)   The surplus-maximizing amount of bid shading in a first-price auction generally depends on the
        bidder’s own valuation and the distribution of valuations for rival bidders.319 In practice, determining
        the optimal bid in a single first-price auction may be challenging, but if similar items are repeatedly
        sold using first-price auctions, historical information on bids and auction prices as well as
        experimentation can be used to inform the optimal amount to bid shade.

(233)   Second-price auctions. In a second price-auction, the bidder with the highest bid wins but pays the
        price that equals the bid submitted by the second-highest bidder (and none of the losing bidders pay
        any amount). In contrast to a first-price auction, a bidder’s bid in a second-price auction affects the
        likelihood of winning (i.e., that the bidder has the highest bid), but not the price they pay if they win.

(234)   A well-known economic principle is that, for a single second-price auction, bidders can do no better
        than submitting bids equal to their valuations, regardless of the way in which other auction
        participants choose to bid—in other words, bidders do not gain from bid shading.320 From each
        bidder’s perspective, their bid does not affect the price they pay because it is determined using a bid
        from another bidder over which they have no control. Hence, they would want to maximize the
        probability that they win the auction, while at the same time not bidding more than they would be
        willing to pay.321

(235)   Reserve prices. A reserve price, sometimes also called a price floor, is a price below which the seller
        will not sell the item. Auctions are often conducted in environments where the number of potential
        bidders is variable. Without a reserve price, the item in question could, in principle, be sold for an



        318 When deciding how much to bid shade, each bidder faces a classic economic tradeoff. On the one hand, bidding close to
            the bidder’s valuation (i.e., a small amount of bid shading) raises the likelihood that they win because it increases the
            chances that their bid will be the highest among all of the submitted bids. On the other hand, bidding close to the
            bidder’s valuation reduces the surplus they earn if they win because the auction price, which equals their bid, will be
            closer to their own valuation.
        319 See, e.g., Vijay Krishna, Auction Theory, 2nd ed. (Academic Press, 2009), 15–16; Paul Klemperer, Auctions: Theory and

            Practice (Princeton University Press, 2004), 43, 56–57.
        320 See, e.g., Vijay Krishna, Auction Theory, 2nd ed. (Academic Press, 2009), 13; Paul Klemperer, Auctions: Theory and

            Practice (Princeton University Press, 2004), 14.
        321 No bid shading maximizes a bidder’s surplus for a single auction. If multiple units of the same item are sold

            sequentially, one at a time, using second-price auctions, it is no longer necessarily true that each bidder with demand for
            one unit has a unilateral incentive to bid their valuation in each auction. For example, a bidder in the first auction would
            not necessarily want to maximize the probability that they win that specific auction, since if they lose, they will still
            have an opportunity to bid for another unit in subsequent auctions. The possibility of winning an item in one of the
            remaining auctions creates an incentive to bid shade. The incentive to bid shade grows weaker as the number of
            remaining auctions declines, so that in the last auction a bidder would bid their own valuation. See, e.g., Vijay Krishna,
            Auction Theory, 2nd ed. (Academic Press, 2009), 221–24.



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        IV. Market definition
(241)   Market definition is a tool for analyzing antitrust and monopolization claims. Defining relevant
        antitrust markets identifies a set of products over which an alleged or potential monopolist could
        possess and exercise market power. In doing so, it assists in the evaluation of whether the alleged or
        potential monopolist is able to engage in exclusionary conduct and whether such conduct likely harms
        competition and customers.

(242)   Market definition is helpful for at least two reasons. First, market definition focuses attention on and
        delineate where potential competitive effects from particular conduct are most likely to occur.
        Second, market definition allows for the calculation of market shares and concentration measures
        which can be useful for examining the extent of market power. However, as I discuss further below,
        the market definition exercise properly applied does not necessarily lead to a single antitrust market.
        Appropriate relevant markets are those that help evaluate the competitive effects of the conduct at
        issue.

(243)   In this section, I evaluate relevant antitrust markets for examining Google’s market power and the
        competitive effects of its conduct on open-web display ad tech products.330

(244)   A relevant market has both a product and geographic dimension.331 In this matter, the complaint
        alleges three relevant product markets: publisher ad servers, ad exchanges, and advertiser ad
        networks that can be used to serve or transact open-web display advertising. The complaint also
        alleges a worldwide (with some countries and regions excluded) and United States geographic market
        for each of these product markets. In this section, I explain why each of these three product markets is
        a relevant product market, and why both the whole world (excluding certain countries and regions)
        and the United States are relevant geographic markets for each product market.332

(245)   This section is organized as follows.


        330 As I discussed in Section I.B, I was asked by counsel at the Department of Justice to “determine whether publisher ad
            servers, ad exchanges, and advertiser ad networks for open-web display advertising, both worldwide (excluding
            countries like the People’s Republic of China that substantially restrict internet access) and in the United States, are
            relevant antitrust markets for the purpose of evaluating Google’s market power and the alleged anticompetitive
            conduct.”
        331 United States Department of Justice and Federal Trade Commission, Horizontal Merger Guidelines, August 19, 2010

            (hereinafter, “HMG”), § 4 (“market definition helps specify the line of commerce and section of the country in which
            the competitive concern arises.”). Additionally, using the label “relevant” serves to differentiate the analytic construct of
            a relevant market from other uses of the term “market”: see HMG § 4 (“Relevant antitrust markets defined according to
            the hypothetical monopolist test are not always intuitive and may not align with how industry members use the term
            ‘market.’”); Jonathan B. Baker, “Market Definition: An Analytical Overview,” Antitrust Law Journal 74, no. 1 (2007):
            130 (labeling markets as relevant or antitrust markets “distinguish[es] these markets from what business executives and
            consultants might define for other purposes.”).
        332 My conclusions regarding Google’s market power in the relevant product markets and the competitive effects of its

            conduct are not changed whether I consider a worldwide or US geographic market.



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        ◼     In Section IV.A, I discuss economic issues regarding market definition for monopolization claims
              in ad tech products, and describe the economic framework that I use to define relevant antitrust
              markets.333
        ◼     In Section IV.B, I describe why open-web display advertising is an important and distinct form of
              advertising for open-web publishers and advertisers. Note that the relevant product markets do
              not contain the underlying display advertisements themselves, but rather the ad tech products
              used to serve and transact these ads. Nonetheless, focusing on the distinction between display and
              other forms of advertising clarifies why ad tech products that transact open-web display ads are
              particularly valued by publishers and advertisers, and why products that do not offer such
              functionalities are not close substitutes. In this Section, I also discuss why indirect deals for open-
              web display advertising provide distinct value to publishers and advertisers compared to other
              forms of transacting display advertising.
        ◼     In Sections IV.C–IV.E, I explain why publisher ad servers, ad exchanges, and advertiser ad
              networks—ad tech products that are used by publishers and advertisers to serve and transact
              open-web display advertising—are each relevant product markets.
        ◼     In Section IV.F, I explain why worldwide (excluding certain countries and regions) and the
              United States are both appropriate relevant geographic markets for all three relevant product
              markets.


        IV.A. Market definition for monopolization claims in the ad tech stack
(246)   For purposes of evaluating the monopolization claims in this matter, a relevant market contains
        products offered by the alleged monopolist (Google) and those alternative products that would impose
        significant competitive constraints on Google’s products were Google’s products priced at
        competitive levels. Focusing on alternatives that would constrain Google’s exercise of market power
        were its products priced at competitive levels is important, as it identifies alternatives that, if not
        (potentially already) weakened or eliminated by Google’s anticompetitive conduct, would prevent
        Google from exercising or continuing to exercise market power to the detriment of customers and
        consumers. Importantly, products that lie outside of the relevant market are relatively poor substitutes
        for competitively-priced products within the market, and customer substitution to these products
        would not be sufficient to constrain Google’s ability to exercise market power in the relevant markets
        at issue.

(247)   As made clear by this discussion, market definition focuses on the ability and willingness of
        customers to substitute among different products.334 Relevant markets must contain enough
        333 In this report, when I say that I “define” relevant markets, I mean that I am evaluating whether the markets as described
            in my assignment are relevant antitrust markets.
        334 HMG, § 4 (“Market definition focuses solely on demand substitution factors, i.e., on customers’ ability and willingness




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        reasonably close substitutes so that an exercise of significant market power by a monopolist of such
        products would not be rendered unprofitable by sufficient customer substitution to products outside of
        the market; but at the same time, a relevant market does not necessarily (or typically) include all
        potential substitutes for those products, since it is not necessary to control (or eliminate) all potential
        substitutes for a monopolist to exercise significant market power.


        IV.A.1. The hypothetical monopolist test for monopolization claims

(248)   To determine whether a set of products (within a geographic area) comprises a relevant market for the
        purposes of evaluating monopolization claims, I evaluate whether a “hypothetical monopolist” that
        owned these products would likely sell at least some of its products profitably to some set of
        customers at (quality-adjusted) prices335 that significantly exceed levels that would be charged in a
        competitive market.

(249)   Whether a set of products comprising a relevant market can profitably be monopolized depends on
        customer substitution patterns. To see why, consider a candidate set of products being evaluated as a
        possible relevant product market. If a hypothetical monopolist of this set of products would not
        maximize its profits by charging prices significantly above competitive levels, then there likely exists
        substantial customer substitution to alternative products outside of the candidate market if prices
        increased from competitive levels. In this case, the candidate market is too narrow and excludes
        products that are close substitutes to products within the market. If, in contrast, a hypothetical
        monopolist of a set of products would maximize its profits by charging prices significantly above
        competitive levels, then products outside of the market are not close substitutes for competitively-
        priced products within the market, and do not constrain the exercise of market power by the
        monopolist. In this case, the candidate set of products forms a relevant product market for the
        purposes of evaluating a monopolization claim.

(250)   This economic framework for defining relevant markets is the “hypothetical monopolist test” (HMT)
        which is commonly used to define markets for the analysis of horizontal mergers.336 However, there


            to substitute away from one product to another in response to a price increase or a corresponding non-price change such
            as a reduction in product quality or service”).
        335 The discussion in this Section uses a price increase as the focal means of exercising market power for a hypothetical

            monopolist. However, market power can also be exercised by reducing product quality, which can have the effect of
            reducing costs or increasing customer demand for the firm’s other products on which the firm earns supracompetitive
            profits. The term “quality-adjusted” refers to the possibility that a firm (e.g., the alleged or hypothetical monopolist)
            would choose to exercise its market power not necessarily by increasing price, but potentially by reducing the quality of
            a product below that which would be offered in a competitive market. Lowering a product’s quality while holding its
            price fixed is referred to in economics as increasing the quality-adjusted price for the product. In my report, a reference
            to a “price increase” includes this possibility of a quality-adjusted price increase. See HMG §1 (“Enhanced market
            power can also be manifested in non-price terms and conditions that adversely affect customers, including reduced
            product quality, reduced product variety, reduced service or diminished innovation.”).
        336 HMG §§ 4, 4.1.1 (“The hypothetical monopolist test requires that a product market contain enough substitute products

            so that it could be subject to post-merger exercise of market power significantly exceeding that existing absent the



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        is an important difference in implementing the HMT for monopolization claims. In a horizontal
        merger case, the HMT examines whether a hypothetical monopolist can increase prices for a set of
        products significantly above those that would likely be charged absent the merger, which often are
        taken to be prevailing pre-merger prices.337 By evaluating price increases starting from prevailing
        prices, the HMT in a horizontal merger setting aims to identify products that would likely constrain
        the merging parties from engaging in an exercise of increased market power following the merger.

(251)   In contrast, for monopolization claims, the HMT considers customer substitution patterns at the
        benchmark of competitive prices.338 This is because an important concern is that prevailing prices
        may already reflect the exercise of substantial market power by the alleged monopolist.339 At such
        elevated prices, consumers would likely substitute away from the alleged monopolist’s products to
        alternatives were the alleged monopolist to impose a further price increase—even if those alternatives
        are not close substitutes for the alleged monopolist’s products were the monopolist’s products priced
        more competitively. When there is a concern that prevailing prices (or product qualities) depart
        significantly from those that would otherwise obtain in a more competitive environment, relying on
        observed customer substitution patterns at existing price or quality levels risks overstating the
        competitive significance of more distant substitutes that customers only turn to after a set of products
        has already been monopolized.340 Hence, quantitative estimates of demand elasticities and other

            merger. Specifically, the test requires that a hypothetical profit-maximizing firm, not subject to price regulation, that was
            the only present and future seller of those products (“hypothetical monopolist”) likely would impose at least a small but
            significant and non-transitory increase in price (“SSNIP”) on at least one product in the market, including at least one
            product sold by one of the merging firms.”).
        337 HMG §§ 4, 4.1.2 (“The Agencies apply the SSNIP [small but significant and non-transitory increase in price] starting

            from prices that would likely prevail absent the merger. If prices are not likely to change absent the merger, these
            benchmark prices can reasonably be taken to be the prices prevailing prior to the merger. If prices are likely to change
            absent the merger, e.g., because of innovation or entry, the Agencies may use anticipated future prices as the benchmark
            for the test.”).
        338 By competitive prices, I am referring to prices that likely would be offered if there were multiple efficient providers of

            similar and functionally substitutable products, limited not only to those currently available from existing market
            participants (e.g., products that could have been or could be offered by existing, past, or potential market participants).
            By using this benchmark level of prices in the hypothetical monopolist test (defined below), I seek to identify a set of
            products that could be, or could already have been, profitably monopolized.
        339 Indeed, acknowledging issues with using consumer substitution at observed prevailing prices to define markets in

            monopolization cases, the Horizontal Merger Guidelines note that a monopolist’s current prices may already reflect the
            exercise of its market power and that market definition in such cases will differ from evaluating horizontal mergers.
            HMG at fn. 5 (“Market definition for the evaluation of non-merger antitrust concerns such as monopolization or
            facilitating practices will differ [from mergers] in this respect [referring to the relevant benchmark for prices] if the
            effects resulting from the conduct of concern are already occurring at the time of evaluation.”).
        340 Phillip E. Areeda and Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application, 4th

            and 5th ed., cum sup. 2013–2020 (New York: CCH Incorporated, 2020), ¶ 539 (“A first approximation ‘provisional
            market’ is in fact a relevant antitrust market if its prices are already significantly supracompetitive. Such a market
            definition would be incorrectly broadened by adding a second product or region that would make a further price increase
            unprofitable to the first firm or set of firms. To put it another way, in seeking out a profit-maximizing price the
            monopolist or oligopolist finds a price so high that a still further price increase would be unprofitable because too many
            sales would be lost.”). See also Massimo Motta, Competition Policy: Theory and Practice, (New York: Cambridge
            University Press, 2004), 105 (“Suppose for instance that the firm is the only seller in the correctly defined product
            market. Being a monopolist, it might have set its prices at such a high level that a further increase above the current
            prices would not be profitable. Therefore, the [HMT] test [using the monopolist’s current prices as the competitive



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        measures of customer substitution computed at prevailing or historically observed prices will
        typically be less useful for defining markets for monopolization claims than for horizontal mergers.341

(252)   Where it is possible that prevailing prices exceed competitive levels, it is useful to consider two
        categories of evidence that can inform whether competition from products outside the relevant
        product markets significantly constrains a hypothetical monopolist of products within a market from
        exercising market power.

(253)   First, product characteristics and customer behavior can indicate products outside of each relevant
        market are not close enough substitutes for competitively-priced products within each relevant market
        to constrain a monopolist of all such products from exercising significant market power. I provide
        such evidence in this section. In particular,

        ◼    I discuss evidence that open-web display advertising is a distinct and important form of
             advertising and monetization for advertisers and publishers, and that publisher ad servers, ad




            benchmark] might lead to a too-wide market definition, which in turn might lead to a calculation of small market shares,
            and to a finding of no dominance, for the firm under investigation.”).
            Relying on substitution patterns to identify substitutes at already “supracompetitive” prices has been referred to as the
            “Cellophane Fallacy” See Steven C. Salop, “The First Principles Approach to Antitrust, Kodak, and Antitrust at the
            Millennium,” Antitrust Law Journal, vol. 68, (2000), 188 –189, 197 (“[M]arket power should be measured as the power
            profitably to raise or maintain price above the competitive benchmark price, which is the price that would prevail in the
            absence of the alleged anticompetitive restraint. The competitive benchmark may be the current price, the perfectly
            competitive price, or some other in-between price, depending on the particular allegations of anticompetitive effect
            being asserted. …Suppose, for example, that the antitrust allegation is that certain conduct has already permitted a firm
            to raise its price. In these circumstances, the proper competitive benchmark is not the current price. Instead, it is the
            lower price that would have prevailed absent the alleged restraint. If the current price is used as the competitive
            benchmark, the result will be an erroneous finding of no market power. This is the error that occurred in the Du Pont
            case, which now is explained under the rubric of the Cellophane Trap, or Cellophane Fallacy. There, Du Pont engaged
            in a variety of conduct that eliminated competition, permitting Du Pont to raise its price. The Court, however, evaluated
            market definition as a threshold filter that focused on the profitability of price increases above the already achieved
            monopolized price. That hypothetical price increase was found to be unprofitable, leading the Court to affirm the finding
            of a broad market and a lack of market power by Du Pont.”) (emphases suppressed). See also Gene C. Schaerr, “The
            Cellophane Fallacy and the Justice Department’s Guidelines for Horizontal Mergers,” Yale Law Journal 94, no. 3
            (1985), 670–93.
        341 See, e.g., Dennis W. Carlton and Jeffrey M. Perloff, Modern Industrial Organization, 4th ed. (Boston: Addison-Wesley,

            2005), 646–647 (“Just because a monopolized product faces close demand substitutes at monopoly price, it does not
            follow that the firm producing the product has no market power (though it may not be able to raise price further). It is
            only if the substitution possibilities are so large as to generate a highly elastic residual demand that the monopoly has no
            significant market power. Because it is difficult to determine which products to include in the market definition, market
            shares may be only a crude indicator of market power. The Cellophane case illustrates these difficulties in defining a
            market. The Court investigated whether du Pont had market power in the pricing of cellophane. The Court reasoned that
            du Pont lacked market power because, at the current market prices, a user of cellophane had many substitutes, such as
            paper bags, and du Pont’s share of the market including these substitutes was not large. There was also evidence,
            however, that price substantially exceeded marginal cost. Based on the foregoing discussion, it was an error to include
            other wrapping materials in the market definition because they did not prevent the exercise of market power and
            constrain the price of cellophane to competitive levels. If, however, instead of asking whether du Pont had market
            power, the Court had investigated whether a proposed merger would raise the cellophane price, its market definition
            might have been appropriate.”).



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              exchanges and advertiser ad networks that facilitate the serving and sale of such advertising are
              each distinct sets of products without close substitutes for either advertisers or publishers.342
        ◼     I also discuss evidence that industry participants recognize products in each relevant market as
              offering features and capabilities to customers that are not offered by products outside of the
              market, which is also consistent with the conclusion that a hypothetical monopolist of products
              within the market would not be constrained from charging prices above competitive levels.
        ◼     I also provide quantitative evidence that supports the finding that products outside the market are
              not close substitutes from customers’ perspectives.

(254)   Second, I present direct evidence that Google possesses substantial and sustained market power with
        its publisher ad server (DFP), ad exchange (AdX), and advertiser ad network (Google Ads) products.
        Such evidence indicates that these are proper relevant markets: because Google was able to profitably
        exercise market power in these markets, a hypothetical monopolist that controlled Google’s products
        as well as their close substitutes would also find it profitable to do so.343 Direct evidence of Google’s
        market power for these products includes Google’s pricing behavior and ability to profitably
        implement certain policies contrary to the interests of publishers and/or advertisers without a
        sufficient competitive response to constrain Google’s actions. This evidence shows that these relevant
        markets can be profitably monopolized.344 Evidence of Google’s market power over products
        contained within the relevant markets also demonstrates that potential constraints imposed by indirect
        network effects (or Google’s sale of multiple complementary products) do not prevent it—nor a
        hypothetical monopolist within each market—from charging quality-adjusted prices above
        competitive levels.


        IV.A.2. Relevant markets typically exclude some substitutes, and may exclude
        alternatives that are used alongside products within the relevant markets

(255)   Despite its usefulness in productively focusing attention on areas where competitive concerns may
        arise, market definition is not “an end in itself” and is one of several tools that assist with the analysis


        342 Recall from Section III.B that an ad tech product will possess market power as long as either the advertisers or
            publishers that use it do not have close substitutes to turn to. Hence, as long as one set of customers (advertisers or
            publishers) lack close substitutes for a set of products, a monopolist of those products will be able to exercise market
            power and those products would comprise a relevant market.
        343 See Phillip E. Areeda and Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

            Application, 4th and 5th ed., cum sup. 2013–2020 (New York: CCH Incorporated, 2020), ¶ 539b1 (“Where the
            provisional A grouping [of products] includes all reasonable substitutes made in the same region and by similar
            technology, substantial excess profits, prices significantly above marginal costs, or some instances of price
            discrimination reveal market power within that grouping. That conclusion overcomes the presumptive methodology for
            broadening the market. Indeed, there is seldom any reason to do more than conclude that the A grouping defines a
            market, once we know that the A firms possess substantial market power.”).
        344 Notably, this direct evidence does not involve market shares computed for a given set of products (which would depend

            upon having defined a relevant market).



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(280)   As an example, Disney uses DFP for all of its display advertising,371 but Disney also has developed
        its own in-house ad server, Disney Ad Server, with more “robust” large-scale video streaming
        capabilities than are available in DFP.372

(281)   For many open-web publishers, however, developing and switching to integrated ad tech products
        would be costly and time consuming, require overcoming indirect network effects in order to attract
        advertiser spending, and would limit access to the large amount of advertiser demand that flows
        through third-party ad tech products.373 I discuss the significant costs that publishers face in self-
        supply of their own ad tech products in more detail in Section V.B.2.b.


        IV.B.2. Open-web display advertising is an important component of marketing
        for advertisers, and distinct from other forms of advertising

(282)   As consumers have shifted spend and activity from traditional to digital media, advertisers have also
        shifted spend towards digital advertising and away from non-digital, or offline, forms of advertising
        such as print, television, and radio.374

(283)   Digital advertising offers distinct benefits over offline advertising. Digital advertising can be used to
        engage immediately with consumers, for example by allowing consumers to immediately click on an
        ad and be directed to the advertiser’s website.375 Digital advertising also allows for more targeted ads
        than offline advertisements,376 and can use data gathered from users’ browsing history to improve

        371 Deposition of Jeremy Helfand (Disney), September 29, 2023 132:3–132:13 (“Q. And just so I’m clear, does Disney still
            use Google’s DFP ad server to sell video advertising outside of Hulu and Disney+? A. The Google Ad Manager,
            previously DFP, is used to deliver video advertising on some of our properties like ESPN. Q. And Disney uses Google
            Ad Manager, previously known as DFP, to sell all of its display advertising; is that right? A. That is correct.”).
        372 Deposition of Jeremy Helfand (Disney), September 29, 2023 132:14-133:4 (“Q. You talked a little bit about why

            Google, or sorry, Disney developed an in-ad server. How does Disney’s ad server compare to Google’s ad server? A. In
            comparison, what I would say is that the Disney Ad Server was built from the ground up for video. And some of the
            important capabilities associated with being able to deliver large scale video is inherent in the Disney Ad Server,
            especially for streaming. The Google ad server or Google Ad Manager started as a display ad server and has evolved to
            support video. And there are certain, I would say, video capabilities that are not as robust as what we developed for the
            Disney Ad Server.”).
        373 See Deposition of James Glogovsky (New York Times), Aug. 25. 2023, 149:11–150:8 (“Q. What disadvantages, if any,

            are there to The New York Times using a publisher ad server for display that it has built and operated itself?… A.
            Maintaining ad technology that is homegrown, built internally, whether that be an ad server, has several disadvantages.
            One, the operational support and infrastructure in capital resources required to maintain that and to evolve with the
            industry changes would require us to invest a significant portion. And then also just staying up to date with the evolving
            landscape of the ad formats and being able to adapt to our clients’ needs readily and availably, or quickly.”).
        374 GOOG-DOJ-03242646, at -657 (09/26/2018) (Google “Programmatic Overview” deck).

        375 MSFT-LIT-0000046646, at -661 (10/10/2017) (AppNexus Response to FCA’s RFI notes that unique characteristics of

            online advertising, which make offline advertising a weak substitute, include that “[o]nline advertising is uniquely well-
            suited to directing potential customers to advertisers’ websites” and “[o]nline ads … offer the opportunity for immediate
            engagement with the advertisers’ brand through links or other interactive experiences.”).
        376 See, e.g., MSFT-LIT-0000046646, at -660 (AppNexus Response to FCA’s RFI notes that “Online advertising allows for

            much more specific audience targeting, in some cases enabling advertisers to reach specific potential customers.
            Targeting for offline ads, on the other hand, is far less exact.”; see also Google, “What’s online marketing?,”
            https://support.google.com/google-ads/answer/6227161?sjid=7802735466321330464-NA (“There’s a lot that’s different



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        such targeting.377 Additionally, digital advertising enables advertisers to more accurately track and
        quickly respond to the effectiveness of their ads.378 Even though many advertisers may still use both
        digital and offline advertising in their ad campaigns, they may also have complementary features
        from the perspective of advertisers.379

(284)   Below, I discuss evidence that within digital advertising, display advertising on websites provides
        distinct value to advertisers as compared to other forms of digital advertising; and that for advertisers,
        open-web display advertising is distinct from display advertising on web sites of publishers that rely
        on their own integrated ad-tech products for the sale of display inventory.

        IV.B.2.a. Display advertising on websites is distinct from other forms of digital advertising for
        advertisers

(285)   Many advertisers use multiple forms of digital advertising. Marketing research and documents and
        testimony from industry participants acknowledge that different forms of advertising can target users
        at different stages of what is referred to as the “marketing funnel” (or, equivalently “sales funnel”).380
        Moreover, because different forms of digital advertising may reach different sets of consumers, using
        multiple forms of digital advertising allows an advertiser to broaden the reach of a campaign.381


            about online advertising compared to traditional advertising like newspapers, TV ads, or billboards. … Online
            advertising lets you target your ads to the type of customers you want, and filter out those you don’t.”). See also
            Deposition of Kendall Oliphant (United States Census Bureau), Aug. 9, 2023, 214:17–217:15 (“A. Digital allowed you
            to be a little bit more precise in your targeting, and that precision was necessary as we got into the later stages of the
            campaign. Even if the cost had been higher, the ability to be so precise, so strategic, and to be able to adapt as quickly as
            we could, it would have made it worth it for this effort.”).
        377 MSFT-LIT-0000046646, at -663 (10/10/2017) (AppNexus Response to FCA’s RFI). See also Google, “What’s online

            marketing?,” https://support.google.com/google-ads/answer/6227161?sjid=7802735466321330464-NA (“you can use
            different targeting methods to reach potential customers right when they’re searching for your products or services. This
            can help make sure you’re putting your advertising dollars towards reaching only the people most likely to become your
            customers.”).
        378 Google, “What’s online marketing?,” https://support.google.com/google-

            ads/answer/6227161?sjid=7802735466321330464-NA; Avi Goldfarb, “What is Different about Online Advertising?”,
            Review of Industrial Organization 44, no. 2 (2014), 120.
        379 For example, AppNexus’ response to FCA’s request for information in 2017 states that “[o]nline and offline advertising,

            while complementary, are not substitutes,” lists several features that differentiate online from offline advertising, and
            notes that “[f]rom an advertisers’ perspective, offline advertising will not be substitutable for online advertising until
            offline ads can reasonably replicate these characteristics.” MSFT-LIT-0000046646, at -660–662 (10/10/2017)
            (AppNexus Response to FCA’s RFI); see also Deposition of Kristy Kozlowski (Comcast), Sep. 6, 2023, 54:12–55:9
            (“Q. And I know you mentioned that Mr. Jenckes is on the sell side. But from your buy side perspective, how does the
            statement that the marketplace is highly competitive compare to Comcast's view on competition in the purchase of
            advertising?. . . I -- from my perspective as a buyer of media here for Comcast, I think that each media channel, whether
            it be broadcast, digital, out of home, radio, all plays a slightly different role in our media mix and our ability to deliver
            sales. They all sort of operate independently, yet synergistically help drive volume to our sales channels and work, you
            know, together in many ways but might be executed differently. But it really comes down to our ability to deliver our
            sales goals and what the right mix is and how efficiently we can do that.”).
        380 See Section II.A.2.

        381 Advertisers say “diversification [across advertising types] is perceived as essential” and advertisers “won’t completely

            turn a channel off as they want to diversity as much as possible” because they “perceive a diminishing returns if they
            focus on only a few channels.” GOOG-DOJ-AT-0070932, at -947 (03/2020) (A Google “Discovery Campaigns Social



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        subset of direct transactions sold on AdX (“Direct via AdX”), CPMs are much higher than for indirect
        transactions.451

        Figure 32. Average CPM of worldwide impressions on DFP by transaction type (2018–2022)


                                                            Indirect     Direct      Direct via AdX

                    $8
                                 $7.54                   $7.38
                                                                                  $6.69                   $6.68                   $6.71
                    $7


                    $6


                    $5
                                         $4.51
                                                                 $4.32
                                                                                          $3.74                   $3.96
              CPM




                                                                                                                                          $3.85
                    $4


                    $3


                    $2
                         $1.36                   $1.24                                            $1.19                   $1.12
                                                                         $1.04
                    $1


                    $0
                                 2018                    2019                     2020                    2021                    2022

        Source: DRX Internal Stats data (DOJ RFP 57)
        Notes: Data contain 2018–2022 observations paid out in CPM. CPM is reported as gross revenue divided by impressions.
        Original data report reservation types. Impressions are limited to open-web display. Sponsorship and standard reservations as
        well as fixed CPM, preferred deals and programmatic guaranteed are considered direct sales. Price priority, network, bulk, and
        bumper reservations as well as open auction, private auction, and first look transactions through AdX are considered indirect
        sales. “Direct via AdX” are direct transactions sold on AdX. House ads and unknown reservation type are excluded.
        Transactions with greater than $100 CPM or with $0 revenue are excluded.




        IV.C. Publisher ad servers is a relevant product market
(315)
        Publisher ad servers are software products used by publishers to manage and sell open-web display ad
        inventory through both direct and indirect sales methods (including RTB transactions).452 A publisher


        451 See Figure 82 in Appendix C.3 for statistics restricted to transactions from US publishers. Using the same data, Figure
            83 in Appendix C.3 reports results from regressions of publisher CPMs on indicator variables for indirect, direct via
            AdX, and direct non-AdX transactions, and publisher fixed effects (which controls for across-publisher variation in
            average CPMs). The results are consistent with publishers tending to earn significantly more revenue per transaction on
            direct transactions than indirect transactions.
        452 Publisher ad servers can also serve ads other than web display ads. See, e.g., GOOG-DOJ-13218256, at -256

            (10/11/2018) (A Google strategy paper that notes that Google Ad Manager and Ad Manager 360 offer a “full stack
            (display/video in web/app) solution.”).



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        ad server assists a publisher in using various transaction types to maximize display ad revenue. These
        transaction types include non-programmatic direct reservations, programmatic direct deals (including
        programmatic guaranteed and preferred deals), and indirect transactions (including private auctions
        and open auctions).453

(316)   To manage and select among these different transaction types in real-time, publisher ad servers allow
        a publisher to set rules and goals for ads being served, and are sometimes referred to as the “decision
        engine” for a publisher.454 They typically also provide other features such as collecting and utilizing
        targeting information, and tracking ad performance and monetization.455 Publisher multihoming
        across multiple publisher ad servers for display advertising is rare, and publishers typically use a
        single publisher ad server for display ads.456

(317)   The services provided by a publisher ad server are particularly important for large publishers and
        those with more complex display advertising needs.457 For example, this includes publishers who
        need to meet the pricing and scheduling requirements of direct deals while simultaneously seeking to
        allocate remaining inventory via RTB in a manner that most effectively monetizes their display
        inventory.458 Further, publisher ad servers are useful for large publishers because they can provide the

        453 See Deposition of Scott Sheffer (Google), July 20, 2021, 79:23–81:22(“a typical publisher has a chunk of advertising
            inventory that they would like to monetize… The challenge for a publisher is that they have typically a direct sales team,
            which may sell some of that inventory directly at negotiated rates that they do with an advertiser agency. And then they
            may have other inventory that a publisher may wish to monetize. What an ad server enables a publisher to do is, subject
            to the publisher’s decisions around pricing and scheduling and budgeting, the ad server enables them to run their
            monetization business according to the rules and the criteria and the setup that the publisher puts in place with that ad
            server.”). See Section II.B.1 for additional discussion of the functions of publisher ad servers and the different categories
            of advertising that it manages.
        454 See GOOG-DOJ-04429792, at -794 (04/2017). See also Deposition of Scott Sheffer (Google), July 20, 2021,79:23–

            81:22 (“What a [publisher] ad server enables a publisher to do is, subject to the publisher’s decisions around pricing and
            scheduling and budgeting, the ad server enables them to run their monetization business according to the rules and the
            criteria and the setup that the publisher puts in place with that ad server”); Deposition of Max Loubser (Google), April
            21, 2021 167:3–167:20, (“Focusing specifically on the reference to decision logic, how did header bidding present a
            challenge to DFP with respect to decision logic? A… The decision logic typically referes to the process of the DFP ad
            server selecting which advertisement to deliver to the publisher’s web page or other environment. And in order to make
            a good decision, where a good decision is one that would be optimal for the revenue of the publisher and then, again, as
            before, the advertiser’s interests and the user’s interests.”).
        455 See discussion in Section II.B.1.

        456 See discussion in Section III.C, fn. 246.

        457 Eisar Lipkovitz stated in his deposition that the “majority of [DFP customers] were sort of large publishers, large media

            companies, you know, big names…and, you know, it’s a complicated product, right, so if you don’t have a reason to use
            it, you don’t have enough people to operate it, you wouldn’t.” He characterizes AdSense, a publisher-facing ad network,
            as a “self service, super simple to use” product for “long-tail” publishers that do not have a lot of impressions and are
            run by a very small number of people. Deposition of Eisar Lipkovitz (Google), March 31, 2021, 80:18–81:14 and
            82:25–83:15.
            See also GOOG-DOJ-13218256, at -256 (10/11/2018) (“Google currently offers 5 publisher products: 1. Google Ad
            Manager 360: Full stack (display / video in web / app) solution for large publishers with 3p demand and direct sales 2.
            Google Ad Manager: Full stack (display / video in web / app) solution for small- and medium sized publishers with 3p
            demand and direct sales 3. AdSense: Scalable, automated solution for small, web-based publishers without 3p demand
            or direct sales”).
        458 Scott Sheffer, Google’s Vice President of Global Partnerships, sell-side monetization stated in his deposition that, “a

            typical publisher has a chunk of advertising inventory that they would like to monetize… The challenge for a publisher



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        IV.C.3. A hypothetical monopolist of publisher ad servers would likely charge
        quality-adjusted prices above competitive levels

(332)   A profit-maximizing hypothetical monopolist of publisher ad servers would likely charge (quality-
        adjusted) prices that significantly exceed competitive levels.485 Such a hypothetical monopolist likely
        would do so due to the lack of close alternatives available to open-web publishers, as discussed
        above. These publishers can be targeted with price increases individually or by offering different
        versions of the product targeted to different consumer types.486

(333)   Moreover, as I will detail further in Section V.B, there is direct evidence that Google’s publisher ad
        server product, DFP, possesses significant market power. In that section, I describe Google
        documents indicating higher DFP fees would increase its profit. I also discuss DFP’s deviations from
        competitive behavior, including actions it took to reduce its quality in order to meaningfully
        advantage AdX. All of this indicates evidence that Google faces limited constraints on its market
        power from customer substitution away from DFP.

(334)   Hence, publisher ad servers is a relevant product market.


        IV.D. Ad exchanges is a relevant product market
(335)   Ad exchanges are software products that facilitate the indirect real-time programmatic sale of open-
        web display ad inventory by connecting publisher ad servers with multiple demand sources, including
        from DSPs and advertiser ad networks.487 As I explained in Section II.B.3, ad exchanges allow
        publishers through their publisher ad servers to access advertiser demand through DSPs and networks
        via RTB.488 In this role, ad exchanges also share data with and collect bids from demand partners that
        participate in the auction.489



        485 A monopolist of publisher ad servers that also owned complementary products might also exercise market power in the
            publisher ad server market by reducing its quality to increase sales of complementary products (see Section V.B.3.b).
        486 As I discussed in Section II.D, Google offers two versions of DFP (Premium and Small Business) with different fees,

            and as I discuss in Section V.C.3, there is evidence that Google is able to charge varying prices for DFP Premium to
            different publishers.
        487
            While ad exchanges have begun to facilitate some direct transactions, such as Programmatic Guaranteed and Preferred
            Deals, the vast majority of transactions on exchanges are indirect, most often filled through RTB (see discussion in fn.
            115). As a result, I consider indirect open-web display transactions to be the relevant set of transactions for the ad
            exchange market. For the purposes of exchange market shares calculations in Section V, I include transactions
            facilitated through Open Auction, Private Auction, Open Bidding, Header Bidding, and Private Marketplace and exclude
            direct deals such as Programmatic Guaranteed and Preferred Deals.
        488 GOOG-DOJ-04429792, at -795 (04/2017) (Google presentation, “Sell Side Platform (SSP)/Exchange – service for

            managing multiple programmatic monetization sources of online display inventory, DSP and ad networks are considered
            ‘Buyers’, and publishers and publisher networks are considered ‘Sellers’”).
        489 As discussed in Section II.B.3, since SSPs and ad exchanges have largely been merged into the same products, I use the

            term “ad exchanges” to refer to services provided by both SSPs and exchanges.



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(347)   Though Google introduced Google Ad Manager (GAM) in June 2018 which contains both DFP and
        AdX,505 it has subsequently in internal analyses still identified its publisher ad server and ad exchange
        as separate products.506 In addition, it prices the publisher ad server (DFP) and ad exchange (AdX)
        components of GAM separately.507


        IV.D.3. A hypothetical monopolist of ad exchanges would likely charge quality-
        adjusted prices above a competitive level

(348)   A profit-maximizing hypothetical monopolist of ad exchanges providing real-time bids for open-web
        display ads would likely charge (quality-adjusted) prices that significantly exceed competitive levels.
        Within open-web display advertising, the market power of such a hypothetical monopolist primarily
        arises from the position of ad exchanges in the ad tech stack—as the intermediating layer between
        publishers and their publishers ad servers, and DSPs and advertiser ad networks used by advertisers
        and ad agencies—and the difficulties in circumventing this layer, as discussed above.

(349)   As discussed earlier, because ad exchanges facilitate transactions between two distinct sets of agents,
        an exercise of market power requires only that either (a) publishers (or firms representing their supply
        from the perspective of ad exchanges) or (b) advertisers (or firms representing their demand from the
        perspective of ad exchanges) would not substantially substitute away from ad exchanges priced above
        competitive levels. The evidence provided above indicates that substitution by both advertisers and
        publishers to alternatives would not be sufficient to defeat an exercise of market power by a
        hypothetical monopolist, and that publishers and advertisers are willing to bear fees significantly
        above competitive levels to transact display ads through ad exchanges.

(350)   Moreover, as I will discuss in detail in Section V.C.3, there is significant direct evidence that Google
        has been able to exercise substantial market power in the ad exchange market with its AdX product.
        For example, AdX’s take rate of 20% is significantly higher than the average of its competitors and
        has been stable for the past decade. In addition, Google has been able to dynamically adjust its
        reserve prices (i.e., price floors) and use AdX to favor its own products in the ad tech stack even
        while degrading the quality of AdX by not providing real-time bids into rival publisher ad servers.
        During that time, a range of out-of-market advertisement options have grown in significance. These




        505 See discussion in Section II.C, fn.124.
        506 See GOOG-AT-MDL-000992438, at -438 (03/2022), (“We have now retired the DoubleClick brand, but internally, the
            products are still referred to as DFP and AdX.”).
        507 See Section II.D. See also GOOG-AT-MDL-000992438, at -438 (03/2022) (The Korula Declaration states “Up until at

            least December 2021, it was possible for a publisher using Google Ad Manager to exclude AdX from the sale process
            altogether.”).



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        options include “connected” and over-the-top TV services,508 audio,509 and social media sites such as
        TikTok, SnapChat and Facebook.510 A lack of a price response from AdX, and its ability to degrade
        the quality of its product without losing substantial share, is consistent with out-of-market options
        imposing limited constraints on the market power for a hypothetical monopolist of ad exchanges for
        open-web display.

(351)   Hence, ad exchanges is a relevant product market.


        IV.E. Advertiser ad networks is a relevant product market
(352)   Advertiser ad networks are bidding tools used by advertisers to purchase open-web display
        inventory.511 Advertiser ad networks typically allow advertisers to bid on a cost-per-click (CPC) basis
        rather than a cost-per-impression (CPM) basis, which requires that the network estimate the
        likelihood of an impression becoming a click, since publishers are typically paid for display inventory




        508 IAB, “IAB internet advertising revenue report: 2018 full year results,” PWC and IAB, last modified May 2019,
            https://www.iab.com/wp-content/uploads/2019/05/Full-Year-2018-IAB-Internet-Advertising-Revenue-Report.pdf. (“As
            consumers shift away from traditional media, digital leads the way in regaining their attention, first from desktop to
            mobile devices and more recently to connected TV, audio devices, and digital out of home…”). They echoed the rising
            significance of TV services for the first half of 2019 in the 2019 first six months results. See IAB, “IAB internet
            advertising revenue report: 2019 first six months results,” IAB, October 2019, 5 https://www.iab.com/wp-
            content/uploads/2019/10/IAB-HY19-Internet-Advertising-Revenue-Report.pdf: “We are firmly in the third revolution of
            television content… publishers have indicated they are increasingly leveraging OTT to go direct to consumer…As
            viewers shift their behavior towards CTV, advertisers are following.”
        509
             IAB, “IAB internet advertising revenue report: 2019 first six months results,” IAB, October 2019, 18
            https://www.iab.com/wp-content/uploads/2019/10/IAB-HY19-Internet-Advertising-Revenue-Report.pdf: digital audio
            advertising revenue reached $1.2 billion in HY 2019, “a 30.1% increase over HY 2018 revenue.”
        510 IAB, “IAB internet advertising revenue report: 2019 first six months results,” IAB, October 2019, 17

            https://www.iab.com/wp-content/uploads/2019/10/IAB-HY19-Internet-Advertising-Revenue-Report.pdf: social media
            advertising total revenue grew 30.6% between FY 2017 and 2018. In IAB, “IAB internet advertising revenue report:
            2019 first six months results,” IAB, October 2019, 21: “Social media advertising continues its ascent with revenues
            growing 25.7% in HY 2019 compared to HY 2018.”
        511 See discussion of ad networks in Section II.B. An advertiser ad network may be bundled with a publisher-facing

            product, with the bundle being labeled as an “ad network” (for example, Google Ads and Google AdSense are
            advertiser-facing and publisher-facing components of Google’s display ad network).



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        Figure 34. Google Ads and DV360 indirect open-web display impressions by cost type (2022)


                                         CPC   CPM   CPC to CPM   CPMAV   CPMAV to CPM      CPA to CPC      Other

                                  100%
                                                        4%                                       0%
                                                        3%
                                  90%                   8%
                                                        4%
                                  80%

                                  70%
                                                        30%
           Share of impressions




                                  60%

                                  50%                                                            98%


                                  40%

                                  30%
                                                        52%
                                  20%

                                  10%

                                                                                                 1%
                                   0%
                                                     Google Ads                                 DV360

        Source: Google XP data (DOJ RFP 7), Google DV360 data (DOJ RFP 7).
        Note: Worldwide share of billable impressions in 2022. Limited to indirect open-web display impressions. I supplement Google
        XP data with Google DV360 data as cost type information for DV360 is often missing in the Google XP data. Abbreviations:
        CPC (cost-per-click), CPM (cost-per-mille impressions), CPMAV (cost-per-mille active view), CPV (cost-per-view), CPA (cost-
        per-action), CPE (cost-per-engagement). See Google, “Glossary,” Google Ads Help, https://support.google.com/google-
        ads/topic/3121777?hl=en. “Other” includes CPA-to-CPM, CPV, CPA, CPE, and CPE-to-CPM transaction types.



(366)   Lastly, pricing levels between advertiser ad networks and DSPs can differ. For example, a Google
        document notes: “Why do Google Ads and Display and Video 360 charge different amounts? Google
        Ads is a broad offering used by a range of advertisers across a diverse base from small businesses to
        larger brands. DV360 is specifically used by large global advertisers and their agencies to execute
        complex marketing campaigns, and as such is priced as an enterprise-level solution.”531

(367)   Consistent with the above differences between advertiser ad networks from DSPs, the set of
        advertisers that use these distinct products differ.

(368)   Using Google’s data, I analyze the set of advertisers that use Google Ads and/or DV360.

(369)   As shown in Figure 35 below, among the advertisers that use either product, the vast majority (nearly
        99%) use only Google Ads.


        531 GOOG-DOJ-AT-00038180, at -190 (2020) (Google “Comms Doc” ). See also Section II.C.4.




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        Figure 35. Number of advertisers who used only Google Ads, only DV360, or both (2022)


                                   4,500,000

                                                    4,049,609
                                   4,000,000


                                   3,500,000


                                   3,000,000
           Number of advertisers




                                   2,500,000


                                   2,000,000


                                   1,500,000


                                   1,000,000


                                    500,000

                                                                          18,487                      22,700
                                          0
                                               Uses only Google Ads   Uses only DV360               Uses both

        Source: Google XP data (DOJ RFP 7)
        Notes: Figure displays the number of advertisers with positive spending on Google Ads, DV360, or both in 2022.YouTube and
        mobile app ads, and Programmatic Guarantee and Preferred Deal transactions are excluded. 0.4% of spending on Google Ads
        is attributed to observations with missing advertiser information, and are excluded.



(370)   Despite the large differences in numbers within each group, the total spend represented by the
        advertisers that use Google Ads and DV360 compared to those that only use Google Ads is roughly
        comparable, as shown in Figure 36.




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        Figure 36. Total advertiser spend on indirect open-web display advertising within Google Ads and DV360
        (2022)


                                         Total spend on Google Ads       Total spend on DV360

         $10,000,000,000

          $9,000,000,000

          $8,000,000,000

          $7,000,000,000
                                                                                                   $5,303,228,797
          $6,000,000,000

          $5,000,000,000

          $4,000,000,000            $8,284,556,935


          $3,000,000,000

          $2,000,000,000                                                                           $4,006,317,838

          $1,000,000,000
                                                                     $359,076,338
                       $0
                                Uses only Google Ads              Uses only DV360                    Uses both

        Source: Google XP data (DOJ RFP 7)
        Notes: Figure displays indirect open-web display spending from advertisers with positive spending on Google Ads, DV360, or
        both in 2022. YouTube and mobile app ads, and Programmatic Guarantee and Preferred Deal transactions are excluded. 0.4%
        of spending on Google Ads is attributed to observations with missing advertiser information, and are excluded.



(371)   Hence, spending per advertiser by advertisers that use Google Ads is much lower than spending per
        advertiser by advertisers who use DV360, either instead of or in addition to Google Ads. Figure 37
        below shows the average worldwide advertiser spend in 2022 on indirect open-web display
        advertisements. The figure shows that advertisers who use Google Ads have significantly lower spend
        than advertisers who use DV360 or a combination of Google Ads and DV360. Note that for those
        advertisers who use both Google Ads and DV360, a meaningful amount of their spend is through
        Google Ads.




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        Figure 37. Average worldwide advertiser spend on indirect open-web display advertising within Google
        Ads and DV360 (2022)


                                        Mean spend on Google Ads         Mean spend on DV360

          $450,000


          $400,000


          $350,000


          $300,000                                                                                   $233,622

          $250,000


          $200,000


          $150,000


          $100,000
                                                                                                     $176,490

              $50,000
                                                                    $19,423
                                  $2,046
                  $0
                           Uses only Google Ads                Uses only DV360                       Uses both

        Source: Google XP data (DOJ RFP 7)
        Notes: Figure displays average indirect open-web display spending among advertisers with positive spending on Google Ads,
        DV360, or both in 2022. YouTube and mobile app ads, and Programmatic Guarantee and Preferred Deal transactions are
        excluded. The median dollar amounts transacted by advertisers who use only Google Ads, use only DV360, and use both are:
        $33, $552, and $16,336, respectively. I limit the advertisers in each category to those with positive spend on Google Ads,
        DV360, or both in 2022, respectively. 0.4% of spending on Google Ads is attributed to observations with missing advertiser
        information, and are excluded.



(372)   Small advertisers tend to use advertiser ad networks exclusively, whereas advertising agencies and
        other large advertisers are more likely to (also) use DSPs.532 Figure 38 shows that among Google Ads
        advertisers, the smallest advertisers tend to use Google Ads exclusively, whereas as the advertiser
        size increases, so does the tendency to use DV360 in addition to Google Ads.533 The figure ranks
        advertisers based on their total spend on Google Ads in 2022 (i.e., advertisers ranked 1–100 are the
        100 advertisers with the most spending on Google Ads in 2022). While more than half of the top 100

        532 A very small advertiser would “have no reason to” use a DSP and that this trend is “not specific to Google,” but holds
            “through and across an entire set of DSPs.” Deposition of Eisar Lipkovitz (Google), March 31, 2021, 93:19–94:3
            Another Google document specifies that DV360’s customers are the “Top 1500 Advertisers globally, Big 6, agencies,
            DCMPs” while AdWords serves the “Remaining 2M+ customers.” GOOG-DOJ-14053654, at -660 (2017) (Google
            GDN and DBM performance deck).
        533 The top 100 advertisers accounted for 14% of total indirect open-web display spend on Google Ads. Advertisers ranked

            101-1,000 accounted for 25% of spend, advertisers ranked 1,001-10,000 accounted for 33% of spend, advertisers ranked
            10,001-100,000 accounted for 19% of spend. Over 3.9 million advertisers were not ranked among the top 100,000
            Google Ads advertisers, and these advertisers made up only 9% of Google Ads indirect open-web display spend in 2022.



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        advertisers on Google Ads also used DV360, nearly all of the advertisers outside the top 100,000 had
        no spend on DV360 in 2022.

        Figure 38. Use of Google Ads and DV360 across Google Ads advertisers, by spending rank (2022)


                                               Google Ads only       Google Ads and DV360

         100%

           90%

           80%

           70%

           60%

           50%

           40%

           30%

           20%

           10%

            0%
                         1-100               101-1,000           1,001-10,000         10,001-100,000           100,000+
                                                   Advertiser rank (by Google Ads spend)

        Source: Google XP data (DOJ RFP 7)
        Notes: Figure depicts the (unweighted) share of advertisers using Google Ads only or Google Ads and DV360 in 2022, among
        groups of advertisers ranked by amount of indirect open-web display spending on Google Ads in 2022. Limited to advertisers
        with any indirect open-web display spend on Google Ads in 2022. A total of 4,072,309 advertisers are included in the analysis.



(373)   A slide from a 2019 internal Google presentation, shown in Figure 39 below, provides further support
        for the tendency of larger advertisers (“Head” in the figure) to use both Google Ads and DV360, and
        smaller advertisers (“Tail”) to single home on Google Ads.




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        access to demand from small advertisers that, in the words of a former Google executive, “have no
        reason” to use a DSP.536

(377)   As discussed above, analysis of Google data indicates that in 2022, over 99% of advertisers who used
        Google Ads to purchase indirect open-web display ad inventory did not also use DV360. During that
        period, these advertisers comprised roughly 47% of all spend on Google Ads.537 Forgoing advertiser
        demand coming from advertiser ad networks, such as Google Ads, publishers thus stand to lose
        access to a substantial unique set of advertising demand that is not accessible via DSPs. As I discuss
        further in Section VII.B, there is significant evidence that an important reason that publishers used
        Google’s sell-side products DFP and AdX is to access Google Ads’ demand.

(378)   Last, as discussed in Section IV.B.4, direct deals are also not a substitute for indirect demand
        provided by advertiser ad networks for publishers.538 For example, a 2011 Google document noted
        that small publishers “can’t afford to maintain their own sales force and they don’t have inventory to
        be of interest to large advertisers” and “large publishers have inventory that is of too low value to
        merit direct selling.”539


        IV.E.2. Industry participants recognize that ad networks are distinct products

(379)   Industry participants have recognized the distinctiveness of advertiser ad networks, indicating that
        substitution to DSPs and other ad tech products would likely be limited in response to an exercise of
        market power by a hypothetical monopolist of competitively-priced advertiser ad networks. For
        instance,

        ◼     Google documents recognize that Google Ads and DV360 serve different sets of advertising
              customers540 and that Google Ads customers have fundamentally different needs than DV360

        536 Deposition of Eisar Lipkovitz (Google), March 31, 2021, 93:19–94:17 (“Q. Would a very small advertiser ever use a
            DSP?. . . A. In my opinion, they have no reason to. And, you know, like many of these other companies, and probably
            including Google, won’t even return their phone call, right?. . . If you don’t have reason to use it, if you don’t use
            enough volume, it doesn’t make sense. I don’t think that – that’s not specific to Google.”); A 2017 Google deck notes
            that DV360 customers include the “Top 1500 Advertisers globally, Big 6 agencies, DCMPs,” the “Remaining 2M+
            customers” use Google Ads. If publishers substituted selling inventory through Google Ads to selling inventory through
            DV360, they would forego access to demand from those 2M+ customers. GOOG-DOJ-14053654, at -660 (2017)
            (Google GDN + DBM Performance deck).
        537 Google XP data (DOJ RFP 7).

        538 John Dederick, Executive Vice President at The Trade Desk, testified that compared to publishers who sell inventory

            only through direct deals, publishers who sell inventory through ad networks get “more of an opportunity to optimize
            yield which really means … use all of the different supply you have access to to drive up costs and to sell through as
            much of your inventory as possible.” Deposition of John Dederick (The Trade Desk), July 28, 2023, 156:15–157:6;
            GOOG-AT-MDL-004216796, at -802 (Google Display Advertising Ecosystem document).
        539 GOOG-AT-MDL-004216796, at -802 (Google Display Advertising Ecosystem document).

        540 A 2019 internal Google memo contains an FAQ section that says Google Ads and DV360 “serve distinctly different

            customer sets.” GOOG-DOJ-02858797, at -807 (09/2019) (“Q: Are there any concerns about using Google Ads &
            DV360 at the same time? A: The goal for our two platforms is to serve distinctly different customer sets and, serve our
            individual customer sets with full funnel solutions that meet their needs.”) The same memo describes DV360 as building



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        inventory. Indeed, a 2017 Google presentation described Google Ads as providing “[u]nique demand
        that adds auction pressure to drive greater CPMs, fill and overall yield.”548


        IV.E.3. A hypothetical monopolist of advertiser ad networks would likely
        charge quality-adjusted prices above competitive levels

(381)   A profit-maximizing hypothetical monopolist of advertiser ad networks would likely charge (quality-
        adjusted) prices that significantly exceed competitive levels. The market power of such a hypothetical
        monopolist primarily arises from the uniqueness of advertiser ad networks as a buy-side solution for
        small advertisers, and the publisher demand for access to advertiser ad networks that arises out of the
        unique demand accessible through them.

(382)   As discussed earlier, because advertiser ad networks facilitate transactions between two distinct sets
        of agents, an exercise of market power requires only that either (a) publishers (or firms representing
        their supply from the perspective of advertiser ad networks) or (b) advertisers (or firms representing
        their demand from the perspective of advertiser ad networks) would not substantially substitute away
        from advertiser ad networks priced above competitive levels. The evidence provided above indicates
        that substitution by both advertisers and publishers to alternatives would not be sufficient to defeat an
        exercise of market power by a hypothetical monopolist, and that publishers and advertisers are willing
        to bear fees significantly above competitive levels to transact display ads through advertiser ad
        networks.

(383)   Moreover, as I will discuss in detail in Section V.D.3, there is direct evidence that Google has been
        able to exercise substantial market power in the advertiser ad network market with its Google Ads
        product. For over a decade, Google Ads has been able to charge fees above competitive levels and
        meaningfully affect publisher payouts by changing its bidding strategies into AdX. Moreover, Google
        has imposed constraints on Google Ads’ ability to bid into third-party ad exchanges to favor AdX,
        degrading the quality of Google Ads in the process. Google Ads’ ability to engage in such behavior
        strongly indicates that there are limited constraints on the market power a hypothetical monopolist of
        advertiser ad networks could exercise.

(384)   Hence, advertiser ad networks is a relevant product market.




        548   GOOG-DOJ-04429792, at -804 (04/2017) (“Monetization Cheatsheet”).



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        IV.F. Relevant geographic markets for publisher ad servers, ad
        exchanges, and advertiser ad networks
(385)   Geographic market definition assists with evaluating monopolization claims by focusing attention on,
        and explicitly delineating, specific geographic areas where competitive and customer harm can occur.

(386)   The focus of this matter is on third-party ad tech products that can be used to transact open-web
        display advertising. The customers of these third-party ad tech products are open-web publishers and
        advertisers, and the suppliers of these products include software companies such as Google and its
        competitors in the relevant product markets.

(387)   A relevant geographic market can be based on the locations of customers (buyers or sellers of open-
        web display advertising). In this report, I focus on geographic market definition based on customer
        location—i.e., where open-web publishers and advertisers are located—and do not place restrictions
        on the location of suppliers.549

(388)   Below, I describe why worldwide (excluding a limited number of regions) is a relevant geographic
        market for publisher ad servers, ad exchanges, and advertiser ad networks. Customers of ad tech
        products are located around the world, and transactions between open-web publishers and advertiers
        occur across country boundaries. Suppliers of ad tech products also have a global presence, and enjoy
        indirect network effects and scale benefits that are not limited to narrow geographic regions.
        Moreover, the effects of Google’s conduct in the ad tech stack, and restrictions it has placed on the
        use of its products in the relevant product markets, have been imposed in countries around the world,
        and are not limited to customers within any single country.

(389)   The ad tech industry and scope of Google’s conduct is thus global. Although there may be some
        differences in competitive conditions within narrower geographic regions, there are compelling
        benefits to examining the whole world when examining the competitive significance and effects of
        Google’s conduct within the relevant product markets.

(390)   As a general matter, however, there may be multiple relevant geographic markets that are useful for
        the evaluation of competitive effects.550 Below, I also describe why the United States is also a
        relevant geographic market for these product markets.


        549 HMG § 4.2 (“The arena of competition […] may be geographically bounded if geography limits some customers’
            willingness or ability to substitute to some products, or some suppliers’ willingness or ability to serve some customers.
            Both supplier and customer locations can affect this.”). The physical location of suppliers is often not relevant for
            market definition purposes for software products, such as the ones at issue in this case, where customers do not obtain
            the product at a supplier’s location. See HMG § 4.2.1 (“Geographic markets based on the locations of suppliers
            encompass the region from which sales are made. Geographic markets of this type often apply when customers receive
            goods or services at suppliers’ locations.”).
        550 HMG § 4.1.1 (“the hypothetical monopolist test ensures that markets are not defined too narrowly, but it does not lead to




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(391)   In both cases, geographic restrictions are based on the location of customers (advertisers and open-
        web publishers) that use publisher ad servers, ad exchanges, and advertiser ad networks; and are not
        based on the location of suppliers (who may be located worldwide).


        IV.F.1. A relevant geographic market for all product markets is worldwide (with
        certain exceptions)

(392)   Worldwide, excluding certain countries and regions, is a relevant geographic market, and is
        appropriate for evaluating Google’s market power in each of the relevant product markets and the
        competitive effects of its conduct. This is for three main reasons.

(393)   First, advertisers and open-web publishers that are customers of ad tech products are located in
        countries located around the world and transact across country and region boundaries. Spending on
        open-web display is global, with publishers using ad tech products to sell open-web display inventory
        to advertisers around the world, and advertisers using ad tech products to purchase open-web display
        inventory from publishers around the world.551

(394)   For example, Google often reports performance metrics surrounding its ad tech products across three
        regions—Americas, EMEA (Europe, Middle East, and Africa), and APAC (Asia-Pacific). Figure 40
        from a 2018 Google presentation illustrates that although advertiser spending from a region often
        returns to the sell-side in that region (for example, this is the case for 72% of the spend originating in
        the Americas), there is a significant share of spending that is spent on the sell-side in other regions.




            a single relevant market. The Agencies may evaluate a merger in any relevant market satisfying the test, guided by the
            overarching principle that the purpose of defining the market and measuring market shares is to illuminate the
            evaluation of competitive effects.”).
        551 GOOG-DOJ-11890293, (01/2020) (Google “Display Highlights: GDA + DV360” deck); GOOG-DOJ-14436571,

            (06/2019) (Google “Business Forecast Meeting: Sellside” deck); GOOG-DOJ-AT-01592535, at -553 (2018) (“Welcome
            to the Sell-Side World!”). Criteo also has reported revenues separately by Americas, EMEA, and APAC regions. See
            CRI-00000003, at -011 (12/2018).



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        Figure 40. Google DVAA customer spending is global




        Source: GOOG-DOJ-AT-01592535, at -553 (2018 presentation, “Welcome to the Sell-Side World!”)



(395)   Furthermore, as I show in the next Section, Google’s market power in the relevant product markets is
        not limited to a single country or region.

(396)   Second, aspects of “supply-side” competition among ad tech providers is global. The major
        competitors in each of the relevant product markets have a presence in multiple geographic regions.552
        Moreover, ad tech products benefit from scale effects—arising from both indirect network effects (as
        advertiser and publisher customers transact with one another across geographic regions) and data—
        that are not necessarily restricted to country-specific boundaries.553

(397)   Third, Google’s conduct that I evaluate in this report is not limited to the boundaries of any one
        country. Google has imposed restrictions on the use of its Google Ads, AdX, and DFP products by
        open-web publishers and advertisers located worldwide. Hence, the competitive effects of Google’s



        552 Data produced by ad tech parties also indicate a significance share of open-web display impressions from publishers
            located outside of the US. For ad exchanges, over 45% of indirect open-web display impressions transacted by each of
            AdX,                             ,          and        in 2022 are from non-US publishers (see Figure 84 in Appendix
            C.4). For publisher ad servers, over 65% of open-web display impressions served by each of                 and       in
            2022 are from non-US publishers (see Figure 85 in Appendix C.4 ).
            Moreover, for ad exchanges, over 55% of the impressions transacted by each of                           ,          and
                    were viewed by non-US users (see Figure 84 in Appendix C.4).
        553 For example, an ad tech product with a worldwide presence can collect data and track users who visit websites operated

            by publishers that are located in different countries.



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        conduct extend beyond any individual country’s borders, and a worldwide geographic market
        accounts for this.

(398)   To help productively focus attention on areas where Google possesses and exercises market power
        and where competitive effects of its conduct are most likely to occur, I exclude from the worldwide
        geographic market the following regions:554

        ◼     People’s Republic of China: Chinese regulations that prevent Chinese users from accessing
              foreign websites and restrict the content that advertisers are able to show have limited the
              penetration of ad tech products from non-Chinese firms.555 Google’s open-web display presence
              is limited in China relative to its presence in other countries and regions.556 Combined with
              Google’s ability to engage in price discrimination, this indicates that a hypothetical monopolist
              would not likely be constrained in its ability to charge prices above competitive levels in regions
              outside of China by substitution patterns by advertiser and publisher customers within China.
        ◼     Countries and regions where Google is restricted from operating due to US sanctions: The
              US government places restrictions on working with customers in countries and regions that are
              subject to US sanctions.557 These restricted areas include Iran, North Korea, Syria, Cuba, Crimea,
              Donetsk People's Republic (DNR), and Luhansk People's Republic (LNR).558




        554 As I discuss below with regard to a US geographic market, a hypothetical monopolist of any of the relevant product
            markets would likely be able to engage in discrimination based on customer locations. Hence, even if I were to include
            these regions within the worldwide geographic market, it would not change my conclusions regarding a hypothetical
            monopolist’s likelihood of profitably charging quality-adjusted prices above competitive levels for customers located
            elsewhere. Even so, restricting attention to a narrower geographic market has the advantage of not overstating the
            competitive significance of potential alternatives located in these excluded regions.
        555 Specifically, the Chinese government restricts Chinese users from accessing non-Chinese web domains (i.e., those

            domains that do not end in “.cn”). As a result, many websites have to create Chinese-specific variants of their sites and
            advertising content on those sites must link to and use creatives from Chinese domains (GOOG-AT-MDL-011619755,
            at -755 (05/14/2021) “With upcoming Chinese regulation, all domains served from within Mainland China must be
            China-specific…If we want to continue to support Web Display in China, we will need to invest in migrating domains,
            and publishers will need to retag”). See also ADOBE-CID30473-0000070266, at -268 (11/22/2019) (“[The Trade Desk
            is] struggling with the same challenges every other non-Chinese advertising platform faces: approval of every ad by
            Chinese sensors…, difficulty sharing data, and that brands have a different site behind the Chinese Firewall”).
        556 GOOG-DOJ-03597654, at -660 (2019) (“Global Ads Financials Fact Pack Q3 2019”, indicating 1.8% of Google Ads

            revenue in 2018 from China and 46% from US). GOOG-DOJ-14436571, at -597 (06/24/2019) ("Business Forecast
            Meeting Sell-Side” presentation, indicating LPS within China revenue representing 0.2% of total revenue within display
            for “Google Network Web” and LPS within US representing 16%.).
        557 Google, “Understanding Google Ads country restrictions,” Google Ads Help, https://support.google.com/google-

            ads/answer/6163740?hl=en.
        558 Google, “Understanding AdSense country restrictions,” Google AdSense Help,

            https://support.google.com/adsense/answer/6167308?hl=en; Google, “Understanding Google Ads country restrictions,”
            Google Ads Help, https://support.google.com/google-ads/answer/6163740?hl=en; Google, “Google Publisher Policies,”
            Google Ad Manager Help, https://support.google.com/admanager/answer/10502938?hl=en.



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(399)   The exclusion of customers within these excluded regions reflects a very small number of total open-
        web display transactions and, as a result, their inclusion or exclusion does not affect my opinions.559

(400)   For the rest of this report, when I use “worldwide,” I am referring to all countries and regions
        excluding those described above.


        IV.F.2. A relevant geographic market for all product markets is the United
        States

(401)   The United States is also a relevant geographic market for each of the relevant product markets for
        examining Google’s market power and the competitive effects of its conduct. This is for two main
        reasons.

(402)   First, a hypothetical monopolist of all publisher ad servers, ad exchanges, or advertiser ad networks
        available to customers (advertisers or open-web publishers) located in the United States would likely
        profitably exercise market power over those customers, and would not likely be constrained by the
        prices charged by ad tech products available only to open-web publishers and advertisers that are both
        located outside of the United States. This is because there is significant evidence that a hypothetical
        monopolist of each of the relevant product markets would be able to engage in price discrimination
        based on the location of its customers.560 Indeed, Google has demonstrated its ability to do so in the
        relevant product markets:

        ◼     For publisher ad servers, Google cites different prices to publishers located in different countries,
              including the US.561
        ◼     For ad exchanges and advertiser ad networks, Google is able to dynamically adjust the fee on its
              AdX and Google Ads products across publishers, and even in some cases within publisher across
              impressions.562

        559 Among all exchanges for which I have data, only AdX and AdSense Backfill provide country- or region-level
            granularity for publisher or advertiser locations that allows for these restrictions. In 2022, less than 0.1% of AdX open-
            web display impressions were from publishers reported to be within these excluded regions (Google AdX data (DOJ
            RFP 53)). For AdSense Backfill, roughly 0.1% of 2022 open-web display impressions were from publishers within these
            excluded regions (Google AdSense Backfill (DOJ RFP 7)). For DFP, in 2022 less than 0.1% of open-web display
            transactions were from publishers reported to be located within these excluded regions (Google DRX Internal Stats
            data). For Google Ads, in 2022, there were no open-web display impressions from advertisers reported to be located
            within these restricted regions (Google Ads aggregate data (DOJ RFP 54)).
        560 HMG § 4.2.2 (“When the hypothetical monopolist could discriminate based on customer location, the Agencies may

            define geographic markets based on the locations of targeted customers.”).
        561 See, e.g., “Google Responses to DOJ Ad-Tech Data Follow-Up Questions (July 10, 2020)”; “Appendix A – Corrected

            sell-side rate card – HIGHLY CONFIDENTIAL.xlsx.” See Section II.D for a discussion of fees in the ad tech stack.
        562 For AdX, see GOOG-AT-MDL-006217592, at -593, (Google’s response to the European Commission’s RFI

            10,“Dynamic Revenue Share provided the flexibility for publishers to accept a lower revenue share in some auctions, if
            other auctions transact at a correspondingly higher revenue share.”) and GOOG-AT-MDL-009045058, at -063
            (08/04/2021) (A document by AdX’s Rita Ren which records that: “DRS under first-price was implemented and
            experimented with during 2020Q3-Q4. The experiment result showed ~$100M ARR”). For Google Ads, see: GOOG-



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(403)   Google’s ability to engage in price discrimination and charge different prices to customers without
        being constrained by customer substitution implies that a hypothetical monopolist could also engage
        in a targeted exercise of market power over customers within a particular geographic region.

(404)   Hence, a hypothetical monopolist of all products within a relevant product market would likely be
        able to exercise market power over US customers—and in particular, US open-web publishers—
        without being constrained by the prices charged for ad tech products only available to customers
        located outside of the United States.

(405)   Second, the competitive effects of Google’s conduct are likely to be particularly meaningful within
        the United States. Although (as noted above) Google often reports display advertising metrics across
        three broad geographic regions (Americas, EMEA, APAC), Google also often reports metrics at the
        US level as well.563 There is evidence that the United States represents a meaningful share of
        Google’s revenues from web display advertising.564 For example, in 2022, 31% of impressions and
        45% of spend from open-web display indirect transactions on AdX originated from publishers located
        in the United States.565 Similarly, in 2022, advertisers located in the United States accounted for 35%
        of impressions and 58% of spend from open-web display indirect transactions on DV360.566 The US
        also represents a large share of open-web display impressions for many of the major competitors in
        the relevant product markets.567


            AT-MDL-006218271, at -284–285 describing Project Bernanke, which varied the take rate targeted by Google Ads
            across impressions and publishers (“Under the initial version of Bernanke, Google Ads targeted an average take rate on
            a per publisher basis. Under Global Bernanke, launched in 2015, Google Ads targeted an average take rate across all
            publishers, but allowed the target take rate to vary to an extent for individual publishers.”; “Google Ads DRS [a
            predecessor of Project Bernanke] was launched in January 2013 to allow Google Ads to dynamically adjust the take rate
            it targetd, depending on the competitiveness of the AdX auction.”). See also GOOG-DOJ-AT-02471194, (07/26/2015)
            (“Global Bernanke is an extension of project Bernanke in which GDN retains a 15% margin on AdX as a whole, while
            deviating from 15% on individual publishers.”). See also discussion of dynamic reserve price optimization (RPO) for
            AdX in Section V.C.3.
        563 See, e.g., GOOG-DOJ-03597654, at -664 (2019) (Global Ads Financial Fact Pack, Q3 2019), GOOG-DOJ-AT-

            00288371, at -373 (2020) (Global Ads Financials Fact Pack, Q2 2020), GOOG-DOJ-14436571, at -597 (06/2019)
            (Business Forecast Meeting, Sell-Side); see also GOOG-DOJ-04407255, at tab “>>>Desktop Display Ads” (Industry
            Metrics – Advertising Fact Pack, September 2012, at tab “>>>Desktop Display Ads,” which breaks out “Desktop
            Display Ad spend” for the United States).
        564 See also GOOG-DOJ-04407244, at -664 (2019) (“Industry Metrics - Advertising Fact Pack, Global Business Strategy,

            September 2012,” From 2008-2012, the US comprised the largest ad spend on Google’s desktop display advertising of
            any country listed); GOOG-DOJ-03597654, at -664 (2019) (“Global Ads Financials Fact Pack Q3 2019,” US
            representing 41.8% of Google Ads global display revenue and the largest of any country or region listed); GOOG-AT-
            MDL-008574604, at -612 and -620 (01/2021) (Google GDA Overview deck, January 2021,“Regionally we see the
            majority of revenue in the Americas, with US contributing 44% of revenue.” US and Canada contributes more to
            revenue from display campaigns than any other region.); GOOG-DOJ-14436571, at -597 (06/24/2019) (Google
            Business Forecast Meeting deck) (In 2019, over half of all sell-side revenue from Google’s LPS publishers was from US
            inventory).
        565 Google AdX data (DOJ RFP 53).

        566 Google DV360 data (DOJ RFP 7).

        567 For ad exchanges, over 15% of 2022 indirect open-web display impressions transacted by each of

                      , and        are from US publishers (see Figure 84 in Appendix C.4). For publisher ad servers, over 20% of
            2022 open-web display impressions served by each of                              , and        are from US publishers (see



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(406)   For these reasons, the US is also a relevant geographic market for the purposes of analyzing Google’s
        market power and the competitive effects of its conduct.




           Figure 85 in Appendix C.4).



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        aggregation, however, includes transactions of non-open-web display ads, such as in-app ads sold
        through AdX and display and instream video ads sold through connected TV.590

(418)   Dr. Respess calculates that Google’s operating profit in the DVAA product area (excluding AdMob)
        increased from $312 million in 2020 to $1.185 billion in 2022.591 Dr. Respess’s calculations also
        show negative accounting profits from 2015–2017. As a general matter, negative accounting profit
        (which are not based on economic opportunity costs) does not rule out the possession of substantial
        market power. For example, firms with substantial market power may invest profits today in order to
        entrench their market power and recover greater returns in the future.592

(419)   Given the general difficulties in comparing economic profits and accounting profits discussed above,
        and the challenges with mapping Google’s profits to the products contained in the relevant markets at
        issue in this matter, I do not rely on measures of accounting profit and instead rely on other indirect
        and direct evidence to evaluate Google’s market power in the relevant markets.


        V.A. Sources of Google’s market power over its ad tech products
(420)   Because each of the relevant markets that I evaluate in this report are intertwined, and Google’s
        market power in the relevant markets in part flows from Google’s assets that lie both within and
        outside these markets, I begin by discussing key sources of Google’s market power across the ad tech
        stack. I then discuss common economic factors that increase barriers to entry in each of the relevant
        product markets.


        V.A.1. Google’s key strategic assets

(421)   Google’s substantial market power for its ad tech products derives from several key strategic assets
        that Google has leveraged within the ad tech stack. The presence of indirect network effects has
        amplified the importance of these assets.




            AwBid, the other three sellside P&Ls, all sell some open-web display ads, in addition to other ad formats like app,
            instream video, and display ads on platforms like connected TV and video game consoles.)”.
        590 See Respess Report, Section IX.B. As I note in Section II.A, connected TV refers to “[v]ideo content consumed on a TV

            screen, delivered via an internet connection,” such as TV viewed via a streaming service.
        591 See Respess Report, Figure 30. I understand that Dr. Respess has noted in his report that Google instituted an accounting

            change for its DVAA segment in 2021, implying that DVAA profitability calculated before and after 2020 may not be
            directly comparable. See Respess Report, Section IX.A and IX.B (“Starting in 2021 (but recast back to 2020), Google
            began presenting individual ad tech stack product P&Ls in a ‘mutually exclusive, collectively exhaustive’ view
            (“MECE”)…Figure 27 shows that because Google allocates costs differently in each of the three types of P&Ls, the
            three types are not comparable on a side-by-side basis over time…The buyside, sellside, and MECE P&Ls are three
            different ways of looking at the profits and profitability of products in Google’s ad stack.”).
        592 See Section VII.A.




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(422)   First, Google offers unique access to O&O ad inventory including Google search and YouTube
        through its bidding tools. Google’s search ads, accessible through Google Ads, were already valuable
        digital ad inventory when it completed its acquisition of DoubleClick in 2008 and continue to be
        valuable today.593 YouTube video ads, available through Google Ads and DV360, comprise a
        meaningful share of online video advertising spending.594 Industry participants have recognized the
        value of access to Google’s O&O inventory for driving usage of Google’s ad tech products over those
        offered by rivals.595 These O&O properties are an important source of Google’s market power in ad
        tech because they serve to draw advertisers into using Google’s ad tech products.596

(423)   Second, Google benefits from its Google Ads advertisers, which Google initially gained and likely
        continues to maintain because of its large presence in search advertising and its control over unique
        small publisher inventory with AdSense.597 Google has ensured that, since AdX’s launch, AdX has
        593 As of 2008, Search generated substantially more revenue than Google’s display business. GOOG-AT-MDL-007402944,
            at -955 (2009). As of 2020, Search continues to generate substantially more revenue than Google’s display
            business.GOOG-AT-MDL-000969513, at -514–515 (11/2020).
        594 YouTube video ads used to be accessible through third-party DSPs. MSFT-LIT-0000065309, at -322 (02/01/2021).

            “Google announced its decision to withdraw YouTube inventory from its ad exchange on 6 August 2015, and did so via
            its public blog… YouTube is important ad inventory, because it accounts for approximately 50% of video ad inventory
            worldwide, and video ads are now a core element of nearly every ad campaign. Therefore, to access such inventory,
            advertisers are forced either to switch to Google’s DSP (DV360) or multi-home…”). In August 2015, Google
            announced that beginning in 2016, it would withdraw YouTube inventory from all DSPs besides Google’s products,
            Google Ads and DV360. MSFT-LIT-0000065309, at -322 (02/01/2021) (“Google announced its decision to withdraw
            YouTube inventory from its ad exchange on 6 August 2015, and did so via its public blog. Google implemented its
            decision from the start of 2016”). A June 2020 Google “Global Internal Sales Positioning” document stated that a key
            feature of Google Ads was access to Google O&O inventory including “Discovery, Gmail, YouTube, and more coming
            soon” and also that “[u]nique access to inventory across devices on Google O&O properties, including YouTube, Gmail,
            Maps, and more” is a reason for advertisers to buy display and video inventory on Google. GOOG-AT-MDL-
            000888797, at -797–798 (06/2020).
        595 Deposition of John Dederick (The Trade Desk), Jul. 28, 2023, 170:13–172:7, (on advantages of Google’s products,

            “[A]dvantages are exclusive access to huge pools of inventory that every buyer has to have, any massive and
            authenticated audience that has signed up for Google properties, Gmail, Maps, Google Chrome. There are billions of
            registered users whose data are being monetized to drive more revenue to Google properties. And so, it’s that, it’s the
            exclusive access to huge pools of inventory and the data asset that’s come from all of the logged in users across Google
            and associated metadata. And then, you know the other things that are happening are pricing incentives for using more
            of the overall Google stack. So, you know, there are frequently deals where if a buyer will agree to buy X amount of
            YouTube or AdWords, they get benefits across more of the ecosystem. So, consolidation plays leaning on the dominant
            position in publisher ad serving, leaning on the dominant position in Search, leaning on dominant position in YouTube
            that say advertiser you should use our DSP too. That’s why we struggle to compete with DV360.”).
        596 See, e.g., GOOG-DOJ-11728951, -975 (11/15/2019) (“Of new advertisers spending on GDN, about 1/3 of revenue in

            the first month comes from existing Search advertisers”); Deposition of John Dederick (The Trade Desk), Jul. 28, 2023,
            277:8–279:14, (“Q. What is the “forcing agencies to commit part” mean? . . . A. … how is Google forcing agencies to
            commit to the entire tech stack, is the same reason that Google would operate an inferior DSP product, but be
            significantly more successful than The Trade Desk in 2015 and remains larger today. And it’s because of offering
            benefits to buyers from all of their access points into advertising. . . we talked about dominance in the advertising ad
            serving and in the DSP, not to mention exclusive access to YouTube and to Google Search in preferential access for
            AdWords. And so, all of those benefits mean that Google could structure a commercial agreement with an agency or an
            advertiser that says, only if you buy through my DSP will you get preferential rates on my inventory. . . if you commit to
            buying this much YouTube inventory via DV360, your DV360 rate and your ad serving rates are lower and your
            inventive fund is as such.”).
        597 GOOG-DOJ-AT-01592535, at -542 (2018) (“Welcome to the Sell-Side World!”) (“Google Search ads started, and were

            so successful that we started putting them elsewhere i.e. on 3rd party websites, and called this ‘AdSense’ (2003).”);
            GOOG-DOJ-AT-00221276, at -311 (03/19/2019) (In 2003, a presentation on Google Display Network noted in,



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        been the only ad exchange with unrestricted access to Google Ads demand for display ads, which
        accounted for 38% of open-web display ad impressions transacted through exchanges in 2022.598
        Having exclusive access to unrestricted Google Ads’ demand is one of the key sources of Google’s
        market power.599 (I discuss the importance of Google Ads’ demand further below in Section V.D and
        in VII.B.)

(424)   Third, DFP’s publisher customers are “sticky” because it is very disruptive for them to change ad
        servers. The stickiness of publisher ad servers was recognized at the time of Google’s DoubleClick
        acquisition.600 Through the DoubleClick acquisition, Google obtained a publisher ad server that
        already had a significant share of publisher customers, and these sticky single-homing publishers
        helped Google gain and continue to maintain market power in the publisher ad server market and
        elsewhere in the ad tech stack. (I discuss the importance of DFP for Google’s market power in
        Section VII.A.)

(425)   Fourth, Google offers unique access to the large number of AdSense customers.601 Open-web
        publishers that use AdSense have few comparable alternatives to Google for the kind of all-in-one
        solution it offers.602




            “Google AdSense Publisher network launched to tap into Google search demand”); GOOG-DOJ-11728951, at -975
            (11/15/2019) (“Of new advertisers spending on GDN, about 1/3 of revenue in the first month comes from existing
            Search advertisers”).
        598 Google Ads data (DOJ RFP 54) and exchange panel (see Appendix H). Shares reflect Google Ads impressions

            compared to all indirect open-web display impressions transacted through exchanges. See Figure 117 in Appendix F.
        599 See, e.g., GOOG-DOJ-AT-02118579, at -580 (07/11/2018) (A Google presentation titled “Sell-Side Pricing Strategy

            Review,” notes “The value Google delivers as a sell-side product, and thus our ability to charge publishers, is therefore
            heavily determined by how differentiated the incoming demand is, compared to the demand available through other sell-
            side products (networks or platforms). GDN demand via our sell-side products has the highest value to publishers,
            because they treat networks like GDN as new revenue that they could not get on their own.”).
        600 See Sections V.B.1, II.E.2, and Appendix L.1.

        601 AdSense publishers only have access to Google Ads advertisers and select Google-certified Ad Exchange buyers.

            https://support.google.com/admanager/answer/4599464?hl=en. According to a 2018 presentation, Google’s AdSense
            publisher network has “3M websites and apps”, with “204M visitors/month” and “317B impressions/month” and access
            to “92% of US internet users.” GOOG-DOJ-AT-00221276, at -278-79 (03/19/2019).
        602 GOOG-DOJ-AT-00198548, at -551–552 (10/12/2020) (In a chat between Nitish Korula and Chetna Bindra, Korula says

            “Nobody else is interested in competing for AdSense publishers” and “Competing SSPs very explicitly don[’]t work
            with small publishers. So there[’]s no magical competitor out there who[’]s going to come in and invest in the tail of the
            web”). See also Deposition of Nitish Korula (Google), October 28, 2021, at 126:7–127:2, discussing uncertainties on
            products that compete with AdSense. See also GOOG-DOJ-04004392, at -399 (09/10/2018) (“Adsense was first to
            market and a strong leader in the simple website market on the strength of contextual targeting technology and strong
            demand from AdWords.”). See Section II.C.3 for a discussion of AdSense as an open-web display solution for small
            publishers.



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(432)   Access to Google Ads and AdX. First, Google’s publisher ad server product, DFP, is the only
        publisher ad server that provides unrestricted access to and use of real-time bids in Google’s AdX
        exchange.609 AdX is in turn essentially the only way for a publisher ad server to obtain access to all of
        Google Ads’ demand.610 This access gives DFP a significant advantage over competing publisher ad
        servers.611 For instance, News Corp’s ad tech executive Stephanie Layser has said that “the tie of
        Google Ads demand to AdX and AdX to DoubleClick for Publishers (DFP) on the sell side is a huge
        reason publishers stay on Google Ad Manager.”612 Google Principal for Corporate Strategy Bryan
        Rowley testified that AdWords demand was a selling point for AdX because “[w]hen demand can
        only be found through certain sources, it compels publishers to work with that product.”613

(433)   I explain how access to Google Ads and AdX advantages DFP over rival publisher ad servers in more
        detail in Sections VII.C, and how this conduct harmed the competitiveness of rival publisher ad
        servers and hence served to enhance DFP’s market power in Section VII.F.2.

(434)   High switching costs and access to publisher inventory. Second, Google’s dominance over the
        publisher ad server market is protected by the high costs of switching publisher ad servers, resulting
        in “sticky” publisher demand for DFP. Google documents recognized this stickiness as early as the
        DoubleClick acquisition.614 Publishers testifying in this matter have noted that switching ad servers is
        difficult due to, among other things, the costs of setting up a new ad server, migrating ongoing
        campaigns and switching of ad calls on the website.615 Switching publisher ad servers has been called

        609 See Section VII.C.
        610 See Section VII.B.
        611 See Section VII.F.

        612 Stephanie Layser, “Are Unified Pricing Changes Good For Publishers Or Good For Google?,” AdExchanger, July 12,

            2019, https://www.adexchanger.com/the-sell-sider/are-unified-pricing-changes-good-for-publishers-or-good-for-
            google/. See also GOOG-DOJ-AT-00045716, at -719 (04/26/2019) (Google Internal Briefing “News Corp Unified
            Pricing Floors Discussion,” quoting Stephanie Layser of News Corp. (“90% of all pubs are on DFP, and it feels like you
            can make changes to your products because we can’t get all of AdSense demand anywhere else… [K]eeping your AdX
            demand from working optimally with other adserver tech feels like flexing monopolistic power here.” and “One of my
            biggest issues with the current functionality and proposed functionality of GAM is that AdX is currently tied to DFP
            functionality leaving me to be forced into using the ad server should I want full access to AdWords, GDN, and DV360
            demand in a real-time pricing basis.”).
        613 Deposition of Bryan Rowley (Google), Jul. 22, 2021, 108:18–109:3 (“Q. When you joined Google, was AdWords

            demand only available on Google products? A Yes. Q. And did that fact benefit AdX? A. Yeah. I think that was a
            selling point. When demand can only be found through certain sources, it compels publishers to work with that
            product.”).
        614 Google documents recognized the stickiness of publishers with respect to publisher ad servers when it was in a weeks-

            long bidding battle with Microsoft for the acquisition of DoubleClick. In a March 2007 email exchange, right before
            Google closed the acquisition deal, a Google employee notes, “[W]e may end up paying a lot for Liberty [code name for
            the DoubleClick acquisition] because the [Yahoo/Microsoft] inventory combo + advertiser tag switching costs will make
            it very very hard for us to gain market traction.” See GOOG-DOJ-01657697, at -833 (03/14/2007). See discussion in
            Section VII.A and Appendix L.1. More recent Google documents also discuss the stickiness of publisher ad servers. See,
            e.g., GOOG-TEX-00076049, at -049 (09/10/2012), an internal email that notes that “Ad Servers are sticky, and hard to
            replace.” See also GOOG-TEX-00109645, at -647 (“Web-2020 Product and Business Strategy”) at -647 (“We have
            long held the belief that ad servers are sticky.”).
        615 Deposition of Ryan Pauley (Vox), Aug. 23, 2023, 95:16–96:6 (“Q. For a publisher, how easy or difficult is it to switch

            publisher ad servers. A. It’s generally pretty difficult. It requires a lot of time and people. Q. And why is that? A. It’s a



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(443)   My analysis of data provided in this matter also corroborates DFP’s large share of open-web display
        impressions served.

(444)   Because open-web publishers usually choose at most one publisher ad server for their direct and
        indirect display advertising needs,633 publishers will typically value a publisher ad server’s ability to
        serve both of these types of transactions. Hence, I compute market shares based on all impressions
        served.

(445)   Figure 45 below shows the monthly total number of worldwide open-web display impressions served
        by a set of publisher ad servers for which I have data.634 I conservatively include a broader set of
        impressions from certain third-party publisher ad servers that do not provide sufficient data to isolate
        open-web display transactions (which understates DFP market share among this set of products).635 In
        2022, DFP served approximately 91% of total worldwide open-web display impressions among this




        633 See discussion in Section III.C, fn. 246.
        634 I obtained publisher ad server data from Google,
            and                             I do not have data from other publisher ad servers, but have not seen information that
            indicates that inclusion of impressions from other third-party publisher ad servers would significantly reduce DFP’s
            market share of open-web display impressions among worldwide or US publishers. A set of non-DFP publisher ad
            servers including             and         are “miniscule” in size compared to GAM, according to an executive from a third-
            party publisher server. Deposition of                                                89:14–89:19. I am aware of a product
            named SAS ad server; the information I have reviewed does not suggest it has a meaningful US or worldwide presence
            as a publisher ad server for open-web display advertising. According to
                    has a publisher ad server called                 that “focused on retail publishers” that “are looking to participate in
            retail media and commerce media” with “sponsored product listings” and advertisements served on the retailer websites.
            Deposition of                                                    203:22-206:16. (“Q How does the number of customers that
                    has for its publisher ad server compare to the number of customers that Google has for its publisher ad server? A
            Much smaller. Much, much smaller. Q Do you have a sense of the order of magnitude how much smaller the number of
            customers for             publisher … ad server are? A I don’t. [] I’m speaking about what I believe to be much smaller
            because, in our world, the ad server that I’m [] talking about is specific to retail media. So we don’t maintain a
            competitor to Google Ad Manager.”) Consistent with this description of                      focusing on retail publishers, a
            2020 Google “Product and Business Strategy” document lists “                 Sponsored Products                       as
            competition under “Commerce (Sponsored Products)” (GOOG-DOJ-09183023, at -30).
        635 Due to limitations in certain third-party publisher ad server data, in some instances I am unable to restrict the data to

            open-web display impressions. When this occurs, I conservatively include a broader set of impressions from third-party
            publisher ad servers (see figure notes for Figure 45). I describe my data processing in more detail in Appendix H. While
                                 , and          can facilitate the serving of open-web display ads, they each have a focus on non-display
            advertising.          builds ad servers for publishers with a focus on native advertising
                                         at 15:02–15:05), while both                 and          focus on instream video advertising
                                        “[            is] [s]trong on Video and CTV but not a generalist;” DOJ_Google Templates -
            Confidential (v2).xlsx              took over programmatic ad serving from the                  ad server)). Due to data
            limitations, I make the following assumptions when incorporating the relevant set of transactions from these products.
            For          I am unable to distinguish within              data which transactions are non-native display. As noted above, to
            be conservative, I include all of            transactions in my market share calculations, even though this understates
            DFP’s market share. While                   data does not allow me to distinguish between instream and outstream
            advertisements, I include all of                  transactions to be conservative, but exclude impressions that are served on
            TVs (as I note in Section II.A, instream video advertisements are shown on TVs). Note that the remaining
            impressions likely include a large number of instream video ads served on web.
            My market share calculations exclude impressions that DFP serves from Google-owned properties.



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        set of publisher ad servers; DFP’s 2022 share of open-web display impressions from US publishers is
        approximately 87% among this set.636

        Figure 45. Worldwide open-web display impressions served by publisher ad servers (2018–2022)


                                         Google

                                       2,000

                                       1,800

                                       1,600

                                       1,400
              Impressions (billions)




                                       1,200

                                       1,000

                                        800

                                        600

                                        400

                                        200

                                          0




        Source: Publisher ad server panel (see Appendix H).
        Notes: 1. Limited to open-web display impressions on mobile and desktop devices (includes house ads). 2.                  and
        data do not contain information on device type, transaction type, ad type, instream/outstream or mobile channel. Since the data
        do not allow me to identify open-web display impressions, I conservatively include all            and        impressions. 3.
        data do not distinguish between ad types; hence, I conservatively include all           ad types. 3.            and
                 data do not distinguish between instream and outstream video ads; I conservatively include all                 and
        video impressions, excluding impressions served on TVs for                 . 4. Due to issues with the reported data,         data
        is missing in July 2022;          data is missing in May, July, and November of 2018;          data is unavailable prior to May
        2019;          data is unavailable prior to April 2018;     l data is missing in October 2018 and April 2022.


        V.B.2.b. Barriers to entry and expansion

(446)   Competitive entry into the publisher ad server market to an extent that would challenge the
        dominance of Google’s DFP would be extremely difficult.


        636   See Figure 108 in Appendix D.4. These open-web display impression market share calculations include house ads.
              Excluding house ads, from 2018 through 2022, DFP maintained a greater than 69% share of direct open-web display
              impressions and 88% share of indirect open-web display impressions worldwide among this set of publisher ad servers.
              (Transaction type information is unavailable in all periods of the Equativ and Kevel data, and for certain transactions in
              the BRX-D and Xandr data. When these data are missing transaction type information, I conservatively include all of the
              impressions when calculating market shares without house ads among direct or indirect transactions for DFP.).



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        relies on our unwillingness to open our systems to the types of transactions, policies and innovations
        that buyers and sellers wish to transact.”676

(465)   Moreover, as I described above, when Google made Open Bidding broadly available in 2018, it
        charged 5-10% for use of this functionality, more than the cost of alternative header bidding tools (as
        discussed above). In a more competitive market, a rival publisher ad server alternative that enabled
        publishers to access multiple ad exchanges in real-time would likely have restricted Google’s ability
        to profitably levy such a fee.


        V.C. Google possesses substantial and sustained market power in the
        ad exchange market
(466)   Google’s ad exchange, AdX, is the largest ad exchange for open-web display transactions, and
        possesses substantial market power. In this section,

        ◼     I first describe how AdX’s market power derives in large part from its advantaged treatment by
              Google Ads and DFP (Section V.C.1).
        ◼     I then provide measures of AdX’s market shares and discuss barriers to entry and expansion in
              the ad exchange market (Section V.C.2). AdX is by far the largest exchange in the ad exchange
              market across a variety of measures. Among worldwide indirect open-web display transactions, I
              calculate that AdX has maintained a share of over 50-60% of impressions and over 40% of fees
              since 2018. Barriers to entry and expansion include significant fixed costs of building,
              maintaining, and starting an ad exchange; and overcoming network effect and data disadvantages
              relative to incumbents.
        ◼     Last, I provide direct evidence of AdX’s market power (Section V.C.3). AdX has maintained a
              supracompetitive take rate of 20% since 2012 while maintaining high market shares. Google’s
              own analyses also indicate that Google could profitably raise AdX’s take rate above competitive
              levels. Moreover, Google’s conduct, including its ability to dynamically adjust reserve prices
              (starting in 2015) and use AdX to favor its own products in the ad tech stack even while
              degrading the quality of AdX by not submitting real-time bids into rival publisher ad servers, also
              demonstrate AdX’s substantial market power. Such conduct would not be sustainable in a
              competitive market, as customers would substitute away to comparable alternatives to an extent
              to make this conduct unprofitable.

(467)   Substantial barriers to entry and expansion in the ad exchange market have protected Google’s
        dominant position, and allowed it to maintain a high take rate and take actions that degrade AdX’s


        676   GOOG-TEX-00097138, at -138 (09/26/2016) (“Integrating All Demand DRX Strat Paper”).



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        quality without generating a competitive response sufficient to unseat its position as the dominant ad
        exchange.

(468)   For these reasons, I conclude that AdX has substantial market power in the ad exchange market, and
        has likely had such market power since at least 2015.


        V.C.1. Sources of Google’s market power in the ad exchange market

(469)   Google’s market power in the ad exchange market derives in large part from Google’s conduct
        providing it with unique access to valuable sources of advertiser demand and publisher supply
        (inventory).

(470)   Access to Google Ads and DV360. AdX’s market power arises in part from being the sole ad
        exchange with unrestricted access to Google Ads demand: publishers have no exchange alternative to
        AdX in order to access all of Google Ads’ demand.677 In 2022, Google Ads transactions conducted
        through AdX represented approximately 34% of worldwide indirect open-web display impressions
        transacted through exchanges.678 This exclusive access to all of Google Ads’ demand (which I show
        in Section V.D is particularly valuable) provides AdX with a substantial advantage over rival
        exchanges, and incentivizes publishers to use AdX to transact impressions despite AdX charging fees
        that exceed rivals’ and competitive levels. Publishers value the additional revenue generated by
        additional demand.679


        677 See Section VII.B. Further evidence of the importance of Google Ads demand for AdX can be found in Google
            employees’ discussions regarding Google’s AWBid launch. AWBid was a Google program that allowed AdWords
            buyers to access retargeting impressions from non-Google publishers and exchanges such as AdMeld, PubMatic, and
            Rubicon (See Section II.D). AdWords’ third-party SSP bidding through AWBid accounts for a small fraction of
            AdWords’ bidding. Nevertheless, in a February 2011 email thread, one Google employee expressed the concern that this
            move would competitively disadvantage Google’s sell-side business, inquiring: “Do we plan on additional
            differentiation points for the AdX sell side facing solution that will help us compete when our leverage of ‘Largest
            Demand Source’ is not relevant given our allowing AdWords to compete on any other supply source?” See GOOG-
            DOJ-05244839, at -839 (02/14/2011).
            Moreover, as I discuss further in Appendix L.4, Google engaged in a series of programs that adjusted Google Ads
            margin in a manner to win additional impressions through AdX or otherwise preference AdX over rival exchanges. See
            e.g., Deposition of Brian O’Kelley (AppNexus), September 29, 2023, 163:9–164:23 (“Q. And how, if at all, did
            Google's use of dynamic revenue share impact your ability to compete?... Q. -- with Google?... THE WITNESS:
            Because they were changing the price. The net price of the publisher is the bid minus the rev share. The advantage that
            Google had against us was that, because they could see all the bids, they could adjust the rev share at the end. So we
            could have taken a lower rev share, but we were just guessing at what the clearing price would be. But since they sat at
            the end of the auction, they would know -- let's say their highest bid was a dollar, that our highest bid was $0.90. If they
            took their full 20 percent rev share, they would lose. But if they took a 9 percent rev share, they would win. And so
            because they were at the end of the process, because they owned the ad server, they could win that impression. It might
            make more sense for them, commercially, to get 9 percent versus nothing. And from our perspective, you know, getting
            nothing versus 10 percent was a huge impact.”).
        678 See Section VII.F.1.a; Figure 73. Google Ads represents 24% of indirect open-web display impressions transacted

            through exchanges from US users. See Figure 119 in Appendix F.
        679 See, e.g., Deposition of Neal Mohan (Google), October 30, 2023, 238:21 –239:9 (“Q. Do you have any recollection of

            any feature of Google’s display strategy post Google-Doubleclick merger? [A.] I mean, there were hundreds of features.



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     Figure 47. AdX maintains a substantial share of worldwide indirect open-web display impressions
     transacted through ad exchanges (2018–2022)


                    Google AdX (57%)                    Google AdSense Backfill (4%)                (6%)
                             (5%)                             (1%)                                  (1%)
                          (4%)                                  (1%)                                       (3%)
                                    (4%)                                                           (3%)
                                 (1%)                   Other (imputed, 10%)

       100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

          0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c).
     Notes: Denominator includes impressions from Google and ad exchanges that produced data in this matter, and impressions
     estimated from exchanges that did not produce data on this matter (“Other (imputed)”). The set of exchanges within “Other
     (imputed)” varies during the time period shown due to incomplete data from certain third-party exchanges. Appendix H
     provides a description of how I perform this estimation. The legend contains the share of indirect open-web display impressions
     in 2022 in parenthesis for those exchanges that produced data on indirect open-web display impressions in 2022.




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        Figure 48. AdX and third-party ad exchanges’ shares of worldwide indirect open-web display
        impressions among ad exchange (2022)


                                            100%

                                            90%

                                            80%
              Share of impressions (2022)




                                            70%

                                            60%

                                            50%

                                            40%

                                            30%

                                            20%

                                            10%

                                             0%




        Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c).
        Notes: 2022 worldwide indirect open-web display impression market shares for ad exchanges shown in Figure 47 (see table
        notes). In 2022, exchanges that did not produce data are estimated to represent 10% of worldwide indirect open-web display
        impressions. The largest of those exchanges,         , represented less than 5% of impressions through bidding tools that
        produced by-exchange data.


(486)   Due to data limitations, I am unable to compute reliable ad exchange market shares based on
        transactions restricted to ad exchange customer locations—i.e., based on transactions involving US
        open-web publishers or US advertisers.697 However, I am able to present market shares based on user
        locations—i.e., based on the location of the visitor to a publisher’s website. Such share calculations
        based on user locations can still be informative for at least two reasons.

(487)   First, publishers and advertisers in the US may particularly value ad tech products used to buy and
        sell display advertisements served to users located in the US. Consistent with this, a large fraction of
        open-web display transactions served by US publishers and purchased by US advertisers involve US
        users. For US publishers engaged in indirect open-web advertising on AdX and AdSense, a large
        proportion of their display advertising transactions involve US users (57% of impressions and 81% of
        spending for US AdX publishers, and 57% of impressions and 81% of spending for US AdSense


        697   Information on publisher and advertiser geographic locations are missing from data provided by many third-party ad
              exchanges, advertiser ad networks, and DSPs that produced data in this matter.



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        Backfill publishers).698 For US advertisers engaged in indirect open-web advertising on DV360, a
        large proportion of their display advertising transactions involve impressions from US users (72% of
        impressions and 90% of spending).699

(488)   Since advertisers and open-web publishers located in the US are thus likely to particularly value ad
        tech products that are able to effectively serve display ads to US users, an ad tech product’s high
        market share over US users can inform the extent to which that product is attractive to US customers
        (i.e., US open-web publishers and US advertisers).

(489)   Second, I am able to compare market shares based on user locations to those based on customer
        locations for a subset of exchanges whose data provide information on both publisher and user
        locations for indirect open-web transactions between 2020 – 2022. These exchanges include AdX,
        Magnite, Index Exchange, OpenX, and Equativ. I find that impression and net revenue shares among
        this subset of exchanges are very similar across transactions involving US publishers or US users.700
        Hence, even though market shares computed using transactions involving US users are not the same
        as those computed using transactions involving US publishers, this analysis suggests that they may be
        close.

(490)   Having acknowledged these considerations, I calculate AdX’s market share over transactions
        involving US users across a broader set of ad exchanges, and note that it is also high.701 Limiting to
        indirect open-web display impressions for US users, AdX’s share is between 45–55% from 2018
        through 2022.702 For 2022, this is 5 times as large as the next largest ad exchange competitor that
        produced data.703

(491)   Summarizing the above results, I calculate that AdX has maintained approximately an annual 55–
        65% share of worldwide indirect open-web display impressions among ad exchanges since 2018.




        698 Google AdX data (DOJ RFP 53); Google AdSense Backfill data (DOJ RFP 7).
        699 Google DV360 data (DOJ RFP 7).
        700 For example, I find that there is less than a 1.5% share difference for AdX among this subset of exchanges, for both

            impressions and net revenues and across all years 2020 – 2022, between US market shares computed based on user
            versus publisher location. See Figure 86 and Figure 87 in Appendix C.4. (            data does not contain net revenue
            information and is excluded from the calculation of net revenue shares).
        701 To estimate the size of US-user impressions transacted by ad exchanges that did not produce data, I perform the

            following exercise: I first compute the the average ratio of impressions for US users relative to impressions for all users
            among ad exchanges who produced data with sufficient user-geography information. I then apply that average ratio to
            the estimate of total worldwide impressions for the exchanges who did not produce data at all or who did not produce
            data with US-user breakdowns. See Appendix H.
        702 Figures depicting shares based on impressions from US users are contained in Appendix D.1.b.

        703 In 2022, AdX transacted roughly 1.4T indirect open-web display impressions served to US users (Google AdX data

            (DOJ RFP 53)).               transacted just 275 billion indirect open-web display impressions served to US users during
            this period (          exchange data).



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        Limited to impressions from US users, AdX has maintained approximately an annual 45–55% share
        since 2018.704

(492)   Note that Verizon (Yahoo) shut down its exchange product to open-web publisher inventory in
        2023.705 Excluding Verizon’s impressions from the ad exchange market size would provide AdX a
        58% share of worldwide impressions and a 48% share of impressions from US users in 2022.706

(493)   Net Revenues (Fees). Figure 49 below shows net revenues on worldwide indirect open-web
        transactions collected by ad exchanges for which I have data. AdX collects significantly more fees for
        transacting indirect open-web display impressions than other exchanges depicted. Since 2018, the
        first year that data is available for most exchanges, AdX has accounted for over 55% of total fees
        collected by this set of exchanges.




        704 For robustness, I have analyzed AdX’s market shares across several alternative specifications and find that these results
            are consistent. See Figure 89 in Appendix D.1.
        705 Sara Fischer, “Exclusive: Yahoo to lay off more than 20% of staff as it shrinks ad biz,” Axios, February 9, 2023,

            https://www.axios.com/2023/02/09/yahoo-layoffs-2023-tech-media-companies. See also YAH_GG_LIT_004590
            (06/26/2023).
        706 See Figure 88 and Figure 89 in Appendix D.1.a.




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        Figure 49. AdX earns consistently high net revenues from the sale of worldwide indirect open-web
        display impressions (2018–2022)


                                  Google AdX   Google AdSense Backfill




                                 $250



                                 $200
              Net revenues (M)




                                 $150



                                 $100



                                  $50



                                   $0




        Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c).
        Notes: 1. Includes net revenues from Google and exchanges that produced data in this matter. 2. AdSense Backfill refers to
        the set of transactions that are served from AdSense through DFP. Google charges a single 32% take rate for transactions
        through AdSense (including those through AdSense Backfill) and does not separate the take rate into buy-side and sell-side
        components. For the purposes of these share calculations, I apply the full 32% take rate to transactions through AdSense
        Backfill. 3. For exchanges from which I have data on gross revenue but not net revenue, I apply the weighted average take rate
        among third-party exchanges that produced both gross and net revenue data to those exchanges’ spend.



(494)   However, for the same reasons as I discussed above, these overstate AdX’s shares among all ad
        exchanges as they do not include ad exchanges for which I do not have data. Hence, I obtain an
        estimate of AdX’s share of fees among all ad exchanges as follows. First, using a similar approach
        that I described above for computing impression shares in the ad exchange market, I estimate the
        share of total ad exchange spending from ad exchanges for which I do not have data. Second, I apply
        the average take rate charged by the third-party exchanges that I do have data from in order to obtain
        an estimate of the share of fees from these ad exchanges that did not produce data. As Figure 50
        below shows, under this calculation method, AdX’s share of ad exchange fees is approximately 40–
        45% in 2022.707 As shown in Figure 51 below, in 2022, AdX’s net revenue shares were over 5 times
        higher than net revenues for the next largest ad exchange for which I have data


        707   Limited to fees collected from impressions served to US users, AdX’s share of ad exchange fees is 36% in 2022. See
              Figure 92 in Appendix D.1.a.



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     Figure 50. AdX maintains a significant share of ad exchange fees from worldwide indirect open-web
     display transactions (2018–2022)


                          Google AdX (44%)             Google AdSense Backfill (5%)           (7%)
                                   (8%)                      (1%)                            (1%)
                                (2%)                           (2%)
                                          (5%)                          (5%)
                                 (3%)                                 (2%)            Other (imputed, 15%)

       100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

          0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c).
     Notes: 1. Includes net revenues from Google and exchanges that produced data in this matter as well as net revenues that I
     estimate coming from exchanges that did not produce data on this matter. Appendix H contains a description of how I perform
     this estimation. For exchanges that produced fees data in 2022, the legend lists the exchange’s share of fees in 2022 in
     parentheses. 2. AdSense Backfill refers to the set of transactions that are served from AdSense through DFP. Google charges
     a single 32% take rate for transactions through AdSense (including those through AdSense Backfill) and does not separate the
     take rate into buy-side and sell-side components. For the purposes of these share calculations, I apply the full 32% take rate to
     transactions through AdSense Backfill. 3. For imputed “other” exchanges as well as exchanges from which I have data on
     gross revenue but not net revenue apply the weighted average take rate among third-party exchanges that produced both
     gross and net revenue data to those exchanges’ spend.




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        Figure 51. AdX and third-party ad exchanges’ shares of ad exchange fees from worldwide indirect open-
        web display transactions (2022)


                                     100%

                                     90%

                                     80%

                                     70%
              Share of fees (2022)




                                     60%

                                     50%

                                     40%

                                     30%

                                     20%

                                     10%

                                      0%




        Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c ).Notes: 2022 worldwide indirect open-web
        display net revenue market shares for ad exchanges shown in Figure 50 (see table notes). In 2022, exchanges that did not
        produce data are estimated to represent 17% of worldwide indirect open-web display spend. The largest of those exchanges,
                , represented less than 7% of spend through bidding tools that produced by-exchange data.


(495)   Hence, worldwide, AdX has maintained an annual fee share greater than 40% since 2018. Limited to
        transactions originating from users located in the United States, AdX has maintained an annual fee
        share greater than 35% since 2018.708

        V.C.2.b. Barriers to entry and expansion

(496)   There are substantial barriers to entry and expansion in the ad exchange market. These include:

        ◼       Costs of building/maintaining/starting an ad exchange. Ad exchanges are complex products to
                engineer that require both fixed and recurring investments in infrastructure to offer exchange




        708   See Figure 89 in Appendix D.1.a.



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           services.709 Rival exchanges have also emphasized the costs of establishing integrations with
           publishers and DSPs as a significant barrier to entry in the exchange market.710
     ◼     Network effects. Ad exchanges generate value by connecting publisher supply with advertiser
           demand. Ad exchanges are more highly valued by publishers to the extent they can connect
           publishers to more advertiser demand and are more highly valued by advertisers to the extent they
           can connect advertisers to more publisher supply. A new entrant into the ad exchange market
           lacking access to substantial publisher supply or advertiser demand thus faces a chicken-and-egg
           problem in building an attractive exchange: publishers will not be willing to incur the costs of
           establishing a relationship with an exchange without access to substantial demand, and
           advertisers or their representatives will not be willing to incur the costs developing such a
           relationship without access to substantial supply.
     ◼     Access to data. Access to user data gives existing ad exchanges a substantial advantage over new
           exchanges without access to such data. As I described in Section III.D.3, an ad exchange can
           provide additional targeting information for a given impression to potential bidders, which can
           increase an advertiser’s value for given impressions, and by extension its willingness to pay,
           thereby improving publishers’ expected monetization from an exchange.711 Exchanges such as
           AdX also rely on large-scale data to determine how to dynamically adjust their take rates and
           improve profitability.712 Rival exchanges have recognized the lack of data as a barrier to
           competing successfully in the exchange market.713

     709 See Section III.D.2. See also PUBMATIC_DOJ-00000041, at -057–058 (09/03/2019) (PubMatic submission to CMA,
         “[t]here is significant cost and scale required to maintain an SSP…the infrastructure costs are high to support the scale
         that PubMatic does…the costs do not scale well. Each ad impression and Ad Exchange has a certain amount of fixed
         cost tied to server processing, connectivity, storage, and bandwidth.”).
     710 See, e.g., Deposition of                                                          , 135:8–137:13 (“Q. Have you ever
         heard of the concept of barriers to entry to a market? A. Yes. Q. How would you characterize the barriers to entry to
         the exchange market for open web display transactions?... THE WITNESS: I think they're rising all the time and have
         never been higher for a variety of reasons, and the cost to build the platform is not trivial, the time to build it is not
         trivial. A platform is meaningless without integrations. To establish integrations with major publishers and major DSPs
         takes a significant amount of time. There's a significant cost burden to process the scale of transactions in this
         marketplace. And more recently there is a growing regulatory burden to be in compliance with regulations from a
         privacy perspective. So yeah, I'd say the barriers continue to rise and have never been higher. Q. How many DSP
         integrations does         have today? A. I don't know the specific stats particular, but I would estimate in approximately
         seventy-five. Q. And how long did it take            to onboard that many DSP integrations? A. DSP one was onboarded
         in       and we're still integrating DSPs today. Q. And is that a time-intensive process to onboard DSPs?... THE
         WITNESS: It's the longest sales cycle we have in             Some integrations we have literally waited five years to win.
         And then there is an integration process and a ramp up process before we have a competitive allocation of their demand.
         Q. And from first outreach to competitive allocation of demand, what is the average amount of time it could take? A.
         Six to twelve months. Q. And potentially longer? A. As I mentioned, we have DSPs that it's taken five years to
         integrate.”).
     711 See Section III.D.3.

     712 See Section III.D.3 for further details; Section VII.D.1.b also contains a more detailed discussion of AdX Dynamic

         Revenue Sharing (“DRS”), which dynamically adjusted take rates.
     713 Deposition of Andrew Casale (Index Exchange), September 26, 2023, 234:13–236:7 (“Q. How would you characterize

         the level of difficulty for a new business to enter the exchange market today?... THE WITNESS: I would say when we
         pivoted the company in 2010, it was near impossible, and it's thirteen years later. So near impossibly impossible. Q.
         And can you give me some of the reasons why it's near impossibly impossible?... Or would be. A. It's very expensive



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        ◼   Google’s conduct. Google’s conduct has increased barriers to entry and expansion in the ad
            exchange market by foreclosing rival ad exchanges from Google Ads demand (see Section VII.B)
            and previously restricting access to dynamic allocation within DFP (see Section VII.D.1).


        V.C.3. Direct evidence of Google’s market power in the ad exchange market

(497)   Direct evidence of Google’s substantial and sustained market power in the ad exchange market
        includes its ability to charge supracompetitive prices (while maintaining a high market share),
        degrade AdX’s quality by limiting unrestricted access and use of its real-time bids to DFP, and vary
        its revenue share and reserve prices significantly across impressions.

        V.C.3.a. Google AdX is able to maintain quality-adjusted prices above competitive levels

(498)   Three types of evidence indicate AdX profitably levies supracompetitive fees, and hence that AdX
        possesses substantial market power. First, Google documents and internal analyses point to its ability
        to control prices and profitably charge fees above competitive levels without losing a significant
        amount of its transaction volume. Second, Google and third-party documents indicate that AdX
        maintains a higher take rate than other exchanges, and has maintained a substantial take rate for years
        despite reductions in the fees charged by competing ad exchanges. Third, my own analysis of Google
        and third-party data corroborate AdX’s stable and high fees.

(499)   Google documents and internal analyses. Since approximately 2012, Google has charged a roughly
        20% take rate or fee for Open Auction impressions bought through its ad exchange.714 AdX’s take
        rate for Open Auction transactions was 19.8% in 2012 and 19.3% in 2015;715 it returned to 19.8% by
        the first quarter of 2018.716




            to operate an exchange. If you built an exchange from scratch in today's environment where ML is everywhere, by
            having like a small volume of transactions scale, all of your optimization decisions would likely be wrong, which would
            not make you very competitive. So even if you were able to raise the capital to build the exchange, that exchange would
            likely not be performing for years, and that would imply that you have every DSP integrated which also takes years.
            And then you're running into a marketplace that's attempting to commoditize itself, which means the value of that
            business over time will shrink. So mathematically I'd say the odds are very much stacked against a new exchange
            coming into the market, but anything is certainly possible. Q. And you referenced ML everywhere. What is ML? A.
            Machine learning. It's a more advanced form of optimization. Many of the tech next at ad tech historically were done
            very manually and are now far more automated.”).
        714 GOOG-DOJ-12700111, at -112(12/19/2018) (An email from LaSala to Bellack and others).

        715 GOOG-DOJ-03640993, at -009 (02/23/2016).

        716 GOOG-AT-MDL-019097789, at -807 (01/06/2023) (Google’s response to the European Commission’s RFI states,

            “Google’s standard revenue share rate for Open Auction and Private Auction transactions is 20%, and Google’s standard
            rate for Preferred Deal and Programmatic Guaranteed is 10%. To the best of the knowledge of current Google
            employees, prior to the introduction of new transaction types with different rates (Private Auction, Preferred Deal and
            Programmatic Guaranteed), Google’s standard contractual rate was 20%.”). See also GOOG-DOJ-03733834, at -870
            (“AdX rev shares: OA holding steady”, showing Open Auction transactions as the majority of AdX revenue).



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(500)   Google documents indicate that AdX tranasaction volume from its customers are not highly
        responsive to fees, and that lower fees would do little to increase market share, but would instead
        merely reduce AdX revenues, a fact that is, consistent with AdX possessing substantial market power.

(501)   For example, a slide from a 2014 “Ad Platforms Pricing Review” (Figure 52 below) reports the
        “expected elasticity” of AdX for a reduction “in price today” from its 20% take rate to 15%.717 The
        elasticity of demand for a product represents the percent change in quantity for a one-percent change
        in price.718 The slide shows that the “total blended” average expected elasticity across customer
        groups is less than 1. This is known in economics as inelastic demand.719 When demand is inelastic, a
        one percent change in price leads to a less than one percent change in quantity, implying that a one
        percent decrease in price reduces total revenues.720 Consistent with this, the slide states, “[r]educing
        AdX rev share likely value destroying” for the majority of AdX’s publishers with inelastic demand.
        As a matter of economics, inelastic demand refers to low customer responsiveness to price, and a firm
        facing inelastic demand at prices above its marginal cost will generally possess significant market
        power as it can increase prices from competitive levels without losing a large amount of demand.




        717 GOOG-AT-MDL-003839960, at -979 (07/08/2014) (July 8th, 2014, “Ads Platforms Pricing Review”).
        718 See Hal R. Varian, Intermediate Microeconomics, 9th ed. (New York: WW Norton, 2014), 274 (“The price elasticity of
            demand, 𝜖, is defined to be the percent change in quantity divided by the percent change in price.”).
        719 See Hal R. Varian, Intermediate Microeconomics, 9th ed. (New York: WW Norton, 2014), 276 (“If the elasticity is less

            than 1 in absolute value we say it has an inelastic demand.”).
        720 See Hal R. Varian, Intermediate Microeconomics, 9th ed. (New York: WW Norton, 2014), 279 (“Thus revenue increases

            when price increases if the elasticity of demand is less than 1 in absolute value.”). Analogously, a revenue decreases
            when price decreases if the elasticity of demand is less than 1 in absolute value.



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        Figure 52. Google analysis of AdX price elasticity (2014)




        Source: GOOG-AT-MDL-003839960, at -979



(502)   Moreover, a 2016 Google email chain discussed a simulation in which Google varied the take rates on
        AdX and GDN, indicating that reducing the AdX take rate from 15% to 10% to 5% while holding the
        GDN margin at 20% would reduce Google’s gross and net revenues earned from AdX publishers on
        AdX, Google Ads, and DV360.721 Figure 53 below presents a summary of the results, focusing on net
        revenues. The percentage changes in net revenue in the table are expressed relative to a baseline
        scenario with a 20% AdX take rate and 15% Google Ads margin. This simulation is again consistent
        with AdX possessing significant market power, as it indicates that—even accounting for Google’s
        buy-side margins—a reduction in AdX take rates would reduce net revenue earned on AdX
        publishers.




        721   GOOG-DOJ-04615040, at -040 (11/14/2016) (“For gross revenue on AdX pubs, Adw, DBM, and other RTB buyers on
              AdX pubs make up 46%, 32%, and 22% of the total respectively. For net revenue, adw (including buy-side margin),
              dbm (including markup), and other rtb buyers make up around 50%, 35% and 15% respectively”), -043.



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        Figure 53. Results from a 2016 simulation varying Google Ads margin and AdX take rate on change in
        net revenues earned from AdX publishers

                                                                       Google Ads margin
              AdX take rate
                                       15%                 20%                 25%                28%                 32%
                   0%                                    -52.43%                                                    -28.96%
                   5%                                    -37.83%                                -22.05%
                  10%                                    -22.92%             -15.04%
                  15%                                     -7.69%
                  20%                  0.00%
        Source: GOOG-DOJ-04615040, at -043. The table represents the change in net revenues earned from AdX publishers on AdX,
        Google Ads, and DV360 relative to the baseline scenario of 15% Google Ads margin and 20% AdX take rate.



(503)   AdX charges supracompetitive fees and sustains higher fees than other ad exchanges. Numerous
        Google documents indicate that AdX charged higher take rates than rival ad exchanges and was able
        to sustain those prices even after other exchanges lowered their take rates.722 For example, a July 2018
        “Sell-side Pricing Strategy Review” document noted that, “our revshare (20%) is much higher than
        other exchanges (generally 10%),” and that “DRX’s 20% rate is problematic for DBM and AdX
        buyers as well, because as discussed, it is significantly higher than the competition.”723

(504)   Additionally,

        ◼     When discussing the 2016 simulation described above regarding AdX’s margins, Tobias Maurer,
              Product Manager at Google, characterized a lower AdX take rate as one that is at a “more
              competitive level,” implying that 20% is not a competitive take rate.724


        722 See GOOG-TEX-00106259, at -259–260 (11/04/2017) (An email chain among senior Google ad tech executives which
            contains a discussion of an article published by AdExchanger about Rubicon eliminating buy-side fees; in the email
            chain, the executives also describe how AdX’s take rate is substantially higher than that of rivals like Rubicon and
            AppNexus. Payam Shodjai states, “Rubicon’s take home will be around 10% to 12% next quarter according to the
            article. If you look at what Amazon is doing . . . and header bidding, there will be even more pressure on the 10%. I
            think SSP margins will stabilize at around 5%.” Eisar Lipkovitz later replies, “While true that 20% for just sellside
            platform/exchange isn’t likely justified by value, I equally don’t think Rubicon or AN [AppNexus] can run an actual
            business with 5% or even 10%.” Jim Giles concludes, “I think the other important thing to keep in mind versus most
            SSPs is that we also have the ad server. I think pure SSP is definitely commoditizing… I think the combination of ad
            server / exchange plus data gives us cover for total costs that are higher than other exchanges.”), GOOG-DOJ-03640993,
            at -010 (02/23/2016) (A Google presentation which reports take rates for AdX and some third-party exchanges,
            indicating that Google (“DoubleClick AdExchange”) charges 20% for open auction, 20% for private auction, and 10%
            for programmatic direct and programmatic guaranteed transactions; that Rubicon charges 10-20% for open auction and
            5-12% for private auction and programmatic guaranteed transactions; that AppNexus charges approximately 8% across
            all deal types; that Facebook (Liverail) charges 10-20% for open auction and 4-10% for programmatic direct; and that
            MoPub (Twitter) charges 20% for open auction, private auction, and programmatic direct transactions.).
        723 GOOG-DOJ-AT-02118579, at -581–582 (07/11/2018) (Google “Sell-Side Pricing Strategy Review,” July 11, 2018).

        724 GOOG-DOJ-07817544, at -545 (11/09/2016) (“I think there is a case to be made for moving some margin to buy-side

            and communicating that our sell-side margin dropped to more competitive level (15% [AdX], 20% [GDN] option on the
            slide)”). See also GOOG-DOJ-11772703, at tab “Notes” (10/2016) (An internal Google document studying potential
            AdX take rates characterized a hypothetical 10% take rate as matching                       rate, which we are told is
            comfortably profitable.”).



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        ◼     In a January 2017 email chain, Director of Publisher Ad Platforms at Google Jonathan Bellack
              noted, “If everyone else is at 20 we can justify 20. We never originally intended to have AdX as a
              premium over other exchanges, that was the market price. Now that            is at 10% and
              AppNexus is offering 5% at least as a promotion, the question is whether we can defend a 50% or
              100% premium (15-20% vs 10%). . . I do not think it is feasible to try to defend a 3-4x (15-20%
              vs 5%) on third party AdX buyers.”725
        ◼     In email correspondence from November 2016, Google employees discussed Rubicon’s offer to
              publishers to move from 15% revenue share to a flat $0.05 CPM fee for sell-side margins. One
              Google employee noted that the move would mean “their margins will get closer to Index and
              other SSPs compared to AdX,” and another provided reasons “why is Rubicon doing this and
              therefore why should we not do it,” including “they [Rubicon] don’t own an Adserver, so their
              primary deal-making engine is to convince a publisher to put their SSP in a better/exclusive
              position within someone else’s stack.”726 That is, without its own publisher ad server, Rubicon
              would have to convince a publisher to prioritize its exchange within another server (e.g., DFP) to
              gain transaction volume. In contrast, AdX already possessed privileged access to inventory
              through DFP (see Section VII.D.1), and hence could support a higher take rate.

(505)   Third party documents and depositions also indicate that rival exchanges charged lower take rates
        than AdX.727 Moreover, competitors and publishers described an inability to affect or negotiate AdX
        fees. For example,

        ◼     Rubicon’s quarterly financial reports indicate that its take rates were lower than Google’s in
              2018.728 In 2023 (after Rubicon merged with Telaria and was renamed Magnite), Magnite’s Chief

        725 GOOG-DOJ-09470144, at -145 (01/30/2017).
        726 See GOOG-DOJ-05314741, at -741–744 (11/22/2016).
        727 See also

                                                                                                       (“To compete,
            competitors have lowered take rates. This strategy disadvantages      which, sources say, often charges fee close to
            20%, on par with Google. But                    charges 12, and        averaged 8.5% a year ago.”
        728 In particular,       indicated that its take rate was 11.8% in 2018Q1
                                                                                                                    12.1% in
            2018Q2

              12.3% in 2018Q3

              13.8% in 2018Q4

                       and 14% in the full year of 2019

                                        ). Several of these financial reports indicate that         cut take rates between 2017 and
              2018 (For example, the report for 2018Q1 indicates that              take rate in 2017Q1 was 23.7%.

                              In February 2021 (after           merged with         and was renamed            – see


                        CFO stated on the 2020 end-of-year earnings call that “[G]iven the significant and growing competitive



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               Product Officer testified that AdX can charge higher take rates than Magnite because Google
               “can command whataver take rate they so chose [sic].”729
        ◼      Similarly, Trade Desk Executive Vice President John Dederick has said that while his
               negotiations with Google over AdX rates are “sort of a take it or leave it relationship,” his
               negotiations with other exchanges are “much more reasonable” because there’s a “fairer balance
               of power.”730
        ◼      Ryan Pauley, President of Revenue and Growth at Vox (an open-web publisher), has said that
               Vox has “limited leverage” when negotiating AdX take rates because Vox does not “currently
               have any reasonable alternatives’ to AdX’s Open Auction demand.731 In contrast, he says that his
               team has “been able to negotiate more favorable rev shares for Vox Media from other partners,
               typically.”732
        ◼      OpenX CEO John Gentry identifies Magnite and PubMatic as the exchanges most impacting how
               OpenX sets its open auction display take rates because they “have been aggressive about lowering
               fees for advertisers as a means of differentiation.”733 In contrast, he says, “to the best of my
               knowledge, my memory, I have never heard any advertiser, buyer, or holding co tell us that
               Google AdX was providing a lower rate than us in the marketplace.”734 OpenX would not attempt
               to take market share from AdX because, according to Gentry, “we’re not ever going to convince a
               publisher to drop AdX and keep us in and we’re never going to convince a buyer to not buy on
               Google and buy only on us.”735

(506)   AdX’s take rate has remained largely constant over time even though other ad exchanges have
        reduced their take rates. A March 2018 Google internal presentation highlighted this trend in other


              sensitivity related to our take rates, we will not be providing specific ad spend and take rate figures going forward. From
              a qualitative perspective, however, [our] take rates remain stable”


        729 Deposition of                                               60:17–61:20 (“Q. And how does                open auction
            display take rate compare to that? A. Our take rate is lower. Q. Approximately how much lower? A. Our take rate for
            open auction is approximately 18 percent. Q. And do you have a view on why Google’s take rate for its AdX product is
            higher than yours, how are they able to kind of bear that in the market?. . . A. My view of that would be that they get --
            they can command whatever take rate they so chose. Q. And can you elaborate on that? Why do you think that? A.
            They are not held to the same transparency standards that we are on the buy side of the business. And they have the
            ability to win inventory or they had the ability to win inventory at whatever take rate they put out there. Q. Could you
            elaborate on why transparency has something to do with take rate?. . . A. So buyers, particularly the largest agencies and
            the largest marketers, went through a wave of demands from companies like                to declare and report against our
            take rate. Q. And is that not the same for AdX?. . . A. AdX -- my understanding is that AdX would not engage in those
            conversations and didn't have to negotiate those rates.”).
        730 Deposition of John Dederick (The Trade Desk), Jul. 28, 2023, 164:2–165:17.

        731 Deposition of Ryan Pauley (Vox), Aug. 23, 2023, 12:8–13:24.

        732 Deposition of Ryan Pauley (Vox), Aug. 23, 2023, 13:25–14:25.

        733 See Deposition of John Gentry (OpenX), Oct 26, 2023, 94:4–16.

        734 Deposition of John Gentry (OpenX), Oct 26, 2023, 94:17–25.

        735 See Deposition of John Gentry (OpenX), Oct 26, 2023, 99:11–18.




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        exchange’s fees, noting “margin compression” as a result of header bidding and smarter buyers.736
        The same presentation observed that in 2017,                           slashed its take rate in half and
        that                        reduced its take rate “even further” to 8.5%.737

(507)   Payam Shodjai, at the time Google’s Director of Product Management for Display and Video Ads, in
        a 2017 internal email chain wrote that “the technology, demand and supply that SSPs offer have been
        commoditized to a large extent,” and that, “I think SSP margins will stabilize at around 5%. Maybe it
        will happen by this time next year or in early 2019.”738 However, as I show next, AdX’s take rates
        have remained well above this level.

(508)   Analysis of data. The aforementioned take rate patterns described in documentary evidence and
        testimony are also present in the data. Figure 54 plots take rates for AdX and a set of third-party
        exchanges from which I obtained data on gross and net revenues between January 2018 and
        December 2022 (shown in the colored lines, with the take rate scale on the left); the figure also plots
        AdX’s market share of worldwide indirect open-web display impressions among exchanges (in the
        grey shaded area, with the market share scale on the right). During this period, AdX’s take rate
        remained stable at 20%, and AdX maintained a high (approximately 50–60%) market share of
        worldwide open-web indirect impressions among ad exchanges.739 As noted in the figure legend,
        none of the exchanges depicted had a greater than 6% share of these impressions in 2022.




        736 See GOOG-DOJ-05285023, at -044 (03/2018).
        737 See GOOG-DOJ-05285023, at -044 (03/2018).
        738 See GOOG-TEX-00106259, at -260 (11/04/2017) (Mr. Shodjai also wrote, “I also don’t think we should try to milk our

            margins for as long as we can (whether it’s through AdX or Demand Product), because we would be prioritizing short-
            term profits over long-term profits,” also consistent with AdX’s 20% fee being above competitive levels); Payam
            Shodjai, “Payam Shodjai,” LinkedIn, https://www.linkedin.com/in/pshodjai/.
        739 When limited to impressions served to US users, AdX maintains a high market share and a stable 20% take rate

            throughout this period, higher than the weighted average take rate among third-party exchanges. See Figure 109 in
            Appendix E.1.



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        Figure 54. Worldwide open-web indirect display take rates for ad exchanges, and AdX’s worldwide
        indirect open-web display market share (2018–2022)


                                         AdX share (impressions)   Google AdX (56%)                           (4%)
                                                 (6%)                    (3%)                          (5%)
                                               (1%)                     (4%)

                                   30%                                                                                 100%

                                                                                                                       90%
                                   25%
                                                                                                                       80%

                                                                                                                       70%
              Exchange take rate




                                   20%
                                                                                                                       60%




                                                                                                                              AdX share
                                   15%                                                                                 50%

                                                                                                                       40%
                                   10%
                                                                                                                       30%

                                                                                                                       20%
                                   5%
                                                                                                                       10%

                                   0%                                                                                  0%




        Source: Exchange data panel (See Appendix H.1.c for details).
        Notes: Limited to open-web display advertisements transacted through indirect transactions (including open auction, private
        auction, or header bidding). For take rates, I exclude observations where ad type, transaction type, or channel is unknown. The
        chart above includes all exchanges that produced both gross and net revenue data, excluding exchanges that never exceed
        1% of impressions in the exchange market in any given year during the data period, limited to indirect open-web display
        transactions excluding unknown values (these exchanges are                                   , and      ). Monthly average take
        rates are computed as reported net revenue divided by gross revenue.
        The legend in the chart above lists each exchange with its share of worldwide indirect open-web display impressions in 2022 in
        parentheses. “AdX share (impressions)” (shaded grey area in chart) is AdX’s share of worldwide indirect open-web display
        impressions. See Figure 47 and Appendix H for details.


(509)   Figure 55 below plots AdX’s take rate against the weighted-average take rate among third-party
        exchanges for 2018 – 2022, alongside AdX’s share of worldwide indirect open-web impressions.740
        During this time period, AdX maintained consistently high market share of impressions and net
        revenues, while maintaining a consistently higher take rate than the average of its rivals.




        740   Note that while Figure 54 excludes exchanges that never exceed 1% of impressions in a given year, the weighted
              average take rate presented in Figure 55.is calculated across all third-party exchanges that produced both gross and net
              revenue data. The third-party exchanges that are included are OpenX, Index Exchange, Magnite, Xandr, Sovrn,
              Sharethrough, Yieldmo, DCN, Zedo, and PubMatic.



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        Figure 55. Worldwide open-web indirect display take rates for AdX and third-party exchanges (average),
        and AdX’s worldwide indirect open-web display market share (2018–2022)


                                        AdX share (impressions)   AdX take rate           Average 3P exchange take rate

                                  25%                                                                                   100%

                                                                                                                        90%

                                  20%                                                                                   80%

                                                                                                                        70%
              Average take rate




                                  15%                                                                                   60%




                                                                                                                               AdX share
                                                                                                                        50%

                                  10%                                                                                   40%

                                                                                                                        30%

                                  5%                                                                                    20%

                                                                                                                        10%

                                  0%                                                                                    0%




        Source: Google AdX data (DOJ RFP 53); Exchange data panel (See Appendix H.1.c for details).
        Notes Limited to open-web display advertisements transacted through indirect transactions (including open auction, private
        auction, or header bidding). “Average 3P exchange take rate” is the monthly weighted average take rate by exchange spend
        among all third-party exchanges that produced both gross and net revenue data. “AdX share (impressions)” (shaded grey area
        in chart) is AdX’s share of worldwide indirect open-web display impressions. See Figure 47 and Appendix H for details.



(510)   The ability of Google to maintain a constant 20% take rate and maintain a high market share in the ad
        exchange market despite lower fees charged by rivals, and in an industry that observers have
        described as an increasingly commoditized market,741 is consistent with AdX’s substantial and
        sustained market power.




        741   See, e.g., Ronan Shields, ‘Fundamentally, the SSP business is not very attractive’: The fall out of ad tech’s latest round
              of closures,” Digiday, February 13, 2023, https://digiday.com/media/fundamentally-the-ssp-business-is-not-very-
              attractive-the-fall-out-of-ad-techs-latest-round-of-closures/ ( “Ari Paparo, founder of Marketecture, told Digiday that
              Yahoo’s cutbacks were to be expected given the ongoing challenges the sellside of the market faces as the buy-side of
              the industry seeks to downsize the number of players they work with.” ‘I think that, fundamentally, the SSP business is
              not very attractive … It’s not growing, and it’s very competitive as publishers really treat you like a commodity, they
              have like 10 or 20 of them implemented on every page,’ he added. ‘And it’s becoming less attractive because it’s under
              pressure from the buy-side who’s using SPO [supply-path optimization] to reduce the number of paths that they’re
              buying from. And also, you have, advertisers and agencies running bake-offs on the supply side to have preferred
              relationships, this all favors the biggest SSPs in a consolidating business.’”).



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        able to “reclaim” lost revenue “through more aggressive RPO tactics.”753 In July 2018, Google
        launched “Truthful DRS,” which adjusted reserve prices for some transactions such that AdX would
        pay the publisher less than the dynamic reserve price that it would set in the auction; in those cases,
        Google could recollect its lost profit via the difference between the RPO price and the next highest
        price in the auction.754

(518)   When discussing RPO Ali Nasiri Amini (then a senior staff scientist and current Google Vice
        President of Engineering) noted that, “[i]n an opaque market place [the] auctioneer tries different
        tricks to squeeze more money from buyers and their agents.”755 In a competitive market, AdX would
        not have been able to “squeeze more money” from advertisers without losing significant business to
        alternative ad exchanges. It is precisely because AdX possesses substantial market power that it is
        able to control prices for certain transactions and collect higher fees.


        V.D. Google possesses substantial and sustained market power in the
        advertiser ad network market
(519)   Google’s advertiser ad network, Google Ads, is the largest advertiser ad network for open-web
        display advertising, and possesses substantial market power. In this section,

        ◼   I first describe key sources of Google’s market power in the advertiser ad network market
            (Section V.D.1), which include its unique access to advertiser demand and publisher inventory
            (including Google’s O&O properties and open-web AdSense publishers) and significant scale
            advantages over competitors.
        ◼   I then provide measures of Google Ads’ market shares and discuss barriers to entry and
            expansion in the advertiser ad network market (Section V.D.2). Google Ads’ market share among
            advertiser ad networks that I have data for has been over 65% or higher since 2018 for both
            impressions and fees among worldwide open-web indirect display transactions.
        ◼   Last, I provide direct evidence of Google Ads’ market power (Section V.D.3). This includes:




            publisher yield” and “will never set a price below an existing floor [set by the publisher].” See GOOG-AT-MDL-
            009013430, at -432–433 (5/9/2016).
        753 GOOG-TEX-00000655, at -660 (12/15/2016) (An email from Google Jim Giles noting that “we aren’t actually losing

            much money by giving [Last Look] up” with Exchange Bidding, stating: “reclaiming what money we lose is completely
            under our control through more aggressive RPO tactics”.).
        754 GOOG-AT-MDL-009644404 (“By adjusting reserve prices down dynamically we effectively adjust AdX's profit margin

            from full margin to low margin to match more queries. The lost profit on these transactions will be recollected from the
            price gap between RPO price (and optionally buyer's self min_payment) and the next highest price (we charge buyer
            RPO price+revshare and pay publisher less than RPO price).”).
        755 GOOG-AT-MDL-B-002097533, at -534 (04/26/2015) (An email from Google employee Ali Amini).




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                 Describing Google Ads’ ability to target supracompetitive margins and vary its bidding
                  behavior to increase profits and affect publishers’ behavior. Google’s own analyses indicates
                  that it could profitably do so as far back as 2014.
                 Discussing how Google has used its market power in the advertiser ad network market to
                  favor its own products in the ad tech stack, thereby degrading the quality of Google Ads in
                  the process. In a competive market, this would lead to significant substitution to competing
                  products. In this market, protected by significant barriers to entry, Google Ads was able to
                  maintain its market share over time despite degradations to its quality.
                 Presenting two analyses—one using 2023 data produced in the matter, and another described
                  in a 2014 Google document—demonstrating that Google Ads has the ability to meaningfully
                  affect publisher payouts through its participation in ad exchange auctions. This impact on
                  payouts indicates that Google Ads provides significant value to publishers over alternative
                  demand sources, enabling it to levy supracompetitive fees.

(520)   For these reasons, I conclude that Google Ads has substantial market power in the advertiser ad
        network market, and has likely had such market power since at least 2015.


        V.D.1. Sources of Google’s market power in the advertiser ad network market

(521)   Google Ads’ dominant position in the advertiser ad network market derives in part from its access to
        unique advertising demand and publisher inventory, and its much larger scale than other competitors
        and potential competitors.

(522)   Unique advertising demand and publisher inventory. Google Ads had a key advantage from its
        creation because of its exclusive access to valuable Google Search advertising inventory.756 Google
        later added the ability to access open-web display advertising through Google Ads.757 Given the costs
        of using multiple bidding tools and the tendency for smaller advertisers to use a single bidding tool
        for digital advertising needs,758 Google Ads started with a large source of advertising demand through
        search as it developed its web display advertising business. This was described in a 2017 presentation



        756
            In addition, a deal with AOL enabled AdWords advertisers to purchase search ads on AOL search listings and thereby
            granted AdWords and its customers access to AOL’s then-34 million users. Christine Frey, “Overture Loses AOL
            Contract to Google,” Los Angeles Times, May 2, 2002, https://www.latimes.com/archives/la-xpm-2002-may-02-fi-
            overture2-story.html. The deal propelled Google’s search advertising business and by early 2003, Google touted the
            “largest and fastest growing” online advertising base in the industry, with over 100,000 advertisers. Google, Google
            News, “Google Builds World’s Largest Advertising and Search Monitization Program,” Google, March 4, 2003,
            https://googlepress.blogspot.com/2003/03/google-builds-worlds-largest.html.
        757 See GOOG-DOJ-AT-01592535, at -542 (09/27/2018) (A presentation titled, “Welcome to the Sell-Side World!” states,

            "Google Search ads started, and were so successful that we started putting them elsewhere i.e. on 3rd party websites, and
            called this ‘AdSense’ (2003)”.).
        758 See Section IV.E.1.




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        by Google as providing Google Ads with “[u]nique demand that adds auction pressure to drive
        greater CPMs, fill and overall yield”.759

(523)   Today, Google Ads customers gain access to additional Google O&O inventory including YouTube
        that cannot be accessed through non-Google bidding tools,760 as well as access to open-web
        publishers using AdSense. Large advertisers and those with more complex advertising needs often
        use both Google’s DSP product, DV360, and Google Ads.761 Small advertisers and those with less
        complex advertising needs, who tend to single home on bidding tools and use advertiser ad networks
        rather than demand side platforms, have no realistic alternative to Google Ads to access unique
        Google inventory.762

(524)   Scale and data. Related to its access to unique demand and supply sources, Google Ads also benefits
        from its significant scale. For example, a 2018 Google presentation on Google’s Display Network,
        highlights the advantage that Google Ads is able to provide advertisers by having access to “3M+
        website and app partners” and being able to target users across its entire network.763 Having by far the
        largest transaction volume of any competitor in the advertiser ad network market provides Google
        Ads with scale and data advantages in developing better targeting algorithms that lead to better ad
        campaign performance for its advertiser customers.764


        V.D.2. Indirect evidence of Google’s market power in the advertiser ad network
        market

(525)   Google’s high market shares across a variety of measures, as well as evidence of significant barriers
        to entry, provide indirect evidence of Google’s substantial and sustained market power in the
        advertiser ad network market.




        759 See GOOG-DOJ-04429792, at -804 (04/2017) (“Monetization Cheatsheet”).
        760 Advertisers can access YouTube and Google O&O inventory like Search via Google Ads. Google, “Grow your business
            with Google Ads,” Google Ads Help, https://ads.google.com/intl/en_us/home/campaigns/video-ads/. See also Sections
            II.C.3 and V.A.1.
        761 See Figure 33 and Figure 38 in Section IV.E.1.a.

        762 See Figure 35 in Section IV.E.1.a. See also Deposition of Eisar Lipkovitz, March 31, 2021, 315:20–316:14 (“Q. I guess

            the thing that I’m trying to understand is, is it [GDN demand] differentiated because of the targeting and targeting
            technology? Is it differentiated because it's using different data signals? Is it differentiated because it’s using -- it has
            small advertisers that are able to buy programatically through it?... A. I mean, Tim, literally it’s all of the above, right.
            Really, the key point there is the advertiser is not in full control of each impression, because the advertiser chose to
            outsource that work to GDN, right. And if it’s a small advertiser, frankly, that’s the only thing they can do. Like they
            have no idea how to do anything better, right.”).
        763 GOOG-DOJ-AT-00221276, at -312 (n.d.). See also GOOG-AT-MDL-004522085, at -092 (02/2017) (“GDN reaches

            over 95% of global internet users and is the world’s largest ad network.”).
        764 See Section III.D.




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(531)   When restricting attention to indirect open-web display impressions from US advertisers or users
        among these three advertiser ad networks, Google Ads share is similarly high at approximately 90%
        throughout the sample period (88% in 2022).772

        Figure 56. Google Ads has maintained a substantial share of worldwide indirect open-web display
        impressions among advertiser ad networks (2018–2022)


                                                       Google Ads

          100%

           90%

           80%

           70%

           60%

           50%

           40%

           30%

           20%

           10%

            0%




        Source: Google Ads data (DOJ RFP 54); Bidding tools panel (See Appendix H.1.b).
        Notes: Denominator includes open-web display impressions from Google Ads,            and
        Impressions include all indirect open-web display transactions from these parties.    exited the open-web display market in
        April 2020.



(532)   Net revenues (fees). Google Ads also maintains a significant share of fees collected in the advertiser
        ad network market. In 2022, Google Ads accounted for 81% of worldwide net revenues from indirect
        open-web display transactions among Google Ads, Criteo, and FAN.773 Limiting to fees collected

            (including Google’s AdSense). Even if I exclude impressions from Google Ads transacted through AdSense, Google
            Ads still comprises a significant share of worldwide indirect open-web impressions among advertiser ad networks, with
            a share exceeding 75% between 2018 and 2022. See Figure 97 in Appendix D.2.a.
        772 See Figure 98 in Appendix D.2.a. Google Ads data (DOJ RFP 7 and DOJ RFP 54) only provide information on

            advertiser geography, while data from Criteo and FAN only provide information on user geography. Given this, I
            calculate shares among US advertisers or users. See also discussion in Section V.C.2.a regarding market share measures
            based on US users.
        773 See Figure 97 in Appendix D.2.a. Impressions that are transacted from Google Ads to AdSense are subject to a 32% total

            take rate. See GOOG-DOJ-04004392, at -393–394 (2018) (Google “Sellside Guiding Principles” document).They are
            not disaggregated into separate rates for Google Ads and AdSense. In contrast, while Google Ads transactions through
            AdX also target roughly a 32% total take rate, this rate is split into a 15% margin for Google Ads and a 20% take for



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        from impressions served to US advertisers or users, Google Ads’ share of net revenues among these
        three ad networks was 83% in 2022.774

        Figure 57. Google Ads has maintained a substantial share of fees from worldwide indirect open-web
        display transactions among advertiser ad networks (2018–2022)


                         Google Ads - AdX      Google Ads - AdSense       Google Ads - other

            100%

            90%

            80%

            70%

            60%

            50%

            40%

            30%

            20%

            10%

             0%




        Source: Google Ads data (DOJ RFP 7, 54);                                                  );
        Notes: 1. Includes net revenues from open-web display impressions from Google Ads (separated into transactions through
        AdX, AdSense, and other third-party exchanges),        , and                                  . 2. Google aggregates buy-
        side and sell-side fees for transactions through AdSense (“Google Ads - AdSense” net revenues reflect a reported 32% take
        rate). 3.     exited the open-web display market in April 2020.


        V.D.2.b. Barriers to entry and expansion

(533)   There are substantial barriers to entry and expansion in the ad network market. These include:

        ◼    Access to publisher inventory. Due to indirect network effects, unless an entrant has access to
             publisher inventory, it will have difficulty attracting advertisers and compelling them to incur the
             costs of connecting to its services. As discussed in Section V.D.1 above, Google Ads has access
             to unique Google O&O inventory both within and outside of web display advertising. I also

            AdX. The “GOOGLE ADS TO ADX” series in Figure 57 below reflects the 15% take rate for Google Ads transactions
            through AdX. However, because there is not a clear way to disaggregate Google Ads and AdSense take rates, the
            “GOOGLE ADS TO ADSENSE” series reflects the full 32% take rate. Appendix 0 includes a version of this figure
            where I assume that Google Ads collects a 15% take rate for impressions sold through AdSense.
        774 See Figure 98 in Appendix D.2.a.




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              discussed in Section V.B.2.b Facebook’s acknowledged difficulties in accessing open-web
              publisher inventory for its advertiser ad network product.
        ◼     Scale and data. In addition, new entrants are disadvantaged by initially lacking scale. As I
              discussed in Section III.D.3, data is important for developing targeting algorithms and making
              predictions for offering CPC-to-CPM conversions, as well as running experiments used to
              evaluate new features and products. Advertiser ad networks also use large volumes of historical
              data to predict the probability that users will click on an ad.775 As Google Ads executives
              explained in a 2017 presentation to the communications firm RingCentral, “All of these signals
              means we have a lot of data to work with … We’re thus able to optimize with the same level of
              rigor that you would, but with exponentially more data, scale and precision.”776 Absent sufficient
              data, entrant ad networks would be competitively disadvantaged relative to existing ad networks.
        ◼     Google’s conduct. As I discuss in Section VII.F.3, Google’s conduct that impaired the
              competitiveness of non-Google ad exchanges and publisher ad servers impeded rival advertiser ad
              networks from accessing publisher inventory through non-Google products.


        V.D.3. Direct evidence of Google’s market power in the advertiser ad network
        market

(534)   Direct evidence of Google’s substantial and sustained market power in the advertiser ad network
        market includes:

        ◼     Google Ads’ ability to charge supracompetitive fees and vary its targeted margins significantly
              across impressions, and Google’s own analyses indicating that increasing fees would increase
              profits.
        ◼     Google’s ability to restrict Google Ads’ bidding on non-Google exchanges, thereby degrading the
              availability of publisher inventory for Google Ads’ advertiser customers to benefit AdX.
        ◼     Google Ads, by either bidding into or withholding its demand from an ad exchange, meaningfully
              affects payouts through the exchange.

        V.D.3.a. Google Ads is able to maintain supracompetitive fees, and vary its targeted margins
        to win more auctions, increase profits, and influence publisher behavior

(535)   Google Ads targets a 15% margin with Google Ads on Open Auction transactions through AdX, and
        a 31-32% margin on transactions it facilitates through AdSense.777 A July 2018 “Sell-side Pricing


        775 See Section III.D.3 for further details.
        776 GOOG-AT-MDL-004522085, at -088.
        777 See GOOG-AT-MDL-006218257, (12/16/2022) (Google response to the EC’s RFI of October 31, 2022) at -264.

            GOOG-AT-MDL-000969513, at -525 (11/2020).



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        Strategy Review” document noted that, “AFC [Adsense for Content] and AdMob have not
        historically faced price pressure on their 32% revenue share.”778

(536)   Google has performed multiple analyses that show that Google can significantly increase Google
        Ads’ margins while increasing Google’s profit and net revenue earned on its ad tech products. These
        analyses, which are indicators of Google Ads’ market power, include:779

        ◼     A March 2014 experiment found that an increase in Google Ads’ margin from 14% to 15% (a 1
              percentage point, or 7 percent increase) resulted in an increase in Google Ads’ net revenues
              earned on AdX transactions.780
        ◼     The 2016 simulation described in Section V.C.3.a and depicted in Figure 52 and Figure 53
              showed that for fixed AdX take rates, increases in Google Ads’ margin would increase Google’s
              net revenues earned on AdX publishers.781
        ◼     A simulation conducted by Google in May 2018 indicates that an increase in Google Ads’ margin
              on AdX from 15% to 20% would increase Google’s profit on “AdX web publishers” by 6.4%.782
              Figure 58 below from a Google document describing these simulations plots buy- and sell-side
              profit as increasing in Ads’ margin (see plot on right, where profit increases as Google Ads’
              margin increases from 10%).




        778 GOOG-DOJ-AT-02118579, at -580 (07/11/2018) (Google “Sell-Side Pricing Strategy Review,” ).
        779 See Section V.B.3.a for economic reasons why a firm with substantial market power may choose to price below its
            short-run or static profit maximizing level.
        780 See GOOG-DOJ-AT-02096186, at -186 (03/2014) (Google proposal “Increase GDN margin on AdX from 14% to

            15%," states, “Recently the GDN margin on AdSense has come closer to 32%, therefore we propose to increase the
            GDN buy-side margin on AdX to 15%....”; The “Measured Impact” “For AdWords on AdX slice” reads, “GDN profit
            +5.3%” and “Google profit +2.2%”, with “publisher payout -0.8%”. The document indicates that GDN profit is
            computed only on AdX publishers. The document also indicates GDN profit represents “GDN’s net revenues on AdX
            transactions”, and “Google profit is the amount of money collected from advertisers minus the amount paid to the
            publisher.”).
        781 See GOOG-DOJ-04615040, at -040, -043 (11/14/2016) (An email chain regarding simulation). For example, holding

            AdX’s margin at 10%, an increase in GDN’s fee from 20% to 25% would increase Google’s net revenue by
            approximately 8% relative to its current levels (-22.92% to -15.04%).
        782 GOOG-DOJ-04736246, at -246 (05/09/2018) (“At 20% buy side margin, revenue goes down -0.9% (-$53M) but the

            overall (buy+sell side) profit increases 6.5% ($70M)”). An increase from 15% to 20% represents approximately a 33
            percent increase in Ads’ fee and a 16–17 percent increase in Google’s total fee, from 30–32% to 35–37%. See also
            GOOG-DOJ-05277697, at -698 (05/10/2018) (A May 2018 email chain discussing this simulation which notes also
            “[w]e have been running an experiment [on AWBid] where we have been targeting roughly 5% more margin. It’s
            showing ~$2M revenue and +$15M profit (on about $450M revenue)”) and GOOG-DOJ-AT-02118579, at -581,
            (07/2018) (A July 2018 “Sell-side Pricing Strategy Review” document noting that, “simply increasing the GDN margin
            could generate meaningful net revenue improvements, based on an experiment with Web inventory.”).



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        Figure 58. Results of Google’s 2018 simulations that varied Google Ads margin relative to 15% on gross
        and net revenues earned on AdX web publishers




        Source: GOOG-DOJ-04736246, at -247. Change in gross revenue and net revenue on buy- and sell-side products earned on
        AdX web publishers.



(537)   Google Ads’ market power is also demonstrated by its bidding behavior into AdX auctions.

(538)   Prior to the Uniform First Price Auction introduced in 2019, Google Ads (AdWords at the time)
        submitted two bids into the AdX auction.783 Google documents indicated that this was “to prop up
        publisher payout” in AdX’s second-price auction,784 but would tend to increase the auction price paid
        by the winning Google Ads advertiser. According to a 2013 Google document, Google Ads’ margin
        would be significantly higher (57% as opposed to 14%) if it did not submit two bids into AdX, and its
        “2nd bid accounts for ~50% of pub revenue, >$500M/yr!”785 This indicates Google Ads’ significant
        value to publishers as early as a decade ago, consistent with its substantial market power even at that
        time.

(539)   Moreover, beginning in 2013, Google began dynamically varying Google Ads’ margin by adjusting
        the two bids that Google Ads submitted into AdX through programs referred to as Google Ads
        Dynamic Revenue Share (“Google Ads DRS”) and Project Bernanke.786 Google Ads’ ability to

        783 See GOOG-AT-MDL-006218271, at -284–286 (01/06/2023).
        784 GOOG-DOJ-10733927, at -933 (n.d.). Before 2019, AdX ran a second-price auction where the winning bidder pays the
            maximum of the second-highest bid or the reserve (or floor) price. By submitting a second bid from Google Ads,
            Google would increase the payment to the publisher in the event AdX served the ad, and both the highest and second-
            highest bids into AdX were from Google Ads. This would also tend to increase the auction price paid by the winning
            Google Ads advertiser.
        785 GOOG-DOJ-28386151, at -154 (12/10/2013).

        786 Project Bernanke allowed Google Ads to bid such that it earned a a lower margin in certain auctions and a higher margin




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        control prices is evident in documents describing Project Bernanke. For example, Figure 59 from a
        2018 presentation shows that Google characterized Bernanke as “offer[ing] knobs to adjust Adwords
        margins”—i.e., control price for Ads—to increase profits.

(540)   In another slide from the same presentation, also shown in Figure 59, Google noted that it could
        adjust margins for its AWBid product which allowed Ads to bid on third-party exchanges for a
        limited set of impressions (see Section VII.B): the figure shows that increasing Ads’ margin from
        15% to 32% on AWBid transactions would significantly increase its profits (see last bullet point in
        Figure 59).

        Figure 59. Google Ads’ ability to control margins and increase profits




        Source: GOOG-DOJ-10733927, at –942, –943



(541)   Additionally, Google introduced an update to Project Bernanke in 2016 that altered Google Ads’ bids
        for certain publishers that Google detected as engaging in “calling” AdX multiple times for the same

           in others. In the majority of wins (85% of the time according to a 2013 document) Google Ads second priced itself, and
           thus it could lower the second bid that it submitted and increase its take rate on what it deemed to be less competitive
           auctions. See GOOG-DOJ-06842351, at -356 (10/2013), Google continues to engage in variable pricing with Ads via
           Project Alchemist. See Appendix L.4 for further discussion on Google Ads’ dynamic revenue sharing programs.



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        bidding opportunity.787 A Senior Director of Engineering at Google noted that “Google
        communicated with multi-call publishers that Google Ads would be making some changes to how it
        submitted bids in response to multi-calling” in order ”to encourage them to reduce usage of multi-
        calls.”788 Google’s acknowledged use of Google Ads’ bidding behavior to affect how publishers
        engaged in yield management is a recognition of Google Ads’ substantial market power—in a
        competitive market, Google Ads’ ability to reduce publisher payouts below competitive levels would
        be constrained by other demand sources that publishers could substitute to (as those demand sources
        would then win the auction instead of Google Ads). I discuss this program further in Appendix L.4.

(542)   The ability of Google Ads to engage in significant price discrimination across publishers and charge
        widely varying margins is also indicated by analysis of the data produced in this matter. In Appendix
        E.4, Figure 114 and Figure, I show that there exists significant dispersion in Google Ads’ margin
        among large publishers. For example, in 2022, weighting by impressions: 42% of the top 100
        publishers were charged an average margin of less than 10%, 29% were charged an average margin
        between 10% and 12.5%, and 29% were charged an average margin greater than 12.5%.789

(543)   These are clear indicators that Google Ads possesses substantial market power, as that it has the
        ability to profitably charge fees (i.e., target margins) above competitive levels.

        V.D.3.b. Google Ads is able to significantly deviate from competitive behavior in the advertiser
        ad network market and meaningfully impact publisher payouts

(544)   Google’s substantial market power in the advertiser ad network market is also strongly evident in its
        restriction on Google Ads’ ability to bid into rival exchanges without losing significant transaction
        volume.790 One Google document noted that this “exclusivity” between Google Ads and AdX “makes
        AdX more attractive to sellers.”791 However, Google also acknowledged that restricting Google Ads
        from purchasing inventory on third party exchanges strongly disadvantages Google Ads relative to
        other ad networks.792



        787 GOOG-AT-MDL-008842383, at -386 (08/05/2023) (Declaration of Nirmal Jayaram, “Global Bernanke was
            subsequently updated in October 2016. This update, relating to the detection and management of multiple calls, was
            sometimes referred to internally as ‘Bell v.2.’ Under Bell v.2, Google Ads would modify its bidding behavior (to
            decrease bid variance) when receiving multiple calls for the same ad request to protect advertisers from the risk of price
            inflation. A ‘call’ refers to a publisher's request that an ad exchange supply an ad to show in response to a specific ad
            opportunity when a user has navigated to the publisher's property. Some publishers would call an ad exchange, such as
            AdX, multiple times for the same potential ad opportunity.”).
        788 GOOG-AT-MDL-008842383, at -386 (08/05/2023) (Declaration of Nirmal Jayaram).

        789 DRX Internal Stats data (DOJ RFP 57).

        790 See Section VII.C.1. for more details on Google Ads’ bidding relationship with AdX.

        791 GOOG-DOJ-05247075, at -083 (09/14/2012).

        792 GOOG-DOJ-05247075, at -083 (09/14/2012) (“GDN is competitively disadvantaged against buy-side competition … In

            the auction ecosystem, we appear to be running a buyside-subsidizes-sellside model; we are artificially handicapping our
            buyside (GDN) to boost the attractiveness of our sellside (AdX).”). See Section VII.C.1 for further discussion.



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(545)   Despite restricting Google Ads’ ability to bid through rival ad exchanges, Google Ads has maintained
        a dominant market share in the advertiser ad network market across a variety of measures. The
        dominance of Google Ads despite being disadvantaged to strengthen AdX is consistent with Google
        Ads’ possession of substantial market power. This is because, again, in a competitive market, an ad
        tech product (all else equal) would not likely be able to profitably restrict access to inventory
        available to its advertiser customers, as doing so would risk losing a large amount of its transaction
        volume to rivals that did not impose such restrictions.

(546)   Next, I present an analysis of the data produced in this matter that demonstrates the importance of
        Google Ads for monetizing publishers’ display ad inventory. This represents evidence of Google
        Ads’ substantial market power and ability to profitably charge supracompetitive fees. (In Section
        VII.B and VII.F.1, I provide additional evidence that access to Google Ads’ demand contributed
        meaningfully to AdX’s market power and attractiveness to customers.793)

(547)   I performed a simulation exercise in which I removed all Google Ads’ bids from a random sample of
        GAM auctions run in June 2023,794 and for impressions within GAM that Google Ads had previously
        won (comprising 27.8% of transactions in the sample), assigned the publisher payout for the
        impression to the value of the next-highest bid. I found that the impact of removing Google Ads
        demand from GAM auctions would have substantial effects on publisher monetization. First, of the
        auctions Google Ads won, 51.7% had no competing795 non-zero bidder, meaning that without demand
        from Google Ads, publishers would likely not have monetized this inventory at all. Second, for the
        remaining transactions previously won by Google Ads that are assigned to the next-highest non-zero
        bid, I found that the payout would fall by 38.5%. The simulation also indicates that the number of
        transactions won by AdX in GAM would fall by 40.2%.

(548)   Across all GAM auctions in the sample, total publisher payout would decrease by 14.4% if Google
        Ads were removed and its impressions were reassigned in this manner. I repeated this exercise by
        removing instead different demand sources identified in the data. No other single demand source
        identified in the data had a larger impact on publisher payouts than Google Ads. The demand sources
        identified in the data with the next largest reductions in publisher payouts were DV360 (6.2%),


        793 For example, GOOG-DOJ-04004392, at -397 (2018) (An internal Google memo which states, “Recent market dynamics
            (header bidding, Amazon TAM offering, free mediation in apps) are putting pressure on the 20% [AdX] fee and it is
            becoming more clear that the market bears the fee primarily because of exclusive access to our AdWords demand.”).
        794 This exercise was performed using the GAM log-level data, which contains impressions sold during the 35th-through

            39th seconds of every minute of June 2023, excluding June 28, which is captured in full. The analysis sample for this
            chart is a 1-in-60 sub-sample (minute 9 of each hour) of the June 1st GAM sample. Out of the 31,865,691 auctions thus
            drawn, I exclude approximately 4.1% due to errors in the data production. See 2023.11.20 Letter from D. Pearl to M.
            Freeman, November 20, 2023. Additionally, I exclude 0.8% with winning bid CPMs of $100 or greater, and 0.8%
            because the auction included Programmatic Guaranteed, Private Auction, or Preferred Deal bids.
        795 I consider only non-winning bids for which the variable “win_loss” is equal to “Lost,” meaning that the bid competed

            directly against the winning bid, was above the price floor, and was not blocked by the publisher due to attributes of the
            ad or the advertiser.



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        “Header Bidding Yield Group” (2%),                                 (0.5%), and Rubicon (0.5%); all other ad
        exchanges and DSPs had an impact below 0.5%.796

(549)   Note that this analysis likely understates the impact that the removal of Google Ads’ bids would have
        had on publisher payouts, as it does not account for the change in the bids of other auction
        participants. As I discussed in Section III.E, additional competition tends to generate higher bids into
        a first-price auction (which is the auction format used by AdX and GAM during this time period). By
        introducing additional competition, Google Ads’ participation in AdX auctions likely led to higher
        bids and higher publisher payouts even for transactions that Google Ads did not win.797

(550)   The results of my analysis indicating the importance of Google Ads’ participation on publisher
        payouts are also consistent with a 2014 Google auction simulation studying the “Impact of GDN not
        participating in AdX auctions”:798 among a sample of 7.5B daily queries on AdX (of which 5.3 billion
        or over 70% were won by Google Ads), the simulation found that without Google Ads demand, the
        number of queries won by AdX would fall by 51%, Google revenue would fall by 70%, and publisher
        payout would fall by 65%.799 The simulation found that much of the reduction in publisher payout
        was from those queries where Ads had previous won, both because “a large number (70%) go
        unmatched” and “the RPM on queries won now by AdX buyers is only a third of the RPM on queries
        796 Third-party ad exchanges are identified in the data only when participating through Exchange Bidding. Some exchanges
            may also participate in the auction through remnant line items captured by the “Reservation” category. The
            “targeted_custom_criteria” field from the GAM log-level data contains publisher-entered tags which include, among
            other information, the names of exchanges that the publisher wishes to solicit bids from. These fields often contain
            multiple exchanges. I understand that Google uses this information in identifying both the presence of header bidding
            within DFP as well as the underlying exchanges. See GOOG-AT-MDL-008928566, at -575, -579, and -586 (08/23/2017.
            To obtain a more conservative estimate of the impact of removing each exchange, I performed the following exercise, in
            turn, for each of the top 5 Open Bidders on GAM                                                        and            I
            assigned to it all instances of “Reservation” bids for which the exchange’s name or header bidding code (e.g.,          or
                                for                 ) appear in the “targeted_custom_criteria” field (ignoring other exchanges or “!”
            signs), then simulated removing those bids as well at that exchange’s bids from the dataset. I find that the respective
            impact, in terms of foregone publisher revenue, is: 2.1% for               2.2% for                  1.5% for
            0.8% for            and 0.4% for
            Header Bidding in Yield Groups (“HBYG”) are defined by Google to be header bidders "with whom Google has a
            contractual relationship” and are provided minimum-bid-to-win information; these were launched in 2022 in response to
            commitments with the French Competition Authority. See GOOG-AT-MDL-006217592, at -603 (12/12/2022).
        797 To see this another way, consider the same exercise of removing Google Ads’ bids from a set of second-price auctions.

            Again, for those transactions that Google Ads would have won, if Google Ads’ bids were removed then those
            transactions would go to a different winner at a lower transaction price (or be unmatched), thereby reducing publisher
            payouts. However, there is an additional effect for transactions that Google Ads did not win. For these transactions, if
            Google Ads’ bids were removed, publisher payouts would also fall whenever Google Ads had placed second, since
            those transactions would now clear at lower auction prices (recall that under a second-price auction, the winner pays the
            second-highest bid). This additional effect—i.e., of Google Ads “second pricing” other bidders—is an example of how
            Google Ads’ participation in an auction can affect payouts even for transactions that it does not win, and is recognized
            in the Google simulation described next. See generally GOOG-DOJ-15140608 (01/2014) (A Google analysis by Nirmal
            Jayaram titled “Impact of GDN not participating in AdX auctions”).
        798 Google Senior Director of Engineering Nirmal Jayaram testified that, “Auction simulation is the process of trying to do

            an offline analysis, so not in real auctions, but in a simulated setting, trying to understand the outcome of certain
            scenarios.” Deposition of Nirmal Jayaram (Google) September 17, 2021, 135:24-136:4. Mr. Jayaram described the
            simulation as “referring to AdWords not participating on AdX auctions.” 138:23-25.
        799 GOOG-DOJ-15140608, at -608–609 (01/2014).




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        won by [Google Ads] earlier.”800 In addition, the simulation found that some reduction in publisher
        payout would result from “GDN no longer second pric[ing]” queries on which an AdX buyer had
        previously won.

(551)   Combined, these simulation results indicate that Google Ads was and continues to be a uniquely large
        and important buyer of publisher inventory, meaningfully impacting publisher payouts through its
        bidding behavior, and supports the conclusion that Google Ads’ possesses substantial and sustained
        market power.




        800   GOOG-DOJ-15140608, at -608–609 (01/2014). (“Q. Can you help me understand what this is saying? A. I think what it
              is saying is if GDN did not participate on those queries that were being won by GDN, 70 percent of them go unmatched
              in the AdX auction. Q. So does that mean that there’s no winner for those auctions? A. There is no winner in the AdX
              auction.” ) Deposition of Nirmal Jayaram (Google) September 17, 2021, 142:15–142:24.



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        VII. Google has historically engaged in, and continues to
        engage in, conduct within and across the relevant markets that
        excluded and harmed the competitiveness of rivals and
        potential entrants
(570)   Over the last 15 years, Google has pursued a campaign to obtain, strengthen, and protect substantial
        market power throughout the open-web display ad tech stack. Although some of its market power
        may have been obtained through improvements to its existing products, Google has nonetheless
        engaged in other actions that have preserved its market power by acquiring or excluding rivals, and
        by frustrating and impeding their efforts to compete for customers.

(571)   In particular, Google has engaged in efforts to leverage its market power in one relevant market to
        strengthen its position in other markets. By using its position in one market to benefit its products in
        another, Google reduces demand (i.e., advertiser spending) or supply (i.e., publisher inventory) for
        rivals in the targeted market, both reducing the competitiveness of these rivals and the likelihood of
        entry of new ones. Moreover, because of indirect network effects and the need for different ad tech
        products to interoperate, reducing rivals’ competitiveness in the targeted market also reduces the
        attractiveness of non-Google alternatives in other ad tech product markets.

(572)   In this Section, I examine the competitive effects of five actions that Google has undertaken with its
        ad tech products. I provide the basis for my opinion that these actions have harmed the
        competitiveness of rivals and their ability to attract advertiser spending and publisher inventory
        within the publisher ad server, ad exchange, and advertiser ad network markets. (Later, in Section
        VIII, I discuss how these actions have preserved and enhanced Google’s market power and harmed
        customers and consumers.)

(573)   Before I examine the competitive effects of Google’s five actions, I first provide background context
        for Google’s conduct in Section VII.A.

        ◼   I provide an overview of Google’s strategy in the ad tech stack since its acquisition of
            DoubleClick in 2008. This acquisition, which provided Google with its publisher ad sever (DFP)
            and ad exchange (AdX) products, laid the groundwork for Google’s practice of using market
            power in one relevant market to foreclose rivals and distort competition in favor of its own
            products in another market. I describe as well the importance that Google placed on controlling
            the publisher ad server, allowing it to then further protect and enhance its market power across
            the ad tech stack.
        ◼   I also describe how Google viewed yield managers and header bidding tools—which helped
            publishers access rival non-Google ad exchanges—as “disintermediation” threats to DFP’s
            substantial market power. This discussion, as well as Google’s varied responses, shows that


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               Google’s efforts to impede and harm the competitiveness of rival ad exchanges not only had
               effects on competition within the ad exchange market, but also impacted competition within the
               advertiser ad network and publisher ad server markets and protected DFP’s substantial market
               power. Moreover, the limited impact of these threats to Google highlights the durability of
               Google’s entrenched position and market power, maintained and enhanced by the conduct
               described in the remainder of the Section.

(574)   Next, I evaluate five actions taken by Google. In Sections VII.B and VII.C, I describe how following
        the acquisition of DoubleClick, Google established a Google-only pipeline through the heart of the ad
        tech stack, denying non-Google rivals the same access to real-time demand that it provided its own
        products, by providing:

        ◼      (1) Unrestricted access to Google Ads’ advertiser demand exclusively to AdX;

        ◼      (2) Access to and use of real-time bids from AdX exclusively to DFP.

(575)   In these instances, Google’s actions denied or otherwise degraded rivals’ access to a valuable asset
        that it controlled, and conditioned access to this asset on the use of its other products.815 The bidding
        relationship between Google Ads and AdX foreclosed publishers who used a rival exchange from
        Google Ads’ advertiser demand; this had the effect of diverting publisher inventory away from rival
        exchanges and towards AdX. Similarly, foreclosing rival publisher ad servers from access to real-time
        bids from AdX (whose own market power was enhanced by its preferred access to Google Ads)
        steered publishers towards DFP instead.

(576)   Hence, Google used the market power it had in the advertiser ad network market with Google Ads to
        enhance AdX’s market power in the ad exchange market, which in turn Google used to further
        strengthen and preserve DFP’s market power in the publisher ad server market. Given Google Ads’
        and AdX’s market power, Google possessed both the ability and evident incentive to engage in these
        actions. Such actions harmed the competitiveness of rivals in the relevant markets, ultimately to the
        detriment of advertisers and publishers.

(577)   In Section VII.D, I describe how Google used DFP’s market power, strengthened and preserved by
        the above conduct, to further advantage AdX over rival exchanges. It did so in at least two ways.

        ◼      (3) DFP granted AdX exclusive access among ad exchanges to its Dynamic Allocation and
               Enhanced Dynamic Allocation features (until the introduction of Exchange Bidding), thereby
               providing AdX with advantageous access to inventory over rival exchanges. AdX was thus

        815   In Sections VII.B.3 and VII.C.3, I discuss Google’s AWBid feature, which allowed Google Ads to bid on rival
              exchanges for a subset of display impressions (albeit at a significantly higher targeted margin than it targeted on AdX),
              and Google’s AdX Direct tag, which provided limited access to AdX to rival publisher ad servers. In both cases, I show
              that these features have meaningful restrictions, and that usage of these features is relatively small as a fraction of
              overall Ads or AdX transaction volume.



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            provided with exclusive access to what industry participants referred to as both a “first look” and
            “last look” advantage over rival exchanges. The effects of these advantages have likely persisted
            beyond Google’s ending of this practice due to the durability of network effects and scale effects,
            and due to the presence of switching costs.
        ◼   (4) Google removed publishers’ ability to set variable floors across exchanges within its “Unified
            Pricing Rules” (UPR) in 2019. This act impaired publishers’ ability to work with rival exchanges
            that would otherwise exert competitive pressures on AdX.

(578)   In Section VII.E, I then discuss how Google responded to potential competitive threats posed by
        “yield managers” by:

        ◼   (5) Acquiring AdMeld in 2011. This acquisition had the effect of removing an emergent
            competitor to Google’s sell-side products and eliminating an option for accessing and managing
            multiple exchanges and demand sources.

(579)   In Figure 60Figure 60, I depict the conduct discussed in Sections VII.B–VII.E. In the diagram, I show
        three of Google’s ad tech products—from left to right, its advertiser ad network (Google Ads), its ad
        exchange (AdX), and publisher ad server (DFP)—and show how Google’s actions leveraged market
        power in one relevant market to impose restraints that strengthen its own products and foreclose rivals
        in an “adjacent” relevant market within the ad tech stack. For example, Google’s decision to make
        unrestricted access to Google Ads’ demand exclusive to AdX had the effect of foreclosing rival
        exchanges; and Google’s decision to make unrestricted access to and use of real-time bids from AdX
        to DFP had the effect of foreclosing rival publisher ad servers. Moreover, by granting the first- and
        last-look advantages associated with Dynamic Allocation exclusively to AdX, Google foreclosed
        rival ad exchanges from real-time competition within DFP.




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        ◼     Second, the potential threat that header bidding adoption posed to DFP likely incentivized Google
              to innovate and introduce Exchange Bidding (later renamed Open Bidding).846 I return to this
              point, and the role that competition plays in encouraging innovation, in Section VIII below.

(602)   Having provided this context, I turn in the rest of this Section to discussing the conduct that is the
        focus of my report.


        VII.B. Google provided unrestricted access to Google Ads exclusively
        to AdX, thereby foreclosing rival exchanges from access to Google Ads’
        advertiser demand
(603)   Following the DoubleClick acquisition, Google launched “AdX 2.0” (hereafter, AdX) on September
        17, 2009.847 A 2009 Google document titled “AdExchange primer” explained that AdX would be
        “linked to both AdSense and AdWords, leveraging [Google’s Content Network]” and that AdX
        would differentiate from other exchanges via “access to AdWords advertisers.”848 (In this Section, as
        I have previously, I use Google Ads to refer to the advertiser ad network component of the product
        formerly known as AdWords.)

(604)   Since the launch of AdX, Google has restricted the demand provided by Google Ads into rival
        exchanges, and continues to provide unrestricted access to all of Google Ads’ advertiser demand
        (“Google Ads demand”) for display advertising only to publishers using AdX and AdSense; Google
        documents have referred to this relationship as “exclusivity” between Google Ads and AdX.849 This
        exclusivity provides a competitive advantage to AdX and encourages publishers to use or prioritize
        AdX over rival exchanges.




        846 GOOG-TEX-00117939, at -939 (01/06/2016) (At the same time, in 2016 Google described its goal for “allow[ing] non-
            AdX exchanges to compete with realtime pricing from within DFP” within Exchange Bidding is “to provide slightly
            better value for publishers than header bidding but not so much that it completely cannibalizes AdX.” GOOG-TEX-
            00117939, at -939. Google also charged a fee for participants in Exchange Bidding. See discussion in Section II.E.4 and
            Appendix L.3.a.
        847 Neal Mohan, “The DoubleClick Ad Exchange: growing the display advertising pie for everyone,” Google Official Blog,

            September 17, 2009, https://googleblog.blogspot.com/2009/09/doubleclick-ad-exchange-growing-display.html; GOOG-
            DOJ-11899169, at -196–198 (10/10/2011).
        848 GOOG-DOJ-12119445, at -445–447, (10/06/2009).

        849 GOOG-DOJ-05247075, at -083, (09/14/2012) (“Google “chosen to limit GDN to buying only on AdX, an exclusivity

            that makes AdX more attractive to sellers.”); GOOG-DOJ-03525434, at -434 (10/18/2013) (“AdWords advertiser
            demand is currently limited to buying inventory that is available on GDN and inventory managed through AdX.”);
            GOOG-DOJ-07275375, at -517 (01/14/2016) (“the key differentiator of AdX: GDN exclusivity and dynamic
            exclusivity.”); GOOG-DOJ-AT-00045716, at -719 (04/26/2019) (“not all Google Ads demand is currently available on
            3rd party exchanges.”).



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(605)   In this Section, I describe how, through this “exclusivity,” Google foreclosed rival exchanges and
        strengthened AdX’s market power, enabling AdX to sustain fees significantly above competitive
        levels.

(606)   This Section is organized as follows.

        ◼   In Section VII.B.1, I explain that Google Ads demand meaningfully affects the competitiveness
            of an ad exchange.
        ◼   In Section VII.B.2, I show that keeping unrestricted access to Google Ads demand exclusive to
            AdX would advantage AdX over rival exchanges competing for publisher inventory and
            advertiser spending. Moreover, statements from Google documents indicate that the restrictions
            placed on Google Ads bidding into rival exchanges diminished the attractiveness of Google Ads
            to its advertiser customers, but nevertheless Google continued to do so to the benefit of AdX and
            thus strengthened Google’s market power in the exchange market, supporting higher AdX fees
            and increasing Google’s overall profits.
        ◼   In Section VII.B.3, I describe Google’s AWBid program which allowed Google Ads to bid on
            rival exchanges for a subset of impressions. I provide evidence that Google Ads targeted
            significantly higher margins on rival exchanges than on AdX when it did bid, reducing the
            likelihood that those exchanges would win an impression using Google Ads’ demand, and that
            AWBid has represented a small share of Google Ads’ overall spend. Hence, this program did not
            prevent rival exchanges from being foreclosed from Google Ads’ demand.

(607)   Later, in Section VII.F.1.a, I discuss how Google’s exclusive bidding relationship between Google
        Ads and AdX, by foreclosing rival exchanges from a substantial amount of advertiser demand,
        harmed rival exchanges’ competitiveness.


        VII.B.1. Access to Google Ads’ advertiser demand affects the competitiveness
        of an ad exchange

(608)   Google Ads’ bidding behavior into an exchange meaningfully impacts an exchange’s ability to
        monetize impressions and attract publisher inventory, thereby affecting an ad exchange’s
        competitiveness. This is supported by the following evidence, documents, and testimony.

(609)   First, direct support for Google Ads’ substantial and sustained market power presented in Section
        V.D.3 demonstrates the importance of Google Ads demand for the competitiveness of an ad
        exchange. For example, I described an analysis of 2023 data indicating that Google Ads’ participation
        on an ad exchange has a meaningful impact on publishers’ payouts, larger than any other ad exchange
        or demand source. This is consistent with a 2014 simulation exercise from Google that indicated
        removing bids submitted by Google Ads would significantly reduce publisher payouts from an



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        exchange, thereby adversely impacting that exchange’s attractiveness to publishers. I also discussed
        Google’s update to Project Bernanke which it described as adjusting Google Ads’ bids into certain
        publishers in order to influence how they called upon ad exchanges.850

(610)   Second, numerous Google documents have referred to and explained why exclusive access to Google
        Ads’ advertiser demand provides AdX with competitive benefits not available on rival exchanges. For
        example, Google’s Director of Product Management, Scott Spencer, wrote in a 2013 email: “[o]ur
        goal should be all or nothing – use AdX as your SSP or don’t get access to our demand. It’s a key
        feature and we need to use it while its still proprietary to AdX.”851

(611)   Third, deposition testimony from executives of third parties discusses the importance of access to
        Google Ads demand for publishers,852 and that full access to Google Ads through an ad exchange is
        available only via AdX.853


        VII.B.2. Google’s bidding relationship between Google Ads and AdX
        foreclosed rival exchanges, enhancing AdX’s market power and ability to
        maintain high fees

(612)   By limiting rival ad exchanges’ access to bids from Google Ads, Google reduced publisher payouts
        on other exchanges, making them less competitive alternatives to AdX even if they could otherwise
        offer the same or better exchange services or charge a lower fee. This had the effect of leading
        publishers to monetize fewer impressions through third-party exchanges than they would have had
        Google not restricted their access to Google Ads–both because publishers would be less likely to send



        850 See also Appendix L.4 for further discussion of Project Bernanke, and evidence that it had an impact on publisher
            behavior.
        851 GOOG-DOJ-15600216, at -216 (12/06/2012). The email also lists five reasons why AdX will explicitly not be allowed

            to be operated via another yield manager. See also GOOG-DOJ-03863839, at -839 (03/09/2011) (“Having AdWords as
            a buyer is a major advantage for AdX.”); GOOG-DOJ-03707195, at -205, (09/2013) (“[e]xclusive access to Google
            demand is a key competitive advantage for AdX.”); GOOG-DOJ-03548575, at -575 (08/27/2015) (“[m]y understanding
            is that one of the strongest draws of AdX for sellers was exclusive access to AdWords.”); GOOG-DOJ-14432746, at -
            748 (12/2015) (“AdX/AFC value proposition is diluted/compromised if 3rd party exchanges have access to GDN’s 2m+
            advertisers and targeting capabilities.”)
        852 See, e.g., Deposition of Michael Shaughnessy (Kargo), August 9, 2023, 60:3–60:17. (“Q. What is the importance of

            Google’s GDN demand to publishers? A. It's massive. Q. What do you mean by saying “it's massive”? A. It is
            significant to a publisher's bottom line. Q. Why is GDN demand significant to a publisher's bottom line? A. It
            contributes significantly to their top-line revenues. Q. And what's your basis for saying that GDN demand is significant
            to a publisher's bottom line? A. My experience being a publisher.”). See Section VII.F.1 for additional testimony.
        853 E.g., Deposition of Arnaud Creput (Equativ), September 5, 2023, 33:11–34:4. (“Q. Okay. You also said Google’s --

            AdX's position is determined by its self-preferencing. Can you explain what you meant by that? A. In the first stage, the
            self-preferencing behavior of the ad server does not give access to data to other SSP -- it does not give access to data
            that the other SSPs don't have access to. An example is that the Google SSP has access to all the auction data from the
            SSPs, the other SSPs, but the SSPs don't have access to this data. The second point is that AdX has access to all Google
            Ads exclusively while other SSPs do not have access to Google Ads -- or AdX, I apologize”). See Section VII.F.1.a for
            additional testimony.



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        impressions to third-party exchanges, and because third-party exchanges would win less often when
        competing against AdX.

(613)   This point is evident in a 2011 Google presentation noting that, “enablement of AdWords on 3rd party
        inventory sources will incentivize clients to move from AdX and AdSense to Rubicon, Pubmatic and
        Admeld.”854 The presentation also acknowledged that the long-term impact of providing Google Ads
        inventory elsewhere could impact DFP as well: “[p]ublishers move away from AdSense / AdX to 3rd
        party exchanges,” and that there would be “DFP differentiation at risk with RTB based spend on
        Ruby/Pub/Meld.”855

(614)   Additional Google documents and deposition testimony indicate that exclusive access to unique
        Google Ads demand weakened the attractiveness of rival exchanges relative to AdX for publishers.
        For example, a 2011 Google memo describes Google Ads demand as a “unique sales proposition” for
        AdX to use with publishers, and that the loss of exclusive access to that demand would cause
        publishers to switch to a different exchange.856 In his deposition, then-Google Principal of Corporate
        Strategy Bryan Rowley explained that exclusive access to Google Ads demand benefited AdX, noting
        that “When demand can only be found through certain sources, it compels publishers to work with
        that product.”857 Third-party documents and testimony corroborate the importance of Google Ads
        demand, as I describe in Section VII.F.

(615)   Google documents and testimony indicate that while Google Ads’ exclusivity benefited AdX, it
        weakened the value of Google Ads to advertisers.858

(616)   For example, according to a 2012 Google display ad strategy document, “GDN is competitively
        disadvantaged against buy-side competition … In the auction ecosystem, we appear to be running a
        buyside-subsidizes-sellside model: we are artificially handicapping our buyside (GDN) to boost the
        attractiveness of our sellside (AdX).”859 The same Google document noted that “we have chosen to

        854 GOOG-DOJ-14826585, at -586 (02/2011). In addition, a February 2011 email described an analysis indicating that the
            expected impact of allowing AdWords to bid into third-party yield managers would increase GDN revenue by 5%, but
            increase the eCPM on the yield managers by 16% while decreasing existing AdX and AdSense publisher’s eCPM by
            10%. Scott Spencer, Google’s Director of Product Management, acknowledged that this “could cause some publishers to
            shift where they offer their inventory.” GOOG-DOJ-04293455, at -455 (02/14/2011).
        855 GOOG-DOJ-14826585, at -592 (02/2011).

        856 GOOG-DOJ-03863784, at -784 (03/02/2011) (“AdWords Cross Exchange Bidding Commz kick-off” document goes on

            to state that “AdSense and AdX use AdWords demand as a unique sales proposition (USP)[.] Given the current market
            position of AdX versus other Yield Managers, if publishers can get the same AdWords RTB demand from any yield
            management/exchange partner, there is a risk that many publishers would terminate their AdX relationship in favor of
            their preferred alternate vendor.”). See also GOOG-DOJ-14826825, (03/03/2011); GOOG-DOJ-03872448,
            (03/02/2011).
        857 Deposition of Bryan Rowley (Google), July 22, 2021, 108:22–109:3.

        858 For example, in 2014, a Google employee described Google Ads as sending Google’s publisher platforms a “$3bn

            yearly check by overcharging our advertisers to ensure we’re strong on the pub[lisher] side.” GOOG-DOJ-07809181, at
            -181 (06/24/2014).
        859 GOOG-DOJ-05247075-0001, at -083-0009 (08/2012).




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        into AdX. One contributing factor are differences in targeted margins across exchanges: based on
        Google Ads’ aggregate data from December 2022 across worldwide open-web display impressions
        purchased through open auction, Google Ads’ average margin was 12.1% on AdX and was 32.5% on
        third-party exchanges.890


        VII.C. Google provided access to and use of real-time bids from AdX
        exclusively to DFP, thereby foreclosing rival publisher ad servers’
        access to real-time bids from AdX
(631)   Google has historically placed restrictions on the access to and use of AdX real-time bids for rival
        publisher servers and yield managers—in particular, preventing those third parties from receiving and
        comparing real-time bids from AdX with other exchanges and demand sources.891 Google has instead
        made access to AdX’s real-time bids exclusive to DFP.892

(632)   This characterization is consistent with Google’s own descriptions. For example, in a 2015 email
        Google’s Product Management Director Jonathan Bellack explained that “[w]e agreed some time ago



        890 See Figure 112 in Appendix E.3.
        891 Greg Sterling, “Google Formally Announces New DoubleClick Ad Exchange,” Search Engine Land, September 18,
            2009, https://searchengineland.com/googles-doubleclick-formally-announces-new-ad-exchange-26042 (“As a basic
            matter, to gain access, publishers need to be on a Google ad server, especially DART (the system’s not compatible with
            OpenX or Altas [sic] for example).”); GOOG-TEX-00149044, at -044, (03/22/2013) (Scott Spencer wrote “The current
            policy restricts calling AdX from another yield manager or exchange when there is AdX sub-syndication (i.e., network
            partners) in place. We define a yield manager as a system that automatically determines the CPM from multiple indirect
            channels. We define a exchange as something with RTB callouts… We are planning to remove the AdX sub-syndication
            dependency in January once we have a good track record with the full AdMeld functionality integrated into AdX.”);
            GOOG-TEX-00149056, at -057, (03/25/2013) (In a 2013 email chain, in response to a publisher wishing to use “Ad Ex
            tags into the Rubicon Platform,” Scott Spencer confirming that “by the end of the year, we will completely block
            publishers from running AdX inside of SSPs from a policy perspective,” to be “legally enforce[d]” in “Q1 2014.”). See
            also Google, “Google Ad Manager Partner Guidelines,” Google Ad Manager Help, accessed December 18, 2023,
            https://support.google.com/admanager/answer/9059370?hl=en (“Once Partner [publisher] has made an ad call for
            Google Monetization [i.e. to AdX] of a given impression, Partner is not permitted to pass that impression through any
            other system (including Partner’s own system) that dynamically or programmatically allocates ad calls based on actual
            or estimated real-time pricing information.”); GOOG-TEX-00149044, at -045 (03/22/2013) (“We allow redirection from
            3rd party ad servers, but not from other exchanges or yield managers. Why? Because if we did then those systems would
            immediately have a super set of demand – anything the SSP had + all of AdX (including AdWords). No one would sign
            up for AdX directly.”). See also GOOG-DOJ-09451567, at -570 (04/01/2014) (“Initial new product design principles
            would have the effect that implementing AdX backfill via a third party ad server would be unfeasible.”); GOOG-DOJ-
            15182420, at -420 (03/18/2015) (Describing “Rubicon’s launching Yield Management that competes with both DFP &
            AdX,” noting “If AdX had a bid (we are not participating) that passed the min we may still not win the actual
            impression and that is not allowed by our policies”.).
        892 GOOG-DOJ-AT-02199478, at -500 (05/26/2018) (“Google Ad Manager is the only way to access Google Ad Exchange

            as a publisher*.” The deck also notes that “* - as of July 2019 there is still a legacy way to access AdX standalone, but it
            will go away in a near future.”). See also ATT-GCID-00000001, at -033–034 (12/14/2016) (In a 2016 submission to the
            FCA, AppNexus characterized Google’s restrictions between AdX and DFP as “impos[ing] contractual restrictions on
            publishers that prohibit the use of mediation or other analytic tools to help publishers maximize revenue by pitting AdX
            prices and ROI against those offered by competing exchanges” and “prohibit[ing] publishers from using tools to
            compare Google’s prices against the competition.”).



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        that we are not going to be doing real-time bidding integrations with other ad servers.”893 Google’s
        2019 submission to the French Competition Authority (“FCA”) states that “AdX is an ad exchange,
        and does not directly bid into auctions run by third party ad servers. A publisher using a third-party ad
        server would have to assign a static CPM price or serving priority to the AdX demand.”894
        Consequently, rival publisher ad servers could not place real-time bids from AdX in real-time
        competition with other demand sources.

(633)   In this Section, I describe how Google’s foreclosure of rival publisher ad servers from accessing and
        using real-time bids from AdX leveraged AdX’s market power in the exchange market (enhanced by
        its preferential access to Google Ads demand) to harm the competitiveness of rivals in the publisher
        ad server market.

(634)   This Section is organized as follows.

        ◼     In Section VII.C.1, I describe why being able to receive and compare real-time bids from
              exchanges is highly valuable for publishers, improving their yield and monetization from display
              advertising.
        ◼     Next, in Section VII.C.2, I explain that because real-time bids from AdX have been and are only
              available via DFP, Google’s restrictions discourage publishers from using rival publisher ad
              servers. By foreclosing rival publisher ad servers from access to real-time AdX bids, Google
              harms the competitiveness of those rivals. It does so by decreasing a publisher’s expected
              revenues from using those rivals, thereby reducing their attractiveness for publishers compared to
              DFP.
        ◼     Last, in Section VII.C.3, I discuss why alternative forms of accessing AdX outside of DFP have
              meaningful limitations and are not widely used. For example, Google’s AdX Direct Tag does not
              provide real-time bid price information to third-party publisher ad servers, and has limited usage.

(635)   Later, in Section VII.F.2, I explain how Google, by foreclosing rival publisher ad servers from access
        to real-time bids from AdX, harmed the competitiveness of rival publisher ad servers and enhanced
        DFP’s market power.




        893   GOOG-DOJ-14507818, at -818 (10/23/2015).
        894   GOOG-DOJ-05782415, at -439 (11/22/2019) (Google submission to FCA, “Any third party ad server can be used in
              combination with AdX, but Dynamic Allocation is a technical feature of Ad Manager’s ad serving function… AdX
              operates in a combination with third party ad servers through Google Publisher Tag (GPT) passbacks and AdX direct
              tags. The third party ad server can make a call to AdX, using a GPT passback or AdX direct tag, to serve an ad matching
              specified targeting criteria. The Ad Manager ad server will then return an ad that matches the specified targeting
              criteria.”). (emphasis in original).



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        VII.C.1. Real-time bids from exchanges are highly valuable for publishers

(636)   In Section II.A.4 I discussed the emergence of real-time bidding (RTB) within auctions for the sale of
        open-web display ads. RTB in auctions improves publishers’ monetization (relative to traditional
        advertising) by allowing them to sell inventory at variable prices as individual impressions become
        available, and enables greater precision in advertising campaigns by allowing advertisers to target
        consumers and condition real-time bids on impression characteristics, user interests and/or
        demographics.895

(637)   Consistent with the economic value generated by the ability to sell indirect impressions via RTB
        within auctions, a 2012 email from Google’s Director of Product Management Scott Spencer stated
        that “RTB is one of the most important innovations in digital advertising in the past decade. Not only
        has it brought a new level of efficiency to how inventory is bought and sold, but it’s helping to drive
        more demand [for publishers] [sic] into the marketplace. We support all deal models, but RTB is a
        large and growing part of what we do – more than 70% of the spend on the DoubleClick Ad
        Exchange is conducted via RTB.”896

(638)   Publishers using DFP benefitted from AdX’s provision of real-time bids in numerous ways. For
        example, when AdX won under Dynamic Allocation within DFP, the publisher would be paid the
        higher of the floor price or the second price from the AdX auction.897 The value of this real-time
        bidding from AdX increased further with the introduction of Enhanced Dynamic Allocation in 2015,
        where real-time AdX bids could compete against guaranteed deals. Later, within Open Bidding and
        within the Unified First Price Auction, publishers could use DFP to compare AdX’s real-time bids
        against real-time bids from other exchanges, with publishers benefiting from increased competition.

(639)   Google documents also acknowledged the benefits of receiving and comparing real-time bids—also
        referred to as “per query pricing”—received from multiple exchanges.898 Indeed, one of the primary
        reasons why header bidding was adopted by publishers was that it allowed for the real-time access
        and comparison to real-time bids from multiple exchanges, significantly increasing publishers’
        yields.899 As Google Vice President and General Manager of Google Advertising Tim Craycroft

        895 GOOG-DOJ-03242646, at -665–666 (09/26/2018).
        896 GOOG-DOJ-14235498, at -498 (01/27/2012).
        897
            GOOG-DOJ-03601149, at -162 (12/15/2011). See also GOOG-DOJ-10877988, at -012 (12/17/2019) (“for publishers,
            RTB provides the opportunity to get fair market value for each impression with the idea that this should help publishers
            better monetize their ad inventory.”); MSFT-LIT-0000016534 (slide 14, AppNexus presentation stating that RTB
            matters because it allows publishers to “[g]et more than their page value” and “capture value of users visiting their
            site.”).
        898 GOOG-AT-MDL-016927030, at -033 (10/27/2015) (“Multiple exchanges compete on per query pricing to help increase

            publisher yield.”). See also GOOG-AT-MDL-007365297, at -002 (08/24/2015) (“Pubs can earn 20-30% more with
            others competing”).
        899 See Sections II.E.3, VII.A.2, and Appendix L.2. See also GOOG-DOJ-04004392, at -394 (“[h]eader bidding has given

            other Networks and SSPs per-query pricing access to Ad Manager inventory, increasing competition and delivering
            publishers 30-40% lift in programmatic revenues.”); GOOG-TEX-00119553, at -556 (“anecdotal evidence from 40 pubs



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        testified: “Header bidding enables all those ad exchanges to compete at the same time, which enables
        better price discovery, which drives improved revenue for the publisher.”900


        VII.C.2. Providing real-time bids from AdX exclusively to DFP discouraged the
        use of rival publisher ad servers

(640)   Despite the benefits provided to publishers from being able to access and compare real-time bids from
        multiple exchanges, Google has historically restricted third-party publisher ad servers from receiving
        real-time bids from AdX.901 Instead, if used within a rival publisher ad server, AdX would return only
        an ad, but not the bid price, if it was called and able to beat the floor price sent to it (see discussion of
        AdX Direct below).902 As a result, other publisher ad servers were unable to incorporate AdX’s real-
        time bids in their ad-serving decision making, adversely impacting their ability to monetize
        publishers’ inventory.

(641)   Statements from Google’s documents indicate this relationship between AdX and DFP discouraged
        publishers from using rival publisher ad servers, and “lock[ed] in” impressions into DFP.

        ◼     In a September 2012 email Google’s then-Head of Mobile Platform Sales Marc Theermann
              wrote: “it is too early to give AdX to non-XFP [DFP] partners.... This is an amazing time to ‘lock
              in’ impressions by offering XFP [DFP] to publishers with full AdX dynamic allocation. AdX can
              serve as a tool to pull publishers onto XFP [DFP]. By allowing third parties to integrate with AdX
              mobile/web we are giving away this advantage.”903
        ◼     In a 2015 email, Google’s then-Group Product Manager Drew Bradstock acknowledged the
              importance of Dynamic Allocation and its impact on Google’s rate card: “We do not want to fully
              embrace header bidding as we are giving away a cheap form of dynamic allocation for free to all
              our competitors. This would have a large distorting effect on our rate card as one of the largest
              advantages to AdX is real time competition. In many regions, especially EMEA, we have given
              away dfp at huge discounts to get access to inventory via DA.”904


            using header tags… [the publishers] are seeing 20-30% higher yield than just using AdX for indirect demand.”).
        900 Deposition of Tim Craycroft (Google), August 15, 2023, 59:15–59:24.
        901 GOOG-AT-MDL-001937115, at -115 (09/29/2017) (“AdX does not pass through real-time bids to [] other ad servers

            (instead it passes through a “dumb” flat CPM based on historical averages.”); ATT-GCID-00000680, at -696
            (10/29/2019) (third-party “publisher ad server[s] ha[ve] no indication of the price of AdX’s demand in real-time”).
        902 KVL00000945, at -945 (04/25/2019) (email from James Avery explaining limitations of an AdX tag used in another

            publisher ad server: “The problem with tags is that they are opaque, you don’t get the bid of the ad. You can set a floor
            price, but you can’t have it compete with other tags,” and the tag “either [] wins or doesn’t and you never actually find
            out the price it won at.”) Rival publisher ad servers were not provided with “per-query pricing” from AdX (GOOG-AT-
            MDL-013293586, at -588 (n.d.)), and a Google presentation characterized not using per-query pricing as “[i]nefficient”
            with “[p]ublishers making less money” (GOOG-TEX-01267302, at -339 (05/08/2017)).
        903 GOOG-TEX-00034461, at -462 (09/10/2012).

        904 GOOG-TEX-00116236, at -236 (07/21/2015). See also GOOG-DOJ-03634896, at -904 (09/25/2018) (2018 Google

            presentation, “AdX Direct Overview,” discussing third-party ad servers having access to AdX, and “[c]oncern we are



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(642)   The following testimony from third parties is consistent with the Google documents cited above,
        indicating that the lack of access to AdX’s real-time bids within rival publisher ad servers
        significantly limited their adoption by publishers:

        ◼     When asked what role AdX’s demand plays in publisher’s decisions of which publisher ad server
              to use, Kargo’s Michael Shaughnessy answered “[i]t is a significant consideration for
              publishers.”905 He also testified based on his publishing experience that “Publishers believe that
              they need to use DFP in order to leverage the demand of AdX.”906
        ◼     When asked why Kevel’s publisher ad server stopped focusing on traditional programmatic
              display advertising, Kevel founder and CEO James Avery answered “[b]ecause we could not
              compete with GAM … based on the fact that AdX was tightly integrated with GAM and we
              could not access AdX.”907
        ◼     When asked why Xandr’s publisher ad server has been unable to penetrate the US market for
              several years, Microsoft’s Benneaser John answered “Number one is the AdX demand. Number
              two is migration is very hard. Publishers had to put an effort to migrate. And the primary reason
              is the demand. They are worried about losing the Google AdX demand.”908
        ◼     When asked why Equativ’s publisher ad server lost                         to Google’s DFP,
              Equativ’s Amaud Creput answered “the reason why most of the publishers working with us left
              for Google is a hard kind of all – all in the records. They didn’t have access to Google AdX. So
              Google AdX is the SSP of Google, which owns a very significant market shares and this
              AdExchange or Google AdX wasn’t at that time and still not available with ad server. So when
              you work with a rival ad server, such as Equativ, you accept to -- not to have access to a
              significant part of the market and of the ad spend.”909
        ◼     When asked how AdX’s role impacted publishers’ willingness to walk away from DFP,
              AppNexus’s Brian O’Kelley testified that “it was pretty clear that, you know, it was DFP and
              AdX together. And publishers would see that AdX was producing 60 percent of their
              programmatic revenue. And their perspective was that switching ad servers would put that 60


            making Web & Video competitors stronger by making Google demand available.”).
        905 Deposition of Michael Shaughnessy (Kargo), August 9, 2023, 43:24–44:5.
        906 Deposition of Michael Shaughnessy (Kargo), August 9, 2023, 21:19–22:13 (“Q. And do you believe it’s true that

            publishers need to use DFP to leverage the demand of AdX? A. When I was a-- MS. MORGAN: Objection. A. When I
            was a publisher, that was my belief and how I operated. Q. And what was your basis for reaching that conclusion? A.
            Based on how AdX and pricing rules and, at one point, I believe AdX removed some of the tag functionality of how you
            would traffic within the ad server.”).
        907 Deposition of James Avery (Kevel), August 16, 2023, 21:22–22:3.

        908 Deposition of Benneaser John (Microsoft), September 8, 2023, 159:14–159:23. Mr. John also explained that “Let's say if

            you're migrating to Xandr, are there any third-party ad server out of GAM, the option of getting the demand is only
            through like a third-party external exchange. And that demand is very, very small compared to the local native demand
            that Google brings to AdX.” Deposition of Benneaser John (Microsoft), September 8, 2023, 159:24–161:9.
        909 Deposition of Arnaud Creput (Equativ), September 5, 2023, 15:11–16:17.




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              percent of revenue at risk.”910 Mr. O’Kelley gave an example of a publisher customer who they
              were “pitching…to switch from DFP” to AppNexus’s publisher ad server911 AppNexus
              “convinced [this publisher that] all the features were, you know, the same or better” and offered
              “three or six months free” and “to put a bunch of resources around it” to “make it economically
              viable” to switch.912 Ultimately, the publisher was “really nervous about turning off AdX” and
              cited “fear of losing Google revenue as the reason [it] couldn’t switch.”913James Avery, founder
              and CEO of Kevel, a publisher ad server, testified that Google refused at least two requests in the
              2012–2014 period to integrate Kevel’s publisher ad server with AdX in the same way that Google
              integrated Google’s publisher ad server with AdX.914 Referring to a more recent request, Mr.
              Avery explained that “they [Google] weren’t aware of any integrations done to another ad server
              and that they would have to check internally to see if it was possible. And we have not heard
              back.”915


        VII.C.3. Accessing AdX through rival publisher ad servers is meaningfully
        limited

(643)   Below, I describe two ways in which publishers using rival publisher ad servers can access AdX
        demand—via AdX Direct or through what is referred to as a “hybrid” setup. In both cases, there are
        meaningful limitations, and publishers’ usage of these approaches is limited. Hence, the existence of
        these options does not alter the conclusion that Google foreclosed rival publisher ad servers and



        910 Deposition of Brian O’Kelley (AppNexus), September 29, 2023, 116:10–118:18.
        911 Deposition of Brian O’Kelley (AppNexus), September 29, 2023, 190:11–192:21.
        912 Deposition of Brian O’Kelley (AppNexus), September 29, 2023, 190:11–192:21.

        913 Deposition of Brian O’Kelley (AppNexus), September 29, 2023, 190:11–192:21. (“Q. So why do you think it was that,

            despite the thesis you had going into it, you didn't have more adoption of AppNexus's publisher ad server? […] A. I
            remember a specific example where we were talking to the leadership team of a large news publisher here in the U.S.,
            and they basically went through the process of us pitching them to switch from DFP. Now, it's a significant switching
            cost. There's, like, work they have to do. They have to retraffic all their campaigns. And we were willing to make it
            economically viable for them, you know, to give them three or six months free to make the transition. And we're going
            to put a bunch of resources around it. And we'd convinced them that all the features were, you know, the same or better.
            They actually used a product called YieldX, which was a forecasting tool that we bought along the way. So they were
            already a customer. They're already an ad exchange customer. They're already a YieldX customer. And we came down
            to the sort of final part of the process. They said, listen, we're just -- we're really, really nervous about turning off AdX.
            And, you know, this is obviously me hearing this from them. They said we've talked to Google, and Google has said that
            they will definitely not bid as much or contribute as much revenue if we switch. And we're really, really nervous, as a
            news publisher, that we can't afford revenue head. Can you guarantee us that we won't lose revenue from Google?
            They're 60 percent of our programatic revenue. And, you know, that was a very typical conversation of, you know, fear
            of losing Google revenue as the reason we couldn't switch, without writing a check and saying we'll cover all the costs,
            which, as a startup, is harder to do.”).
        914 Deposition of James Avery (Kevel), August 16, 2023, 39:5–40:5. Referring to the request in 2012, Mr. Avery testified

            that “integration with AdX was essential to be able to compete for traditional publishers.”
        915 Deposition of James Avery (Kevel), August 16, 2023, 40:14–40:20. See also KVL00000945, at -946 (04/24/2019),

            (email from Avery, “We asked Google multiple times to let us integrate with AdX the same way Ad Manager does and
            they always claimed it wasn’t possible. (despite us doing the same with Index, PubMatic, etc).”)



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        harmed their competitiveness by exclusively providing access to AdX’s real-time bids to DFP (see
        Section VII.F).

        VII.C.3.a. AdX Direct has meaningful limitations and limited usage

(644)   Since the introduction of AdX in 2009, Google allowed customers to generate “AdX Direct” tags,
        which provide a limited way for third-party publisher ad servers to obtain access to AdX demand.916
        Google does not “specifically market AdX Direct to publishers,” and I explain below that AdX Direct
        had several limitations and comprised only a small fraction of overall AdX revenues.917

(645)   Notably, in 2012, Google experimented with a limited “third-party dynamic allocation” feature that
        would have allowed AdX to be used within a non-DFP publisher ad server by passing a “minCPM to
        beat over to AdX without any advanced functionality.”918 A 2012 Google “Display Strategy Working
        Document” noted that this feature “is available today but in beta. Minimal effort is required to roll it
        out more broadly.”919 However, this document also noted that a risk was that it “takes away a key
        differentiator for DFP.”920 A 2012 email thread among Google employees noted that, “[t]o allow
        dynamic allocation to [a non-DFP publisher ad server] means to delete one of the major arguments to
        use DoubleClick or Admeld. This weakens the market position for some of our products.”921 The beta
        was officially shut down in 2012.922

        VII.C.3.a.i. AdX Direct does not return real-time AdX bids to publishers using third-party publisher ad
        servers

(646)   AdX does not integrate with rival ad servers in the same manner as it does with DFP. In particular,
        internal Google documents discuss an important reason why an AdX Direct tag does not provide
        publishers using rival publisher ad servers with the same features they would have on DFP: AdX
        916 GOOG-DOJ-27799214, at -215 (“AdX Direct allows publishers to use AdX as a standalone product. This is done by
            generating AdX ad tags (different from GPT tags) which allows pubs with non-Google ad servers to access AdX (OA &
            PA only).", "AdX Direct predates the Google acquisition and AdX-DFP merger”); Neal Mohan, “The DoubleClick Ad
            Exchange: Growing the Display Advertising Pie for Everyone,” last modified September 17, 2009,
            https://googleblog.blogspot.com/2009/09/doubleclick-ad-exchange-growing-display.html; GOOG-DOJ-11899169.
            GOOG-DOJ-13233139, at -139 (2019) (“When AdX was first launched as a standalone product, it possessed the ability
            to generate an ad tag that could be used to request ads from AdX.”).
        917 Letter from David R. Pearl to Kelly Garcia, “Re: United States, et al. v. Google LLC, No. 1:23-cv-00108-LMB-JFA,”

            October 6, 2023, (“AdX Direct is a name given to publisher configurations that integrate with Google Ad Managers’ ad
            exchange using its ‘Ad Exchange’ tag.’ … Google does not specifically market AdX Direct to publishers.”).
        918 GOOG-DOJ-15583409, at -410 (02/10/2012). See also GOOG-AT-MDL-006218257, at -259 (12/16/2022) (Google’s

            Dec 16, 2023 response to European Commission’s RFI 10 states, “Third-party dynamic allocation was an experimental
            feature that would have allowed an ad tag to specify a minimum CPM that the exchange (AdX) must beat in order for an
            ad from the exchange to be shown. Improve Digital was invited to participate in the beta for this feature but the beta was
            ended in February 2012.”) See also GOOG-DOJ-15583409, at -410 (02/09/2012) (2012 email chain, “[w]e are offering
            Improve Digital 3rd party dynamic allocation between the DoubleClick Ad Exchange and their proprietary ad server”)
        919 GOOG-DOJ-05247075-0001, at -061 (08/2012).

        920 GOOG-DOJ-05247075-0001, at -061 (08/2012).

        921 GOOG-DOJ-15583409, at -410 (02/09/2012).

        922 GOOG-AT-MDL-006218257, at -259 (12/16/2022).




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        document further states that a hybrid setup is “suboptimal”, “adds unnecessary complexity & latency
        to the partner’s ad stack”, has “known technical limitations”, and concludes that “[w]e [Google]
        should not be pitching hybrid set-ups.”943


        VII.D. Google used DFP’s substantial market power to deny rival
        exchanges advantages provided to AdX and interfere with publishers’
        ability to work with rivals
(657)   In this Section, I discuss how Google used DFP’s substantial market power to deny rival exchanges
        advantages provided to AdX and inhibit publishers’ ability to work with rivals:

        ◼     In Section VII.D.1, I discuss how Google, until the introduction of Exchange Bidding, provided
              only AdX with the ability to participate in Dynamic and Enhanced Dynamic Allocation within
              DFP. Google exclusively provided AdX with this advantage—and the associated benefits of “first
              look” and “last look”—and left rival exchanges with fewer and less valuable impressions to bid
              upon within DFP.
        ◼     In Section VII.D.2, I discuss how Google introduced variable floor restrictions within DFP,
              which eliminated the ability of publishers to set lower reserve prices (i.e., price floors) for third-
              party exchanges than for AdX, thereby impeding publishers’ ability to steer more of their
              impressions to AdX’s rivals.

(658)   Later, in Sections VII.F.1.b and VII.F.1.c, I discuss how these actions harmed the competitiveness of
        rival exchanges.

(659)   These actions also increased the effectiveness of exclusive access to and use of real-time bids from
        AdX to DFP (discussed in Section VII.C above) because rival publisher ad servers had worsened non-
        AdX ad exchanges to work with. Hence, the actions taken by DFP to weaken rival exchanges
        described here, and the exclusive access to AdX’s real-time bids provided to DFP described earlier,
        served to reinforce one another.


        VII.D.1. Google exclusively provided AdX with Dynamic and Enhanced
        Dynamic Allocation, denying “first look” and “last look” advantages to rival
        exchanges

(660)   In Section II.E.2 I described Dynamic Allocation (DA), a feature Google provided within DFP since
        the launch of AdX. DA allowed publishers to use real-time bids from AdX to compete with directly
        booked, non-guaranteed ads within DFP. In Section II.E.2 I also discussed Enhanced Dynamic

        943   GOOG-DOJ-32280764, at -765-766 (07/2019).



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(663)   An internal Google document described the benefits of DA as “allow[ing] publishers to maximize
        their earnings by getting the highest paying ad available for any given ad impression.”950 It noted two
        benefits: introducing real-time competition from AdX, and filling remnant inventory “when no other
        campaigns are available to run in that ad unit (backfill).”951 Another Google document noted that
        publishers benefited from DA.952

(664)   However, critically, only AdX was initially allowed to compete in real time against guaranteed- and
        non-guaranteed line items within DFP’s DA and EDA features.953 Other exchanges were not provided
        with this opportunity by DFP before Google’s Exchange Bidding, which was fully launched in
        2018.954

(665)   The rest of this Section is organized as follows.

        ◼   In Section VII.D.1.a, I describe the Dynamic and Enhanced Dynamic Allocation programs, and
            how DFP’s exclusive provision of them to AdX provided AdX with first- and last-look
            advantages over rival exchanges;
        ◼   In Section VII.D.1.b, I describe how AdX was able to further benefit from these advantages with
            a program known as “AdX Dynamic Revenue Share”;



            AdX was also the exclusive provider of real-time EDA bids until the release Exchange Bidding. See GOOG-DOJ-
            14156104, at -105 (09/20/2016) (email chain between Google employees describing how “third-party exchanges cannot
            compete with AdX through EDA on the similar footing”); GOOG-DOJ-AT-00589814, at -823 (01/28/2019) (“Unified
            auction in Google Ad Manager” presentation, “With exchange bidding, 3 rd party exchanges are now able to bid in real
            time for your inventory through dynamic allocation”); GOOG-AT-MDL-001793318, at -366 (2021) (Google “RTB
            Insights” deck, “Open Bidding also allows other third-party exchanges to participate in EDA”). Google charged third
            party exchanges a 5% revenue share when buying ads through DFP’s Dynamic Allocation. See GOOG-DOJ-15277215,
            at -222 (05/05/2016).
        950 GOOG-DOJ-03601149, at -151 (12/15/2011).

        951 GOOG-DOJ-03601149, at -151 (12/15/2011) (“Dynamic allocation with DFP* and AdX/AFC maximizes publishers’

            yield in two ways: 1. By serving AdX/AFC whenever they offer more than the competing booked ad networks (real-
            time competition) 2. By serving AdX/AFC when no other campaigns are available to run in that ad unit (backfill).”).
        952 GOOG-DOJ-03610481, at -499 (04/2014) (“When AdX partners use Dynamic Allocation, there is an uplift of eCPMs

            by over 20%”).
        953GOOG-TEX-00083092, at -092 (09/28/2016) (Google’s Senior Engineering Director of Publisher Ads Aparna Pappu

            explaining that “dynamic allocation with DFP ONLY worked with AdX and not any other exchange”). See also GOOG-
            DOJ-05782415, at -438 (11/22/2019) (Google submission to FCA, “When first launched, Dynamic Allocation did not
            facilitate competition between multiple exchanges in real time. Third party exchanges could compete only at a fixed
            price… To facilitate competition between multiple intermediation platforms, AdX would have had to make calls to third
            party ad exchanges to bid for ad inventory purchased in the auction… With the introduction of Header Bidding, third-
            party demand sources were able to compete dynamically in the Ad Manager (then DFP) auction.”)
        954 GOOG-DOJ-05782415, at -432 (11/22/2019) (Google submission to FCA, “Exchange Bidding is a server-to-server

            feature of Ad Manager that builds upon the existing capabilities of Enhanced Dynamic allocation… It allows third party
            ad exchanges to compete with line items booked in Ad Manager and with AdX in a unified real time auction.”) As I
            discussed in Section II.E.3, header bidding emerged as a way for publishers to circumvent Google’s restrictions and
            bring in real-time competition from rival exchanges by running an auction outside of DFP. GOOG-DOJ-05782415, at -
            439 (11/22/2019) (“With the introduction of Header Bidding, third-party demand sources were able to compete
            dynamically in the Ad Manager (then DFP) auction).”).



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        ◼     In Section VII.D.1.c, I explain that AdX meaningfully benefitted, and rivals were meaningfully
              adversely impacted, from these exclusive advantages provided by DFP.

        VII.D.1.a. Dynamic and Enhanced Dynamic Allocation provided AdX with “first look” and “last
        look” advantages over rival exchanges

(666)   DA and EDA provided AdX with what has been referred to as a “first look” at inventory coming from
        DFP.955 Since DA allowed AdX to compete against the highest remnant line item, AdX could view
        and purchase an impression before any network or exchange in the waterfall had an opportunity to
        provide a real-time bid.

(667)   Statements from Google documents acknowledged the benefits of AdX’s privileged access to DFP
        inventory.956 For example, a 2015 Google “DFP Mediation” presentation outlines two ways in which
        “first look [is] crucial”: “1. First look allows access to the most valuable cookies, hence the highest
        paying impressions. 2. Without first look, we are left with inventory that other buyers have had a look
        into and didn’t want to pay for.”957

(668)   Since AdX historically competed against static or historical prices of line items in the waterfall, AdX
        was able to bid on impressions before the other demand sources in the waterfall had an opportunity to
        produce a “live” price (even though the live price could have been higher than the winning AdX bid),
        thereby allowing AdX to win an impression even if some other demand source was willing to pay
        more.958 This reduced publisher revenues and the efficiency of the auction relative to having these
        demand sources compete in real time with each other.

(669)   In a 2016 email, then-Google Managing Director of Global Publisher Solutions and Innovation
        Jerome Grateau noted explicitly that AdX’s exclusive access to EDA allowed it to win without
        necessarily providing the best price to publishers: “[T]he ‘internal’ objective of our Sell-Side platform


        955 This is distinct from what has been referred to as “DoubleClick First Look,” introduced in 2016 (see GOOG-DOJ-AT-
            02199478, at -516-521 (10/26/2018) ( “First Look AdManager features allows publishers to offer certain buyers an
            ability to buy selected inventory ahead of any reservation campaigns as long as they bid above a first look floor”);
            DoubleClick Publisher Blog, “Delivering yield, speed, and control with DoubleClick for Publishers First Look,”
            December 1, 2015, DoubleClick Publisher Blog, https://doubleclick-publishers.googleblog.com/2015/12/delivering-
            yield-speed-and-control-with.html
        956 See GOOG-DOJ-01439665, at -668 (02/11/2009) (Transcript of David Rosenblatt’s (former DoubleClick CEO)

            overview of Google’s display strategy) (“If you don't have access to that inventory, nothing else matters. It turns out that
            the most efficient way to access that inventory is by owning the primary ad server that premium and non-premium
            publishers use to manage their inventory. It allows you as a network the so called ‘first look’ at each impression”). See
            also GOOG-DOJ-01657697, at -729 (03/15/2007) (A 2007 Google document regarding DoubleClick which
            acknowledges that DoubleClick would allow Google “to ‘cherry-pick’ inventory without implications of pass-back”).
        957 GOOG-DOJ-10547033, at -064 (05/2015).

        958 GOOG-DOJ-AT-00292252, at -256 (10/10/2019) (In a Google slide describing the problems with the waterfall setup,

            the slide acknowledges that “line items were compared on their average CPMs not their ‘live CPMs’.” The slide also
            shows an example where the second line item has a historical CPM of $1.5, but a “Live” CPM of $3. Since the first line
            item has a historical CPM of $2, Dynamic Allocation would allow AdX to compete in real-time against the $2 price,
            potentially allowing AdX to win at just over $2 before the second line item could produce a live price of $3).



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        is to maximize our access to inventory. We managed historically to have an advantage through EDA
        vs other sources of demand…so our demand could win even if we did not provide the best CPM on a
        specific impression.”959

(670)   Also, in 2017, Google’s Director of Global Revenue Intelligence Michelle Dauwalter acknowledged
        another potential implication of its first look advantage when discussing the hypothetical
        disadvantages of “spinning off DoubleClick”:960

                  Our buyers enjoy a competitive advantage from dynamic allocation because they
                  receive first look on inventory, which inherently provides higher CPMs (from which
                  Google benefits on the rev share). Launching AdX into a non-DFP server destroys
                  this competitive first look advantage and would most likely lead to AdX (1) losing
                  access to overall queries, and (2) losing access to the highest-value queries. From
                  there, it becomes a self-fulfilling prophecy in that less-valuable inventory begets
                  lower CPMs, publishers react by decreasing inventory access, which begets even
                  lower CPMs.

(671)   By preventing other exchanges from being called upon in Dynamic Allocation, Google subjected its
        rivals to precisely the dynamic Dauwalter described. Because AdX could purchase queries before
        remnant line items could provide a bid, AdX could “cherry pick” higher value queries (i.e., those
        queries that advertisers were willing to bid more for) before its rivals. In turn, this would reduce the
        CPMs that rivals—whenever called—would be able to deliver, reducing their historical performance.
        If this occurred, as the statement indicates, publishers would likely react by “decreasing inventory
        access” to these rivals by ranking rival exchanges lower in the waterfall (e.g., if rankings are based on
        historical outcomes) or no longer calling them, leading to even lower CPMs for those rival exchanges.

(672)   This “self-fulfilling prophecy” whereby “less-valuable inventory begets lower CPMs… which begets
        even lower CPMs” is related to an economic feature of selection markets:961 here, the impressions left
        for rival exchanges after AdX had its first look (and passed them over) tend to be less valuable,
        thereby lowering the expected CPM performance of those rivals on the impressions they are able to
        compete for and win. Indeed, despite imposing disadvantages on its rivals by keeping DA and EDA




        959 GOOG-TEX-00104315, at -315 (09/15/2016).
        960 GOOG-DOJ-04830048, at -048 (09/05/2017) (emphasis added).
        961 In selection markets where transactions differ in value, firms have an incentive to engage in “cherry-picking” or “cream-

            skimming” more valuable transactions, leaving behind the less valuable ones. See Liran Einav, Amy Finkelstein, and
            Neale Mahoney, “The IO of Selection Markets,” Handbook of Industrial Organization, Volume 5, eds. Kate Ho, Ali
            Hortaçsu, and Alessandro Lizzeri (2021), 390–426. With AdX’s first-look advantage, impressions that AdX did not
            purchase and other ad exchanges could then bid on were likely to be lower value than those impressions that AdX did
            purchase.



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        exclusive to AdX, a 2016 Google document acknowledged the negative effects that rivals bidding
        first could have on AdX.962

(673)   When header bidding emerged, AdX’s exclusive access to Dynamic Allocation became referred to as
        a “last look” advantage against header-bidding exchanges. The reason is that, previously, other
        remnant line items in DFP reflected historical or static prices. However, under header bidding, rival
        exchanges could submit real-time bids for consideration before DFP was called, and the winning bid
        from the header bidding auction could be then used to compete against AdX within DFP.963 Under
        Dynamic Allocation, AdX was able to use the winning header-bidding price as a floor: if the price
        produced in the AdX auction surpassed the reserve price generated through header bidding, AdX
        would win the impression.964 This advantage was referred to as a “last look,” since AdX was given an
        opportunity to win impressions after other header-bidding exchanges already submitted bids.965

(674)   Figure 68 from a 2019 Google presentation illustrates this “Last Look” dynamic, whereby the bid
        from the winning header bidder (“HB winner”) is used as a floor within the AdX auction. In the
        Figure, as long as one of the buyers within the AdX auction had a bid greater than the floor, AdX
        would win.




        962 See GOOG-DOJ-13205878, (08/08/2016) (“Our competitors are cherry picking higher value impressions at a low fill
            rate (<20%) and then passing the leftovers to be filled by Google. This tactic is leading them to appear as being a high
            performing partner and Google increasingly being a long tail network with lower CPMs.”)
        963 See Figure 151 in Appendix L.2.a. See also GOOG-DOJ-15277215, at -221 (05/05/2016).

        964 GOOG-DOJ-15277215, at -221 (05/05/2016).

        965 GOOG-AT-MDL-008106705, at -709 (03/04/2019) (“Unified 1st Price Auction” deck states “This is what the industry

            refers as ‘last look’, where AdX is called last to see if any bid can beat the remnant price”).



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        Figure 68. AdX’s last look advantage




        Source: GOOG-DOJ-AT-00292252, at -258, Oct. 10, 2019 (slide deck: “AdX first-price bidding”).



(675)   A 2019 Google document defined last look as follows:966

                   “Last Look” is a term used by some in the industry to refer to the way Dynamic
                   Allocation works. Dynamic Allocation gives AdX the opportunity to compete against
                   all* line items in DFP to help publishers get the most value from every impression.
                   Before Dynamic Allocation calls AdX to run its auction, DFP determines its winning
                   line item and passes a floor price (minimum price) into the AdX auction. This means
                   line items from directly sold campaigns, Ad networks, other SSPs booked directly in
                   DFP, and line items activated by Header Bidding can set the floor price of the AdX
                   auction.

(676)   Consistent with Google benefiting from this advantage, in a 2016 email, Google Director of
        Engineering for AdSense and GAM Jim Giles stated that last look “only benefits us.”967

(677)   Google adjusted its policies in response to header bidding. As I discussed in Appendix L, Google
        viewed the rise of header bidding as a threat to AdX, because it allowed publishers to receive real-

        966   GOOG-DOJ-11030354, at -354 (09/25/2019).
        967   GOOG-TEX-00122345, at -349 (07/20/2017) (Discussing a proposal that, “on a per query basis, if any bid from an
              exchange is lower than the ADX floor, then we would ignore the ADX floor and let ADX compete. Unlike last look that
              only benefits us, this makes the publisher strictly more money and can be viewed as an optimization feature for them.”).



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        time bids from multiple exchanges. Yet initial header bidding implementations did not completely
        close the gap between AdX and third-party ad exchanges. Critically, due to the way that header
        bidding was implemented, AdX maintained this Last Look advantage over third-party ad exchanges
        whereby AdX could effectively observe the real-time bids of header-bidding exchanges and use it as a
        floor price in its own auction. This allowed AdX bidders to outbid those exchanges by a minimal
        amount for any impression if they chose to do so.

(678)   Google documents acknowledged that publishers and exchanges complained about Last Look.968
        Google removed its Last Look advantage over participants in its Exchange Bidding (EB, later Open
        Bidding) product, which was launched broadly in April 2018.969 An announcement in the industry
        press cites statements from Google’s Director of Product Management Jonathan Bellack that
        feedback from publishers and exchanges influenced the decision to remove Last Look and that “[t]he
        exchanges and publishers we’ve been working with like this [change], because they think this is a fair
        way to make competition.”970 That statement is consistent with testimony from Facebook’s Henry
        Crum, who explained that last look was not “fair and transparent” conduct in auctions.971 According
        to Nitish Korula, who led engineering teams on GAM, the Last Look advantage over Exchange
        Bidding participants was removed in response to customer feedback.972

(679)   However, Google maintained the Last Look advantage over header bidding until 2019. In one 2016
        email chain explaining why last look would be removed against EB bidders but not for HB, Jim Giles
        noted that “[Last look] creates a clear differentiation between EB and HB – exchanges that go
        through HB are subject to last look, and those that go through EB are not. This gives a pretty big
        incentive to switch.”973 A 2019 Google presentation noted that maintaining Last Look over header-
        968 GOOG-TEX-00000655, at -660 (12/15/2016) (An email from Jim Giles states, “both publisher and exchanges have very
            strongly complained about the fairness of [last look]. This was one of the biggest objections raised in the recent EB
            steering committee meeting with exchanges. If we want exchanges to give up HB and move to EB, we need to give up
            some concessions.”) See also GOOG-DOJ-AT-00589814, at -821 (01/28/2019) (A Google presentation titled “Unified
            auction in Google Ad Manager” reads “3P partners (the market) have often complained about last look on line items
            unfairly disadvantaging headers. Since the uniformity of auction model and floor model fixes the negative implications
            for buyers and sellers, we can eliminate this hated (but currently necessary and fair) feature.”).
        969 GOOG-AT-MDL-006217592, at -592 and -606 (12/12/2022).

        970 Sarah Sluis, “Google Removes Its ‘Last-Look’ Auction Advantage,” AdExchanger.com. March 31, 2017.

            https://www.adexchanger.com/platforms/google-removes-last-look-auction-advantage/.
        971 Deposition of Henry Crum (Meta), April 22, 2022, 119:5–121:5 (“[W]e wanted the auction to be fair and transparent. So

            that meant things like no last look.”) and (“Q. So sticking with DFP and AdX’s last look, did you consider last look to
            be consistent with the principle of fair and transparent auctions in the code of conduct? A. No, because we thought the
            competition should happen all at the same time.”).
        972 GOOG-AT-MDL-008842393, at -401 (08/04/2023) (The Declaration of Nitish Korula states “Open Bidding was

            initially launched in alpha in 2016. Following the initial alpha launch of Open Bidding, Google removed AdX's "last
            look" over Open Bidding, by ensuring that the clearing price from the AdX auction was compared to the highest bid
            from an Open Bidding buyer. Google removed this in response to customer feedback, before Open Bidding became
            generally available in April 2018.”). Dr. Korula is currently “Senior Technical Advisor to Prabhakar Raghavan” whose
            “current responsibility include managing an engineering team on Google Assistant,” but “[f]rom July 2016 through
            December 2021, [he] was a member of and led engineering teams developing Google products that allow publishers to
            sell display advertising inventory, including Google Ad Manager.” GOOG-AT-MDL-008842393, at -393 (08/04/2023).
        973 GOOG-TEX-00000655, at -660 (12/15/2016).




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        bidding exchanges was “[u]nfair for HB.”974 It was not until the introduction of the Unified First Price
        Auction in 2019 that Google removed the last-look advantage over header bidding exchanges.975

(680)   Nonetheless, Google still imposed a 5% or 10% fee (depending on whether the publisher used GAM
        360 or GAM, respectively) on EB transactions within DFP.976 According to a Google document, that
        fee level discouraged buyers from switching away from AdX, as fees of 3% or lower would pose
        “[h]uge risks to AdX revenue.”977

(681)   To analyze the impact of the Open Bidding fee on auction outcomes, I considered a sample of
        auctions from June 1, 2023 reported in Google’s log-level data.978 Within that sample, Open Bidding
        exchanges participate in 19.6% of AdX auctions, and win 29.4% of these auctions, for an overall
        share of 5.8%. Holding all bids the same, I remove the 5% or 10% fee on Open Bidding transactions,
        and determine the number of auctions for which Open Bidding exchanges would have the highest bid
        absent the Open Bidding fee.979 If Open Bidding exchanges with the highest bid are now assigned the
        impression, I find that the win rate for these exchanges would have increased from 29.4% to 32.1%,
        for an overall share of 6.3% impressions won in GAM.980 These results indicate that the fees Google
        charged on EB transactions reduced the transactions won by rival ad exchanges.




        974 GOOG-DOJ-AT-00589814, at -823 (01/28/2019) (A Google presentation titled “Unified auction in Google Ad
            Manager” states, “HB payout sent as reserve price to AdX; AdX / EB knows what HB is willing to pay before
            submitting bids → (-) Unfair for HB (compare a bid vs payout)”).
        975 GOOG-DOJ-AT-01813120, (07/25/2018) (A presentation titled, “PRD: Unified 1P auction and Pricing rules” states,

            “AdX will no longer have last look against remnant line items (price priority, bulk and network) – Remnant line items
            will no longer provide price support to AdX 2P bids”); GOOG-DOJ-11030354, at -354 (01/28/2019) (“Google’s last
            look goes away with this change.”).
        976 GOOG-AT-MDL-008842393, at -401 (08/04/2023) (The Declaration of Nitish Korula states “Up to at least December

            2021, for publishers that utilized Open Bidding, when an auction was won by an Open Bidder, Google Ad Manager's
            standard charges for web display ads were 5% for GAM 360 customers and 10% for other GAM customers, and
            Google's standard charges for app and instream video ads were 10%,”). I also examined Open Bidding fees using
            auctions from June 1, 2023 within the Google Ad Manager log-level data. More than 98% of GAM 360 exchange
            bidding transactions involved an Open Bidding fee of 5% and more than 98% of GAM exchange bidding transactions
            involved an Open Bidding fee of 10%. For this and the following exercise, I use the following two variables from the
            GAM log-level data: “dsp_paid_usd”, which is the payment of the advertiser’s DSP into AdX; and “pub_payout_usd”,
            which is the bid considered in the AdX auction. The difference between the two reflects the open bidding fee charged by
            AdX (i.e., “pub_payout_usd” equals either 90 or 95 percent of “dsp_paid_usd” in almost all cases).
        977 GOOG-TEX-00082594, at -611 (07/30/2015).

        978 The analysis sample for this chart is a 1-in-60 sub-sample (minute 9 of each hour) of the June 1st GAM sample,

            representing on average 1 out of every 720 auctions run on GAM that day. The analysis uses the same GAM log-level
            sample as the simulation described in Section V.D.3.b. Exchange bidders are identified as including the strings “(EB)”
            or “(OB)” at the end of the name.
        979 I estimate the Open Bidder’s bid excluding the OB fee using the “dsp_paid_usd” field instead of “pub_payout_usd”. As

            noted above, the “dsp_paid_usd” field reflects the payment made by the OB exchanges into GAM, excluding the OB
            fee.
        980 Of these additional impressions with a highest bid from Open Bidders when the Open Bidding fee is removed, a little

            over half (51.5%) would come from AdX (14.6% from Google Ads, 17.2% from AdX buyers, and 19.8% from DV360).
            This is consistent with a positive Open Bidding fee generating more transactions through AdX.



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        VII.D.2. Google prevented publishers from setting variable pricing floors,
        weakening competitive pressures on AdX and impeding publisher’s ability to
        sell impressions through rival exchanges

(694)   Google’s Unified Pricing Rules (“UPR”), launched with Google’s introduction of the Unified First
        Price Auction (“UFPA”) in 2019, included a restriction that publisher pricing rules “will be applied to
        all partners equally, and cannot be set for individual buying platforms.”999 This restriction eliminated
        the ability of publishers using DFP to set lower reserve prices for rival exchanges than they set for
        AdX, thereby restricting publishers’ ability to work with non-AdX exchanges. In doing so, Google
        used DFP’s substantial market power to directly weaken the competitive pressures faced by AdX in at
        least two ways.

(695)   First, as I describe, publishers valued the ability to adjust price floors and often set lower floors for
        rival exchanges than for AdX. This implies that publishers were willing to serve impressions through
        non-Google ad exchanges even if, for a given impression, AdX would pay more for that impression.
        This is consistent with publishers deriving non-monetary or quality/service benefits from selling
        impressions through rival exchanges. Moreover, if rival exchanges obtained more transaction volume,
        they would likely have improved both in adoption, usage, and hence monetization over time, thereby
        yielding additional benefits to publishers through increased competition among exchanges.

(696)   Second, publishers’ higher floors on AdX imposed more competition on the bids received from AdX.
        Additionally, because AdX (prior to the change to UFPA) dynamically adjusted its take rates under
        DRS, higher floors also would tend to put pressure on the fees that AdX could charge.

(697)   Google’s variable floor restriction eliminated this ability of publishers to work with rival exchanges
        via setting variable floors, increasing Google’s AdX revenues and impressions, and reducing those of
        rivals. Similar to how most-favored nation or anti-steering clauses can yield anticompetitive effects in
        other platform settings,1000 Google’s variable floor restriction softened the competitive pressures on
        AdX to reduce fees, improve quality, or otherwise increase its attractiveness to publishers that floored
        its exchange higher in order win business that was being captured by rival exchanges.

(698)   Google thus used its dominant position in the publisher ad server market to impede competition in the
        exchange market, and capture business for AdX not through product innovation or fee reductions, but
        rather by frustrating the efforts of publishers and rival exchanges to transact with one another.

(699)   In June 2021, Google agreed to relax restrictions on publishers’ abilities to set variable pricing floors
        within DFP with the French Competition Authority.1001 This exception is limited to publishers in the

        999  Jason Bigler, “An update on first price auctions for Google Ad Manager,” Google Ad Manager Blog, May 10, 2019,
             https://www.blog.google/products/admanager/update-first-price-auctions-google-ad-manager/.
        1000 See Section VI.

        1001 DOJ-ADS-0000046935, at -935 (06/07/2021); GOOG-AT-MDL-010525710, at -717 (06/21/2022).




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(707)   Prior to the move to UFPA, Google’s internal documents indicated that publishers used variable
        floors across exchanges, and in some cases set higher floor prices on AdX than on rival ad
        exchanges.1011 One reason publishers set higher floor prices on AdX is that AdX had different
        demand than other exchanges. According to economic theory, the reserve price that maximizes
        expected seller revenues would likely vary across exchanges, as it depends on each exchange’s
        bidders and their valuations.1012 This principle applies even in a first-price auction format, because
        floors affect the bids that buyers would submit into the auction, exerting additional competitive
        pressure. Consistent with this principle, in a 2017 email chain Google’s Jonathan Bellack wrote that
        another employee: 1013

                 raises an interesting point that some pubs are raising AdX floors on purpose to make
                 us work harder. That means pubs do think of us differently, after all we do have
                 differentiated demand with GDN. They must have a belief (or evidence) that they get
                 GDN to pay higher when they push up the floors… Or, since Index Exchange is
                 generally 10% revshare not 20%, they only want to call AdX when we are paying so
                 much more to be worth the bigger cut. Or, just generally thinking Google is rich and
                 so should be forced to pay more.

        VII.D.2.c. UPR eliminated this ability of publishers to work with rival exchanges via setting
        variable floors

(708)   In May 2019, Google launched UPR, a program that modified publisher price controls within DFP.
        UPR included a restriction that publisher pricing rules “will be applied to all partners equally, and
        cannot be set for individual buying platforms.”1014 That restriction required publishers to set a single
        floor price for inventory that applied to all ad exchanges and advertiser buying tools, thus preventing
        publishers from setting differential price floors on Google’s ad exchange or advertiser buying tools
        versus rival ad exchanges or advertiser buying tools.1015 Google implemented the switch to the UFPA
        with UPR in September 2019.1016


        1011 GOOG-DOJ-10664165, at -165 (05/10/2019) (“AdX has typically been subject to higher floors set by pubs on other

             exchanges.”; GOOG-TEX-00122345, at -348 (07/20/2017) (“We suspected higher ADX floors is what was happening
             both for HB and for Jedi, but without the Jedi data we didn’t have a way to conclusively prove it. Now that we know for
             sure, there are several things we can do about it.”); GOOG-TEX-00124787, at -792 (07/009/2018) (“42% of HB won
             queries have a higher AdX floor than the HB [line item] price.”).
        1012 Roger Myerson, “Optimal Auction Design,” Mathematics of Operations Research 6, no. 1 (1981); 58–73; Vijay

             Krishna, Auction Theory, 2nd ed. (Burlington, MA: Academic Press, 2009), Ch. 2.
        1013 GOOG-TEX-00122345, at -346 (07/21/2017).

        1014 Jason Bigler, “An update on first price auctions for Google Ad Manager,” Google Ad Manager Blog, May 10, 2019,

             https://www.blog.google/products/admanager/update-first-price-auctions-google-ad-manager/.
        1015 Jason Bigler, “An update on first price auctions for Google Ad Manager,” Google Ad Manager Blog, May 10, 2019,

             https://www.blog.google/products/admanager/update-first-price-auctions-google-ad-manager/.
        1016 Jason Bigler, “Rolling out first price auctions to Google Ad Manager partners,” Google Ad Manager Blog, September

             5, 2019, https://www.blog.google/products/admanager/rolling-out-first-price-auctions-google-ad-manager-partners/.
             One internal document refers to these “rules” as “unified pricing controls.” See GOOG-DOJ-AT-01139367, at -367



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        limited a publisher’s ability to use buyer-specific floors to protect against “low quality (bad) ads,”
        while also increasing revenues but reducing per-transaction payouts from Google Ads.1044


        VII.E. Google’s acquisition of AdMeld
(717)   In this Section, I describe Google’s 2011 acquisition of AdMeld. I show how Google sought to
        counter a threat it perceived from yield managers, and how as the result of the acquisition, Google
        eliminated an option previously available to open-web publishers for accessing and working with
        multiple demand sources. In doing so, Google eliminated competitive pressures on its AdX and DFP
        products.


        VII.E.1. Google acquired AdMeld in response to a perceived threat from yield
        managers

(718)   By 2010, yield managers (also initially called supply-side platforms, or SSPs) emerged as a threat to
        Google’s ad exchange and publisher ad server businesses. Yield managers assisted publishers with
        connecting to and selecting among a variety of indirect demand sources, including ad networks and
        ad exchanges, for monetizing display ad inventory.1045 Some yield managers were able to access real-
        time bids from multiple demand sources at once.1046

(719)   As a 2011 Google email noted, “[p]ublishers fundamentally believe they get maximum yield through
        a broad mix of deal types”—including sponsorships, direct network relationships, “cherry-picking

        1044 GOOG-AT-MDL-014303955, at -955–956 (08/16/2019) (A Google email chain discussing feedback from Dutch

             publisher on UPR states, “[s]ince we are meeting with DPG Media on Monday, I wanted to give you a heads up. We
             (Katya & myself) just received the mail below from Jeroen Swiers (their head of digital) demanding the ability to set
             buyer specific floors (to control adwords). His claims: -Adwords revenue has increased … and this is adding a lot of bad
             ads (fake news) on their domains. -They used to set higher floor prices for Adwords due to these low quality (bad) ads.
             Adwords eCPM is declining, while win rate is increasing due to UPR --> huge concern for them [] I ran a quick report,
             mostly confirming his revenue related claims… Offering the ability to set advertiser specific floors for Adwords small
             land medium business would probably resolve their issue (related to ad quality)”).
        1045 Neal Mohan, “Helping publishers get the most from display advertising with AdMeld,” Google Official Blog, June 13,

             2011, https://googleblog.blogspot.com/2011/06/helping-publishers-get-most-from.html (“Some publishers also work
             with a ‘yield optimization’ provider… that supplies technology to select ads from across these many indirect options”,
             including ad networks and advertising exchanges). Yield managers were also at the time referred to as “supply side
             platforms,” which was a term that later came to include products that also combined functionalities of ad exchanges. See
             GOOG-AT-MDL-008569724, at -724 (08/08/2023) (“Supply-Side Platforms (SSPs) More commonly known as yield
             managers”); see also GOOG-AT-MDL-008569591, at -605 (01/2011) (“Supply-side platforms… [p]reviously more
             commonly known as publisher yield managers/optimizers”).
        1046 GOOG-DOJ-03599592, at -593–596 (02/25/2011) (Admeld Proposal, AdMeld (the leading yield manager) “connects to

             every ad server, buyer, and data source in a transparent, real-time environment.” And, AdMeld was founded in 2007,
             and “[i]n its first eighteen months, Admeld worked primarily as an ad network optimization platform for publishers…
             The platform processed impressions through traditional ad tags, and leveraged predictive algorithms to create network
             ‘daisy chains’ that generate the highest expected revenue values for each impression;” and “Admeld’s first RTB bid was
             conducted in July 2009 – making Admeld one of the first companies to embrace this new ecosystem… In Admeld’s
             unified auction each impression is awarded to the highest-paying qualified buyer – whether they are bidding via RTB or
             via traditional ad network tags.”).



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        control over the inventory supply.”1051 In 2010, Google declared that “Yield Managers are a threat we
        need to take very seriously.”1052

(723)   A 2010 Google presentation identified three main yield managers (Rubicon, AdMeld, Pubmatic), and
        noted that “[y]ield [m]anagers and other technology exchanges are considered direct competitors to
        AdX.”1053 Figure 70 depicts a slide from this presentation, indicating that these yield managers—
        labeled also as exchanges—“pose[d] a significant threat to both AdSense and AdX growth” by
        “owning the remnant tag” and influencing the allocation of inventory across networks.1054




        1051 GOOG-TEX-00101777, at -780 (01/2011) (“Yield Managers through a scrappy service and tech offering have side-

             stepped our platform strategy and are ‘owning the remnant tag’ for a growing number of premium publishers, putting at
             risk our current and future control over the inventory supply.”); GOOG-TEX-00101777, at -788 (01/2011) (“The value
             proposition offered by YMs has been compelling to premium publishers as an estimated 60% of DFP publishers have
             integrated with YMs … Since the YMs now manage the decision as to which ad network should monetize remnant
             inventory for a publisher, they are increasingly in a position to generate their own buy-side demand and monetize
             inventory themselves, thus taking a higher rev share … As a result, Google’s platform strategy to ‘own the tag’ in order
             to ensure optimal control over inventory for monetization (Adx and AdSense) is at risk.”).
        1052 GOOG-DOJ-02139596, at -597 (09/09/2010) (emphasis in original).

        1053 GOOG-TEX-00101777, at -782 and -788 (01/2011).

        1054 GOOG-TEX-00101777, at -783 (01/2011).




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(727)   Google documents highlighted AdMeld’s RTB strengths among yield managers.1061 A Google slide
        deck that summarized “Competitive Intel” indicated that Rubicon had “no support for RTB,” that for
        AdMeld real time bidding is a “Key Strength,” and that Pubmatic allowed real time bidding on an
        “optional” basis.1062 A 2011 slide deck, when comparing the options of buying AdMeld and buying
        PubMatic, stated that AdMeld has a “Stronger product offering” and PubMatic “has less RTB.” The
        presentation also stated that Rubicon “was inferior to AM and PM.”1063

(728)   Consistent with the above, a 2011 AdMeld document described itself as “the world’s largest,
        independent practitioner of Real Time Bidding (RTB),” noting that it connected to more than 200 ad
        networks and 35 DSPs while providing “ad decisioning on over 1.7 billion advertisements per
        day.”1064 AdMeld described their “core functionality” as Real-Time Bidding and proposed to become
        the “central ad decision hub.”1065

(729)   In June 2011, Google announced the acquisition of AdMeld.1066


        VII.E.2. Google’s acquisition of AdMeld eliminated a competitor and option for
        publishers to manage multiple demand sources

(730)   Following the closing of its acquisition of AdMeld in December, 2011, Google began replicating
        some of AdMeld’s features and migrating customers into AdX and DFP.1067 Documents indicate that
        Google halted the development of AdMeld as a separate product and merged the two products
        together under the AdX umbrella by 2013.1068


        1061 GOOG-DOJ-13252093, at -112 (09/24/2020).

        1062 GOOG-TEX-00101777, at -802–804 (01/2011).

        1063 GOOG-DOJ-10590974, at -981 and -986 (03/15/2011).

        1064 GOOG-DOJ-03599592, at -593 and -603 (02/25/2011).

        1065 GOOG-DOJ-03599592, at -603 (02/25/2011).

        1066 Neal Mohan, “Helping publishers get the most from display advertising with Admeld,” Google Official Blog, June 13,

             2011, Helping publishers get the most from display advertising with Admeld (June 13, 2011),
             https://googleblog.blogspot.com/2011/06/helping-publishers-get-most-from.html; Amir Efrati, “Google in Deal to buy
             Admeld,” The Wall Street Journal, June 14, 2011; GOOG-DOJ-11026951, at -951 (02/12/2019).
        1067 GOOG-TEX-00054421, at -421 (09/14/2021) (Google’s AdMeld design document resads, “Admeld Migration Design

             Document (Early Draft)”, “Google acquired Admeld for roughy [sic] $400M in December 2011. The Admeld platform
             combines Real Time Bidding with numerous features that Google Ad Exchange did not previously support, including
             Traditional Yield Management, Private Exchanges, and Bid Landscapes. In the nine months since the acquisition, AdX
             has made substantial progress towards replicating these features. In the first half of 2013 The Admeld migration team
             will migrate all or substantially all of the Admeld customers to AdX”); GOOG-DOJ-04302630, at -643 (02/28/2012)
             (Google’s “Display Strategy Review” presentation states, “Yield Mgmt(AdX + Admeld). Combine most competitive
             SSP with the most competitive Exchange. Extend network yield mgmt. into Google stack. DFP integration.”);
             Deposition of Scott Spencer (Google), 166:22–167:1 (“Q. But AdMeld got integrated into Google’s exchange product?
             A. Well, AdMeld got more integrated – got partially integrated into DFP and partially integrated into the exchange.”).
        1068 GOOG-DOJ-03603298, at -299 (08/01/2019) (“Admeld Migration (for Sales and Services)” document states, “[r]ealize

             that innovation will come to a halt on Admeld in late 2012, but will continue on AdX. Additionally, the AdX
             engineering team has spent the bulk of 2012 building out those features unique to Admeld, in order to achieve feature
             parity across the two platforms by early 2013.”); GOOG-DOJ-03606441, at -442 (09/01/2012) (A Google document



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(731)   Following the acquisition, Google indicated in internal documents that it did not plan to integrate
        AdMeld features that would provide real-time bids into rival publisher ad servers. For example, a
        2012 client migration document following the acquisition noted that Google did not plan to integrate
        AdMeld’s API features that, if allowed, would “pass real-time AdX pricing into a non-DFP ad
        server.”1069 Further, when Google consolidated AdX and AdMeld into “a single offering,” a Google
        document indicated that the combined product would adopt AdX’s terms.1070 These terms restricted
        the use of AdX within SSPs, other exchanges, or yield managers.1071

(732)   A 2013 email from Google executive Scott Spencer (Director of Product Management for AdX)
        noted that the policy to “completely block publishers from running AdX inside of SSPs” would be
        enforced in “Q1 2014.”1072 In an earlier email, he explained the rationale behind limiting AdX’s usage
        with yield managers: “This was a strategic decision. We allow redirection from 3rd party ad servers,
        but not from other exchanges or yield managers. Why? Because if we did then those systems would
        immediately have a super set of demand – anything the SSP had + all of AdX (including AdWords).
        No one would sign up for AdX directly.”1073




             states, “As we enter the latter part of 2012, it is becoming clearer that Admeld will, indeed, be sunset, and the features
             most relevant to Admeld customers will become part of the AdX platform.”); GOOG-DOJ-03540728, at -728
             (01/24/2012).
        1069 GOOG-DOJ-03606441, at -448 (09/01/2012) (“Admeld can be called via API to serve an ad. There are small handful of

             Admeld sellers that currently have API integrations in place at the ad server level. While these integrations are being
             considered, they are not currently planned. There are policy implications for supporting these types of integrations on
             AdX; most notably, they pass real-time AdX pricing into a non-DFP ad server.” For a description of “RTB API”, see
             GOOG-AT-MDL-B-004270584, at -589–590 (04/24/2011); see also GOOG-DOJ-09448411, at -412–414 (06/11/2012)
             (An email exchange between Google employees discussing a request from a client states, “Metanetworks is looking to
             implement the integration they used to have with AdMeld. Admeld got to see the querie [sic] from Meta in an RTB
             integration and decide wether [sic] to take it or not, putting a bid to their system. They want to see if that is feasible with
             AdExchange.” A Google employee responded, stating that “even a bid-based server side integration like the Admeld api
             would be against adx sellside policy.”).
        1070 GOOG-DOJ-03540728, at -728-729 (01/23/2012) (An email on “Admeld Integration,” noting “[w]e are consolidating

             the products to a single offering, based on the AdX product” and “DFP Yield Management effort and coordination[.]
             Establish a path forward for DFP YM report given the proposal that the functionality be under the ADX contract
             terms.”).
        1071 GOOG-TEX-00149044, at -044 (03/22/2013) (“The current policy restricts calling AdX from another yield manager or

             exchange when there is AdX sub-syndication (i.e., network partners) in place. We define a yield manager as a system
             that automatically determines the CPM from multiple indirect channels. We define a exchange as something with RTB
             callouts. This definition has worked well since, even in systems with multiple functions, these can typically be turned
             off. We are planning to remove the AdX sub-syndication dependency in January once we have a good track record with
             the full Admeld functionality integrated into AdX.”).
        1072 GOOG-TEX-00149056, at -057 (03/26/2013). SSPs, or supply-side platforms, include yield managers.

        1073 GOOG-TEX-00149044, at -044–045 (03/22/2013). Later in the same email chain, a Google employee wrote, “I am

             wondering what a good working definition of an ad server, because in my mind the line between an ad server and a yield
             manager is fairly blurry, as these things venture into each other’s territory. The reason I ask is that presumably
             integration with ‘ad servers’ is presumably a good thing that should be encouraged while integration with the rest is
             undesirable.” Spencer responded, “We define a yield manager as a system that automatically determines the CPM from
             multiple indirect channels. We define a exchange as something with RTB callouts.” Even though AdX could be called
             from third-party ad servers, it did not provide real-time bids. See Section VII.C for more details.



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        Figure 73. Google Ads-AdX share of worldwide indirect open-web display impressions transacted
        through exchanges (2018–2022)


                             Google Ads - AdX                        DV360 - AdX
                             Non-Google bidding tools - AdX          AdSense Backfill
                             AWBid (Google Ads - other exchanges)    DV360 - other exchanges
                             Other (non-Google)

            100%

            90%

            80%

            70%

            60%

            50%

            40%

            30%

            20%

            10%

             0%




        Source: Google Ads data (DOJ RFP 54); Exchange data panel (See Appendix H.1.b for details)
        Note: Google Ads-AdX impressions include all open-web display impressions purchased by Google Ads from AdX, excluding
        AWBid and any inventory that originates from Google’s O&O properties. AWBid impressions include all open-web display
        impressions purchased by Google Ads from third-party exchanges. The figure also identifies impressions transacted by DV360,
        AdX, and AdSense Backfill. Blue shading indicates impressions purchased by a Google bidding tool (i.e., Google Ads, DV360)
        or AdSense, and hashed bars indicate a non-Google exchange. The figure includes only impressions purchased through
        indirect transactions transacted through exchanges (this includes Header Bidding, Private Auction, Open Bidding, and
        DoubleClick First Look). Denominator includes impressions from Google and ad exchanges that produced data in this matter,
        and impressions estimated from exchanges that did not produce data on this matter. See table notes for Figure 47 and
        Appendix H for details.



(744)   By withholding access to Google Ads demand, Google reduced publisher payouts on other
        exchanges, making them less competitive. The following evidence from documents highlight how
        Google Ads’ participation on an exchange can meaningfully affect the expected monetization, and
        hence attractiveness, of that exchange to publishers:

        ◼     A 2011 Google presentation titled “Implications of Adwords’s and AdX’s bidders” discussed the
              “expected impact” from Google Ads bidding more widely on AdMeld, Rubicon, and Pubmatic:
              “4% more inventory to [Ads]”, reducing AdSense and AdX average CPM by 1.1%, and
              increasing CPMs on those rivals by 2.2%.1086

        1086 GOOG-DOJ-14826585, at -590 (11/02/2016). The presentation noted that assumptions used for the analysis included

             AdX losing 30% of its projected 2011 customers and 50% of its projected 2012 customers, “based on sales



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        Figure 74. AdX and AdX Direct share of worldwide open-web display indirect impressions transacted
        through ad exchanges (2018–2022)


                                                 AdX     AdX Direct     Other exchange

          100%

           90%

           80%

           70%

           60%

           50%

           40%

           30%

           20%

           10%

            0%




        Source: Google AdX data (DOJ RFP 53); Exchange data panel (See Appendix H.1.c for details)
        Notes: AdX impressions are limited to all worldwide indirect open-web display impressions purchased by AdX (indirect
        transactions include Open Auction, Private Auction, Exchange Bidding, Header Bidding, and First Look). AdX Direct
        transactions include indirect open-web display impressions from AdX (which may be served through third-party ad servers,
        proprietary ad servers, or DFP; see GOOG-DOJ-03634896, at -902, 904, 905, 908 (01/25/2018). AdX Direct transactions are
        identified using the is_adx_direct field native to the RFP 53 data. Denominator includes impressions from Google and ad
        exchanges that produced data in this matter, and impressions estimated from exchanges that did not produce data on this
        matter. See table notes for Figure 47 and Appendix H for details.



(766)   Google’s exclusive provision of real-time bids from AdX to DFP thus meaningfully differentiates
        DFP from rival publisher ad servers and limits rival publisher ad servers’ abilities to compete with
        DFP, as rival servers are unable to offer the same unrestricted access to an exchange with a
        substantial share of transaction volume.

(767)   Further, as I described in Section VII.E, Google’s acquisition of AdMeld eliminated an option
        previously available to open-web publishers working with third-party publisher ad servers to
        multihome across (and thereby receive and manage real-time bids from) multiple exchanges and
        demand sources, and a product that could have emerged as a potential competitor to DFP.




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     Appendix D. Additional market shares figures

     D.1. Additional exchange shares figures

     D.1.a. Summary of exchange shares specifications

     Figure 88. Summary of AdX’s worldwide indirect open-web display shares among ad exchanges

          Metric             Specification             2018            2019             2020            2021             2022
                       [1] AdX share (baseline)        54%              60%             65%              60%             56%
                       [2] AdX share (including
                                                       53%              58%             63%              58%             54%
                       DSP-to-PAS transactions)
      Impressions      [3] AdX share (excluding
                                                       55%              62%             66%              61%             58%
                       Verizon)
                       [4] AdX share (relative to
                       parties that produced           67%              65%             71%              67%             63%
                       data)
                       [1] AdX share (baseline)        47%              52%             51%              47%             43%
                       [2] AdX share (including
                                                       47%              48%             47%              45%             42%
                       DSP-to-PAS transactions)
      Fees             [3] AdX share (excluding
                                                       49%              53%             52%              49%             46%
                       Verizon)
                       [4] AdX share (relative to
                       parties that produced           66%              60%             61%              59%             56%
                       data)
     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c).
     Notes: Specifications 1–3 are AdX’s annual weighted average share of impressions and fees among exchanges that produced
     data in this matter as well as impressions and fees I estimate coming from exchanges that did not produce data on this matter.
     Appendix H.3 contains a description of how I perform this estimation. Specification 4 is AdX’s annual weighted average share
     of impressions and fees among only exchanges that produced data in this matter. See Appendix H.1.c, which lists the
     exchanges that produced data in this matter.




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        Figure 89. Summary of AdX’s US indirect open-web display shares among ad exchanges

            Metric              Specification              2018            2019             2020            2021          2022
                         [1] AdX share (baseline)          46%              48%             56%              51%          47%
                         [2] AdX share (including
                                                           46%              47%             54%              50%          46%
                         DSP-to-PAS transactions)
         Impressions     [3] AdX share (excluding
                                                           47%              49%             56%              52%          48%
                         Verizon)
                         [4] AdX share (relative to
                                                           58%              52%             61%              56%          52%
                         parties that produced data)
                         [1] AdX share (baseline)          43%              45%             45%              41%          36%
                         [2] AdX share (including
                                                           43%              43%             43%              40%          36%
                         DSP-to-PAS transactions)
         Fees            [3] AdX share (excluding
                                                           45%              46%             45%              43%          39%
                         Verizon)
                         [4] AdX share (relative to
                                                           60%              52%             53%              51%          46%
                         parties that produced data)
        Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c).
        Notes: Specifications 1–3 are AdX’s annual weighted average share of impressions and fees among exchanges that produced
        data in this matter as well as impressions and fees I estimate coming from exchanges that did not produce data on this matter.
        Appendix H.3 contains a description of how I perform this estimation. Specification 4 is AdX’s annual weighted average share
        of impressions and fees among only exchanges that produced data in this matter. See Appendix H.1.c, which lists the
        exchanges that produced data in this matter.



        D.1.b. US market shares in the exchange market (baseline specification)

(846)   Below, I include versions of the exchange market shares analyses I presented in my report, limited to
        impressions served to users in the United States.1272




        1272 Due to data limitations, I cannot reliably identify user location in all datasets. See Appendix H.4.a.




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     Figure 90. AdX maintains a substantial share of US indirect open-web display impressions transacted
     through ad exchanges (2018–2022)


                         Google AdX (47%)             Google AdSense Backfill (2%)        (8%)
                                   9%)                      (3%)                         (1%)
                               (4%)                           (2%)                               (3%)
                                         (6%)                                            (4%)
                                      (3%)            Other (imputed, 10%)

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c)
     Notes: Denominator includes impressions from Google and ad exchanges that produced data in this matter, and impressions
     estimated from exchanges that did not produce data on this matter (“Other (imputed)”). The set of exchanges within “Other
     (imputed)” varies during the time period shown due to incomplete data from certain third-party exchanges. Appendix H
     provides a description of how I perform this estimation. The legend contains the share of indirect open-web display impressions
     in 2022 in parenthesis for those exchanges that produced data on indirect open-web display impressions in 2022.




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     Figure 91. AdX and third-party exchanges’ shares of US indirect open-web display impressions among
     ad exchanges (2022)


                                         100%

                                         90%

                                         80%
        Share of US impressions (2022)




                                         70%

                                         60%

                                         50%

                                         40%

                                         30%

                                         20%

                                         10%

                                          0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c).
     Notes: 2022 US indirect open-web display impression market shares for ad exchanges shown in Figure 90 (see table notes). In
     2022, exchanges that did not produce data are estimated to represent 10% of US indirect open-web display impressions.
             provides only worldwide data; US impressions for         are obtained by using the average ratio of US-to-worldwide
     impressions among other exchanges.




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     Figure 92. AdX earns consistently high net revenues from the sale of US indirect open-web display
     impressions (2018–2022)


                             Google AdX   Google AdSense Backfill




                            $140


                            $120


                            $100
         Net revenues (M)




                            $80


                            $60


                            $40


                            $20


                              $0




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c)
     Notes: 1. Includes net revenues from Google and exchanges that produced data in this matter. 2. AdSense Backfill refers to
     the set of transactions that are served from AdSense through DFP. Google charges a single 32% take rate for transactions
     through AdSense (including those through AdSense Backfill) and does not separate the take rate into buy-side and sell-side
     components. For the purposes of these share calculations, I apply the full 32% take rate to transactions through AdSense
     Backfill.




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     Figure 93. AdX maintains a substantial share of ad exchange fees from US indirect open-web display
     impressions (2018–2022)


                         Google AdX (37%)            Google AdSense Backfill (3%)           (9%)
                                  (10%)                    (2%)                            (1%)
                               (2%)                          (3%)
                                       (6%)                           (6%)
                                (4%)                                (3%)            Other (imputed, 15%)

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c)
     Notes: 1. Includes net revenues from Google and exchanges that produced data in this matter. 2. AdSense Backfill refers to
     the set of transactions that are served from AdSense through DFP. Google charges a single 32% take rate for transactions
     through AdSense (including those through AdSense Backfill) and does not separate the take rate into buy-side and sell-side
     components. For the purposes of these share calculations, I apply the full 32% take rate to transactions through AdSense
     Backfill. 3. For exchanges from which I have data on gross revenue but not net revenue, I apply the weighted average take rate
     among third-party exchanges that produced both gross and net revenue data to those exchanges’ spend.




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     Figure 94. AdX and third-party exchanges’ shares of ad exchange fees from US indirect open-web
     display transactions (2022)


                                  100%

                                  90%

                                  80%

                                  70%
        Share of US fees (2022)




                                  60%

                                  50%

                                  40%

                                  30%

                                  20%

                                  10%

                                   0%




     Source: Exchange panel (See Appendix H.1.c)
     Notes: 2022 US indirect open-web display net revenue market shares for ad exchanges shown in Figure 93 (See table notes).
     In 2022, exchanges that did not produce data are estimated to represent 15% of US indirect open-web display spend.
     provides only worldwide data; US impressions for         are obtained by using the average ratio of US-to-worldwide
     impressions among other exchanges.



     D.1.c. Spend shares in the exchange market




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     Figure 95. AdX maintains a substantial share of worldwide indirect open-web display spend transacted
     through ad exchanges (2018–2022)


                          Google AdX (40%)            Google AdSense Backfill (3%)           (7%)
                                  (8%)                      (1%)                            (1%)
                               (5%)                           (1%)
                                         (6%)                          (5%)
                                (3%)                                 (2%)            Other (imputed, 17%)

       100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

          0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c for details).
     Notes: Denominator includes spend from Google and exchanges that produced data in this matter, and spend estimated from
     exchanges that did not produce data on this matter (“Other (imputed)”). Appendix H provides a description of how I perform this
     estimation. The legend contains the share of indirect open-web display spend in 2022 in parenthesis for those exchanges that
     produced data on indirect open-web display spend in 2022.




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     Figure 96. AdX maintains a significant share of US indirect open-web display spend


                         Google AdX (34%)            Google AdSense Backfill (2%)           (9%)
                                  (11%)                    (2%)                            (1%)
                               (3%)                          (2%)
                                       (6%)                           (6%)
                                (4%)                                (3%)            Other (imputed, 17%)

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c)
     Notes: Denominator includes spend from Google and exchanges that produced data in this matter, and spend estimated from
     exchanges that did not produce data on this matter (“Other (imputed)”). Appendix H provides a description of how I perform this
     estimation. The legend contains the share of indirect open-web display spend in 2022 in parenthesis for those exchanges that
     produced data on indirect open-web display spend in 2022.




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     D.2. Additional advertiser ad network shares figures

     D.2.a. Summary of advertiser ad network shares specifications

     Figure 97. Summary of Google Ads’ worldwide indirect open-web display shares among advertiser ad
     networks, and among bidding tools (advertiser ad networks and DSPs)

         Metric                    Specification                  2018          2019         2020          2021          2022
                     [1] Google Ads share (baseline)               86%          88%           90%          90%           87%
                     [2] Google Ads share (excluding Google
                                                                   76%          80%           85%          84%           78%
      Impressions    Ads-AdSense transactions)
                     [3] Google Ads share (including imputed
                                                                   57%          60%           69%          67%           65%
                     other bidding tools, which contain DSPs)
                     [1] Google Ads share (baseline)               66%          69%           73%          78%           81%
                     [2] Google Ads share (excluding Google
                                                                   37%          43%           52%          59%           58%
      Fees           Ads-AdSense transactions)
                     [3] Google Ads share (including imputed
                                                                   33%          33%           35%          42%           48%
                     other bidding tools, which contain DSPs)
     Source: Google Ads data (DOJ RFP 7, 54); Bidding tools panel (See Appendix H.1.b).
     Notes: Specifications 1–2 are Google Ads’ annual weighted average share of impressions and fees among advertiser ad
     networks that produced data in this matter. Specification 3 is Google Ads’ annual weighted average share of impressions and
     fees among advertiser ad networks that produced data in this matter as well as impressions and fees I estimate coming from
     bidding tools that did not produce data on this matter, which include DSPs. Appendix H.3 contains a description of how I
     perform this estimation. See Appendix H.1.b, which lists the ad networks that produced data in this matter.


     Figure 98. Summary of Google Ads’ US indirect open-web display shares among advertiser ad networks,
     and among bidding tools (advertiser ad networks and DSPs)

         Metric                    Specification                   2018         2019          2020         2021          2022
                     [1] Google Ads share (baseline)               88%           88%          91%          90%           88%
                     [2] Google Ads share (excluding Google
                                                                   81%           83%          87%          86%           82%
      Impressions    Ads-AdSense transactions)
                     [3] Google Ads share (including imputed
                                                                   48%           45%          58%          54%           55%
                     other bidding tools, which contain DSPs)
                     [1] Google Ads share (baseline)               72%           71%          75%          81%           83%
                     [2] Google Ads share (excluding Google
                                                                   43%           45%          55%          63%           61%
      Fees           Ads-AdSense transactions)
                     [3] Google Ads share (including imputed
                                                                   33%           29%          31%          38%           44%
                     other bidding tools, which contain DSPs)
     Source: Google Ads data (DOJ RFP 7, 54); Bidding tools panel (See Appendix H.1.b).
     Notes: Specifications 1–2 are Google Ads’ annual weighted average share of impressions and fees among advertiser ad
     networks that produced data in this matter. Specification 3 is Google Ads’ annual weighted average share of impressions and
     fees among advertiser ad networks that produced data in this matter as well as impressions and fees I estimate coming from
     bidding tools that did not produce data on this matter, which includes DSPs. Appendix H.3 contains a description of how I
     perform this estimation. See Appendix H.1.b, which lists the ad networks that produced data in this matter.




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        D.2.b. US market shares in the advertiser ad network market (baseline)

(847)   Below, I include versions of the market shares analyses I presented in my report, limited to
        impressions served to users in the United States.1273

        Figure 99. Google Ads has maintained a substantial share of US indirect open-web display impressions
        in the ad network market


                                                        Google Ads

         100%

           90%

           80%

           70%

           60%

           50%

           40%

           30%

           20%

           10%

            0%




        Source: Google Ads data (DOJ RFP 54);
        Notes: Denominator includes open-web display impressions from Google Ads,              and
        Impressions include all indirect open-web display transactions from these parties.      exited the open-web display market in
        April 2020. Google Ads data only provides information for advertiser geography, while data for        and      provides only
        user geography information. This figure limits to US advertiser transactions for Google Ads and US user transactions for
        and




        1273 Due to data limitations, I cannot reliably identify user location in all datasets. See Appendix H.4.a.




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     Figure 100. Google Ads has maintained a substantial share of net revenues from the sale of US indirect
     open-web display impressions


                      Google Ads - AdX       Google Ads - AdSense        Google Ads - other

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 7);
     Notes: 1. Includes net revenues from open-web display impressions from Google Ads (separated into transactions through
     AdX, AdSense, and other third-party exchanges),            and                                       2. Google aggregates buy-
     side and sell-side fees for transactions through AdSense (“Google Ads - AdSense” net revenues reflect a reported 32% take
     rate). 3.     exited the open-web display market in April 2020. 4. Google Ads data only provides information for advertiser
     geography, while data for         and       provides only user geography information. This figure limits to US advertiser
     transactions for Google Ads and US user transactions for          and




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     D.2.c. Spend shares in the advertiser ad network market (baseline)

     Figure 101. Google Ads has maintained a substantial share of worldwide indirect open-web display
     spend in the advertiser ad network market


                                                     Google Ads

       100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

          0%




     Source: Google Ads data (DOJ RFP 7);
     Notes: Denominator includes open-web display spend from Google Ads,             and
     Spend includes all indirect open-web display transactions from these parties.     exited the open-web display market in April
     2020.




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     Figure 102. Google Ads has maintained a substantial share of US indirect open-web display spend in the
     advertiser ad network market


                                                    Google Ads

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 7);
     Notes: Denominator includes open-web display spend from Google Ads,              and
     Spend includes all indirect open-web display transactions from these parties.       exited the open-web display market in April
     2020. Google Ads data only provides information for advertiser geography, while data for         and      provides only user
     geography information. This figure limits to US advertiser transactions for Google Ads and US user transactions for        and




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     D.2.d. Fee shares in the ad network market, adjusting Google Ads–AdSense
     take rates

     Figure 103. Google Ads has maintained a substantial share of buyside net revenues from the sale of
     worldwide indirect open-web display impressions, adjusting Google Ads-AdSense take rate


                     Google Ads - AdX        Google Ads - AdSense        Google Ads - other

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 7, 54);
     Notes: 1. Includes net revenues from open-web display impressions from Google Ads (separated into transactions through
     AdX, AdSense, and other third-party exchanges),          and                                      2. Google aggregates buy-
     side and sell-side fees for transactions through AdSense. I limit “Google Ads - AdSense” net revenues to only include the buy-
     side fees Google collects from these transactions by adjusting “Google Ads - AdSense” net revenues to reflect a 15% take
     rate. 3.     exited the open-web display market in April 2020.




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     Figure 104. Google Ads has maintained a substantial share of buyside net revenues from the sale of US
     indirect open-web display impressions, adjusting Google Ads-AdSense take rate


                     Google Ads - AdX        Google Ads - AdSense        Google Ads - other

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 7, 54);
     Notes: 1. Includes net revenues from open-web display impressions from Google Ads (separated into transactions through
     AdX, AdSense, and other third-party exchanges),            and                                       2. Google aggregates buy-
     side and sell-side fees for transactions through AdSense. I limit “Google Ads - AdSense” net revenues to only include the buy-
     side fees Google collects from these transactions by adjusting “Google Ads - AdSense” net revenues to reflect a 15% take
     rate. 3.     exited the open-web display market in April 2020. 4. Google Ads data only provides information for advertiser
     geography, while data for         and       provides only user geography information. This figure limits to US advertiser
     transactions for Google Ads and US user transactions for           and




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     D.3. Google’s share of net revenues collected by ad networks and
     exchanges
     Figure 105. Google’s share of net revenues collected by bidding tools and exchanges from the sale of
     worldwide indirect open-web display impressions


                             Google Ads - AdX         Google Ads - AdSense    Google Ads - Other
                             Google DV360             Google AdX              Non-Google

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 7); DV360 data (DOJ RFP 7); AdX data (DOJ RFP 53); AdSense Backfill data (DOJ RFP
     52); Bidding tools panel (See Appendix H.1.b); Exchange panel (See Appendix H.1.c).
     Notes: Includes net revenues from open-web display impressions from Google Ads, DV360, AdX, and third-party bidding tools
     and exchanges that produced data in this matter as well as net revenues I estimate coming from bidding tools and exchanges
     that did not produce data on this matter. Appendix H.3.c contains a description of how I perform this estimation.




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     Figure 106. Google’s share of net revenues collected by bidding tools and exchanges from the sale of US
     indirect open-web display impressions


                             Google Ads - AdX         Google Ads - AdSense     Google Ads - Other
                             Google DV360             Google AdX               Non-Google

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 7); DV360 data (DOJ RFP 7); AdX data (DOJ RFP 53); AdSense Backfill data (DOJ RFP
     52); Bidding tools panel (See Appendix H.1.b); Exchange panel (See Appendix H.1.c).
     Notes: Denominator includes net revenues from open-web display impressions from Google and third-party bidding tools and
     exchanges that produced data in this matter as well as net revenues I estimate coming from bidding tools and exchanges that
     did not produce data on this matter. Appendix H.3.c contains a description of how I perform this estimation.




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     D.4. Additional publisher ad-server shares
     Figure 107. US open-web display impressions served by publisher ad servers (2018–2022)


                                    Google

                                  700


                                  600


                                  500
         Impressions (billions)




                                  400


                                  300


                                  200


                                  100


                                    0




     Source: Publisher ad server panel (see Appendix H.)
     Notes: 1. Limited to open-web display impressions on mobile and desktop devices through US publishers (includes house
     ads). 2. The           and         data do not contain information on device type, transaction type, ad type, instream/outstream or
     mobile channel. Since the data do not allow me to identify            and          open-web display impressions, I conservatively
     include all          and        impressions. 3. Similarly, the       data does not distinguish between ad types. Therefore, I
     conservatively include all          ad types. 4.                          data and the             data do not distinguish between
     instream and outstream video ads, so I conservatively include all video impressions on in-market devices. 5. The              and
               data do not distinguish between US and ROW publishers, so I conservatively include all            and          publishers.
     Geography information is unavailable for many of One Ad Server’s impressions, so I conservatively include all of these
     impressions in the US share calculations The             data groups US and Canadian publishers, so both countries are included
     in this figure. Geography information is unavailable for some publishers in the Google data. To be conservative, I consider all of
     these publishers to be non-US publishers. 6. Due to reported data issues,              data is missing in July 2022.          data is
     missing in May, July, and November of 2018.                      data is unavailable prior to May 2019;          data is unavailable
     prior to April 2018;        data is missing in October 2018 and April 2022.




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     Appendix E. Additional take rate and margin figures

     E.1. AdX and third-party exchange take rates, US
     Figure 109. US open-web indirect display take rates for AdX and third-party exchanges (average), and
     AdX’s worldwide indirect open-web display market share (2018–2022)


                                   AdX share (impressions)   AdX take rate          Average 3P exchange take rate

                             25%                                                                                  100%

                                                                                                                  90%

                             20%                                                                                  80%

                                                                                                                  70%
         Average take rate




                             15%                                                                                  60%




                                                                                                                         AdX share
                                                                                                                  50%

                             10%                                                                                  40%

                                                                                                                  30%

                             5%                                                                                   20%

                                                                                                                  10%

                             0%                                                                                   0%




     Source: Google AdX data (DOJ RFP 53); Exchange data panel (See Appendix H.1.c for details).
     Notes Limited to open-web display advertisements transacted through indirect transactions (including open auction, private
     auction, or header bidding). “Average 3P exchange take rate” is the monthly weighted average take rate by exchange spend
     among all third-party exchanges that produced both gross and net revenue data sufficient to identify transactions served to US
     users. “AdX share (impressions)” (shaded grey area in chart) is AdX’s share of US indirect open-web display impressions. See
     Figure 21 and Appendix H for details.




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     E.2. Aggregate take rates among exchanges and ad networks
     Figure 110. Summary of worldwide open-web indirect display take rates among ad exchanges


                                                          Average take rate                           Share of impressions
           Exchange
                              Jan. 2018       Jan. 2019      Jan. 2020        Jan. 2021   Jan. 2022          (2022)

      Google AdX                 20%              20%           20%             20%         20%               56%
                                 12%              14%           15%             16%         18%                6%
                                 26%              21%           19%             19%         17%                5%
                                   -              17%           18%             17%         16%                4%
                                   -                -            9%             8%           8%                4%
                                   -              9%            20%             18%         17%                3%
                                 24%              21%           17%             19%         18%                1%
                                   -                -             -               -         20%                1%
                                 37%              37%           38%             37%         29%                1%
                                   -              0%              -             13%           -                 -
                                 20%              20%           20%             20%           -                 -
                                   -              19%             -               -           -                3%
                                   -              20%             -               -           -                1%
     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c);

     Notes: The take rates presented in this table are weighted averages in January of each year. I calculate take rates as net
     revenue divided by gross revenue. Figure 54 in Section V.C.3 presents monthly average take rates in each month from 2018–
     2022 among a limited set of exchanges that produced data on gross and net revenues. The table above includes all exchanges
     that produced gross and revenue data, as well as exchanges that produced data in this matter but did not produce data
     sufficient to calculate take rates (indicated with an asterisk). For those exchanges, the take rates presented above are those
     represented in the party’s produced financial documents. The products in this table do not represent the universe of products in
     the ad exchanges market but represent the full list of exchanges that produced data in this matter. AdSense Backfill take rates
     are excluded as they include the take rate for Google Ads as well.


     Figure 111. Summary of worldwide open-web indirect display margins among ad networks


                                                                         Average margin                                 Share of
                        Inventory
       Ad network                                                                                                     impressions
                          source          Jan. 2018        Jan. 2019       Jan. 2020      Jan. 2021     Jan. 2022        (2019)
                      AdX                   13%              12%               13%           15%           14%
                      AdSense               32%              33%               32%           32%           32%
                      3PE                   12%              34%               34%           34%           32%
      Google Ads      Other                                                                                                  88%
                      (Demand
                                             0%              24%               37%           31%           35%
                      Product,
                      unknown)
                                            42%              39%               42%           40%           40%               11%
                                            20%              19%               24%                                           1%

     Source: Google Ads data (DOJ RFP 7); Bidding tools panel (See Appendix H.1.b).
     Notes: The take rates presented in this table are weighted averages in January of each year. I calculate margins as net
     revenue divided by gross revenue. For Google Ads transactions through AdX, I remove the 20% fee taken by AdX from
     Google’s net revenues to isolate fees collected by Google Ads. Google aggregates buy-side and sell-side fees for transactions
     through AdSense. The table above includes all ad networks that produced gross and net revenue data.
                    exited the open-web display market in mid-2020 and exits the data after June 2021.




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     Appendix F. Additional Section VII.F figures
     Figure 117. Google’s coverage of worldwide indirect open-web display impressions transacted through
     exchanges (2018–2022)

                                                                                      AWBid
                                                    Non-Google                                      DV360 -
                      Google Ads                                     AdSense       (Google Ads                    Other (non-
          Year                       DV360 - AdX      bidding                                        other
                        - AdX                                         Backfill        - other                      Google)
                                                    tools - AdX                                    exchanges
                                                                                    exchanges)
          2018            38%             9%             6%             6%              4%             7%             30%
          2019            42%             12%            6%             5%              4%             7%             23%
          2020            46%             15%            5%             5%              4%             6%             19%
          2021            38%             17%            5%             4%              4%             7%             24%
          2022            34%             17%            6%             4%              4%            10%             25%
     Source: Google Ads data (DOJ RFP 54); Google DV360 data (DOJ RFP 7); Exchange panel (See Appendix H.1.c for details)
     Notes: Ads-AdX impressions include all open-web display impressions purchased by Google Ads from AdX, excluding AWBid
     and any inventory that originates from Google’s O&O properties. AWBid impressions include all open-web display impressions
     purchased by Google Ads from third-party exchanges. The figure includes only impressions purchased through indirect
     transactions transacted through exchanges (this includes Header Bidding, Private Auction, Open Bidding, and DoubleClick
     First Look). Denominator includes impressions from AdX, AdSense Backfill, and exchanges that produced data as well as
     impressions I estimate for exchanges that did not produce data on this matter. Appendix H contains a description of how I
     perform this estimation.


     Figure 118. Google’s coverage of US indirect open-web display impressions transacted through
     exchanges (2018–2022)

                                                                                      AWBid
                                                    Non-Google                                      DV360 -
                      Google Ads                                     AdSense       (Google Ads                    Other (non-
          Year                       DV360 - AdX      bidding                                        other
                        - AdX                                         Backfill        - other                      Google)
                                                    tools - AdX                                    exchanges
                                                                                    exchanges)
          2018            29%             12%            5%             4%              3%            10%             37%
          2019            29%             15%            4%             3%              3%            10%             36%
          2020            36%             17%            3%             3%              3%            10%             28%
          2021            28%             20%            2%             2%              3%             9%             35%
          2022            24%             19%            4%             2%              3%            11%             37%
     Source: Google Ads data (DOJ RFP 54); Google DV360 data (DOJ RFP 7); Exchange panel (See Appendix H.1.c for details)
     Notes: Ads-AdX impressions include all open-web display impressions purchased by Google Ads from AdX, excluding AWBid
     and any inventory that originates from Google’s O&O properties. AWBid impressions include all open-web display impressions
     purchased by Google Ads from third-party exchanges. The figure includes only impressions purchased through indirect
     transactions transacted through exchanges (this includes Header Bidding, Private Auction, Open Bidding, and DoubleClick
     First Look). Denominator includes impressions from AdX, AdSense Backfill, and exchanges that produced data as well as
     impressions I estimate for exchanges that did not produce data on this matter. Appendix H contains a description of how I
     perform this estimation.




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     Figure 119. Google Ads-AdX share of US indirect open-web display impressions transacted through
     exchanges (2018–2022)


                          Google Ads - AdX                         DV360 - AdX
                          Non-Google bidding tools - AdX           AdSense Backfill
                          AWBid (Google Ads - other exchanges)     DV360 - other exchanges
                          Other (non-Google)

       100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 54); Exchange panel (See Appendix H.1.c for details)
     Notes: Ads-AdX impressions include all open-web display impressions purchased by Google Ads from AdX, excluding AWBid
     and any inventory that originates from Google’s O&O properties. AWBid impressions include all open-web display impressions
     purchased by Google Ads from third-party exchanges. The figure includes only impressions purchased through indirect
     transactions transacted through exchanges (this includes Header Bidding, Private Auction, Open Bidding, and DoubleClick
     First Look). Denominator includes impressions from AdX, AdSense Backfill, and exchanges that produced data as well as
     impressions I estimate for exchanges that did not produce data on this matter. Appendix H contains a description of how I
     perform this estimation.




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     Figure 120. AdX and AdX Direct yearly share of worldwide open-web display indirect impressions
     transacted through ad exchanges

                                        Year                   AdX                       AdX Direct                Other
      2018                                            42.1%                     11.6%                      46.3%
      2019                                            52.9%                     7.6%                       39.5%
      2020                                            59.4%                     6.1%                       34.5%
      2021                                            56.2%                     4.2%                       39.5%
      2022                                            54.7%                     1.8%                       43.5%
     Source: Google AdX data (DOJ RFP 53); Exchange data panel (See Appendix H.1.c for details)
     Notes: AdX impressions are limited to all worldwide indirect open-web display impressions purchased by AdX (indirect
     transactions include Open Auction, Private Auction, Exchange Bidding, Header Bidding, and First Look). AdX Direct
     transactions include indirect open-web display impressions from AdX (which may be served through third-party ad servers,
     proprietary ad servers, or DFP; see GOOG-DOJ-03634896, at -902, 904, 905, 908 (01/25/2018). AdX Direct transactions are
     identified using the is_adx_direct field native to the RFP 53 data. Denominator includes impressions from Google and ad
     exchanges that produced data in this matter, and impressions estimated from exchanges that did not produce data on this
     matter. See table notes for Figure 47 and Appendix H for details.


     Figure 121. Google Ads purchases primarily through AdX and AdSense (US advertiser impressions)


                                               AdX   AdSense   Non-Google Inventory     Demand Product   Unknown

                                  200

                                  180

                                  160
         Impressions (billions)




                                  140

                                  120

                                  100

                                  80

                                  60

                                  40

                                  20

                                    0




     Source: Google Ads data (DOJ RFP 54).
     Notes: Limited to indirect open-web display impressions purchased by US advertisers. Excludes impressions on Google
     properties.




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     Appendix G. Line charts

     G.1. Section V
     Figure 122. AdX maintains a substantial share of worldwide indirect open-web display impressions
     transacted through ad exchanges (2018–2022)


                Google AdX (57%)                       Google AdSense Backfill (4%)                   (6%)
                         (5%)                                (1%)                                    (1%)
                      (4%)                                     (1%)                                          (3%)
                                (4%)                                                                 (3%)
                             (1%)                      Other (imputed, 10%)

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c).
     Notes: Figure is a replication of Figure 47 in Section V.C.2. Denominator includes impressions from Google and ad exchanges
     that produced data in this matter, and impressions estimated from exchanges that did not produce data on this matter (“Other
     (imputed)”). The set of exchanges within “Other (imputed)” varies during the time period shown due to incomplete data from
     certain third-party exchanges. Appendix H provides a description of how I perform this estimation. The legend contains the
     share of indirect open-web display impressions in 2022 in parenthesis for those exchanges that produced data on indirect
     open-web display impressions in 2022.




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     Figure 123. AdX maintains a significant share of ad exchange fees from worldwide indirect open-web
     display transactions (2018–2022)


                 Google AdX (44%)                        Google AdSense Backfill (5%)                    (7%)
                          (8%)                                 (1%)                                     (1%)
                       (2%)                                      (2%)
                                 5%)                                      (5%)
                        (3%)                                            (2%)                     Other (imputed, 15%)

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c).
     Notes: Figure is a replication of Figure 50 in Section V.C.2. 1. Includes net revenues from Google and exchanges that
     produced data in this matter as well as net revenues that I estimate coming from exchanges that did not produce data on this
     matter. Appendix H contains a description of how I perform this estimation. For exchanges that produced fees data in 2022, the
     legend lists the exchange’s share of fees in 2022 in parentheses. 2. AdSense Backfill refers to the set of transactions that are
     served from AdSense through DFP. Google charges a single 32% take rate for transactions through AdSense (including those
     through AdSense Backfill) and does not separate the take rate into buy-side and sell-side components. For the purposes of
     these share calculations, I apply the full 32% take rate to transactions through AdSense Backfill. 3. For imputed “other”
     exchanges as well as exchanges from which I have data on gross revenue but not net revenue apply the weighted average
     take rate among third-party exchanges that produced both gross and net revenue data to those exchanges’ spend.




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     Figure 124. AdX maintains a substantial share of US indirect open-web display impressions transacted
     through ad exchanges (2018–2022)


                  Google AdX (47%)                      Google AdSense Backfill (2%)                   (8%)
                          (9%)                               (3%)                                     (1%)
                       (4%)                                     (2%)                                          (3%)
                                 (6%)                                                                 (4%)
                               (3%)                     Other (imputed, 10%)
     100%

      90%

      80%

      70%

      60%

      50%

      40%

      30%

      20%

      10%

        0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c ).
     Notes: Figure is a replication of Figure 90 in Appendix Section D.1.d. Denominator includes impressions from Google and ad
     exchanges that produced data in this matter, and impressions estimated from exchanges that did not produce data on this
     matter (“Other (imputed)”). The set of exchanges within “Other (imputed)” varies during the time period shown due to
     incomplete data from certain third-party exchanges. Appendix H provides a description of how I perform this estimation. The
     legend contains the share of indirect open-web display impressions in 2022 in parenthesis for those exchanges that produced
     data on indirect open-web display impressions in 2022.




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     Figure 125. AdX earns consistently high net revenues from the sale of US indirect open-web display
     impressions (2018–2022)


               Google AdX (37%)                       Google AdSense Backfill (3%)                    (9%)
                         (10%)                               (2%)                                    (1%)
                      (2%)                                     (3%)
                               (6%)                                     (6%)
                       (4%)                                           (3%)                   Other (imputed, 15%)
     100%

      90%

      80%

      70%

      60%

      50%

      40%

      30%

      20%

      10%

       0%




     Source: Google AdX data (DOJ RFP 53); Exchange panel (See Appendix H.1.c)
     Notes: Figure is a replication of Figure 92 in Appendix Section D.1.b. 1. Includes net revenues from Google and exchanges
     that produced data in this matter. 2. AdSense Backfill refers to the set of transactions that are served from AdSense through
     DFP. Google charges a single 32% take rate for transactions through AdSense (including those through AdSense Backfill) and
     does not separate the take rate into buy-side and sell-side components. For the purposes of these share calculations, I apply
     the full 32% take rate to transactions through AdSense Backfill. 3. For exchanges from which I have data on gross revenue but
     not net revenue, I apply the weighted average take rate among third-party exchanges that produced both gross and net
     revenue data to those exchanges’ spend. 4.            and        provide only worldwide data; US impressions for these
     exchanges are obtained by using the average ratio of US-to-worldwide fees among other exchanges.




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     Figure 126. Google Ads has maintained a substantial share of worldwide indirect open-web display
     impressions among advertiser ad networks (2018–2022)


                                                  Google Ads

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 54); Bidding tools panel (See Appendix H.1.b).
     Notes: Figure is a replication of Figure 56 in Section V.D.2. Denominator includes open-web display impressions from Google
     Ads,        and                                       ). Impressions include all indirect open-web display transactions from these
     parties.     exited the open-web display market in April 2020.




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     Figure 127. Google Ads has maintained a substantial share of fees from worldwide indirect open-web
     display transactions among advertiser ad networks (2018–2022)


                  Google Ads - AdX          Google Ads - AdSense          Google Ads - other

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 7, 54);
     Notes: Figure is a replica of Figure 57 in Section V.D.2. 1. Includes net revenues from open-web display impressions from
     Google Ads (separated into transactions through AdX, AdSense, and other third-party exchanges),             and
                                2. Google aggregates buy-side and sell-side fees for transactions through AdSense (“Google Ads -
     AdSense” net revenues reflect a reported 32% take rate). 3.         exited the open-web display market in April 2020.




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     Figure 128. Google Ads has maintained a substantial share of US indirect open-web display impressions
     in the ad network market


                                                 Google Ads

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 54);
     Notes: Figure is a replica of Figure 99 in Appendix Section D.2.b. Denominator includes open-web display impressions from
     Google Ads,          and                                     . Impressions include all indirect open-web display transactions
     from these parties.       exited the open-web display market in April 2020. Google Ads data only provides information for
     advertiser geography, while data for         and     provides only user geography information. This figure limits to US
     advertiser transactions for Google Ads and US user transactions for         and




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     Figure 129. Google Ads has maintained a substantial share of net revenues from the sale of US indirect
     open-web display impressions


                   Google Ads - AdX          Google Ads - AdSense           Google Ads - other

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 7);                                                        ;
     Notes: Figure is a replica of Figure 100 in Appendix D.2.b. 1. Includes net revenues from open-web display impressions from
     Google Ads (separated into transactions through AdX, AdSense, and other third-party exchanges),              and
                                 2. Google aggregates buy-side and sell-side fees for transactions through AdSense (“Google Ads -
     AdSense” net revenues reflect a reported 32% take rate). 3.         exited the open-web display market in April 2020. 4. Google
     Ads data only provides information for advertiser geography, while data for         and       provides only user geography
     information. This figure limits to US advertiser transactions for Google Ads and US user transactions for        and




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     Figure 130. Worldwide open-web display impressions served by publisher ad servers (2018–2022)


                                         Google




                                 1,800

                                 1,600
        Impressions (billions)




                                 1,400

                                 1,200

                                 1,000

                                  800

                                  600

                                  400

                                  200

                                    0




     Source: Publisher ad server panel (see Appendix H).
     Notes: Figure is a replica of Figure 45 in Section V.B.2. 1. Limited to open-web display impressions on mobile and desktop
     devices (includes house ads). 2.           and        data do not contain information on device type, transaction type, ad type,
     instream/outstream or mobile channel. Since the data do not allow me to identify open-web display impressions, I
     conservatively include all         and         impressions. 3.         data do not distinguish between ad types; hence, I
     conservatively include all        ad types. 3.             and                           data do not distinguish between instream
     and outstream video ads; I conservatively include all               and       video impressions, excluding impressions served on
     TVs for              4. Due to issues with the reported data,           data is missing in July 2022;          data is missing in
     May, July, and November of 2018;           data is unavailable prior to May 2019;          data is unavailable prior to April 2018;
            data is missing in October 2018 and April 2022.




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     Figure 131. US open-web display impressions served by publisher ad servers (2018–2022)


                                        Google




                                  600


                                  500
         Impressions (billions)




                                  400


                                  300


                                  200


                                  100


                                    0




     Source: Publisher ad server panel (see Appendix H).
     Notes: Figure is a replica of Figure 107. in Appendix D.4. 1. Limited to open-web display impressions on mobile and desktop
     devices through US publishers (includes house ads). 2. The              and        data do not contain information on device type,
     transaction type, ad type, instream/outstream or mobile channel. Since the data do not allow me to identify             and
     open-web display impressions, I conservatively include all           and        impressions. 3. Similarly, the         data does not
     distinguish between ad types. Therefore, I conservatively include all         ad types. 4.                            data and the
                  data do not distinguish between instream and outstream video ads, so I conservatively include all video impressions
     on in-market devices. 5. The          and         data do not distinguish between US and ROW publishers, so I conservatively
     include all        and          publishers. The       data groups US and Canadian publishers, so both countries are included in
     this figure. Geography information is unavailable for some publishers in the Google data. To be conservative, I consider all of
     these publishers to be non-US publishers. 6. Due to reported data issues,             data is missing in July 2022.          data is
     missing in May, July, and November of 2018.                     data is unavailable prior to May 2019;          data is unavailable
     prior to April 2018;       data is missing in October 2018 and April 2022.




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     G.2. Section VII
     Figure 132. AdX Direct’s share of AdX worldwide indirect open-web display advertising revenue


                                                    Non-DFP users             DFP users

       14%


       12%


       10%


        8%


        6%


        4%


        2%


        0%




     Source: DRX internal stats data (DOJ RFP 57).
     Notes: Figure is a replica of Figure 67 in Section VII.C.3. Limited to indirect open-web display revenue. A publisher is defined
     at the web property code level due to limited publisher information at the GFP network level in the DRX data. A publisher is
     considered a DFP user in each month where that publisher collected revenue through DFP. This figure excludes impressions
     won by exchange bidders.




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     Figure 133. AdX and AdX Direct share of worldwide open-web display indirect impressions transacted
     through ad exchanges (2018–2022)


                                                      AdX          AdX + AdX Direct

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Google AdX data (DOJ RFP 53); Exchange data panel (See Appendix H.1.c for details)
     Notes: Figure is a replication of Figure 74. in Section VII.F.2. AdX impressions are limited to all worldwide indirect open-web
     display impressions purchased by AdX (indirect transactions include Open Auction, Private Auction, Exchange Bidding, Header
     Bidding, and First Look). AdX Direct transactions include indirect open-web display impressions from AdX (which may be
     served through third-party ad servers, proprietary ad servers, or DFP; see GOOG-DOJ-03634896, at -902, 904, 905, 908
     (01/25/2018). AdX Direct transactions are identified using the is_adx_direct field native to the RFP 53 data. Denominator
     includes impressions from Google and ad exchanges that produced data in this matter, and impressions estimated from
     exchanges that did not produce data on this matter. See table notes for Figure 47 and Appendix H for details.




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     Figure 134. Google Ads-AdX share of worldwide indirect open-web display impressions transacted
     through exchanges (2018–2022)


                                                           Google Ads - AdX

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%




     Source: Google Ads data (DOJ RFP 54); Exchange data panel (See Appendix H.1.c for details)
     Note: Figure is based on Figure 73 in Section VII.F.1. Google Ads-AdX impressions include all open-web display impressions
     purchased by Google Ads from AdX, excluding AWBid and any inventory that originates from Google’s O&O properties. The
     figure includes only impressions purchased through indirect transactions transacted through exchanges (this includes Header
     Bidding, Private Auction, Open Bidding, and DoubleClick First Look). Denominator includes impressions from Google and ad
     exchanges that produced data in this matter, and impressions estimated from exchanges that did not produce data on this
     matter. See table notes for Figure 47 and Appendix H for details.




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     Figure 135. Google Ads-AdX share of US indirect open-web display impressions transacted through
     exchanges (2018–2022)


                                                                                                                                                               Google Ads - AdX

      100%

        90%

        80%

        70%

        60%

        50%

        40%

        30%

        20%

        10%

         0%
              1/1/2018
                         3/1/2018
                                    5/1/2018
                                               7/1/2018
                                                          9/1/2018


                                                                                 1/1/2019
                                                                                            3/1/2019
                                                                                                       5/1/2019
                                                                                                                  7/1/2019
                                                                                                                             9/1/2019


                                                                                                                                                    1/1/2020
                                                                                                                                                                3/1/2020
                                                                                                                                                                           5/1/2020
                                                                                                                                                                                      7/1/2020
                                                                                                                                                                                                 9/1/2020


                                                                                                                                                                                                                        1/1/2021
                                                                                                                                                                                                                                   3/1/2021
                                                                                                                                                                                                                                              5/1/2021
                                                                                                                                                                                                                                                         7/1/2021
                                                                                                                                                                                                                                                                    9/1/2021


                                                                                                                                                                                                                                                                                           1/1/2022
                                                                                                                                                                                                                                                                                                      3/1/2022
                                                                                                                                                                                                                                                                                                                 5/1/2022
                                                                                                                                                                                                                                                                                                                            7/1/2022
                                                                                                                                                                                                                                                                                                                                       9/1/2022
                                                                                                                                                                                                                                                                                                                                                  11/1/2022
                                                                     11/1/2018




                                                                                                                                        11/1/2019




                                                                                                                                                                                                            11/1/2020




                                                                                                                                                                                                                                                                               11/1/2021
     Source: Google Ads data (DOJ RFP 54); Exchange panel (See Appendix H.1.c for details)
     Notes: Figure is based on Figure 119 in Section VIII.B.2. Ads-AdX impressions include all US open-web display impressions
     purchased by Google Ads from AdX, excluding AWBid and any inventory that originates from Google’s O&O properties. The
     figure includes only impressions purchased through indirect transactions transacted through exchanges (this includes Header
     Bidding, Private Auction, Open Bidding, and DoubleClick First Look). Denominator includes impressions from AdX, AdSense
     Backfill, and exchanges that produced data as well as impressions I estimate for exchanges that did not produce data on this
     matter. Appendix H contains a description of how I perform this estimation.




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       Appendix L. Background for Google’s Conduct
(11)   This appendix contains useful background context to understand Google’s market power and conduct
       analyzed in other parts of this report.

       ◼   In Appendix L.1, I discuss Google’s acquisition of DoubleClick. This acquisition gave Google
           control of two products—DoubleClick’s publisher ad server DFP and the exchange that became
           AdX—which facilitated its exclusionary conduct in the relevant markets.
       ◼   In Appendix L.2, I explain how header bidding facilitated publisher multihoming across real-time
           bidding sources and was described by Google employees as a threat to Google’s control of the ad
           tech stack.
       ◼   In Appendix L.3, I summarize some of Google’s responses to header bidding, including 1)
           launching Exchange Bidding (thereby opening up Dynamic Allocation within DFP to exchanges
           other than AdX); 2) adjusting its bidding strategies for DV360, including by introducing Demand
           Product and Project Poirot.
       ◼   In Appendix L.4, I discuss Google’s Dynamic Revenue Sharing (DRS) Programs for Google Ads,
           including Project Bernanke and Project Bell.



       L.1. Google’s acquisition of DoubleClick
(12)   As I noted in Section VII.A, Google documents indicated that controlling the publisher ad server (and
       the “tag” on publishers’ pages) could lock-in customers and enhance its market power across the ad
       tech stack, and that there was concern that if a rival gained control of the publisher ad tag, Google
       instead might be locked out from accessing display inventory.

(13)   Here, I provide background on Google’s acquisition of DoubleClick, completed in 2008. This
       acquisition brought DoubleClick’s publisher ad server DFP and the exchange that became AdX under
       Google’s control.

(14)   According to a Google document, Google’s display advertising business captured less than 1% of the
       $5 billion spent on online display advertising in 2005.1356 The document noted that “[most] AdSense
       sites are too small for Comscore or Nielsen to report their audience profile—removing them from the
       display advertiser’s consideration set” and that “Google’s AdSense product does not meet the revenue
       threshold or predictability needs of publishers for anything other than remnant inventory.”1357 Further,

       1356 GOOG-DOJ-06267628, at -630 (10/20/2006).

       1357 GOOG-DOJ-06267628, at -630 (10/20/2006).




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       Google documents suggest the company was concerned by a lack of sufficient third-party advertising
       space to meet the demand generated by its advertisers.1358 For example, a 2006 Google document
       acknowledged that a key challenge to Google’s display ads business is that ad buyers “want scale”
       but Google has a “lack [of] critical mass of premium inventory.”1359

(15)   Internal Google documents acknowledged benefits from operating across all layers of the ad tech
       stack. A 2005 email chain between Google employees acknowledged that Google “hope[d] and
       plan[ned] to be the be-all, end-all location for all ad serving,” and that “the short-term win of
       accepting 3rd party ad serving cripples [Google’s] long-term strategy.”1360 In a separate email chain,
       Tim Armstrong, the President of Google Americas at the time, wrote that “once you own the pipes,
       all 3rd party served rev, and all unused impressions – and you control billing and accountability – you
       systematically replace the parts of the system with a cross media platform where there is one
       advertiser input desktop and one place to get measurement outputs.”1361 Armstrong also noted that
       when you own these things, “there is really high lock-in.”1362 Further, a Google presentation states
       that to “build the largest pool of liquid inventory” they needed to “become the primary ad server to
       get a ‘first look’.”1363

(16)   In 2006 Google began developing their own publisher ad server, which they referred to as Google Ad
       Manager for Publishers (GFP).1364 However, according to a 2007 white paper submitted to the FTC
       by Google’s lawyers the launch of GFP faced a “number of significant shortcomings,” GFP “received
       serious negative feedback from actual and prospective beta test partners” and its development
       timeline “slipped considerably.”1365

(17)   In April 2007, Google announced its acquisition of DoubleClick, the market-leading publisher ad-
       server at the time, for $3.1 billion.1366 This was consistent with a 2006 Google document that stated,
       “We need to aggressively use acquisitions to solve” problems in their display ads business, including


       1358 A 2004 Google presentation on AdSense acknowledged that one risk to AdSense for Content is “Advertiser Opt-Out”

            due to a “[l]ack of premium brand names [which] decreases perceived value to advertisers” GOOG-DOJ-00134248, at -
            255 (10/25/2004). Further, a 2007 Google document regarding DoubleClick noted that “the winner will be the company
            with the largest pool of liquid [inventory]” GOOG-DOJ-01657697, at -888 (03/15/2007).
       1359 GOOG-DOJ-13009671, at -674 (07/26/2007).

       1360 GOOG-DOJ-01856500, at -503 (06/27/2005).

       1361
            GOOG-DOJ-01657697, at -829 (03/15/2007).
       1362 GOOG-DOJ-01657697, at -829 (03/15/2007).

       1363 GOOG-DOJ-01657697, at -888 (03/15/2007). (Google’s usage of first look to secure additional supply for its advertisers

            is further discussed in Section K.2)
       1364 GOOG-DOJ-01654477, at -482 (08/31/2007).

       1365 GOOG-DOJ-01654477, at -480 (08/31/2007).

       1366 Google estimated that DoubleClick had a “60% share of publisher ad serving market” at the time of the acquisition. See

            GOOG-DOJ-01657697, at -845 (03/15/2007); GOOG-DOJ-00970889, at -891 (05/19/2007); Louise Story and Miguel
            Helft, “Google Buys DoubleClick for $3.1 Billion,” New York Times, April 14, 2007,
            https://www.nytimes.com/2007/04/14/technology/14DoubleClick.html.



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       a lack of “critical mass of premium inventory” and “AdSense sites are not part of planning process for
       agencies.”1367

(18)   An April 2007 Google document entitled “Project Liberty BoD Review” noted two strategic
       rationales for the acquisition: DoubleClick’s “Agency Ad Server (Buyside)”, and its “Publisher Ad
       Server (Sellside),” known as DART for Publishers (DFP).1368 The document stated that the publisher
       ad server would provide “[a]ccess to potential 2B+ incremental AFC impressions per day,” estimating
       “AFC Network Growth” as contributing $2 billion worth of value through “access to DFP publishers’
       inventory.”1369 A 2006 Google document noted the value of premium inventory to “create ‘pull-
       through’ demand for AdSense on tail properties.”1370

(19)   The acquisition also provided Google with an advertiser ad server product known as DART for
       Advertisers (DFA).1371 By 2006, Google had begun working on a new product for advertisers which it
       referred to as both CMO Dashboard and GFA.1372 While Google’s existing AdWords product served
       “Smaller Advertisers,” Google’s Dashboard product intended to serve “F[ortune] 500 and Larger
       Advertisers” (see Figure 150 below).1373 A 2007 Google slide deck on the potential acquisition of
       DoubleClick noted that the “vision” of DoubleClick’s DFA product was “the same as CMO
       Dashboard.”1374 A separate Google acquisition slide deck expressed interest in Google acquiring
       DoubleClick or Atlas and “convert[Ing] it into v1.0 of CMO Dashboard.”1375 When DFA was
       ultimately acquired by Google as part of the DoubleClick acquisition, it had contracts with “9 of 10
       Top 10 global agencies” and a “~50% share of 3PA serving.”1376




       1367 GOOG-DOJ-13009671, at -674 (07/26/2006).

       1368 GOOG-DOJ-01657697, at -744 (03/15/2007).

       1369 GOOG-DOJ-01657697, at -744, -745 (03/15/2007).

       1370 GOOG-DOJ-13009671, at -675 (07/26/2006).

       1371
            Google describes DFA as the “centralized planning, third-party ad serving, reporting and creative optimization solution
            for all major agency holding companies and the internet's leading advertisers.” See GOOG-DOJ-01657697, at -721
            (2007 Google “Strategic Opportunities” report on DoubleClick).
       1372 GOOG-DOJ-02107055, at -056 (06/14/2006); GOOG-DOJ-01657697, at -775.

       1373 GOOG-DOJ-01657697, at -760 (03/15/2007).

       1374 GOOG-DOJ-00970889, at -891 (05/19/2007).

       1375 GOOG-DOJ-13009671, at -674 (07/26/2006). In the “Project Liberty BoD Review” document, Google listed

            “jumpstar[ing] our organic efforts (GFP)” as a “Strategic Rationale” for acquiring DFA. See GOOG-DOJ-01657697, at -
            744 (03/15/2007).
       1376 GOOG-DOJ-00970889, at (05/19/2007) -891, -894.




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       bolstering the attractiveness of Google Ads. Similarly, DFP experienced significant growth following
       the acquisition. (See Sections V.D and V.B for discussion on the market power of Google Ads and
       DFP.)

(24)   The DoubleClick acquisition also provided the foundation for Google’s ad exchange that became
       AdX. In 2007, prior to its acquisition by Google, DoubleClick began developing the DoubleClick Ad
       Exchange.1386 DoubleClick viewed the exchange as “the centerpiece of a growth plan” through which
       it may derive the majority of its revenue within five years.1387 Following the acquisition, Google
       started building upon the exchange and launched AdX just two years later.1388 The exchange grew
       rapidly. AdX’s revenue increased by nearly 300% in 2009 and by over 800% in 2010.1389 By 2011,
       just three years after the acquisition, Google’s “Display Advertising OC Business Review”
       presentation labeled Google as the “#1 player in US display.”1390



       L.2. The emergence of header bidding
(25)   In Section VII.A, I explained the important role that DFP’s market power played in supporting and
       sustaining its market power elsewhere in the ad tech stack. In this Section, I describe how Google
       employees viewed header bidding as a competitive threat to Google’s control of the Ad Tech stack.
       Additionally, the following discussion also illustrates how, by harming the competitiveness of rivals
       in the ad exchange market, Google could protect DFP’s market power in the publisher ad server
       market.

(26)   This section is organized as follows.

       ◼      In Appendix L.2.a, I show that publishers viewed header bidding as a way around Google’s
              restrictive policies regarding the use of its ad tech products, and benefited from header bidding
              allowing them to pit multiple demand sources in real-time competition against one another.
       ◼      In Appendix L.2.b, I discuss how Google employees perceived header bidding as an “existential
              threat” to its control of the Ad Tech stack. I discuss how header bidding (in a manner similar to
              yield managers), by assisting publishers with accessing multiple real-time demand sources and

       1386 Greg Sterling, “Google Formally Announces New DoubleClick Ad Exchange,” Search Engine Land, Sept. 18, 2009,

            https://searchengineland.com/googles-doubleclick-formally-announces-new-ad-exchange-26042.
       1387 Louise Story, “DoubleClick to Set Up an Exchange for Buying and Selling Digital Ads,” The New York Times, April
            4, 2007, The New York Times, https://www.nytimes.com/2007/04/04/business/media/04adco.html
       1388 Greg Sterling, “Google Formally Announces New DoubleClick Ad Exchange,” Search Engine Land, Sept. 18, 2009,

            https://searchengineland.com/googles-doubleclick-formally-announces-new-ad-exchange-26042. The original AdX
            product was built out of the DART platform. See GOOG-DOJ-04292352 at -352 (01/06/2011).
       1389 GOOG-DOJ-13097233, at -238 (06/01/2011) (Google presentation, “Display Advertising OC Business Review,” June

            2011).
       1390 GOOG-DOJ-13097233, at -235 (06/01/2011) (Google presentation, “Display Advertising OC Business Review,” June

            2011).



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       wrote that “our strategy is to ensure that we continue to be the must-call system, by ensuring as much
       of a publisher’s demand flows through our platform, rather than header bidding.”1420

(47)   A 2018 email from Payam Shodjai, at the time Google’s Director of Product Management for Display
       and Video Ads, noted that Google’s response to header bidding was a “multi-pronged effort,” and
       included launching Exchange Bidding (later renamed to Open Bidding) and changes to DV360’s
       bidding behavior (including Demand Product, described above, and Project Poirot).1421 I discuss these
       briefly below, providing background context for the discussion regarding these products and projects
       elsewhere in this Report.


       L.3.a. Exchange and Open Bidding

(48)   Google introduced Exchange Bidding (EB) in alpha in April 2016 and made the product broadly
       available in April 2018; this would later develop into Open Bidding (OB).1422 A 2017 Google
       document describes Open Bidding as DFP functionality “allowing 3rd party-exchanges to bid in RTB
       alongside AdX in Dynamic Allocation.”1423,1424 It is also identified in a Google document as part of
       Google’s “holistic counter-response” to header bidding.1425

(49)   As discussed in Section VII.D.1, Google did not provide AdX with a Last Look advantage over the
       exchanges participating in Exchange Bidding, but maintained this advantage over header bidding
       participants.1426 Documents indicate that Google considered maintaining the Last Look advantage
       over Exchange Bidding participants,1427 but gave it up to give publishers and exchanges an incentive
       to switch from header bidding to Exchange Bidding.1428


       1420   GOOG-TEX-00138844 at -844 (02/06/2017).
       1421 GOOG-DOJ-05276794 at -794 (03/16/2018) (“Our response to HB has been a multi-pronged effort, which includes a

            few projects (none of them are silver bullets): 1. Exchange Bidding (EB) 2. Demand Product (DP) 3. First-Price Auction
            Defense in DBM (since all HB is transacted through first-price auctions)”).
       1422 GOOG-AT-MDL-006217592 at -592 and -606 (10/31/2022) (noting Google “alpha” tested Exchange bidding in April

            2016, entered it into beta testing in June 2017, and ”rolled out to general availability” in April 2018).
       1423 GOOG-DOJ-04429792 at -808 (04/2017).

       1424 Third-party ad exchanges could not bid for DFP inventory in real-time against AdX in the waterfall setup.

       1425 GOOG-DOJ-04429792 at -794 (04/2017). See also GOOG-DOJ-1343955 (Internal meeting notes listing “Evolve /

            accelerate EB” as a response to header bidding) (10/2016).
       1426
            GOOG-TEX-00000655 at -660 (01/04/2017) (“…exchanges that go through HB are subject to last look, and those that
            go through EB are not.”); GOOG-TEX-00103579 at -580 (07/12/2016) (“…our exchange bidding product works just
            like HB. When a publisher is using HB, AdX still submits a real time bid to compete with all the HB bids that are input
            into DFP line items via key values. The only difference is that our solution has not [sic] latency and doesn’t require
            1000’s of additional line items to implement”).
       1427 A Google presentation slide contains the text “Issues: Should we give up last look.” One risk of keeping last look is

            identified as “Exchanges more likely to keep pushing HB.” GOOG-TEX-00104789 at -808 (01/19/2017); GOOG-TEX-
            00121116 at -117 (12/13/2016) (“Is there a definitive reason to drop the last look now? I think we should take this
            decision only following the Beta results if we observe the last look for EB is limiting the adoption.”).
       1428 GOOG-TEX-00000655 at -660 (01/04/2017) (Dec. 15, 2016 email from Jim Giles responding to “why we should give

            away [Last Look]” with Exchange Bidding: “[R]e last look, there are several important reasons … 1) Because both



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